  Lyrics
  In this farewell
  There's no blood, there's no alibi
  'Cause I've drawn regret
  From the truth of a thousand lies
  So let mercy come and wash away


  What I've done
  I'll face myself to cross out what I've become
  Erase myself
  And let go of what I've done


  Put to rest what you thought of me
  While I clean this slate
  With the hands of uncertainty
  So let mercy come and wash away


  What I've done
  I'll face myself to cross out what I've become
  Erase myself
  And let go of what I've done


  For what I've done
  I start again
  And whatever pain may come
  Today this ends
  I'm forgiving what I've done


  I'll face myself to cross out what I've become
  Erase myself
  And let go of what I've done


  (Na-na na na, na-na na na, na-na na na)
  What I've done
  (Na-na na na, na-na na na, na-na na na)
  Forgiving what I've done
  (Na-na na na, na-na na na, na-na na na)
  (Na-na na na, na-na na na, na-na na)

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

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                                                             Filed           Page 1 of 473 PageID #: 1461
BCG_ID_11074_LF.txt[11/10/23, 10:58:10 AM]
  Lyrics
  Why does it feel like night today?
  Something inside's not right today
  Why am I so uptight today?
  Paranoia's all I got left
  I don't know what stressed me first
  Or how the pressure was fed
  But I know just what it feels like
  To have a voice in the back of my head


  It's like a face that I hold inside
  A face that awakes when I close my eyes
  A face watches every time I lie
  A face that laughs every time I fall (and watches everything)
  So you know that when it's time to sink or swim
  That the face inside is here in me, right underneath my skin


  It's like I'm paranoid lookin' over my back
  It's like a whirlwind inside of my head
  It's like I can't stop what I'm hearing within
  It's like the face inside is right beneath my skin


  I know I've got a face in me
  Points out all the mistakes in me
  You've got a face on the inside too
  Your paranoia's probably worse
  I don't know what set me off first but I know what I can't stand
  Everybody acts like the fact of the matter is I can't add up to what you can


  But everybody has a face that they hold inside
  A face that awakes when I close my eyes
  A face that watches every time they lie
  A face that laughs every time they fall (and watches everything)
  So you know that when it's time to sink or swim
  That the face inside is watching you too, right inside your skin


  It's like I'm paranoid lookin' over my back
  It's like a whirlwind inside of my head
  It's like I can't stop what I'm hearing within
  It's like the face inside is right beneath the skin
  It's like I'm paranoid lookin' over my back
  It's like a whirlwind inside of my head
  It's like I can't stop what I'm hearing within
  It's like the face inside is right beneath my skin


  The face inside is right beneath your skin
  The face inside is right beneath your skin
              Case 3:23-cv-01092             Document 49-7    435 11/16/23
                                                             Filed               Page 2 of 473 PageID #: 1462
BCG_ID_11075_LF.txt[11/10/23, 10:58:11 AM]
  The face inside is right beneath your skin


  The sun goes down
  I feel the light betray me
  The sun goes down
  I feel the light betray me (the sun)


  It's like I'm paranoid lookin' over my back (the sun)
  It's like a whirlwind inside of my head
  It's like I can't stop what I'm hearing within
  It's like the face inside is right beneath the skin (I feel the light betray me)


  It's like I'm paranoid lookin' over my back (the sun)
  It's like a whirlwind inside of my head
  It's like I can't stop what I'm hearing within (I feel the light betray me)
  It's like I can't stop what I'm hearing within
  It's like I can't stop what I'm hearing within
  It's like the face inside is right beneath my skin

  WRITERS

  Brad Delson Delson, Chester Charle Bennington, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

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                                                               Filed                 Page 3 of 473 PageID #: 1463
BCG_ID_11075_LF.txt[11/10/23, 10:58:11 AM]
  Lyrics
  I'm not the one who's so far away
  When I feel the snakebite enter my veins
  Never did I want to be here again
  And I don't remember why I came


  Candles raise my desire
  Why I'm so far away
  No more meaning to my life
  No more reason to stay
  Freezing feeling, breathe in, breathe in
  I'm coming back again


  I'm not the one who's so far away
  When I feel the snakebite enter my veins
  Never did want to be here again
  And I don't remember why I came


  Hazing clouds rain on my head
  Empty thoughts fill my ears
  Find my shade by the moonlight
  Why my thought aren't so clear
  Demons dreaming, breathe in, breathe in
  I'm coming back again


  I'm not the one who's so far away
  When I feel the snakebite enter my veins
  Never did want to be here again
  And I don't remember why I came


  I'm not the one who's so far away
  When I feel the snakebite enter my veins
  Never did want to be here again
  And I don't remember why I came


  I'm not the one who's so far away
  When I feel the snakebite enter my veins
  Never did want to be here again
  And I don't remember why I came


  I'm not the one who's so far away
  When I feel the snakebite enter my veins
  Never did want to be here again
  And I don't remember why I came


              Case 3:23-cv-01092             Document 49-7    437 11/16/23
                                                             Filed           Page 4 of 473 PageID #: 1464
BCG_ID_11082_LF.txt[11/10/23, 10:58:11 AM]
  Voodo, voodo, voodo, voodo
  Voodo, voodo, voodo, voodo


  So far away
  I'm not the one who's so far away
  I'm not the one who's so far away
  I'm not the one who's so far away

  WRITERS

  Rob Merrill, Salvatore Erna

  PUBLISHERS

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              Case 3:23-cv-01092             Document 49-7    438 11/16/23
                                                             Filed           Page 5 of 473 PageID #: 1465
BCG_ID_11082_LF.txt[11/10/23, 10:58:11 AM]
  Lyrics
  You know I'd fall apart without you
  I don't know how you do what you do
  'Cause everything that don't make sense about me
  Makes sense when I'm with you


  Like everything that's green girl I need you
  But it's more than one and one makes two
  Put aside the math and the logic of it
  You gotta know you're wanted too


  'Cause I wanna wrap you up
  Wanna kiss your lips
  I wanna make you feel wanted
  And I wanna call you mine
  Wanna hold your hand forever
  And never let you forget it
  Yeah I wanna make you feel wanted


  Anyone can tell you you're pretty
  And you get that all the time, I know you do
  But your beauty's deeper than the make up
  And I wanna show you what I see tonight


  When I wrap you up
  When I kiss your lips
  I wanna make you feel wanted
  And I wanna call you mine
  Wanna hold your hand forever
  Never let you forget it
  'Cause baby I wanna make you feel wanted


  As good as you make me feel
  I wanna make you feel better
  Better than your fairy tales
  Better than your best dreams
  You're more than everything I need
  You're all I ever wanted
  All I ever wanted


  And I just wanna wrap you up
  Wanna kiss your lips
  I wanna make you feel wanted
  And I wanna call you mine
  Wanna hold your hand forever
  And never let you forget it
  Yeah I wanna make you feel wanted
              Case 3:23-cv-01092             Document 49-7    439 11/16/23
                                                             Filed           Page 6 of 473 PageID #: 1466
BCG_ID_11085_LF.txt[11/10/23, 10:58:11 AM]
  Baby I wanna make you feel wanted


  You'll always be wanted

  WRITERS

  Vanessa Carlton

  PUBLISHERS

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              Case 3:23-cv-01092             Document 49-7    440 11/16/23
                                                             Filed           Page 7 of 473 PageID #: 1467
BCG_ID_11085_LF.txt[11/10/23, 10:58:11 AM]
  Lyrics
  Roxanne
  You don't have to put on the red light
  Those days are over
  You don't have to sell your body to the night
  Roxanne
  You don't have to wear that dress tonight
  Walk the streets for money
  You don't care if it's wrong or if it's right


  Roxanne
  You don't have to put on the red light
  Roxanne
  You don't have to put on the red light


  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  Oh


  I loved you since I knew ya
  I wouldn't talk down to ya
  I have to tell you just how I feel
  I won't share you with another boy
  I know my mind is made up
  So put away your make-up
  Told you once, I won't tell you again it's a bad way


  Roxanne
  You don't have to put on the red light
  Roxanne
  You don't have to put on the red light


  You don't (Roxanne) have to put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light
  You don't (Roxanne) have to put on the red light
  (Roxanne) Put on the red light
  You don't (Roxanne) have to put on the red light
              Case 3:23-cv-01092             Document 49-7    441 11/16/23
                                                             Filed           Page 8 of 473 PageID #: 1468
BCG_ID_11089_LF.txt[11/10/23, 10:58:11 AM]
  (Roxanne) Put on the red light
  (Roxanne) Put on the red light

  WRITERS

  Gordon Sumner

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




              Case 3:23-cv-01092             Document 49-7    442 11/16/23
                                                             Filed           Page 9 of 473 PageID #: 1469
BCG_ID_11089_LF.txt[11/10/23, 10:58:11 AM]
  Lyrics
  Melinda was mine
  'Til the time that I found her
  Holding Jim
  And loving him
  Then Sue came along, loved me strong
  That's what I thought
  Me and Sue
  But that died too


  Don't know that I will
  But until I can find me
  A girl who'll stay
  And won't play games behind me
  I'll be what I am
  A solitary man
  Solitary man


  I've had it to here
  Bein' where love's a small word
  Part-time thing
  Paper ring


  I know it's been done
  Havin' one girl who loves you
  Right or wrong
  Weak or strong


  Don't know that I will
  But until I can find me
  A girl who'll stay
  And won't play games behind me
  I'll be what I am
  A solitary man
  Solitary man


  Don't know that I will
  But until I can find me
  A girl who'll stay
  And won't play games behind me
  I'll be what I am
  A solitary man
  Solitary man, mm-mm, mm-mm
  Solitary man, mm-mm, mm-mm
  Solitary man

  WRITERS

             Case 3:23-cv-01092              Document 49-7     443 11/16/23
                                                             Filed            Page 10 of 473 PageID #: 1470
BCG_ID_11090_LF.txt[11/10/23, 10:58:11 AM]
  Neil Diamond

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7     444 11/16/23
                                                             Filed            Page 11 of 473 PageID #: 1471
BCG_ID_11090_LF.txt[11/10/23, 10:58:11 AM]
  Lyrics
  Come, come, come, coming at you
  Come, coming at you
  Come, coming at you, yo


  Peep the style and the kids checking for it
  The number one question is how could you ignore it
  We drop right back in the cut over basement tracks
  With raps that got you backing this up like (rewind that)
  We're just rolling with the rhythm
  Rise from the ashes of stylistic division
  With these non-stop lyrics of life living
  Not to be forgotten but still unforgiven
  But in the meantime there are those who want to
  Talk this and that, so I suppose that
  It gets to a point where feelings gotta get hurt
  And get dirty with the people spreading the dirt, it goes


  Try to give you warning but everyone ignores me
  (Told you everything loud and clear)
  But nobody's listening, call to you so clearly
  But you don't want to hear me
  (Told you everything loud and clear)
  But nobody's listening


  I got a heart full of pain, head full of stress
  Handful of anger, held in my chest
  And everything's left is a waste of time
  I hate my rhymes (but hate everyone else's more)
  I'm riding on the back of this pressure
  Guessing that it's better I can't keep myself together
  Because all of this stress gave me something to write on
  The pain gave me something I could set my sights on
  You never forget the blood, sweat, and tears
  The uphill struggle over years
  The fear and trash talking
  And the people it was to
  And the people that started it
  Just like you


  Try to give you warning but everyone ignores me
  (Told you everything loud and clear)
  But nobody's listening, call to you so clearly
  But you don't want to hear me
  (Told you everything loud and clear)
  But nobody's listening


  I got a heart full of pain, head full of stress
             Case 3:23-cv-01092              Document 49-7      445 11/16/23
                                                              Filed            Page 12 of 473 PageID #: 1472
BCG_ID_11092_LF.txt[11/10/23, 10:58:12 AM]
  Handful of anger, held in my chest
  Uphill struggle, blood, sweat, and tears
  Nothing to gain, everything to fear


  A heart full of pain, head full of stress
  Handful of anger, held in my chest
  Uphill struggle, blood, sweat, and tears
  Nothing to gain, everything to fear


  A heart full of pain, a heart full of pain
  Try to give you warning but everyone ignores me
  (Told you everything loud and clear)
  But nobody's listening
  Call to you so clearly but you don't want to hear me
  (Told you everything loud and clear)
  But nobody's listening


  I got a heart full of pain, head full of stress
  Nobody's listening
  Handful of anger, held in my chest
  Nobody's listening
  Uphill struggle, blood, sweat, and tears
  Nobody's listening
  Nothing to gain, everything to fear
  Nobody's listening


  Come, come, come, coming at you
  Come, come, come, coming at you
  Come, come, come, coming at you
  Come, come, come, coming at you from every side

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 13 of 473 PageID #: 1473
BCG_ID_11092_LF.txt[11/10/23, 10:58:12 AM]
  Lyrics
  I pulled into Nazareth, was feelin' 'bout half past dead
  I just need some place where I can lay my head
  Hey, Mister, can you tell me where a man might find a bed?
  He just grinned and shook my hand, "No," was all he said


  Take a load off, Fanny
  Take a load for free
  Take a load off, Fanny
  And (and, and) you put the load right on me (you put the load right on me)


  I picked up my bag, I went lookin' for a place to hide
  When I saw Carmen and the Devil walkin' side by side
  I said, "Hey, Carmen, come on let's go downtown"
  She said, "I gotta go, but my friend can stick around"


  Take a load off, Fanny
  Take a load for free
  Take a load off, Fanny
  And (and, and) you put the load right on me (you put the load right on me)


  Go down, Miss Moses, there's nothin' you can say
  It's just ol' Luke and Luke's waitin' on the Judgment Day
  Well, Luke, my friend, what about young Anna Lee?
  He said, "Do me a favor, son, won't you stay and keep Anna Lee company?"


  Take a load off, Fanny
  Take a load for free
  Take a load off, Fanny
  And (and, and) you put the load right on me (you put the load right on me)


  Crazy Chester followed me and he caught me in the fog
  He said, "I will fix your rack, if you'll take Jack, my dog"
  I said, "Wait a minute, Chester, you know I'm a peaceful man"
  He said, that's okay, boy, won't you feed him when you can?


  Take a load off, Fanny
  Take a load for free
  Take a load off, Fanny
  And (and, and) you put the load right on me (you put the load right on me)


  Catch a cannon ball now to take me down the line
  My bag is sinkin' low and I do believe it's time
  To get back to Miss Fanny, you know she's the only one
  Who sent me here with her, regards for everyone
             Case 3:23-cv-01092              Document 49-7     447 11/16/23
                                                             Filed             Page 14 of 473 PageID #: 1474
BCG_ID_11098_LF.txt[11/10/23, 10:58:12 AM]
  Take a load off, Fanny
  Take a load for free
  Take a load off, Fanny
  And (and, and) you put the load right on me (you put the load right on me)

  WRITERS

  Robbie Robertson

  PUBLISHERS

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                                                             Filed             Page 15 of 473 PageID #: 1475
BCG_ID_11098_LF.txt[11/10/23, 10:58:12 AM]
  Lyrics
  So if you're lonely
  You know I'm here waiting for you
  I'm just a crosshair
  I'm just a shot away from you
  And if you leave here
  You leave me broken, shattered, I lie
  I'm just a crosshair
  I'm just a shot, then we can die
  Ah


  I know I won't be leaving here with you


  I say, "don't you know?"
  You say you don't know
  I say, "take me out"


  I say, "you don't show"
  Don't move, time is slow
  I say, "take me out"


  I say, "you don't know"
  You say you don't go
  I say, "take me out"


  If I move, this could die
  If eyes move, this could die
  I want you to take me out


  I know I won't be leaving here (with you)
  I know I won't be leaving here
  I know I won't be leaving here (with you)
  I know I won't be leaving here with you


  I say, "don't you know?"
  You say you don't know
  I say, "take me out"


  If I wane, this could die
  If I wait, this could die
  I want you to take me out


  If I move, this could die
  Eyes move, this can die
             Case 3:23-cv-01092              Document 49-7     449 11/16/23
                                                             Filed            Page 16 of 473 PageID #: 1476
BCG_ID_11108_LF.txt[11/10/23, 10:58:12 AM]
  Come on, take me out


  I know I won't be leaving here (with you)
  I know I won't be leaving here
  I know I won't be leaving here (with you)
  I know I won't be leaving here with you

  WRITERS

  Alexander Paul Kapranos Huntley, Nicholas John Mccarthy, Paul Robert Thompson, Robert Hardy

  PUBLISHERS

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                                                             Filed            Page 17 of 473 PageID #: 1477
BCG_ID_11108_LF.txt[11/10/23, 10:58:12 AM]
  Lyrics
  I was cutting a rug
  Down at place called The Jug
  With a girl named Linda Lou
  When in walked a man
  With a gun in his hand
  And he was looking for you know who
  He said, "Hey there, fellow
  With the hair colored yellow
  Whatcha tryin' to prove?
  'Cause that's my woman there
  And I'm a man who cares
  And this might be all for you"
  I said, "excuse me?"


  I was scared and fearing for my life
  I was shaking like a leaf on a tree
  'Cause he was lean, mean
  Big and bad, Lord
  Pointin' that gun at me
  "Oh, wait a minute, mister
  I didn't even kiss her
  Don't want no trouble with you
  And I know you don't owe me
  But I wish you'd let me
  Ask one favor from you"


  "Oh, won't you
  Gimme three steps, gimme three steps, mister
  Gimme three steps towards the door?
  Gimme three steps, gimme three steps, mister
  And you'll never see me no more"


  For, sure


  Well the crowd cleared away
  And I began to pray
  And the water fell on the floor
  And I'm telling you, son
  Well, it ain't no fun
  Staring straight down a forty-four
  Well, he turned and screamed at Linda Lou
  And that's the break I was looking for
  And you could hear me screaming a mile away
  As I was headed out toward your door


  "Oh, won't you
  Gimme three steps, gimme three steps, mister
              Case 3:23-cv-01092             Document 49-7     451 11/16/23
                                                             Filed            Page 18 of 473 PageID #: 1478
BCG_ID_11110_LF.txt[11/10/23, 10:58:12 AM]
  Gimme three steps towards the door?
  Gimme three steps, gimme three steps, mister
  And you'll never see me no more"


  Show me the back door

  WRITERS

  Allen Collins, Ronnie Van Zant

  PUBLISHERS

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                                                             Filed            Page 19 of 473 PageID #: 1479
BCG_ID_11110_LF.txt[11/10/23, 10:58:12 AM]
  Lyrics
  I am woman, hear me roar
  In numbers too big to ignore
  And I know too much to go back an' pretend
  'Cause I've heard it all before
  And I've been down there on the floor
  No one's ever gonna keep me down again


  Oh yes, I am wise
  But it's wisdom born of pain
  Yes, I've paid the price
  But look how much I gained
  If I have to, I can do anything
  I am strong (strong)
  I am invincible (invincible)
  I am woman


  You can bend but never break me
  'Cause it only serves to make me
  More determined to achieve my final goal
  And I come back even stronger
  Not a novice any longer
  'Cause you've deepened the conviction in my soul


  Oh yes, I am wise
  But it's wisdom born of pain
  Yes, I've paid the price
  But look how much I gained
  If I have to, I can do anything
  I am strong (strong)
  I am invincible (invincible)
  I am woman


  I am woman, watch me grow
  See me standing toe to toe
  As I spread my lovin' arms across the land
  But I'm still an embryo
  With a long, long way to go
  Until I make my brother understand


  Oh yes, I am wise
  But it's wisdom born of pain
  Yes, I've paid the price
  But look how much I gained
  If I have to, I can face anything
  I am strong (strong)
  I am invincible (invincible)
  I am woman ah
             Case 3:23-cv-01092              Document 49-7     453 11/16/23
                                                             Filed            Page 20 of 473 PageID #: 1480
BCG_ID_11113_LF.txt[11/10/23, 10:58:13 AM]
  I am woman (I am woman)
  I am invincible
  I am strong


  I am woman (I am woman)
  I am invincible
  I am strong
  I am woman

  WRITERS

  Helen Reddy, Ray Burton

  PUBLISHERS

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                                                             Filed            Page 21 of 473 PageID #: 1481
BCG_ID_11113_LF.txt[11/10/23, 10:58:13 AM]
  Lyrics
  Graffiti decorations
  Under the sky of dust
  A constant wave of tension
  On top of broken trust
  The lessons that you taught me
  I learned were never true


  Now I find myself in question
  They point the finger at me again
  Guilty by association
  You point the finger at me again


  I wanna run away
  Never say goodbye
  I wanna know the truth
  Instead of wondering why
  I wanna know the answers
  No more lies
  I wanna shut the door
  And open up my mind


  Paper bags and angry voices
  Under a sky of dust
  Another wave of tension
  Has more than filled me up
  All my talk of taking action
  These words were never true


  Now I find myself in question
  They point the finger at me again
  Guilty by association
  You point the finger at me again


  I wanna run away
  Never say goodbye
  I wanna know the truth
  Instead of wondering why
  I wanna know the answers
  No more lies
  I wanna shut the door
  And open up my mind


  I'm gonna run away and never say goodbye
  Gonna run away, gonna run away
  Gonna run away, gonna run away
  I'm gonna run away and never wonder why
             Case 3:23-cv-01092              Document 49-7     455 11/16/23
                                                             Filed            Page 22 of 473 PageID #: 1482
BCG_ID_11115_LF.txt[11/10/23, 10:58:13 AM]
  Gonna run away, gonna run away
  Gonna run away, gonna run away
  I'm gonna run away and open up my mind
  Gonna run away, gonna run away (mind)
  Gonna run away, gonna run away (mind)
  Gonna run away, gonna run away (mind)
  Gonna run away, gonna run away (mind)


  I wanna run away
  Never say goodbye
  I wanna know the truth
  Instead of wondering why
  I wanna know the answers
  No more lies
  I wanna shut the door
  And open up my mind


  I wanna run away and open up my mind
  I wanna run away and open up my mind
  I wanna run away and open up my mind
  I wanna run away and open up my mind

  WRITERS

  Mike Shinoda, Brad Delson Brad Delson, Chester Charles Bennington, Mark Wakefield, Robert G. Bourdon, Joseph
  Hahn

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC




             Case 3:23-cv-01092              Document 49-7     456 11/16/23
                                                             Filed            Page 23 of 473 PageID #: 1483
BCG_ID_11115_LF.txt[11/10/23, 10:58:13 AM]
  Lyrics
  Call it magic, call it true
  I call it magic when I'm with you
  And I just got broken, broken into two
  Still, I call it magic when I'm next to you


  And I don't, and I don't, and I don't, and I don't
  No, I don't, it's true
  I don't, no, I don't, no, I don't, no, I don't
  Want anybody else but you


  I don't, no, I don't, no, I don't, no, I don't
  No, I don't, it's true
  I don't, no, I don't, no, I don't, no, I don't
  Want anybody else but you


  Ooh, ooh, ooh


  Call it magic, cut me into two
  And with all your magic, I disappear from view
  And I can't get over, can't get over you
  Still, I call it magic, such a precious truth


  And I don't, and I don't, and I don't, and I don't
  No, I don't, it's true
  I don't, no, I don't, no, I don't, no, I don't
  Want anybody else but you


  I don't, no, I don't, no, I don't, no, I don't
  No, I don't, it's true
  I don't, no, I don't, no, I don't, no, I don't
  Want anybody else but you


  Wanna fall, fall so far
  I wanna fall, fall so hard
  And I call it magic
  And I call it true
  I call it ma-ma-ma-magic


  Ooh ooh ooh
  Ooh ooh ooh
  Ooh ooh ooh
  Ooh ooh ooh


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                                                             Filed            Page 24 of 473 PageID #: 1484
BCG_ID_11116_LF.txt[11/10/23, 10:58:13 AM]
  And if you were to ask me
  After all that we've been through
  Still believe in magic?
  Oh yes, I do
  Oh yes, I do
  Oh yes, I do
  Oh yes, I do
  Of course, I do

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7     458 11/16/23
                                                             Filed            Page 25 of 473 PageID #: 1485
BCG_ID_11116_LF.txt[11/10/23, 10:58:13 AM]
  Lyrics
  Midnight gettin' uptight, where are you?
  You said you'd meet me, now, it's quarter to two
  I know I'm hangin' but I'm still wantin' you


  Hey Jack, it's a fact they're talkin' in town
  I turn my back and you're messin' around
  I'm not really jealous, don't like lookin' like a clown


  I think of you every night and day
  You took my heart and you took my pride away


  I hate myself for lovin' you
  Can't break free from the things that you do
  I wanna walk but I run back to you
  That's why I hate myself for loving you
  Ow, uh


  Daylight spent the night without you
  But I've been dreamin' 'bout the lovin' you do
  I'm over being angry 'bout the hell you put me through


  Hey man, bet you can treat me right
  You just don't know what you was missin' last night
  I wanna see you begging, say, "Forget it" just for spite


  I think of you every night and day
  You took my heart and you took my pride away


  I hate myself for loving you
  Can't break free from the things that you do
  I wanna walk but I run back to you
  That's why I hate myself for loving you
  Ow, uh


  I think of you every night and day
  You took my heart and you took my pride away


  I hate myself for loving you
  Can't break free from the things that you do
  I wanna walk but I run back to you
  That's why I hate myself for loving you


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                                                             Filed            Page 26 of 473 PageID #: 1486
BCG_ID_11121_LF.txt[11/10/23, 10:58:13 AM]
  I hate myself for loving you
  Can't break free from the things that you do
  I wanna walk but I run back to you
  That's why I hate myself for loving you


  I hate myself (ow, uh)
  For loving you (alright)
  I hate myself (ow, uh)
  For loving you
  I hate myself (ow, ow, ow)
  For loving you
  I hate myself (ow, uh)
  I hate myself for loving you

  WRITERS

  Desmond Child, Joan Jett

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7     460 11/16/23
                                                             Filed            Page 27 of 473 PageID #: 1487
BCG_ID_11121_LF.txt[11/10/23, 10:58:13 AM]
  Lyrics
  Uncle Ricky
  Would you read us a bedtime story?
  Please, huh? Please?
  Alright, you kids get to bed
  I'll get the story book
  Y'all tucked in? (yeah)
  Here we go


  Once upon a time not long ago
  When people wore pajamas and lived life slow
  When laws were stern and justice stood
  And people were behavin' like they ought ta good
  There lived a lil' boy who was misled
  By anotha lil' boy and this is what he said
  "Me and Ty, we gonna make sum cash
  Robbin' old folks and makin' the dash"
  They did the job, money came with ease
  But one couldn't stop, it's like he had a disease
  He robbed another and another and a sister and her brother (stick 'em up, stick 'em up)
  Tried to rob a man who was a D.T. undercover
  The cop grabbed his arm, he started acting erratic
  He said "Keep still, boy, no need for static"
  Punched him in his belly and he gave him a slap
  But little did he know the lil' boy was strapped
  The kid pulled out a gun, he said, "Why did ya hit me?"
  The barrel was set straight for the cop's kidney
  The cop got scared, the kid, he starts to figure
  "I'll do years if I pull this trigger"
  So he cold dashed and ran around the block
  Cop radios in to another lady cop
  He ran by a tree, there he saw the sister
  Shot for the head, he shot back but he missed her
  Looked around good and from expectations
  He decided he'd head for the subway stations
  But she was coming and he made a left
  He was runnin' top speed 'til he was outta breath
  Knocked an old man down and swore he killed him (sorry)
  Then he made his move to an abandoned building
  Ran up the stairs up to the top floor
  Opened up the door there, guess who he saw? (who?)
  Dave the dope fiend shootin' dope
  Who don't know the meaning of water nor soap
  He said "I need bullets, hurry up, run!"
  The dope fiend brought back a spanking shotgun
  He went outside but there was cops all over
  Then he dipped into a car, a stolen Nova
  Raced up the block doing 83
  Crashed into a tree near university
  Escaped alive though the car was battered
  Rat-a-tat-tatted and all the cops scattered
  Ran out of bullets and he still had static
             Case 3:23-cv-01092              Document 49-7     461 11/16/23
                                                             Filed            Page 28 of 473 PageID #: 1488
BCG_ID_11127_LF.txt[11/10/23, 10:58:14 AM]
  Grabbed a pregnant lady and out the automatic
  Pointed at her head and he said the gun was full o' lead
  He told the cops, "Back off or honey here's dead"
  Deep in his heart he knew he was wrong
  So he let the lady go and he starts to run on
  Sirens sounded, he seemed astounded
  Before long the lil' boy got surrounded
  He dropped the gun, so went the glory
  And this is the way I have end this story
  He was only seventeen, in a madman's dream
  The cops shot the kid, I still hear him scream
  This ain't funny so don't ya dare laugh
  Just another case 'bout the wrong path
  Straight 'n narrow or yo' soul gets cast


  Good night, knock 'em out the box Rick, knock 'em out Rick


  Oh boy, that Uncle Ricky he's really weird (knock 'em out the box Rick, knock 'em out Rick)
  I know right, what did he mean "Straight and narrow or yo' soul gets cast"?
  (knock 'em out the box Rick, knock 'em out Rick)
  I don't know, I think he be crackin' it up or something (knock 'em, knock 'em, knock 'em)
  Well, good night (knock 'em, knock 'em, knock 'em, knock 'em, knock 'em, knock 'em out Rick)
  Good night


  knock 'em out the box Rick, knock 'em out Rick
  knock 'em out the box Rick, knock 'em out Rick
  (knock 'em, knock 'em, knock 'em, knock 'em, knock 'em, knock 'em out Rick)
  (knock 'em, knock 'em, knock 'em, knock 'em, knock 'em, knock 'em out Rick)
  (knock 'em, knock 'em, knock 'em, knock 'em, knock 'em, knock 'em out Rick)
  (knock 'em, knock 'em, knock 'em, knock 'em, knock 'em, knock 'em out Rick)
  (knock 'em out Rick, knock 'em out Rick, knock 'em out Rick, knock 'em out Rick)
  (knock 'em out Rick, knock 'em out Rick, knock 'em out Rick, knock 'em out the box Rick)


  Another Vance Wright, Rick the Ruler presentation
  Crumbs!

  WRITERS

  Ricky M. L. Walters

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Kobalt Music Publishing Ltd.




             Case 3:23-cv-01092              Document 49-7     462 11/16/23
                                                             Filed            Page 29 of 473 PageID #: 1489
BCG_ID_11127_LF.txt[11/10/23, 10:58:14 AM]
  Lyrics
  A hundred days have made me older
  Since the last time that I've saw your pretty face
  A thousand lies have made me colder
  And I don't think I can look at this the same


  But all the miles that separate
  They disappear now when I'm dreamin' of your face


  I'm here without you baby
  But you're still on my lonely mind
  I think about you baby and I dream about you all the time
  I'm here without you baby
  But you're still with me in my dreams
  And tonight it's only you and me, yeah


  The miles just keep rollin'
  As the people leave their way to say hello
  I've heard this life is overrated
  But I hope that it gets better as we go, oh-oh yeah yeah


  I'm here without you baby
  But you're still on my lonely mind
  I think about you baby and I dream about you all the time
  I'm here without you baby
  But you're still with me in my dreams
  And tonight girl, it's only you and me


  Everything I know (yeah), and anywhere I go (yeah)
  It gets hard but it won't take away my love (yeah)
  And when the last one falls (oh-oh) when it's all said and done
  It gets hard but it won't take away my love, whoa, oh-oh


  I'm here without you baby
  But you're still on my lonely mind
  I think about you baby and I dream about you all the time


  I'm here without you baby
  But you're still with me in my dreams
  And tonight girl, it's only you and me, yeah, oh yeah
  Oh-oh, oh oh oh

  WRITERS

  Bradley Kirk Arnold, Christopher Lee Henderson, Matthew Darrick Roberts, Robert Todd Harrell

             Case 3:23-cv-01092              Document 49-7     463 11/16/23
                                                             Filed            Page 30 of 473 PageID #: 1490
BCG_ID_11131_LF.txt[11/10/23, 10:58:14 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7     464 11/16/23
                                                             Filed            Page 31 of 473 PageID #: 1491
BCG_ID_11131_LF.txt[11/10/23, 10:58:14 AM]
  Lyrics
  'Cause it's a bittersweet symphony, that's life
  Tryna make ends meet, you're a slave to money then you die
  I'll take you down the only road I've ever been down
  You know the one that takes you to the places where all the veins meet, yeah


  No change, I can change
  I can change, I can change
  But I'm here in my mold
  I am here in my mold
  But I'm a million different people
  From one day to the next
  I can't change my mold
  No, no, no, no, no
  Have you ever been down?


  Well, I've never prayed but tonight I'm on my knees, yeah
  I need to hear some sounds that recognize the pain in me, yeah
  I let the melody shine, let it cleanse my mind, I feel free now
  But the airwaves are clean and there's nobody singin' to me now


  No change, I can change
  I can change, I can change
  But I'm here in my mold
  I am here in my mold
  And I'm a million different people
  From one day to the next
  I can't change my mold
  No, no, no, no, no
  (Have you ever been down?)
  I can't change it, you know
  I can't change it, no


  'Cause it's a bittersweet symphony, that's life
  Tryna make ends meet, tryna find somebody then you die
  I'll take you down the only road I've ever been down
  You know the one that takes you to the places where all the veins meet, yeah


  You know I can change, I can change
  I can change, I can change
  But I'm here in my mold
  I am here in my mold
  And I'm a million different people
  From one day to the next
  I can't change my mold
  No, no, no, no, no


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                                                             Filed            Page 32 of 473 PageID #: 1492
BCG_ID_11135_LF.txt[11/10/23, 10:58:14 AM]
  I can't change my mold
  No, no, no, no, no
  I can't change my mold, no, no, no, no
  It's just sex and violence, melody and silence
  It's just sex and violence, melody and silence
  I'll take you down the only road I've ever been down
  I'll take you down the only road I've ever been down
  Been down
  Ever been down
  Ever been down
  Ever been down
  Ever been down
  Have you ever been down?
  Have you ever been down?
  Have you ever been down?

  WRITERS

  Keith Richards, Mick Jagger, Richard Ashcroft

  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7     466 11/16/23
                                                             Filed            Page 33 of 473 PageID #: 1493
BCG_ID_11135_LF.txt[11/10/23, 10:58:14 AM]
  Lyrics
  I was born by the river in a little tent
  Oh and just like the river I've been running ev'r since
  It's been a long, a long time coming
  But I know a change gonna come, oh yes it will


  It's been too hard living, but I'm afraid to die
  'Cause I don't know what's up there, beyond the sky
  It's been a long, a long time coming
  But I know a change gonna come, oh yes it will


  I go to the movie and I go downtown
  Somebody keep tellin' me don't hang around
  It's been a long, a long time coming
  But I know a change gonna come, oh yes it will


  Then I go to my brother
  And I say brother help me please
  But he winds up knockin' me
  Back down on my knees, oh


  There have been times that I thought I couldn't last for long
  But now I think I'm able to carry on
  It's been a long, a long time coming
  But I know a change is gonna come, oh yes it will

  WRITERS

  Sam Cooke

  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7     467 11/16/23
                                                             Filed            Page 34 of 473 PageID #: 1494
BCG_ID_11138_LF.txt[11/10/23, 10:58:14 AM]
  Lyrics
  Well when you're sitting there in your silk upholstered chair
  Talkin' to some rich folk that you know
  Well I hope you won't see me in my ragged company
  Well, you know I could never be alone


  Take me down little Susie, take me down
  I know you think you're the queen of the underground
  And you can send me dead flowers every morning
  Send me dead flowers by the mail
  Send me dead flowers to my wedding
  And I won't forget to put roses on your grave


  Well when you're sitting back in your rose pink Cadillac
  Making bets on Kentucky Derby Day
  Ah, I'll be in my basement room with a needle and a spoon
  And another girl to take my pain away


  Take me down little Susie, take me down
  I know you think you're the queen of the underground
  And you can send me dead flowers every morning
  Send me dead flowers by the mail
  Send me dead flowers to my wedding
  And I won't forget to put roses on your grave


  Take me down little Susie, take me down
  I know you think you're the queen of the underground
  And you can send me dead flowers every morning
  Send me dead flowers by the U.S. Mail
  Say it with dead flowers in my wedding
  And I won't forget to put roses on your grave
  No, I won't forget to put roses on your grave

  WRITERS

  Keith Richards, Mick Jaggers

  PUBLISHERS

  Lyrics © Abkco Music Inc.




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                                                             Filed            Page 35 of 473 PageID #: 1495
BCG_ID_11139_LF.txt[11/10/23, 10:58:14 AM]
  Lyrics
  Mama said there'll be days like this
  There'll be days like this, mama said
  (Mama said, mama said)
  Mama said there'll be days like this
  There'll be days like this, my mama said
  (Mama said, mama said)


  I went walking the other day and
  Everything was going fine
  Met a little boy named Billy Joe
  And then I almost lost my mind


  Mama said there'll be days like this
  There'll be days like this, my mama said
  (Mama said, mama said)
  Mama said there'll be days like this
  There'll be days like this, my mama said


  And then she said someone would look at me
  Like I'm looking at you someday
  Then I might find
  I don't want you any old way but I don't worry 'causre


  Mama said there'll be days like this
  There'll be days like this, my mama said
  (Mama said, mama said)
  Mama said there'll be days like this
  There'll be days like this, my mama said


  My eyes are wide open
  But all that I can see is
  Chapel bells a-tollin'
  For everyone but-a me but I don't worry 'cause


  Mama said there'll be days like this
  There'll be days like this, my mama said
  (Mama said, mama said)
  Mama said there'll be days like this
  There'll be days like this, my mama said


  (Mama said, mama said, hey, hey) don't you worry
  (Mama said, mama said, hey, hey) don't you worry, now
  (Mama said, mama said, hey, hey)
  (Mama said, mama said, hey, hey) mama said there'll be days like this
  (Mama said, mama said, hey, hey) there'll be days like this, my mama said
             Case 3:23-cv-01092              Document 49-7     469 11/16/23
                                                             Filed            Page 36 of 473 PageID #: 1496
BCG_ID_11143_LF.txt[11/10/23, 10:58:15 AM]
  (Mama said, mama said, hey, hey) mama said there'll be days like this
  (Mama said, mama said, hey, hey) there'll be days like this, my mama said
  (Mama said, mama said, hey, hey) don't you worry

  WRITERS

  Luther Dixon, Willie Denson

  PUBLISHERS

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                                                             Filed            Page 37 of 473 PageID #: 1497
BCG_ID_11143_LF.txt[11/10/23, 10:58:15 AM]
  Lyrics
  Well, you've got your diamonds and you've got your pretty clothes
  And the chauffeur drives your car
  You let everybody know
  But don't play with me, 'cause you're playing with fire


  Your mother she's an heiress, owns a block in Saint John's Wood
  And your father'd be there with her
  If he only could
  But don't play with me, 'cause you're playing with fire


  Your old man took her diamonds and tiaras by the score
  Now she gets her kicks in Stepney
  Not in Knightsbridge anymore
  So don't play with me, 'cause you're playing with fire


  Now you've got some diamonds and you will have some others
  But you'd better watch your step, girl
  Or start living with your mother
  So don't play with me, 'cause you're playing with fire
  So don't play with me, 'cause you're playing with fire

  WRITERS

  Nanker Phelge

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7     471 11/16/23
                                                             Filed            Page 38 of 473 PageID #: 1498
BCG_ID_11145_LF.txt[11/10/23, 10:58:15 AM]
  Lyrics
  She comes in colors everywhere
  She combs her hair
  She's like a rainbow
  Coming, colors in the air
  Oh, everywhere
  She comes in colors


  She comes in colors everywhere
  She combs her hair
  She's like a rainbow
  Coming, colors in the air
  Oh, everywhere
  She comes in colors


  Have you seen her dressed in blue?
  See the sky in front of you
  And her face is like a sail
  Speck of white so fair and pale
  Have you seen a lady fairer?


  She comes in colors everywhere
  She combs her hair
  She's like a rainbow
  Coming, colors in the air
  Mmm, everywhere
  She comes in colors


  Have you seen her all in gold?
  Like a queen in days of old
  She shoots colors all around
  Like a sunset going down
  Have you seen a lady fairer?


  She comes in colors everywhere
  She combs her hair
  She's like a rainbow
  Coming, colors in the air
  Oh, everywhere
  She comes in colors


  She's like a rainbow
  Coming, colors in the air
  Oh, everywhere
  She comes in colors

  WRITERS
             Case 3:23-cv-01092              Document 49-7     472 11/16/23
                                                             Filed            Page 39 of 473 PageID #: 1499
BCG_ID_11147_LF.txt[11/10/23, 10:58:15 AM]
  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Abkco Music Inc., Warner Chappell Music, Inc.




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                                                             Filed            Page 40 of 473 PageID #: 1500
BCG_ID_11147_LF.txt[11/10/23, 10:58:15 AM]
  Lyrics
  Let me tell you 'bout a place
  Somewhere up a New York way
  Where the people are so gay
  Twistin' the night away


  Here they have a lot of fun
  Puttin' trouble on the run
  Man, you find the old and young
  Twistin' the night away


  They're twistin', twistin'
  Everybody's feelin' great
  They're twistin', twistin'
  They're twistin' the night away


  Here's a man in evenin' clothes
  How he got here, I don't know, but
  Man, you oughta see him go
  Twistin' the night away


  He's dancin' with the chick in slacks
  She's a movin' up and back
  Oh man, there ain't nothin' like
  Twistin' the night away


  They're twistin', twistin'
  Everybody's feelin' great
  They're twistin', twistin'
  They're twistin' the night
  Let's twist a while


  Lean up, lean back
  Lean up, lean back
  Watusi, now fly, now twist
  They're twistin' the night away


  Here's a fella in blue jeans
  Dancin' with a older queen
  Who's dolled up in a diamond rings and
  Twistin' the night away


  Man, you oughta see her go
  Twistin' to the rock and roll
  Here you find the young and old
             Case 3:23-cv-01092              Document 49-7     474 11/16/23
                                                             Filed            Page 41 of 473 PageID #: 1501
BCG_ID_11151_LF.txt[11/10/23, 10:58:15 AM]
  Twistin' the night away


  They're twistin', twistin'
  Man, everybody's feelin' great
  They're twistin', twistin'
  They're twistin' the night


  One more time


  Lean up, lean back
  Lean up, lean back
  Watusi, now fly, now twist

  WRITERS

  Sam Cooke

  PUBLISHERS

  Lyrics © Kanjian Music, BMG Rights Management, Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7     475 11/16/23
                                                             Filed            Page 42 of 473 PageID #: 1502
BCG_ID_11151_LF.txt[11/10/23, 10:58:15 AM]
  Lyrics
  Don't know much about History
  Don't know much Biology
  Don't know much about a Science book
  Don't know much about the French I took


  But I do know that I love you
  And I know that if you love me too
  What a wonderful world this would be


  Don't know much about Geography
  Don't know much Trigonometry
  Don't know much about Algebra
  Don't know what a slide rule is for


  But I do know one and one is two
  And if this one could be with you
  What a wonderful world this would be


  Now, I don't claim to be an A student
  But I'm trying to be
  For maybe by being an A student, baby
  I can win your love for me


  Don't know much about History
  Don't know much Biology
  Don't know much about a Science book
  Don't know much about the French I took


  But I do know that I love you
  And I know that if you love me too
  What a wonderful world this would be


  La ta ta ta ta ta ta (History)
  Hmm (Biology)
  Oh, la ta ta ta ta ta ta ta (Science book)
  Hmm (French I took)


  Yeah, but I do know that I love you
  And I know that if you love me too
  What a wonderful world this would be

  WRITERS

  Herb Alpert, Lou Adler, Sam Cooke
             Case 3:23-cv-01092              Document 49-7     476 11/16/23
                                                             Filed            Page 43 of 473 PageID #: 1503
BCG_ID_11152_LF.txt[11/10/23, 10:58:15 AM]
  PUBLISHERS

  Lyrics © Kanjian Music, Songtrust Ave




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                                                             Filed            Page 44 of 473 PageID #: 1504
BCG_ID_11152_LF.txt[11/10/23, 10:58:15 AM]
  Lyrics
  Darling, you send me
  I know you send me
  Darling, you send me
  Honest, you do, honest, you do
  Honest, you do, whoa


  You thrill me
  I know you, you, you thrill me
  Darling, you, you, you, you thrill me
  Honest, you do


  At first I thought it was infatuation
  But, woo, it's lasted so long
  Now I find myself wanting
  To marry you and take you home, whoa


  You, you, you, you send me
  I know you send me
  I know you send me
  Honest you do


  Whoa-oh-oh, whenever I'm with you
  I know, I know, I know when I'm near you
  Mm hmm, mmm hmm, honest, you do, honest, you do
  Whoa-oh-oh, I know-oh-oh-oh


  I know, I know, I know, when you hold me
  Whoa, whenever you kiss me
  Mm hmm, mm hmm, honest you do


  At first I thought it was infatuation
  But, woo, it's lasted so long
  Now I find myself wanting
  To marry you and take you home


  I know, I know, I know you send me
  I know you send me
  Whoa, you, you, you, you send me
  Honest you do

  WRITERS

  Sam Cooke

  PUBLISHERS
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                                                             Filed            Page 45 of 473 PageID #: 1505
BCG_ID_11154_LF.txt[11/10/23, 10:58:16 AM]
  Lyrics © Kanjian Music, Tratore, Abkco Music Inc.




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                                                             Filed            Page 46 of 473 PageID #: 1506
BCG_ID_11154_LF.txt[11/10/23, 10:58:16 AM]
  Lyrics
  Closed off from love, I didn't need the pain
  Once or twice was enough and it was all in vain
  Time starts to pass, before you know it, you're frozen, ooh
  But something happened for the very first time with you
  My heart melts into the ground, found something true
  And everyone's looking 'round, thinking I'm going crazy, oh


  But I don't care what they say
  I'm in love with you
  They try to pull me away, but they don't know the truth
  My heart's crippled by the vein that I keep on closing
  You cut me open and I


  Keep bleeding, keep, keep bleeding love
  I keep bleeding, I keep, keep bleeding love
  Keep bleeding, keep, keep bleeding love
  You cut me open
  Oh yeah


  Trying hard not to hear, but they talk so loud
  Their piercing sounds fill my ears, try to fill me with doubt
  Yet I know that their goal is to keep me from falling, hey, oh
  But nothing's greater than the rush that comes with your embrace
  And in this world of loneliness, I see your face
  Yet everyone around me thinks that I'm going crazy
  Maybe, maybe


  But I don't care what they say
  I'm in love with you
  They try to pull me away, but they don't know the truth
  My heart's crippled by the vein that I keep on closing
  You cut me open and I


  Keep bleeding, keep, keep bleeding love
  I keep bleeding, I keep, keep bleeding love
  Keep bleeding, keep, keep bleeding love
  You cut me open, mm, mm


  And it's draining all of me
  Though they find it hard to believe
  I'll be wearing these scars for everyone to see


  I don't care what they say
  I'm in love with you
  They try to pull me away, but they don't know the truth
             Case 3:23-cv-01092              Document 49-7     480 11/16/23
                                                             Filed            Page 47 of 473 PageID #: 1507
BCG_ID_11198_LF.txt[11/10/23, 10:58:16 AM]
  My heart's crippled by the vein that I keep on closing
  Oh, you cut me open and I


  Keep bleeding, keep, keep bleeding love
  I keep bleeding, I keep, keep bleeding love
  Keep bleeding, keep, keep bleeding love
  Oh, you cut me open and I


  Keep bleeding, keep, keep bleeding love
  I keep bleeding, I keep, keep bleeding love
  Keep bleeding, keep, keep bleeding love
  I keep
  Oh, you cut me open and I
  Keep bleeding, keep, keep bleeding love

  WRITERS

  Jesse McCartney, Ryan Benjamin Tedder

  PUBLISHERS

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                                                             Filed            Page 48 of 473 PageID #: 1508
BCG_ID_11198_LF.txt[11/10/23, 10:58:16 AM]
  Lyrics
  Remember those walls I built
  Well, baby, they're tumbling down
  And they didn't even put up a fight
  They didn't even make a sound


  I found a way to let you win
  But I never really had a doubt
  Standing in the light of your halo
  I got my angel now


  It's like I've been awakened
  Every rule I had you breaking
  It's the risk that I'm taking
  I ain't never gonna shut you out


  Everywhere I'm looking now
  I'm surrounded by your embrace
  Baby, I can see your halo
  You know you're my saving grace


  You're everything I need and more
  It's written all over your face
  Baby, I can feel your halo
  Pray it won't fade away


  I can feel your halo (halo) halo
  I can see your halo (halo) halo
  I can feel your halo (halo) halo
  I can see your halo (halo) halo


  Hit me like a ray of sun
  Burning through my darkest night
  You're the only one that I want
  Think I'm addicted to your light


  I swore I'd never fall again
  But this don't even feel like falling
  Gravity can't begin
  To pull me back to the ground again


  Feels like I've been awakened
  Every rule I had you breaking
  The risk that I'm taking
  I'm never gonna shut you out
             Case 3:23-cv-01092              Document 49-7     482 11/16/23
                                                             Filed            Page 49 of 473 PageID #: 1509
BCG_ID_11201_LF.txt[11/10/23, 10:58:16 AM]
  Everywhere I'm looking now
  I'm surrounded by your embrace
  Baby, I can see your halo
  You know you're my saving grace


  You're everything I need and more
  It's written all over your face
  Baby, I can feel your halo
  Pray it won't fade away


  I can feel your halo (halo) halo
  I can see your halo (halo) halo
  I can feel your halo (halo) halo
  I can see your halo (halo) halo
  I can feel your halo (halo) halo
  I can see your halo (halo) halo


  I can feel your halo (halo) halo
  I can see your halo (halo) halo
  Halo, halo
  Ooh, ooh, ooh, ooh, ooh


  Everywhere I'm looking now
  I'm surrounded by your embrace
  Baby, I can see your halo
  You know you're my saving grace


  You're everything I need and more
  It's written all over your face
  Baby, I can feel your halo
  Pray it won't fade away


  I can feel your halo (halo) halo
  I can see your halo (halo) halo
  I can feel your halo (halo) halo
  I can see your halo (halo) halo


  I can feel your halo (halo) halo
  I can see your halo (halo) halo
  I can feel your halo (halo) halo
  I can see your halo (halo) halo

  WRITERS

  Beyonce Knowles, Evan Kidd Bogart, Ryan B. Tedder
             Case 3:23-cv-01092              Document 49-7     483 11/16/23
                                                             Filed            Page 50 of 473 PageID #: 1510
BCG_ID_11201_LF.txt[11/10/23, 10:58:16 AM]
  PUBLISHERS

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  Music Publishing Ltd.




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                                                             Filed            Page 51 of 473 PageID #: 1511
BCG_ID_11201_LF.txt[11/10/23, 10:58:16 AM]
  Lyrics
  She, she ain't real
  She ain't gon' be able to love you like I will
  She is a stranger
  You and I have history
  Or don't you remember
  Sure, she's got it all
  But, baby, is that really what you want


  Bless your soul, you got your head in the clouds
  She made a fool out of you
  And, boy, she's bringing you down
  She made your heart melt
  But you're cold to the core
  Now rumor has it she ain't got your love anymore


  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)


  She is half your age
  But I'm guessing that's the reason that you stayed
  I heard you've been missing me
  You've been telling people things you shouldn't be
  Like when we creep out and she ain't around
  Haven't you heard the rumors


  Bless your soul, you got your head in the clouds
  You made a fool out of me
  And, boy, you're bringing me down
  You made my heart melt, yet I'm cold to the core
  But rumor has it I'm the one you're leaving her for


  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)


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                                                             Filed            Page 52 of 473 PageID #: 1512
BCG_ID_11202_LF.txt[11/10/23, 10:58:16 AM]
  All of these words whispered in my ear
  Tell a story that I cannot bear to hear
  Just 'cause I said it, it don't mean that I meant it
  People say crazy things
  Just 'cause I said it, don't mean that I meant it
  Just 'cause you heard it


  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor-rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it (rumor)
  Rumor has it


  But rumor has it he's the one I'm leaving you for

  WRITERS

  Adele Laurie Blue Adkins, Ryan B. Tedder

  PUBLISHERS

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                                                             Filed            Page 53 of 473 PageID #: 1513
BCG_ID_11202_LF.txt[11/10/23, 10:58:16 AM]
  Lyrics
  So I heard you found somebody else
  And at first, I thought it was a lie
  I took all my things that make sounds
  The rest I can do without


  I don't want your body
  But I hate to think about you with somebody else
  Our love has gone cold
  You're intertwining your soul with somebody else
  I'm looking through you while you're looking through your phone
  And then leavin' with somebody else
  No, I don't want your body
  But I'm picturing your body with somebody else


  I don't want your body, I don't want your body
  I don't want your body, I don't want your body
  I don't want your body, I don't want your body
  I don't want your body, I don't want


  And come on, baby (I know)
  This ain't the last time that I'll see your face
  And come on, baby (I know)
  You said you'd find someone to take my place
  I just don't believe that you have got it in you
  'Cause we are just gonna keep doin' it
  And every time I start to believe in anything you're saying
  I'm reminded that I should be getting over it


  I don't want your body
  But I hate to think about you with somebody else
  Our love has gone cold
  You're intertwining your soul with somebody else
  I'm looking through you while you're looking through your phone
  And then leaving with somebody else
  No, I don't want your body
  But I'm picturing your body with somebody else


  I don't want your body, I don't want your body
  I don't want your body, I don't want your body
  I don't want your body, I don't want your body
  I don't want your body, I don't want your body, I


  Get someone you love?
  Get someone you need?
  Fuck that, get money
  I can't give you my soul 'cause we're never alone
             Case 3:23-cv-01092              Document 49-7     487 11/16/23
                                                             Filed            Page 54 of 473 PageID #: 1514
BCG_ID_11203_LF.txt[11/10/23, 10:58:17 AM]
  Get someone you love?
  Get someone you need?
  Fuck that, get money
  I can't give you my soul 'cause we're never alone
  Get someone you love?
  Get someone you need?
  Fuck that, get money
  I can't give you my soul 'cause we're never alone
  Get someone you love?
  Get someone you need?
  Fuck that, get money
  I can't give you my soul 'cause we're never alone


  I don't want your body
  But I hate to think about you with somebody else
  (I don't want your body)
  Our love has gone cold
  You're intertwining your soul with somebody else
  (I don't want your body)
  I'm looking through you while you're looking through your phone
  And then leaving with somebody else
  (I don't want your body)
  No, I don't want your body
  But I'm picturing your body with somebody else
  (I don't want your body)


  (I know)
  (I know)
  (I know)
  (I know)
  (I know)
  (I know)
  (I know)
  (I know)
  (I know)
  (I know)
  (I know)
  (I know)

  WRITERS

  George Bedford Daniel, Matthew Timothy Healy, Ross Stewart MacDonald, Adam Brian Thomas Hann

  PUBLISHERS

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                                                             Filed            Page 55 of 473 PageID #: 1515
BCG_ID_11203_LF.txt[11/10/23, 10:58:17 AM]
  Lyrics
  Close enough to start a war
  All that I have is on the floor
  God only knows what we're fighting for
  All that I say, you always say more


  I can't keep up with your turning tables
  Under your thumb, I can't breathe


  So, I won't let you close enough to hurt me
  No, I won't rescue you to just desert me
  I can't give you the heart you think you gave me
  It's time to say goodbye to turning tables
  To turning tables


  Under haunted skies, I see you, ooh
  Where love is lost, your ghost is found
  I braved a hundred storms to leave you
  As hard as you try, no I will never be knocked down


  I can't keep up with your turning tables
  Under your thumb, I can't breathe


  So, I won't let you close enough to hurt me
  No, I won't rescue you to just desert me
  I can't give you the heart you think you gave me
  It's time to say goodbye to turning tables
  Turning tables


  Next time I'll be braver
  I'll be my own savior
  When the thunder calls for me
  Next time I'll be braver
  I'll be my own savior
  Standing on my own two feet


  I won't let you close enough to hurt me
  No, I won't rescue you to just desert me
  I can't give you the heart you think you gave me
  It's time to say goodbye to turning tables
  To turning tables
  Turning tables, yeah
  Turn, oh, no, no

  WRITERS

             Case 3:23-cv-01092              Document 49-7     489 11/16/23
                                                             Filed            Page 56 of 473 PageID #: 1516
BCG_ID_11204_LF.txt[11/10/23, 10:58:17 AM]
  Adele Laurie Blue Adkins, Ryan B. Tedder

  PUBLISHERS

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                                                             Filed            Page 57 of 473 PageID #: 1517
BCG_ID_11204_LF.txt[11/10/23, 10:58:17 AM]
  Lyrics
  All smiles, I know what it takes to fool this town
  I'll do it 'til the sun goes down and all through the nighttime
  Oh yeah, oh yeah, I'll tell you what you wanna hear
  Keep my sunglasses on while I shed a tear
  It's never the right time, yeah, yeah


  I put my armor on, show you how strong I am
  I put my armor on, I'll show you that I am


  I'm unstoppable
  I'm a Porsche with no brakes
  I'm invincible
  And, I win every single game
  I'm so powerful
  I don't need batteries to play
  I'm so confident, yeah, I'm unstoppable today
  Unstoppable today, unstoppable today
  Unstoppable today, yeah, I'm unstoppable today


  Break down, only alone I will cry out loud
  You'll never see what's hiding out
  Hiding out deep down, yeah, yeah
  I know, I've heard that to let your feelings show
  Is the only way to make friendships grow
  But I'm too afraid now, yeah, yeah


  I put my armor on, show you how strong I am
  I put my armor on, I'll show you that I am


  I'm unstoppable
  I'm a Porsche with no brakes
  I'm invincible
  And, I win every single game
  I'm so powerful
  I don't need batteries to play
  I'm so confident, yeah, I'm unstoppable today
  Unstoppable today, unstoppable today
  Unstoppable today, yeah, I'm unstoppable today
  Unstoppable today, unstoppable today
  Unstoppable today, yeah, I'm unstoppable today


  I put my armor on, show you how strong I am
  I put my armor on, I'll show you that I am


  I'm unstoppable
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                                                             Filed            Page 58 of 473 PageID #: 1518
BCG_ID_11205_LF.txt[11/10/23, 10:58:17 AM]
  I'm a Porsche with no brakes
  I'm invincible
  Yeah, I win every single game
  I'm so powerful
  I don't need batteries to play
  I'm so confident, yeah, I'm unstoppable today
  Unstoppable today, unstoppable today
  Unstoppable today, yeah, I'm unstoppable today
  Unstoppable today, unstoppable today
  Unstoppable today, yeah, I'm unstoppable today

  WRITERS

  Christopher Braide, Sia Kate Furler

  PUBLISHERS

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                                                             Filed            Page 59 of 473 PageID #: 1519
BCG_ID_11205_LF.txt[11/10/23, 10:58:17 AM]
  Lyrics
  Yeah, breakfast at Tiffany's and bottles of bubbles
  Girls with tattoos who like getting in trouble
  Lashes and diamonds, ATM machines
  Buy myself all of my favorite things (yeah)


  Been through some bad shit, I should be a sad bitch
  Who woulda thought it'd turn me to a savage?
  Rather be tied up with calls and not strings
  Write my own checks like I write what I sing, yeah (yeah)


  My wrist, stop watchin', my neck is flossy
  Make big deposits, my gloss is poppin'
  You like my hair? Gee, thanks, just bought it
  I see it, I like it, I want it, I got it (yeah)


  I want it, I got it, I want it, I got it
  I want it, I got it, I want it, I got it
  You like my hair? Gee, thanks, just bought it
  I see it, I like it, I want it, I got it (yeah)


  Wearing a ring, but ain't gon' be no "Mrs."
  Bought matching diamonds for six of my bitches
  I'd rather spoil all my friends with my riches
  Think retail therapy my new addiction


  Whoever said money can't solve your problems
  Must not have had enough money to solve 'em
  They say, "Which one?" I say, "Nah, I want all of 'em"
  Happiness is the same price as red bottoms


  My smile is beamin', my skin is gleamin'
  The way it shine, I know you've seen it (you've seen it)
  I bought a crib just for the closet
  Both his and hers, I want it, I got it, yeah


  I want it, I got it, I want it, I got it
  I want it, I got it, I want it, I got it (baby)
  You like my hair? Gee, thanks, just bought it (oh yeah)
  I see it, I like it, I want it, I got it (yeah)


  Yeah, my receipts, be lookin' like phone numbers
  If it ain't money, then wrong number
  Black card is my business card
  The way it be settin' the tone for me
             Case 3:23-cv-01092              Document 49-7     493 11/16/23
                                                             Filed            Page 60 of 473 PageID #: 1520
BCG_ID_11209_LF.txt[11/10/23, 10:58:17 AM]
  I don't mean to brag, but I be like, "Put it in the bag," yeah
  When you see them racks, they stacked up like my ass, yeah
  Shoot, go from the store to the booth
  Make it all back in one loop, give me the loot
  Never mind, I got the juice
  Nothing but net when we shoot
  Look at my neck, look at my jet
  Ain't got enough money to pay me respect
  Ain't no budget when I'm on the set
  If I like it, then that's what I get, yeah


  I want it, I got it, I want it, I got it (yeah)
  I want it, I got it, I want it, I got it (oh yeah, yeah)
  You like my hair? Gee, thanks, just bought it
  I see it, I like it, I want it, I got it (yeah)

  WRITERS

  Ariana Grande, Njomza Vitia, Richard Rodgers, Taylor Monet Parks, Charles Michael Anderson, Kimberley Anne
  Krysiuk, Michael David Foster, Oscar II Hammerstein, Thomas Lee Brown, Victoria Monet McCants

  PUBLISHERS

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BCG_ID_11209_LF.txt[11/10/23, 10:58:17 AM]
  Lyrics
  When I get high I get high on speed
  Top fuel funny car's a drug for me
  My heart, my heart
  Kick start my heart
  Always got the cops coming after me
  Custom-built bike doing 103
  My heart, my heart
  Kick start my heart


  Oh, are you ready girls?
  Oh, are you ready now?
  Whoa, yeah
  Kick start my heart, give it a start
  Whoa, yeah, baby
  Whoa, yeah
  Kick start my heart, hope it never stops
  Whoa, yeah, baby, yeah


  Skydive naked from an aeroplane
  Or a lady with a body from outer space
  My heart, my heart
  Kick start my heart
  Say I got trouble, trouble in my eyes
  I'm just looking for another good time
  My heart, my heart
  Kick start my heart


  Yeah, are you ready girls?
  Yeah, are you ready now, now, now?
  Whoa, yeah
  Kick start my heart, give it a start
  Whoa, yeah, baby, whoa, yeah
  Kick start my heart, hope it never stops
  Whoa, yeah, baby


  When we started this band
  All we needed, needed was a laugh
  Years gone by, I'd say we've kicked some ass
  When I'm enraged or hittin' the stage
  Adrenaline rushing through my veins
  And I'd say we're still kickin' ass


  I say, ooh ah, kick start my heart
  I hope it never stops
  And to think, we did all of this to rock


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                                                             Filed            Page 62 of 473 PageID #: 1522
BCG_ID_11213_LF.txt[11/10/23, 10:58:18 AM]
  Whoa, yeah
  Kick start my heart, give it a start
  Whoa, yeah, b-b-b-b-b-b-baby
  Whoa, yeah
  Kick start my heart, hope it never stops
  Whoa, yeah, baby


  Whoa, yeah
  Kick start my heart, hope it never stops
  Whoa, yeah, baby
  Whoa, yeah
  Kick start my heart, give it a start
  Whoa, yeah
  Okay boys, let's rock the house


  That's all


  Kickstart my heart

  WRITERS

  Nikki Sixx

  PUBLISHERS

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  Warner Chappell Music, Inc.




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                                                             Filed            Page 63 of 473 PageID #: 1523
BCG_ID_11213_LF.txt[11/10/23, 10:58:18 AM]
  Lyrics
  I do the same thing I told you that I never would
  I told you I'd change, even when I knew I never could
  Know that I can't find nobody else as good as you
  I need you to stay, need you to stay, hey


  I get drunk, wake up, I'm wasted still
  I realize the time that I wasted here
  I feel like you can't feel the way I feel
  I'll be fucked up if you can't be right here


  Oh-whoa (oh-whoa-whoa)
  Oh-whoa (oh-whoa-whoa)
  Oh-whoa (oh-whoa-whoa)
  I'll be fucked up if you can't be right here


  I do the same thing I told you that I never would
  I told you I'd change, even when I knew I never could
  Know that I can't find nobody else as good as you
  I need you to stay, need you to stay, hey
  I do the same thing I told you that I never would
  I told you I'd change, even when I knew I never could
  Know that I can't find nobody else as good as you
  I need you to stay, need you to stay, hey


  When I'm away from you, I miss your touch (ooh)
  You're the reason I believe in love
  It's been difficult for me to trust (ooh)
  And I'm afraid that I'ma fuck it up
  Ain't no way that I can leave you stranded
  'Cause you ain't ever left me empty-handed
  And you know that I know that I can't live without you
  So, baby, stay


  Oh-whoa (oh-whoa-whoa)
  Oh-whoa (oh-whoa-whoa)
  Oh-whoa (oh-whoa-whoa)
  I'll be fucked up if you can't be right here


  I do the same thing I told you that I never would
  I told you I'd change, even when I knew I never could
  Know that I can't find nobody else as good as you
  I need you to stay, need you to stay, hey
  I do the same thing I told you that I never would
  I told you I'd change, even when I knew I never could
  Know that I can't find nobody else as good as you
  I need you to stay, need you to stay, hey
             Case 3:23-cv-01092              Document 49-7     497 11/16/23
                                                             Filed            Page 64 of 473 PageID #: 1524
BCG_ID_11217_LF.txt[11/10/23, 10:58:18 AM]
  Whoa-oh
  I need you to stay, need you to stay, hey

  WRITERS

  Blake Slatkin, Charlie Puth, Charlton Kenneth Jeffrey Howard, Isaac John D. De Boni, Justin Drew Bieber, Magnus
  Hoeiberg, Michael David Mule, Omer Fedi, Subhaan Rahmaan

  PUBLISHERS

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  LLC, Kobalt Music Publishing Ltd., Warner Chappell Music, Inc.




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                                                             Filed            Page 65 of 473 PageID #: 1525
BCG_ID_11217_LF.txt[11/10/23, 10:58:18 AM]
  Lyrics
  We built this city
  We built this city on rock and roll
  Built this city
  We built this city on rock and roll


  Say you don't know me or recognize my face
  Say you don't care who goes to that kind of place
  Knee-deep in the hoopla, sinking in your fight
  Too many runaways eating up the night


  Marconi plays the mamba
  Listen to the radio
  Don't you remember?
  We built this city
  We built this city on rock and roll


  We built this city
  We built this city on rock and roll
  Built this city
  We built this city on rock and roll


  Someone always playing corporation games
  Who cares, they're always changing corporation names
  We just want to dance here, someone stole the stage
  They call us irresponsible, write us off the page


  Marconi plays the mamba
  Listen to the radio
  Don't you remember?
  We built this city
  We built this city on rock and roll


  We built this city
  We built this city on rock and roll
  Built this city
  We built this city on rock and roll


  It's just another Sunday
  In a tired old street
  Police have got the chokehold (oh)
  Then we just lost the beat
  Who counts the money underneath the bar?
  Who writes the wrecking ball into our guitars?
  Don't tell us you need us 'cause we're the ship of fools
  Looking for America, coming through your schools
             Case 3:23-cv-01092              Document 49-7     499 11/16/23
                                                             Filed            Page 66 of 473 PageID #: 1526
BCG_ID_11218_LF.txt[11/10/23, 10:58:18 AM]
  (I'm looking out over that Golden Gate bridge)
  (On another gorgeous sunny Saturday)
  (And I'm seein' that bumper to bumper traffic)
  Don't you remember (remember), 'member ('member)
  (It's your favorite radio station in your favorite radio city)
  (The city by the bay, the city that rocks, the city that never sleeps)


  Marconi plays the mamba
  Listen to the radio
  Don't you remember?
  We built this city
  We built this city on rock and roll


  We built this city
  We built this city on rock and roll
  Built this city
  We built this city on rock and roll
  Built this city (ooh, ooh)
  We built this city on rock and roll
  Built this city
  We built this city on rock and roll


  We built, we built this city, yeah
  (Built this city) we built, we built this city
  We built, we built this city, yeah
  (Built this city) we built, we built this city
  We built, we built this city, yeah
  (Built this city) we built, we built this city
  We built, we built this city, yeah
  (Built this city) we built, we built this city

  WRITERS

  Martin George Page, Bernard J. P. Taupin, Dennis Lambert, Peter F. Wolf

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Word Collections Publishing




             Case 3:23-cv-01092              Document 49-7     500 11/16/23
                                                             Filed            Page 67 of 473 PageID #: 1527
BCG_ID_11218_LF.txt[11/10/23, 10:58:18 AM]
  Lyrics
  Ha ha ha ha ha
  Yo, I'll tell you what I want, what I really, really want
  So tell me what you want, what you really, really want
  I'll tell you what I want, what I really, really want
  So tell me what you want, what you really, really want
  I wanna, (ha) I wanna, (ha) I wanna, (ha) I wanna, (ha)
  I wanna really, really, really wanna zigazig ah


  If you want my future, forget my past
  If you wanna get with me, better make it fast
  Now don't go wasting my precious time
  Get your act together we could be just fine


  I'll tell you what I want, what I really, really want
  So tell me what you want, what you really, really want
  I wanna, (ha) I wanna, (ha) I wanna, (ha) I wanna, (ha)
  I wanna really, really, really wanna zigazig ah
  If you wanna be my lover, you gotta get with my friends
  (Gotta get with my friends)
  Make it last forever, friendship never ends
  If you wanna be my lover, you have got to give
  Taking is too easy, but that's the way it is


  Oh, what do you think about that?
  Now you know how I feel
  Say you can handle my love, are you for real?
  (Are you for real?)
  I won't be hasty, I'll give you a try
  If you really bug me then I'll say goodbye


  Yo, I'll tell you what I want, what I really, really want
  So tell me what you want, what you really, really want
  I wanna, (ha) I wanna, (ha) I wanna, (ha) I wanna, (ha)
  I wanna really, really, really wanna zigazig ah


  If you wanna be my lover, you gotta get with my friends
  (Gotta get with my friends)
  Make it last forever, friendship never ends
  If you wanna be my lover, you have got to give
  (You've got to give)
  Taking is too easy, but that's the way it is


  So, here's a story from A to Z
  You wanna get with me, you gotta listen carefully
  We got Em in the place who likes it in your face
  You got G like MC who likes it on a
             Case 3:23-cv-01092              Document 49-7      501 11/16/23
                                                              Filed            Page 68 of 473 PageID #: 1528
BCG_ID_11221_LF.txt[11/10/23, 10:58:18 AM]
  Easy V doesn't come for free, she's a real lady
  And as for me, ha you'll see


  Slam your body down and wind it all around
  Slam your body down and wind it all around


  If you wanna be my lover, you gotta get with my friends
  (Gotta get with my friends)
  Make it last forever, friendship never ends
  If you wanna be my lover, you have got to give
  (You've got to give)
  Taking is too easy, but that's the way it is


  If you wanna be my lover
  You gotta, you gotta, you gotta, you gotta, you gotta
  Slam, slam, slam, slam (make it last forever)


  Slam your body down and wind it all around
  Slam your body down and wind it all around
  Ha, ha, ha, ha, ha
  Slam your body down and wind it all around
  Slam your body down and zigazig ah
  If you wanna be my lover

  WRITERS

  Melanie Chisholm, Geri Halliwell, Victoria Beckham, Emma Bunton, Melanie Brown, Matthew Paul Rowbottom,
  Richard Stannard

  PUBLISHERS

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  Sony/ATV Music Publishing LLC, Peermusic Publishing




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                                                             Filed            Page 69 of 473 PageID #: 1529
BCG_ID_11221_LF.txt[11/10/23, 10:58:18 AM]
  Lyrics
  At first I was afraid, I was petrified
  Kept thinking I could never live without you by my side
  But then I spent so many nights thinking how you did me wrong
  And I grew strong
  And I learned how to get along


  And so you're back
  From outer space
  I just walked in to find you here
  With that sad look upon your face
  I should have changed that stupid lock
  I should have made you leave your key
  If I'd known for just one second
  You'd be back to bother me


  Go on now, go
  Walk out the door
  Just turn around now
  'Cause you're not welcome anymore
  Weren't you the one who tried to hurt me with goodbye?
  Did you think I'd crumble?
  Did you think I'd lay down and die?


  Oh no, not I
  I will survive
  Oh, as long as I know how to love, I know I'll stay alive
  I've got all my life to live
  And I've got all my love to give and I'll survive
  I will survive, hey, hey


  Only the Lord could give me strength not to fall apart
  Though I tried hard to mend the pieces of my broken heart
  And I spent oh-so many nights just feeling sorry for myself
  I used to cry
  But now I hold my head up high


  And you see me, somebody new
  I'm not that chained-up little person still in love with you
  And so you felt like dropping in
  And just expect me to be free
  Well, now I'm saving all my lovin'
  For someone who's loving me


  Go on now, go
  Walk out the door
  Just turn around now
             Case 3:23-cv-01092              Document 49-7      503 11/16/23
                                                              Filed            Page 70 of 473 PageID #: 1530
BCG_ID_11222_LF.txt[11/10/23, 10:58:19 AM]
  'Cause you're not welcome anymore
  Weren't you the one who tried to break me with goodbye?
  Did you think I'd crumble?
  Did you think I'd lay down and die?


  Oh no, not I
  I will survive
  And as long as I know how to love
  I know I'll stay alive
  I've got all my life to live
  And I've got all my love to give and I'll survive
  I will survive


  Oh
  Go on now, go
  Walk out the door
  Just turn around now
  'Cause you're not welcome anymore
  Weren't you the one who tried to break me with goodbye?
  Do you think I'd crumble?
  Did you think I'd lay down and die?


  No no, not I
  I will survive
  And as long as I know how to love
  I know I'll stay alive
  I've got all my life to live
  And I've got all my love to give and I will survive
  I will survive


  Go on now, go
  Walk out the door
  Just turn around now
  'Cause you're not welcome anymore
  Weren't you the one who tried to break me with goodbye?
  Did you think I'd crumble?
  Did you think I'd lay down and die?


  Oh no, not I
  I will survive
  And as long as I know how to love
  I know I'll stay alive
  I've got all my life to live
  And I've got all my love to give and I will survive
  I will survive
  I will survive

  WRITERS

             Case 3:23-cv-01092              Document 49-7     504 11/16/23
                                                             Filed            Page 71 of 473 PageID #: 1531
BCG_ID_11222_LF.txt[11/10/23, 10:58:19 AM]
  Dino Fekaris, Frederick J. Perren

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7     505 11/16/23
                                                             Filed            Page 72 of 473 PageID #: 1532
BCG_ID_11222_LF.txt[11/10/23, 10:58:19 AM]
  Lyrics
  Say something, I'm giving up on you
  I'll be the one, if you want me to
  Anywhere, I would've followed you
  Say something, I'm giving up on you


  And I am feeling so small
  It was over my head
  I know nothing at all


  And I will stumble and fall
  I'm still learning to love
  Just starting to crawl


  Say something, I'm giving up on you
  I'm sorry that I couldn't get to you
  Anywhere, I would've followed you
  Say something, I'm giving up on you


  And I will swallow my pride
  You're the one that I love
  And I'm saying goodbye


  Say something, I'm giving up on you
  And I'm sorry that I couldn't get to you
  And anywhere, I would have followed you, oh-oh
  Say something, I'm giving up on you


  Say something, I'm giving up on you
  Say something

  WRITERS

  Chad Vaccarino, Ian Axel, Mike Campbell

  PUBLISHERS

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                                                             Filed            Page 73 of 473 PageID #: 1533
BCG_ID_11223_LF.txt[11/10/23, 10:58:19 AM]
  Lyrics
  Whoa, oh, oh
  Whoa, oh, oh
  Whoa, oh, oh
  Whoa


  I'm waking up to ash and dust
  I wipe my brow and I sweat my rust
  I'm breathing in the chemicals


  I'm breaking in, shaping up, then checking out on the prison bus
  This is it, the apocalypse
  Whoa


  I'm waking up, I feel it in my bones
  Enough to make my systems blow
  Welcome to the new age, to the new age
  Welcome to the new age, to the new age
  Whoa, oh, oh, oh, oh, whoa, oh, oh, oh, I'm radioactive, radioactive
  Whoa, oh, oh, oh, oh, whoa, oh, oh, oh, I'm radioactive, radioactive


  I raise my flags, don my clothes
  It's a revolution, I suppose
  We'll paint it red to fit right in
  Whoa


  I'm breaking in, shaping up, then checking out on the prison bus
  This is it, the apocalypse
  Whoa


  I'm waking up, I feel it in my bones
  Enough to make my systems blow
  Welcome to the new age, to the new age
  Welcome to the new age, to the new age
  Whoa, oh, oh, oh, oh, whoa, oh, oh, oh, I'm radioactive, radioactive
  Whoa, oh, oh, oh, oh, whoa, oh, oh, oh, I'm radioactive, radioactive


  All systems go, the sun hasn't died
  Deep in my bones, straight from inside


  I'm waking up, I feel it in my bones
  Enough to make my systems blow
  Welcome to the new age, to the new age
  Welcome to the new age, to the new age
  Whoa, oh, oh, oh, oh, whoa, oh, oh, oh, I'm radioactive, radioactive
             Case 3:23-cv-01092              Document 49-7     507 11/16/23
                                                             Filed            Page 74 of 473 PageID #: 1534
BCG_ID_11224_LF.txt[11/10/23, 10:58:19 AM]
  Whoa, oh, oh, oh, oh, whoa, oh, oh, oh, I'm radioactive, radioactive

  WRITERS

  Joshua Francis Mosser, Alexander Junior Grant, Benjamin Arthur Mckee, Daniel Coulter Reynolds, Daniel Wayne
  Sermon

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7     508 11/16/23
                                                             Filed            Page 75 of 473 PageID #: 1535
BCG_ID_11224_LF.txt[11/10/23, 10:58:19 AM]
  Lyrics
  We've come a long, long way together
  Through the hard times and the good
  I have to celebrate you, baby
  I have to praise you like I should


  We've come a long, long way together
  Through the hard times and the good
  I have to celebrate you, baby
  I have to praise you like I should


  I have to praise you
  I have to praise you
  I have to praise you
  I have to praise you like I should


  I have to praise you
  I have to praise you
  I have to praise you


  We've come a long, long way together
  Through the hard times and the good
  I have to celebrate you, baby
  I have to praise you like I should


  I have to praise you
  I have to praise you
  I have to praise you
  I have to praise you


  I have to praise you
  I have to praise you
  I have to praise you
  I have to praise you like I should
  I have to praise you

  WRITERS

  Camille D. Yarbrough, Norman Cook

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 76 of 473 PageID #: 1536
BCG_ID_11226_LF.txt[11/10/23, 10:58:19 AM]
  Lyrics
  When the days are cold
  And the cards all fold
  And the saints we see
  Are all made of gold


  When your dreams all fail
  And the ones we hail
  Are the worst of all
  And the blood's run stale


  I wanna hide the truth
  I wanna shelter you
  But with the beast inside
  There's nowhere we can hide


  No matter what we breed
  We still are made of greed
  This is my kingdom come
  This is my kingdom come


  When you feel my heat
  Look into my eyes
  It's where my demons hide
  It's where my demons hide
  Don't get too close
  It's dark inside
  It's where my demons hide
  It's where my demons hide


  At the curtain's call
  It's the last of all
  When the lights fade out
  All the sinners crawl


  So they dug your grave
  And the masquerade
  Will come calling out
  At the mess you've made


  Don't wanna let you down
  But I am hellbound
  Though this is all for you
  Don't wanna hide the truth


             Case 3:23-cv-01092              Document 49-7     510 11/16/23
                                                             Filed            Page 77 of 473 PageID #: 1537
BCG_ID_11227_LF.txt[11/10/23, 10:58:20 AM]
  No matter what we breed
  We still are made of greed
  This is my kingdom come
  This is my kingdom come


  When you feel my heat
  Look into my eyes
  It's where my demons hide
  It's where my demons hide
  Don't get too close
  It's dark inside
  It's where my demons hide
  It's where my demons hide


  They say it's what you make
  I say it's up to fate
  It's woven in my soul
  I need to let you go


  Your eyes, they shine so bright
  I wanna save that light
  I can't escape this now
  Unless you show me how


  When you feel my heat
  Look into my eyes
  It's where my demons hide
  It's where my demons hide
  Don't get too close
  It's dark inside
  It's where my demons hide
  It's where my demons hide

  WRITERS

  Joshua Francis Mosser, Alex Grant, Benjamin Arthur McKee, Daniel Coulter Reynold, Daniel Wayne Sermon

  PUBLISHERS

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                                                             Filed            Page 78 of 473 PageID #: 1538
BCG_ID_11227_LF.txt[11/10/23, 10:58:20 AM]
  Lyrics
  I used to spend my nights out in a bar room
  Liquor was the only love I'd known
  But you rescued me from reaching for the bottom
  Brought me back from being too far gone


  You're as smooth as Tennesee whiskey
  You're as sweet as strawberry wine
  You're as warm as a glass of Brandy
  And I stay stoned on your love all the time


  I looked for love in all the same old places
  Found the bottom of the bottle's always dry
  But when you poured out your heart
  I didn't waste it
  'Cause there's nothing like your love to get me high


  You're as smooth as Tennesee whiskey
  You're as sweet as strawberry wine
  You're as warm as a glass of Brandy
  And I stay stoned on your love all the time
  I stay stoned on your love all the time

  WRITERS

  Linda H Bartholomew, Dean Dillon

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC




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                                                             Filed            Page 79 of 473 PageID #: 1539
BCG_ID_11228_LF.txt[11/10/23, 10:58:20 AM]
  Lyrics
  She just wants to be beautiful
  She goes unnoticed, she knows no limits
  She craves attention, she praises an image
  She prays to be sculpted by the sculptor
  Oh, she don't see the light that's shining
  Deeper than the eyes can find it
  Maybe we have made her blind
  So she tries to cover up her pain and cut her woes away
  'Cause covergirls don't cry after their face is made


  But there's a hope that's waiting for you in the dark
  You should know you're beautiful just the way you are
  And you don't have to change a thing, the world could change its heart
  No scars to your beautiful, we're stars and we're beautiful
  Oh-oh, oh
  Oh-oh, oh, oh
  And you don't have to change a thing, the world could change its heart
  No scars to your beautiful, we're stars and we're beautiful


  She has dreams to be an envy, so she's starving
  You know, covergirls eat nothing
  She says "Beauty is pain and there's beauty in everything"
  "What's a little bit of hunger?"
  "I can go a little while longer," she fades away
  She don't see her perfect, she don't understand she's worth it
  Or that beauty goes deeper than the surface, oh, oh
  So to all the girls that's hurting
  Let me be your mirror, help you see a little bit clearer
  The light that shines within


  There's a hope that's waiting for you in the dark
  You should know you're beautiful just the way you are
  And you don't have to change a thing, the world could change its heart
  No scars to your beautiful, we're stars and we're beautiful
  Oh-oh, oh
  Oh-oh, oh, oh
  And you don't have to change a thing, the world could change its heart
  No scars to your beautiful, we're stars and we're beautiful


  No better you than the you that you are (no better you than the you that you are)
  No better life than the life we're living (no better life than the life we're living)
  No better time for your shine, you're a star (no better time for your shine, you're a star)
  Oh, you're beautiful, oh, you're beautiful


  There's a hope that's waiting for you in the dark
  You should know you're beautiful just the way you are
  And you don't have to change a thing, the world could change its heart
             Case 3:23-cv-01092              Document 49-7     513 11/16/23
                                                             Filed               Page 80 of 473 PageID #: 1540
BCG_ID_11229_LF.txt[11/10/23, 10:58:20 AM]
  No scars to your beautiful, we're stars and we're beautiful
  Oh-oh, oh
  Oh-oh, oh, oh
  And you don't have to change a thing, the world could change its heart
  No scars to your beautiful, we're stars and we're beautiful

  WRITERS

  Alessia Caracciolo, Andrew Wansel, Coleridge Tillman, Warren Felder

  PUBLISHERS

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                                                             Filed            Page 81 of 473 PageID #: 1541
BCG_ID_11229_LF.txt[11/10/23, 10:58:20 AM]
  Lyrics
  Blue jean baby, L.A. lady, seamstress for the band
  Pretty eyed, pirate smile, you'll marry a music man
  Ballerina, you must've seen her dancing in the sand
  And now she's in me, always with me, tiny dancer in my hand


  Jesus freaks out in the street
  Handing tickets out for God
  Turning back, she just laughs
  The boulevard is not that bad
  Piano man, he makes his stand
  In the auditorium
  Looking on, she sings the songs
  The words she knows, the tune she hums


  But oh, how it feels so real
  Lying here with no one near
  Only you, and you can hear me
  When I say softly, slowly


  Hold me closer, tiny dancer
  Count the headlights on the highway
  Lay me down in sheets of linen
  You had a busy day today
  Hold me closer, tiny dancer
  Count the headlights on the highway
  Lay me down in sheets of linen
  You had a busy day today


  Blue jean baby, L.A. lady, seamstress for the band
  Pretty eyed, pirate smile, you'll marry a music man
  Ballerina, you must've seen her dancing in the sand
  Now she's in me, always with me, tiny dancer in my hand


  Oh, how it feels so real
  Lying here with no one near
  Only you, and you can hear me
  When I say softly, slowly


  Hold me closer, tiny dancer
  Count the headlights on the highway
  Lay me down in sheets of linen
  You had a busy day today
  Hold me closer, tiny dancer
  Count the headlights on the highway
  Lay me down in sheets of linen
  You had a busy day today
             Case 3:23-cv-01092              Document 49-7     515 11/16/23
                                                             Filed            Page 82 of 473 PageID #: 1542
BCG_ID_11231_LF.txt[11/10/23, 10:58:20 AM]
  WRITERS

  Bernie Taupin, Elton John

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 83 of 473 PageID #: 1543
BCG_ID_11231_LF.txt[11/10/23, 10:58:20 AM]
  Lyrics
  I thought love was only true in fairy tales
  Meant for someone else but not for me
  Love was out to get me
  That's the way it seemed
  Disappointment haunted all of my dreams
  Then I saw her face, now I'm a believer
  Not a trace, of doubt in my mind
  I'm in love, and I'm a believer
  I couldn't leave her if I tried
  No not if I tried
  I thought love was more or less a giving thing
  Seems the more I gave the less I got
  What's the use in tryin'
  All you get is pain
  When I needed sunshine I got rain
  Then I saw her face, now I'm a believer
  Not a trace, of doubt in my mind
  I'm in love and I'm a believer
  I couldn't leave her if I tried
  Not if I tried


  Love was out to get me
  That's the way it seemed
  Disappointment haunted all of my dreams
  What's the use of trying
  All you get is pain
  When I wanted sunshine I got rain
  Then I saw her face, now I'm a believer
  Not a trace, of doubt in my mind
  I'm in love and I'm a believer
  I couldn't leave her if I tried
  No not if I tried
  Not if I tried, no
  'Cause I'm a believer
  Yes I'm a believer

  WRITERS

  Neil Diamond

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC




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                                                             Filed            Page 84 of 473 PageID #: 1544
BCG_ID_11233_LF.txt[11/10/23, 10:58:20 AM]
  Lyrics
  Can't we just talk?
  Can't we just talk?
  Talk about where we're goin'
  Before we get lost
  Let me out first
  Can't get what we want without knowin'
  I've never felt like this before
  I apologize if I'm movin' too far
  Can't we just talk?
  Can't we just talk?
  Figure out where we're goin'


  Yeah
  Started off right
  I can see it in your eyes
  I can tell that you're wantin' more
  What's been on your mind?
  There's no reason we should hide
  Tell me somethin' I ain't heard before


  Oh, I've been dreamin' 'bout it
  And it's you I'm on
  So stop thinkin' 'bout it


  Can't we just talk?
  Can't we just talk?
  Talk about where we're goin'
  Before we get lost
  Let me out first (yeah)
  Can't get what we want without knowin' (no)
  I've never felt like this before
  I apologize if I'm movin' too far
  Can't we just talk?
  Can't we just talk?
  Figure out where we're goin'


  (Oh, nah)
  Penthouse view, left some flowers in the room
  I'll make sure I leave the door unlocked
  Now I'm on the way, swear I won't be late
  I'll be there by five o'clock


  Oh, you've been dreamin' 'bout it
  And I'm what you want
  So stop thinkin' 'bout it


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BCG_ID_11235_LF.txt[11/10/23, 10:58:21 AM]
  Can't we just talk? (Oh)
  Can't we just talk? (Na)
  Talk about where we're goin' (na na oh)
  Before we get lost
  Let me out first
  Can't get what we want without knowin' (na)
  I've never felt like this before
  I apologize if I'm movin' too far
  Can't we just talk? (Ooh!)
  Can't we just talk?
  Figure out where we're goin'


  (Figure out where we're goin')

  WRITERS

  Guy William Lawrence, Howard John Lawrence, Khalid Robinson

  PUBLISHERS

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                                                             Filed            Page 86 of 473 PageID #: 1546
BCG_ID_11235_LF.txt[11/10/23, 10:58:21 AM]
  Lyrics
  When are you gonna come down?
  When are you going to land?
  I should have stayed on the farm
  I should have listened to my old man


  You know you can't hold me forever
  I didn't sign up with you
  I'm not a present for your friends to open
  This boy's too young to be singing
  The blues, ah, ah


  So goodbye yellow brick road
  Where the dogs of society howl
  You can't plant me in your penthouse
  I'm going back to my plough


  Back to the howling old owl in the woods
  Hunting the horny back toad
  Oh, I've finally decided my future lies
  Beyond the yellow brick road
  Ah, ah


  What do you think you'll do then?
  I bet they'll shoot down the plane
  It'll take you a couple of vodka and tonics
  To set you on your feet again


  Maybe you'll get a replacement
  There's plenty like me to be found
  Mongrels who ain't got a penny
  Sniffing for tidbits like you
  On the ground, ah, ah


  So goodbye yellow brick road
  Where the dogs of society howl
  You can't plant me in your penthouse
  I'm going back to my plough


  Back to the howling old owl in the woods
  Hunting the horny back toad
  Oh, I've finally decided my future lies
  Beyond the yellow brick road
  Ah, ah

  WRITERS
             Case 3:23-cv-01092              Document 49-7     520 11/16/23
                                                             Filed            Page 87 of 473 PageID #: 1547
BCG_ID_11236_LF.txt[11/10/23, 10:58:21 AM]
  Bernard J. P. Taupin, Elton John

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 88 of 473 PageID #: 1548
BCG_ID_11236_LF.txt[11/10/23, 10:58:21 AM]
  Lyrics
  It's a little bit funny, this feelin' inside
  I'm not one of those who can easily hide
  I don't have much money, but boy, if I did
  I'd buy a big house where we both could live


  If I was a sculptor, but then again, no
  Or a man who makes potions in a travelin' show
  Oh, I know it's not much, but it's the best I can do
  My gift is my song and this one's for you


  And you can tell everybody this is your song
  It may be quite simple but now that it's done
  I hope you don't mind
  I hope you don't mind
  That I put down in words
  How wonderful life is while you're in the world


  I sat on the roof and kicked off the moss
  Well, a few of the verses, well, they've got me quite cross
  But the sun's been quite kind while I wrote this song
  It's for people like you that keep it turned on


  So excuse me forgettin', but these things I do
  You see, I've forgotten if they're green or they're blue
  Anyway, the thing is, what I really mean
  Yours are the sweetest eyes I've ever seen


  And you can tell everybody this is your song
  It may be quite simple but now that it's done
  I hope you don't mind
  I hope you don't mind
  That I put down in words
  How wonderful life is while you're in the world
  I hope you don't mind
  I hope you don't mind
  That I put down in words
  How wonderful life is while you're in the world

  WRITERS

  Elton John, Bernard J. P. Taupin

  PUBLISHERS

  Lyrics © Universal Music Publishing Group


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                                                             Filed            Page 89 of 473 PageID #: 1549
BCG_ID_11238_LF.txt[11/10/23, 10:58:21 AM]
  Lyrics
  Daylight
  I wake up feeling like you won't play right
  I used to know, but now that shit don't feel right
  It made me put away my pride
  So long
  You made a nigga wait for some, so long
  You make it hard for boy like that to go on
  I'm wishing I could make this mine, oh


  If you want it, yeah
  You can have it, oh, oh, oh
  If you need it, ooh
  We can make it, oh
  If you want it
  You can have it


  But stay woke
  Niggas creepin'
  They gon' find you
  Gon' catch you sleepin' (oh)
  Now stay woke
  Niggas creepin'
  Now don't you close your eyes


  Too late
  You wanna make it right, but now it's too late
  My peanut butter chocolate cake with Kool-Aid
  I'm trying not to waste my time


  If you want it, oh
  You can have it (you can have it)
  If you need it (you better believe in something)
  We can make it, oh
  If you want it
  You can have it, ah!


  But stay woke (stay woke)
  Niggas creepin' (they be creepin')
  They gon' find you (they gon' find you)
  Gon' catch you sleepin' (gon' catch you sleepin', put your hands up on me)
  Now stay woke
  Niggas creepin'
  Now don't you close your eyes


  But stay woke (ooh, ah)
  Niggas creepin'
             Case 3:23-cv-01092              Document 49-7     523 11/16/23
                                                             Filed             Page 90 of 473 PageID #: 1550
BCG_ID_11239_LF.txt[11/10/23, 10:58:21 AM]
  They gon' find you (they gon' find you)
  Gon' catch you sleepin' (gon' catch you, gon' catch you, ooh)
  Now stay woke
  Niggas creepin'
  Now don't you close your eyes


  How'd it get so scandalous?
  Oh, how'd it get so scandalous?
  Oh, oh, how'd it get, how'd it get
  How'd it get so scandalous?
  How'd it get so scandalous?
  How'd it get so scandalous?
  But stay woke
  But stay woke

  WRITERS

  Bootsy Collins, Donald McKinley Glover II, Gary Cooper, George S. Clinton Jr., Ludwig Emil Tomas Goransson,
  William Earl Collins

  PUBLISHERS

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                                                             Filed            Page 91 of 473 PageID #: 1551
BCG_ID_11239_LF.txt[11/10/23, 10:58:21 AM]
  Lyrics
  As a child, you would wait and watch from far away
  But you always knew that you'd be the one
  That work while they all play


  In youth, you'd lay awake at night and scheme
  Of all the things that you would change
  But it was just a dream


  Here we are, don't turn away now (don't turn away)
  We are the warriors that built this town
  Here we are, don't turn away now (don't turn away)
  We are the warriors that built this town
  From dust


  Will come
  When you will have to rise
  Above the best and prove yourself
  Your spirit never dies


  Farewell, I've gone to take my throne above
  But don't weep for me
  'Cause this will be the labor of my love


  Here we are, don't turn away now (don't turn away)
  We are the warriors that built this town
  Here we are, don't turn away now (don't turn away)
  We are the warriors that built this town
  From dust


  Here we are, don't turn away now (don't turn away)
  We are the warriors that built this town
  Here we are, don't turn away now (don't turn away)
  We are the warriors that built this town
  From dust

  WRITERS

  Alexander Junior Grant, Daniel Coulter Reynolds, Joshua Francis Mosser, Benjamin Arthur Mckee, Daniel James
  Platzman, Daniel Wayne Sermon

  PUBLISHERS

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BCG_ID_11245_LF.txt[11/10/23, 10:58:22 AM]
  Lyrics
  Just stop your crying
  It's a sign of the times
  Welcome to the final show
  Hope you're wearing your best clothes
  You can't bribe the door on your way to the sky
  You look pretty good down here
  But you ain't really good


  If we never learn, we been here before
  Why are we always stuck and running from
  The bullets?
  The bullets
  We never learn, we been here before
  Why are we always stuck and running from
  The bullets?
  The bullets


  Just stop your crying
  It's a sign of the times
  We gotta get away from here
  We gotta get away from here
  Just stop your crying
  It'll be alright
  They told me that the end is near
  We gotta get away from here


  Just stop your crying
  Have the time of your life
  Breaking through the atmosphere
  And things are pretty good from here
  Remember everything will be alright
  We can meet again somewhere
  Somewhere far away from here


  We never learn, we been here before
  Why are we always stuck and running from
  The bullets?
  The bullets
  We never learn, we been here before
  Why are we always stuck and running from
  The bullets?
  The bullets


  Just stop your crying
  It's a sign of the times
  We gotta get away from here
  We gotta get away from here
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                                                             Filed            Page 93 of 473 PageID #: 1553
BCG_ID_11246_LF.txt[11/10/23, 10:58:22 AM]
  Stop your crying
  Baby, it'll be alright
  They told me that the end is near
  We gotta get away from here


  We never learn, we been here before
  Why are we always stuck and running from
  The bullets?
  The bullets
  We never learn, we been here before
  Why are we always stuck and running from
  The bullets?
  The bullets


  We don't talk enough
  We should open up
  Before it's all too much
  Will we ever learn?
  We've been here before
  It's just what we know


  Stop your crying, baby
  It's a sign of the times
  We gotta get away
  We got to get away
  We got to get away
  We got to get away
  We got to get away
  We got to, we got to, away
  We got to, we got to, away
  We got to, we got to, away

  WRITERS

  Alex Raymond Salibian, Harry Edward Styles, Jeffrey Nath Bhasker, Mitchell Kristopher Rowland, Ryan Thomas
  Nasci, Tyler Sam Johnson

  PUBLISHERS

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                                                             Filed            Page 94 of 473 PageID #: 1554
BCG_ID_11246_LF.txt[11/10/23, 10:58:22 AM]
  Lyrics
  I remember when rock was young
  Me and Suzie had so much fun
  Holding hands and skimming stones
  Had an old gold Chevy and a place of my own
  But the biggest kick I ever got
  Was doing a thing called the Crocodile Rock
  While the other kids were Rocking Round the Clock
  We were hopping and bopping to the Crocodile Rock


  Well Crocodile Rocking is something shocking
  When your feet just can't keep still
  I never knew me a better time and I guess I never will
  Oh Lawdy mama those Friday nights
  When Suzie wore her dresses tight
  And the Crocodile Rocking was out of sight


  La lalalala la lalalala la lalalala la


  But the years went by and the rock just died
  Suzie went and left us for some foreign guy
  Long nights crying by the record machine
  Dreaming of my Chevy and my old blue jeans
  But they'll never kill the thrills we've got
  Burning up to the Crocodile Rock
  Learning fast as the weeks went past
  We really thought the Crocodile Rock would last


  Well Crocodile Rocking is something shocking
  When your feet just can't keep still
  I never knew me a better time and I guess I never will
  Oh Lawdy mama those Friday nights
  When Suzie wore her dresses tight
  And the Crocodile Rocking was out of sight


  La lalalala la lalalala la lalalala la


  I remember when rock was young
  Me and Suzie had so much fun
  Holding hands and skimming stones
  Had an old gold Chevy and a place of my own
  But the biggest kick I ever got
  Was doing a thing called the Crocodile Rock
  While the other kids were Rocking Round the Clock
  We were hopping and bopping to the Crocodile Rock


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BCG_ID_11248_LF.txt[11/10/23, 10:58:22 AM]
  Well Crocodile Rocking is something shocking
  When your feet just can't keep still
  I never knew me a better time and I guess I never will
  Oh Lawdy mama those Friday nights
  When Suzie wore her dresses tight
  And the Crocodile Rocking was out of sight


  La lalalala la lalalala la lalalala la
  La lalalala la lalalala la lalalala la
  La lalalala la lalalala la lalalala la

  WRITERS

  Bernie Taupin, Elton John

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 96 of 473 PageID #: 1556
BCG_ID_11248_LF.txt[11/10/23, 10:58:22 AM]
  Lyrics
  Let's stay together


  I, I'm I'm so in love with you
  Whatever you want to do
  Is all right with me
  Cause you make me feel so brand new
  And I want to spend my life with you


  Let me say that since, baby, since we've been together
  Ooh, loving you forever
  Is what I need
  Let me, be the one you come running to
  I'll never be untrue


  Oh baby
  Let's, let's stay together ('gether)
  Lovin' you whether, whether
  Times are good or bad, happy or sad
  Oh, oh, oh, oh, yeah
  Whether times are good or bad, happy or sad


  Why, somebody, why people break up?
  Oh, then turn around and make up
  I just can't see
  You'd never do that to me (would you, baby?)
  Just being around you is all I see
  Here's what I want us do


  Let's, we oughta stay together ('gether)
  Loving you whether, whether
  Times are good or bad, happy or sad
  Come on
  Let's stay, woo (let's stay together) let's stay together
  Loving you whether, whether times are good or bad

  WRITERS

  Willie Mitchell, Al Green, Al Jackson Jr

  PUBLISHERS

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                                                              Filed            Page 97 of 473 PageID #: 1557
BCG_ID_11251_LF.txt[11/10/23, 10:58:22 AM]
  Lyrics
  Hey kids, shake it loose together
  The spotlight's hitting something
  That's been known to change the weather
  We'll kill the fatted calf tonight, so stick around
  You're gonna hear electric music
  Solid walls of sound


  Say, Candy and Ronnie, have you seen them yet?
  Ooh, but they're so spaced out, B-B-B-Bennie and the Jets
  Oh but they're weird and they're wonderful
  Oh Bennie she's really keen
  She's got electric boots, a mohair suit
  You know I read it in a magazine, ohh-oh
  B-B-B-Bennie and the Jets


  Hey kids, plug into the faithless
  Maybe they're blinded
  But Bennie makes them ageless
  We shall survive, let us take ourselves along
  Where we fight our parents out in the streets
  To find who's right and who's wrong


  Oh Candy and Ronnie, have you seen them yet?
  Oh but they're so spaced out, B-B-B-Bennie and the Jets
  Oh they're so weird and they're wonderful
  Oh Bennie she's really keen
  She's got electric boots, a mohair suit
  You know I read it in a magazine, ohh-oh
  B-B-B-Bennie and the Jets


  Oh Candy and Ronnie, have you seen them yet?
  Oh but they're so spaced out, B-B-B-Bennie and the Jets
  Oh but they're weird and they're wonderful
  Oh Bennie she's really keen
  She's got electric boots, a mohair suit
  You know I read it in a magazine, ohh-oh
  B-B-B-Bennie and the Jets


  Bennie, Bennie and the Jets
  Bennie, Bennie, Bennie, Bennie and the Jets
  Bennie, Bennie, Bennie, Bennie, Bennie and the Jets


  Bennie, Bennie, Bennie, Bennie and the Jets
  Bennie, Bennie, Bennie, Bennie, Bennie, Bennie, Bennie, Bennie and the Jets
  Jets, Jets
  Bennie, Bennie, Bennie, Bennie, Bennie, Bennie, Bennie, Bennie, Bennie
             Case 3:23-cv-01092              Document 49-7     531 11/16/23
                                                             Filed            Page 98 of 473 PageID #: 1558
BCG_ID_11254_LF.txt[11/10/23, 10:58:22 AM]
  Bennie, Bennie and the Jets

  WRITERS

  Bernie Taupin, Elton John

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 99 of 473 PageID #: 1559
BCG_ID_11254_LF.txt[11/10/23, 10:58:22 AM]
  Lyrics
  Yeah
  You know what
  I like the playettes
  No diggity, no doubt, uh
  Play on playette, play on playette
  Yo, Dre, drop the verse


  It's going down, fade to Blackstreet
  The homies got at me, collab' creations
  Bump like acne, no doubt
  I put it down, never slouch
  As long as my credit can vouch
  A dog couldn't catch me ass out
  Tell me who can stop when Dre makin' moves
  Attracting honeys like a magnet
  Giving 'em eargasms with my mellow accent
  Still moving this flavor
  With the homies Blackstreet and Teddy
  The original rump shakers


  Shorty get down, good Lord
  Baby got 'em up open all over town
  Strictly biz, she don't play around
  Cover much grounds, got game by the pound
  Getting paid is her forte
  Each and every day, true player way
  I can't get her out of my mind (wow)
  I think about the girl all the time (wow, wow)
  East side to the west side
  Pushin' phat rides, it's no surprise
  She got tricks in the stash
  Stacking up the cash
  Fast when it comes to the gas
  By no means average
  She's on when she's got to have it
  Baby, you're a perfect ten, I wanna get in
  Can I get down, so I can win


  I like the way you work it
  No diggity
  I got to bag it up (bag it up)


  I like the way you work it
  No diggity (no diggity)
  I got to bag it up (bag it up, girl)


  I like the way you work it
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                                                             Filed            Page 100 of 473 PageID #: 1560
BCG_ID_11255_LF.txt[11/10/23, 10:58:23 AM]
  No diggity
  I got to bag it up (bag it up)


  I like the way you work it
  No diggity (no diggity)
  I got to bag it up (get up)


  She's got class and style
  Street knowledge by the pound
  Baby never act wild, very low key on the profile
  Catchin' feelings is a no
  Let me tell you how it goes
  Herb's the word, spin's the verbs
  Lovers, it curves, so freak what you heard
  Rollin' with the phatness
  You don't even know what the half is
  You've got to pay to play
  Just for shorty bang-bang, to look your way
  I like the way you work it
  Trump tight all day, every day
  You're blowing my mind, maybe in time
  Baby, I can get you in my ride


  I like the way you work it
  No diggity
  I got to bag it up (bag it up)


  I like the way you work it
  No diggity (no diggity)
  I got to bag it up (oh yeah, baby)


  I like the way you work it
  No diggity
  I got to bag it up (bag it up, babe)


  I like the way you work it
  No diggity (no diggity)
  I got to bag it up (get up)


  Hey yo, hey yo, hey yo, hey yo (hey yo, that girl looks good)
  Hey yo, hey yo, hey yo, hey yo (play on, play on, player)
  Hey yo, hey yo, hey yo, hey yo (you're my kind of girl)
  Hey yo, hey yo, hey yo, hey yo (hey yo)


  'Cause that's my peeps and we rolls deep
  Flyin' first class from New York City to Blackstreet
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BCG_ID_11255_LF.txt[11/10/23, 10:58:23 AM]
  What you know about me, not a motherfuckin' thing
  Cartier wooded frames sported by my shorty
  As for me, icy gleaming pinky diamond ring
  We be's the baddest clique up on the scene
  Ain't you getting bored with these fake ass broads
  I shows and proves, no doubt, I be taking you, so
  Please excuse, if I come across rude
  That's just me and that's how a playettes got to be
  Stay kickin' game with a capital G
  Ask the peoples on my block, I'm as real as can be
  Word is bond, faking moves never been my thing
  So, Teddy, pass the word to your nigga Chauncey
  I'll be sending the call, let's say around three thirty
  Queen Pen and Blackstreet, it's no diggity (no diggity, no doubt, baby)


  I like the way you work it
  No diggity
  I got to bag it up (girl, you got it goin' on)


  I like the way you work it
  No diggity (no diggity)
  I got to bag it up


  I like the way you work it
  No diggity
  I got to bag it up


  I like the way you work it
  No diggity
  I got to bag it up (get up)


  Yeah, come on
  Becky in full effect (no doubt)
  Lisa in full effect (right)
  Vicky in full effect (uh huh)
  Tameka in full effect (yeah)
  Blaze in full effect (right)
  Ain't nothing goin' on but the rent (no doubt)
  Yeah
  Play on, playette (play on, playette)
  Play on (play on)
  Play on (play on)
  'Cause I like it (right)
  No diggity, no doubt, yeah
  Blackstreet Productions
  We out, we out (right)
  We out, we out

  WRITERS
        Case 3:23-cv-01092                   Document 49-7      53511/16/23
                                                             Filed            Page 102 of 473 PageID #: 1562
BCG_ID_11255_LF.txt[11/10/23, 10:58:23 AM]
  Bill Withers, Chauncey Hannibal, Lynise Walters, Richard Vick, Teddy Riley, William Stewart

  PUBLISHERS

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                                                             Filed            Page 103 of 473 PageID #: 1563
BCG_ID_11255_LF.txt[11/10/23, 10:58:23 AM]
  Lyrics
  I've been reading books of old
  The legends and the myths
  Achilles and his gold
  Hercules and his gifts
  Spider-Man's control
  And Batman with his fists
  And clearly I don't see myself upon that list


  But she said, where'd you wanna go?
  How much you wanna risk?
  I'm not lookin' for somebody
  With some superhuman gifts
  Some superhero
  Some fairy-tale bliss
  Just something I can turn to
  Somebody I can kiss


  I want something just like this
  Doo-doo-doo, doo-doo-doo
  Doo-doo-doo, doo-doo
  Doo-doo-doo, doo-doo-doo
  Oh, I want something just like this
  Doo-doo-doo, doo-doo-doo
  Doo-doo-doo, doo-doo
  Doo-doo-doo, doo-doo-doo
  Oh, I want something just like this


  I want something just like this


  I've been reading books of old
  The legends and the myths
  The testaments they told
  The moon and its eclipse
  And Superman unrolls
  A suit before he lifts
  But I'm not the kind of person that it fits


  She said, where'd you wanna go?
  How much you wanna risk?
  I'm not lookin' for somebody
  With some superhuman gifts
  Some superhero
  Some fairy-tale bliss
  Just something I can turn to
  Somebody I can miss


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                                                             Filed            Page 104 of 473 PageID #: 1564
BCG_ID_11256_LF.txt[11/10/23, 10:58:23 AM]
  I want something just like this
  I want something just like this


  Oh, I want something just like this
  Doo-doo-doo, doo-doo-doo
  Doo-doo-doo, doo-doo
  Doo-doo-doo, doo-doo-doo
  Oh, I want something just like this
  Doo-doo-doo, doo-doo-doo
  Doo-doo-doo, doo-doo
  Doo-doo-doo, doo-doo-doo


  Where'd you wanna go?
  How much you wanna risk?
  I'm not lookin' for somebody
  With some superhuman gifts
  Some superhero
  Some fairy-tale bliss
  Just something I can turn to
  Somebody I can kiss
  I want something just like this


  Oh, I want something just like this
  Oh, I want something just like this
  Oh, I want something just like this

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion, Andrew
  Taggart

  PUBLISHERS

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                                                             Filed            Page 105 of 473 PageID #: 1565
BCG_ID_11256_LF.txt[11/10/23, 10:58:23 AM]
  Lyrics
  Hey!


  Golden, golden, golden
  As I open my eyes
  Hold it, focus, hoping
  Take me back to the light
  I know you were way too bright for me
  I'm hopeless, broken
  So you wait for me in the sky
  Browns my skin just right


  You're so golden
  You're so golden
  I'm out of my head
  And I know that you're scared
  Because hearts get broken


  I don't wanna be alone
  I don't wanna be alone
  When it ends
  Don't wanna let you know
  I don't wanna be alone
  But I, I can feel it take a hold (I can feel it take a hold)
  I can feel you take control (I can feel you take control)
  Of who I am and all I've ever known
  Loving you's the antidote


  Golden
  You're so golden
  I don't wanna be alone
  You're so golden
  You're so golden
  I'm out of my head
  And I know that you're scared
  Because hearts get broken


  (Golden, golden, golden, golden)
  (Golden, golden, golden, golden)
  (Golden, golden, golden, golden)
  (Golden, golden, golden, golden)
  (Golden, golden, golden, golden)
  (Golden, golden, golden, golden)
  (Golden, golden, golden, golden)
  I know that you're scared
  Because I'm so open


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BCG_ID_11258_LF.txt[11/10/23, 10:58:23 AM]
  You're so golden
  I don't wanna be alone
  You're so golden
  You're so golden
  You're so golden
  I'm out of my head
  And I know that you're scared
  Because hearts get broken

  WRITERS

  Harry Edward Styles, Mitchell Kristopher Rowland, Thomas Edward Percy Hull, Tyler Sam Johnson

  PUBLISHERS

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                                                             Filed            Page 107 of 473 PageID #: 1567
BCG_ID_11258_LF.txt[11/10/23, 10:58:23 AM]
  Lyrics
  When the truth is found to be lies
  And all the joy within you dies
  Don't you want somebody to love
  Don't you need somebody to love
  Wouldn't you love somebody to love
  You better find somebody to love
  Love, love


  When the garden flowers, baby are dead, yes and
  Your mind, your mind is so full of red
  Don't you want somebody to love
  Don't you need somebody to love
  Wouldn't you love somebody to love
  You better find somebody to love


  Your eyes, I say your eyes may look like his
  Yeah, but in your head, baby
  I'm afraid you don't know where it is
  Don't you want somebody to love
  Don't you need somebody to love
  Wouldn't you love somebody to love
  You better find somebody to love


  Tears are running down
  They're all running down your breast
  And your friends, baby
  They treat you like a guest
  Don't you want somebody to love
  Don't you need somebody to love
  Wouldn't you love somebody to love
  You better find somebody to love

  WRITERS

  Darby R. Slick

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      54111/16/23
                                                             Filed            Page 108 of 473 PageID #: 1568
BCG_ID_11260_LF.txt[11/10/23, 10:58:24 AM]
  Lyrics
  The devil went down to Georgia, he was lookin' for a soul to steal
  He was in a bind 'cause he was way behind
  And he was willin' to make a deal


  When he came across this young man sawin' on a fiddle and playin' it hot
  And the devil jumped up on a hickory stump
  And said, "boy, let me tell you what"


  "I guess you didn't know it but I'm a fiddle player too
  And if you'd care to take a dare, I'll make a bet with you
  Now you play a pretty good fiddle, boy
  But give the devil his due
  I'll bet a fiddle of gold against your soul
  'Cause I think I'm better than you"


  The boy said, "my name's Johnny and it might be a sin
  But I'll take your bet, you're gonna regret
  'Cause I'm the best there's ever been"


  Johnny, rosin up your bow and play your fiddle hard
  'Cause Hell's broke loose in Georgia, and the devil deals the cards
  And if you win, you get this shiny fiddle made of gold
  But if you lose, the devil gets your soul


  The devil opened up his case and he said, "I'll start this show"
  And fire flew from his fingertips as he rosined up his bow
  And he pulled the bow across the strings
  And it made a evil hiss
  Then a band of demons joined in
  And it sounded something like this


  When the devil finished, Johnny said, "well, you're pretty good, ol' son
  But sit down in that chair right there
  And let me show you how it's done"


  "Fire on the Mountain" run boys, run
  The devil's in the House of the Rising Sun
  Chicken in a bread pan pickin' out dough
  Granny, does your dog bite? No, child, no


  The devil bowed his head because he knew that he'd been beat
  And he laid that golden fiddle on the ground at Johnny's feet
  Johnny said, "Devil, just come on back if you ever wanna try again
  I done told you once you son of a bitch, I'm the best that's ever been"
             Case 3:23-cv-01092              Document 49-7      54211/16/23
                                                             Filed            Page 109 of 473 PageID #: 1569
BCG_ID_11261_LF.txt[11/10/23, 10:58:24 AM]
  He played "Fire on the Mountain" run boys, run
  The devil's in the House of the Rising Sun
  The chicken in a bread pan pickin' out dough
  Granny, will your dog bite? No child, no

  WRITERS

  Charles Fred Hayward, Charlie Daniels, Fred Edwards, James W. Marshall, John Crain, William J. Digregorio

  PUBLISHERS

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                                                             Filed            Page 110 of 473 PageID #: 1570
BCG_ID_11261_LF.txt[11/10/23, 10:58:24 AM]
  Lyrics
  I thought I saw a man brought to life
  He was warm, he came around like he was dignified
  He showed me what it was to cry
  Well, you couldn't be that man I adored
  You don't seem to know, or seem to care what your heart is for
  But I don't know him anymore


  There's nothin' where he used to lie
  The conversation has run dry
  That's what's goin' on


  Nothing's fine, I'm torn
  I'm all out of faith
  This is how I feel
  I'm cold and I am shamed
  Lying naked on the floor
  Illusion never changed
  Into something real
  I'm wide awake and I can see
  The perfect sky is torn
  You're a little late
  I'm already torn


  So I guess the fortune teller's right
  Should've seen just what was there and not some holy light
  But you crawled beneath my veins and now


  I don't care, I had no luck
  I don't miss it all that much
  There's just so many things


  That I can touch, I'm torn
  I'm all out of faith
  This is how I feel
  I'm cold and I am shamed
  Lying naked on the floor
  Illusion never changed
  Into something real
  I'm wide awake and I can see
  The perfect sky is torn
  You're a little late
  I'm already torn
  Torn


  There's nothing where he used to lie
  My inspiration has run dry
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                                                             Filed            Page 111 of 473 PageID #: 1571
BCG_ID_11262_LF.txt[11/10/23, 10:58:24 AM]
  And that's what's goin' on


  Nothing's right, I'm torn
  I'm all out of faith
  This is how I feel
  I'm cold and I am shamed
  Lying naked on the floor
  Illusion never changed
  Into something real
  I'm wide awake and I can see
  The perfect sky is torn
  I'm all out of faith
  This is how I feel
  I'm cold and I'm ashamed
  Bound and broken on the floor
  You're a little late
  I'm already torn
  Torn
  Oh

  WRITERS

  Scott Cutler, Anne Preven, Phil Thornalley

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC




             Case 3:23-cv-01092              Document 49-7      54511/16/23
                                                             Filed            Page 112 of 473 PageID #: 1572
BCG_ID_11262_LF.txt[11/10/23, 10:58:24 AM]
  Lyrics
  If you leave me now
  You'll take away the biggest part of me
  Ooh-ooh, no, baby please don't go
  And if you leave me now
  You'll take away the very heart of me
  Ooh-ooh, no, baby please don't go
  Ooh-ooh, girl, I just want you to stay


  A love like ours is love that's hard to find
  How could we let it slip away?
  We've come too far to leave it all behind
  How could we end it all this way?
  When tomorrow comes and we'll both regret
  The things we said today


  A love like ours is love that's hard to find
  How could we let it slip away?
  We've come too far to leave it all behind
  How could we end it all this way?
  When tomorrow comes and we'll both regret
  The things we said today


  If you leave me now
  You'll take away the biggest part of me
  Ooh-ooh, no, baby please don't go


  Ooh, girl, just got to have you by my side


  Ooh-ooh, no, baby please don't go


  Ooh, my, my, I just got to have your loving (hey, hey)

  WRITERS

  Peter Cetera

  PUBLISHERS

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  Music Group




             Case 3:23-cv-01092              Document 49-7      54611/16/23
                                                             Filed            Page 113 of 473 PageID #: 1573
BCG_ID_11270_LF.txt[11/10/23, 10:58:24 AM]
  Lyrics
  Run away-ay with me
  Lost souls in revelry (hey)
  Running wild and running free
  Two kids, you and me (hey)


  And I say, hey, hey hey hey
  Living like we're renegades
  Hey hey hey, hey hey hey
  Living like we're renegades
  Renegades, renegades


  Long live the pioneers
  Rebels and mutineers (hey)
  Go forth and have no fear
  Come close and lend an ear (hey)


  And I say, hey, hey hey hey
  Living like we're renegades
  Hey hey hey, hey hey hey
  Living like we're renegades
  Renegades, renegades


  All hail the underdogs
  All hail the new kids
  All hail the outlaws (hey)
  Spielbergs and Kubricks


  It's our time to make a move
  It's our time to make amends
  It's our time to break the rules (hey)
  Let's begin


  And I say, hey, hey hey hey
  Living like we're renegades
  Hey hey hey, hey hey hey
  Living like we're renegades
  Renegades, renegades

  WRITERS

  Adam Levin, Alexander Junior Grant, Casey Wakeley Harris, Noah G. Feldshuh, Samuel Nelson Harris

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      54711/16/23
                                                             Filed            Page 114 of 473 PageID #: 1574
BCG_ID_11272_LF.txt[11/10/23, 10:58:24 AM]
  Lyrics
  My anaconda don't, my anaconda don't
  My anaconda don't want none unless you got buns, hun


  Boy toy named Troy used to live in Detroit
  Big dope dealer money, he was gettin' some coins
  Was in shootouts with the law, but he live in a palace
  Bought me Alexander McQueen, he was keeping me stylish
  Now that's real, real, real
  Gun in my purse, bitch, I came dressed to kill
  Who wanna go first? I had 'em pushing daffodils
  I'm high as hell, I only took a half a pill
  I'm on some dumb shit


  By the way (hey), what he say? (Hey)
  He can tell I ain't missing no meals (hey)
  Come through and fuck him in my automobile (hey)
  Let him eat it with his grills, he keep tellin' me to chill (hey)
  He keep telling me it's real, that he love my sex appeal (hey)
  He say don't like 'em boney, he want something he can grab (hey)
  So I pulled up in the Jag', and I hit him with the jab like (hey)
  Dun-d-d-dun-dun-d-d-dun-dun (hey, hey)


  My anaconda don't, my anaconda don't
  My anaconda don't want none unless you got buns, hun


  Oh my gosh, look at her butt (damn, damn)
  Oh my gosh, look at her butt (damn, damn)
  Oh my gosh, look at her butt (damn, damn)
  (Look at her butt) (damn)
  Look at, look at, look at
  Look, at her butt


  This dude named Michael used to ride motorcycles
  Dick bigger than a tower, I ain't talking about Eiffel's
  Real country-ass nigga, let me play with his rifle
  Pussy put his ass to sleep, now he calling me NyQuil
  Now that bang, bang, bang
  I let him hit it 'cause he slang Cocaine
  He toss my salad like his name Romaine
  And when we done, I make him buy me Balmain
  I'm on some dumb shit


  By the way, what he say? (Ooh, hey)
  He can tell I ain't missing no meals (hey)
  Come through and fuck him in my automobile (hey)
  Let him eat it with his grills, he keep telling me to chill (hey)
             Case 3:23-cv-01092              Document 49-7      54811/16/23
                                                             Filed            Page 115 of 473 PageID #: 1575
BCG_ID_11275_LF.txt[11/10/23, 10:58:25 AM]
  He keep telling me it's real, that he love my sex appeal (hey)
  He say he don't like 'em boney, he want something he can grab (hey)
  So I pulled up in the Jag', Mayweather with the jab like (hey)
  Dun-d-d-dun-dun-d-d-dun-dun (hey, hey)


  My anaconda don't, my anaconda don't
  My anaconda don't want none unless you got buns, hun


  Oh my gosh, look at her butt (damn, damn)
  Oh my gosh, look at her butt (damn, damn)
  Oh my gosh, look at her butt (damn, damn)
  (Look at her butt) (damn)
  Look at, look at, look at
  Look, at her butt


  Little in the middle but she got much back
  Little in the middle but she got much back
  Little in the middle but she got much back
  (Oh my God, look at her butt)


  My anaconda don't, my anaconda don't
  My anaconda don't want none unless you got buns, hun
  Don't, my anaconda don't
  Don't want none unless you got buns, hun


  Oh my gosh (little in the middle but she got much back)
  Look at her butt (damn, damn)
  Oh my gosh (little in the middle but she got much back)
  Look at her butt (damn, damn)
  Oh my gosh (little in the middle but she got much back)
  Look at her butt (damn, damn)
  (Look at her butt) (oh my gosh)
  Look at, look at, look at
  Look at her butt


  Yeah, he love this fat ass, hahaha!
  Yeah, this one is for my bitches with a fat ass in the fucking club
  I said, where my fat ass big bitches in the club?
  Fuck them skinny bitches, fuck them skinny bitches in the club
  I wanna see all the big fat ass bitches in the muthafuckin' club
  Fuck you if you skinny bitches, what? K'yeah
  Haha, haha, rrr
  Yeah
  I got a big fat ass
  K'yeah
  Come on


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                                                             Filed            Page 116 of 473 PageID #: 1576
BCG_ID_11275_LF.txt[11/10/23, 10:58:25 AM]
  (Damn)
  (Damn)
  (Hey)
  (Hey)
  (Hey)

  WRITERS

  Anthony Ray, Ernest Clark, Jamal Jones, Jonathan Solone-Myvett, Marcos Palacious, Onika Tanya Maraj

  PUBLISHERS

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                                                             Filed            Page 117 of 473 PageID #: 1577
BCG_ID_11275_LF.txt[11/10/23, 10:58:25 AM]
  Lyrics
  I miss you, miss you


  Hello there
  The angel from my nightmare
  The shadow in the background of the morgue
  The unsuspecting victim
  Of darkness in the valley
  We can live like Jack and Sally if we want
  Where you can always find me
  And we'll have Halloween on Christmas
  And in the night we'll wish this never ends
  We'll wish this never ends


  I miss you, I miss you
  I miss you I miss you


  Where are you?
  And I'm so sorry
  I cannot sleep I cannot dream tonight
  I need somebody and always
  This sick strange darkness
  Comes creeping on so haunting every time
  And as I stared I counted
  The webs from all the spiders
  Catching things and eating their insides
  Like indecision to call you
  And hear your voice of treason
  Will you come home and stop the pain tonight
  Stop this pain tonight


  Don't waste your time on me
  You're already the voice inside my head (I miss you, I miss you)
  Don't waste your time on me
  You're already the voice inside my head (I miss you, I miss you)


  Don't waste your time on me
  You're already the voice inside my head (I miss you, I miss you)
  Don't waste your time on me
  You're already the voice inside my head (I miss you, I miss you)
  Don't waste your time on me
  You're already the voice inside my head (I miss you, I miss you)
  Don't waste your time on me
  You're already the voice inside my head (I miss you, I miss you)


  I miss you, I miss you
  I miss you, I miss you
             Case 3:23-cv-01092              Document 49-7      55111/16/23
                                                             Filed            Page 118 of 473 PageID #: 1578
BCG_ID_11276_LF.txt[11/10/23, 10:58:25 AM]
  I miss you, I miss you
  I miss you, I miss you

  WRITERS

  Mark Hoppus, Thomas DeLonge, Travis L. Barker

  PUBLISHERS

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                                                             Filed            Page 119 of 473 PageID #: 1579
BCG_ID_11276_LF.txt[11/10/23, 10:58:25 AM]
  Lyrics
  Blame it all on my roots
  I showed up in boots
  And ruined your black tie affair
  The last one to know
  The last one to show
  I was the last one you thought you'd see there
  And I saw the surprise
  And the fear in his eyes
  When I took his glass of champagne
  And I toasted you
  Said "honey, we may be through"
  But you'll never hear me complain


  'Cause I've got friends in low places
  Where the whiskey drowns
  And the beer chases my blues away
  And I'll be okay
  I'm not big on social graces
  Think I'll slip on down to the oasis
  Oh, I've got friends in low places


  Well, I guess I was wrong
  I just don't belong
  But then, I've been there before
  Everything's all right
  I'll just say goodnight
  And I'll show myself to the door
  Hey, I didn't mean
  To cause a big scene
  Just give me an hour and then
  Well, I'll be as high as that ivory tower
  That you're livin' in


  'Cause I've got friends in low places
  Where the whiskey drowns
  And the beer chases my blues away
  And I'll be okay
  I'm not big on social graces
  Think I'll slip on down to the oasis
  Oh, I've got friends in low places


  I've got friends in low places
  Where the whiskey drowns
  And the beer chases my blues away
  And I'll be okay
  I'm not big on social graces
  Think I'll slip on down to the oasis
  Oh, I've got friends in low places
             Case 3:23-cv-01092              Document 49-7      55311/16/23
                                                             Filed            Page 120 of 473 PageID #: 1580
BCG_ID_11278_LF.txt[11/10/23, 10:58:25 AM]
  I've got friends in low places
  Where the whiskey drowns
  And the beer chases my blues away
  And I'll be okay
  I'm not big on social graces
  Think I'll slip on down to the oasis
  Oh, I've got friends in low places


  I've got friends in low places
  Where the whiskey drowns
  And the beer chases my blues away
  And I'll be okay

  WRITERS

  Earl Lee, Dewayne Blackwell

  PUBLISHERS

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                                                             Filed            Page 121 of 473 PageID #: 1581
BCG_ID_11278_LF.txt[11/10/23, 10:58:25 AM]
  Lyrics
  I torture you
  Take my hand through the flames
  I torture you
  I'm a slave to your games
  I'm just a sucker for pain
  I wanna chain you up
  I wanna tie you down
  Ooh
  I'm just a sucker for pain (Dolla $ign)


  I'm a sucker for pain
  I got the squad tatted on me from my neck to my ankles
  Pressure from the man got us all in rebellion (yeah)
  We gon' go to war, yeah, without failure (ooh, yeah)
  Do it for the fam, dog, ten toes down, dog
  Love and the loyalty that's what we stand for
  Alienated by society
  All this pressure give me anxiety (anxiety)
  Walk slow through the fire
  Like, who gon' try us?
  Feelin' the world go against us (against us)
  So we put the world on our shoulders


  I torture you
  Take my hand through the flames
  I torture you
  I'm a slave to your games
  I'm just a sucker for pain
  I wanna chain you up
  I wanna tie you down
  Ooh
  I'm just a sucker for pain


  I been at it with my homies
  It don't matter, you don't know me
  I been rollin' with my team, we the illest on the scene
  I been ridin' 'round the city with my squad
  I been ridin' 'round the city with my squad
  We just posted, gettin' crazy, livin' like this is so amazin'
  Hold up take a step back, when we roll up, 'cause I know what
  We been loyal, we been fam, we the ones you trust in
  Won't hesitate to go straight to your head like a concussion
  I know I been bustin', no discussion for my family
  No hesitation, through my scope I see my enemy
  Like what's up? Hold up, we finna reload up
  Yes, I reload up, I know what up, I know what up


  I torture you
             Case 3:23-cv-01092              Document 49-7      55511/16/23
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BCG_ID_11280_LF.txt[11/10/23, 10:58:26 AM]
  Take my hand through the flames
  I torture you
  I'm a slave to your games
  I'm just a sucker for pain
  I wanna chain you up
  I wanna tie you down
  Ooh
  I'm just a sucker for pain


  Uh, devoted to destruction
  A full dosage of detrimental dysfunction
  I'm dyin' slow but the devil tryna rush me
  See I'm a fool for pain, I'm a dummy
  Might cut my head off right after I slit my throat
  Tongue kiss a shark, got jealous bitches up in the boat
  Eatin' peanut butter and jelly fishes on toast
  And if I get stung I get stoked, might choke
  Like I chewed a chunk of charcoal, naked in the North Pole
  That's why my heart cold, full of sorrow, the lost soul
  And only Lord knows when I'm comin' to the crossroads
  So I don't fear shit but tomorrow
  And I'm a sucker for pain, it ain't nothin' but pain
  You just fuckin' complain, you ain't tough as you claim
  Just stay up in your lane, just don't fuck with Lil Wayne
  I'ma jump from a plane or stand in front of a train
  'Cause I'm a sucker for pain


  Used to doin' bad, now we feel like we just now gettin' it
  Ain't got no other way so we start it and finish it
  No pain, no gain
  Never stand down, made our own way
  Never goin' slow, we pick up the pace
  This is what we wanted from a young age
  No emotion, that's what business is
  Lord, have mercy on the witnesses


  I torture you
  Take my hand through the flames
  I torture you
  I'm just a sucker for pain


  More pain
  Got me beggin', beggin', beggin', beggin', beggin', beggin'
  For more pain
  Got me beggin', beggin', beggin', beggin', beggin', beggin'
  For more pain
  Got me beggin', beggin', beggin', beggin', beggin', beggin'
  For more pain
  Got me beggin'

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                                                             Filed            Page 123 of 473 PageID #: 1583
BCG_ID_11280_LF.txt[11/10/23, 10:58:26 AM]
  WRITERS

  Alexander Junior Grant, Benjamin Arthur McKee, Cameron Jibril Thomaz, Daniel James Platzman, Daniel Coulter
  Reynolds, Daniel Wayne Sermon, Dwayne Michael Carter, Joshua Francis Mosser, Robert Bryson Hall, Samuel Nelson
  Harris, Tyrone William Jr. Griffin

  PUBLISHERS

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                                                             Filed            Page 124 of 473 PageID #: 1584
BCG_ID_11280_LF.txt[11/10/23, 10:58:26 AM]
  Lyrics
  (I guess right now you've got the last laugh)


  I'm sorry if I seem uninterested
  Or I'm not listenin' or I'm indifferent
  Truly, I ain't got no business here
  But since my friends are here, I just came to kick it
  But really I would rather be at home all by myself not in this room
  With people who don't even care about my well being
  I don't dance, don't ask, I don't need a boyfriend
  So you can go back, please enjoy your party
  I'll be here
  Somewhere in the corner under clouds of marijuana
  With this boy who's hollering, I can hardly hear
  Over this music I don't listen to and I don't wanna get with you
  So tell my friends that I'll be over here


  Oh-oh-oh here, oh-oh-oh here
  Oh, I ask myself what am I doing here?
  Oh-oh-oh here, oh-oh-oh here
  And I can't wait 'til we can break up out of here


  Excuse me if I seem a little unimpressed with this
  An anti-social pessimist, but usually I don't mess with this
  And I know you mean only the best
  And your intentions aren't to bother me
  But honestly I'd rather be
  Somewhere with my people we can kick it and just listen
  To some music with the message (like we usually do)
  And we'll discuss our big dreams
  How we plan to take over the planet
  So pardon my manners, I hope you'll understand
  That I'll be here
  Not there in the kitchen with the girl
  Who's always gossiping about her friends
  So tell them I'll be here
  Right next to the boy who's throwing up
  'Cause he can't take what's in his cup no more
  Oh God, why am I here?


  Oh-oh-oh here, oh-oh-oh here
  Oh, I ask myself what am I doing here?
  Oh-oh-oh here, oh-oh-oh here
  And I can't wait 'til we can break up out of here


  Hours later congregating next to the refrigerator
  Some girl's talking 'bout her haters
  She ain't got none
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BCG_ID_11282_LF.txt[11/10/23, 10:58:26 AM]
  How did it ever come to this
  I shoulda never come to this
  So holla at me, I'll be in the car when you're done
  I'm standoffish, don't want what you're offering
  And I'm done talking
  Awfully sad it had to be that way
  So tell my people when they're ready that I'm ready
  And I'm standing by the TV with my beanie low
  Yo, I'll be over here


  Oh-oh-oh here, oh-oh-oh here
  Oh, I ask myself what am I doing here?
  Oh-oh-oh here, oh-oh-oh here
  And I can't wait 'til we can break up out of here

  WRITERS

  Terence Po Lun Lam, Isaac Hayes, Coleridge Tillman, Andrew Wansel, Robert Gerongco, Samuel Gerongco, Alessia
  Caracciolo, Warren Felder

  PUBLISHERS

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  Ave, Warner Chappell Music, Inc.




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BCG_ID_11282_LF.txt[11/10/23, 10:58:26 AM]
  Lyrics
  Yeah, you can be the greatest, you can be the best
  You can be the King Kong bangin' on your chest
  You can beat the world, you can win the war
  You can talk to God, go bangin' on his door
  You can throw your hands up, you can beat the clock
  You can move a mountain, you can break rocks
  Some will call that practice, some will call that luck
  But either way your going to the history books


  Standing in the Hall of Fame
  And the world's gonna know your name
  'Cause you burn with the brightest flame
  And the world's gonna know your name
  And you'll be on the walls of the Hall of Fame


  You can go the distance, you can run a mile
  You can walk straight through hell with a smile
  You can be a hero, you can get the gold
  Breaking all the records they thought would never be broke
  Yeah, do it for your people, do it for your pride
  Are you ever gonna know if you never even try?
  Do it for your country, do it for your name
  'Cause there's gonna be a day, when you're


  Standing in the Hall of Fame
  And the world's gonna know your name
  'Cause you burn with the brightest flame
  And the world's gonna know your name
  And you'll be on the walls of the Hall of Fame
  On the walls of the Hall of Fame


  Be students, be teachers
  Be politicians, be preachers, yeah (yeah)
  Be believers, be leaders
  Be astronauts, be champions
  Be truth seekers


  Be students, be teachers
  Be politicians, be preachers, yeah (yeah)
  Be believers, be leaders
  Be astronauts, be champions


  Standing in the Hall of Fame
  And the world's gonna know your name
  'Cause you burn with the brightest flame
  And the world's gonna know your name
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BCG_ID_11283_LF.txt[11/10/23, 10:58:26 AM]
  And you'll be on the walls of the Hall of Fame


  Yeah, you can be the greatest, you can be the best
  You can be the King Kong bangin' on your chest
  You can beat the world, you can win the war
  You can talk to God, go bangin' on his door
  You can throw your hands up, you can beat the clock
  You can move a mountain, you can break rocks
  Some will call it practice, some will call that luck
  But either way your going to the history books
  Standing in the Hall of Fame

  WRITERS

  James Barry, Daniel John O'Donoghue, Mark Anthony Sheehan

  PUBLISHERS

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BCG_ID_11283_LF.txt[11/10/23, 10:58:26 AM]
  Lyrics
  Bum-bum-be-dum-bum-bum-be-dum-bum (what's wrong with me?)
  Bum-bum-be-dum-bum-bum-be-dum-bum (why do I feel like this?)
  Bum-bum-be-dum-bum-bum-be-dum-bum (I'm going crazy now)
  Bum-bum-be-dum-bum-bum-be-dum-bum


  No more gas in the rig
  Can't even get it started
  Nothing heard, nothing said
  Can't even speak about it
  Out my life, out my head
  Don't want to think about it
  Feels like I'm going insane, yeah


  It's a thief in the night to come and grab you (uh-huh)
  It can creep up inside you and consume you (uh-huh)
  A disease of the mind, it can control you (uh-huh)
  It's too close for comfort, ohh


  Put on your break lights
  We're in the city of wonder
  Ain't gonna play nice
  Watch out, you might just go under
  Better think twice
  Your train of thought will be altered
  So if you must falter be wise


  Your mind's in disturbia
  It's like the darkness is the light
  Disturbia
  Am I scaring you tonight?
  Your mind is in disturbia
  Ain't used to what you like
  Disturbia
  Disturbia


  Bum-bum-be-dum-bum-bum-be-dum-bum
  Bum-bum-be-dum-bum-bum-be-dum-bum
  Bum-bum-be-dum-bum-bum-be-dum-bum
  Bum-bum-be-dum-bum-bum-be-dum-bum


  Faded pictures on the wall
  It's like they talkin' to me
  Disconnectin' all calls
  Your phone don't even ring
  I gotta get out
  Or figure this shh out
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                                                             Filed            Page 129 of 473 PageID #: 1589
BCG_ID_11286_LF.txt[11/10/23, 10:58:26 AM]
  It's too close for comfort, oh-ohh


  It's a thief in the night to come and grab you (uh-huh)
  It can creep up inside you and consume you (uh-huh)
  A disease of the mind, it can control you (uh-huh)
  I feel like a monster, ohh


  Put on your break lights
  We're in the city of wonder (city of lights)
  Ain't gonna play nice
  Watch out (ohh), you might just go under
  Better think twice (think twice)
  Your train of thought will be altered
  So if you must falter be wise (be wise)


  Your mind's in disturbia
  It's like the darkness is the light
  Disturbia
  Am I scaring you (oh) tonight?
  Your mind's in disturbia (oh)
  Ain't used to what you like
  Disturbia (what you like)
  Disturbia


  Bum-bum-be-dum-bum-bum-be-dum-bum (ba-da-da-da-dee-da)
  Bum-bum-be-dum-bum-bum-be-dum-bum (ba-da-da-da-dee-da)
  Bum-bum-be-dum-bum-bum-be-dum-bum (disturbia)
  Bum-bum-be-dum-bum-bum-be-dum-bum (oh, oh)


  Release me from this curse I'm in
  Trying to maintain but I'm struggling
  If you can't go
  I think I'm going to oh, oh, oh, oh-ohh


  Put on your break lights
  We're in the city of wonder (woo)
  Ain't gonna play nice
  Watch out, you might just go under
  Better think twice
  Your train of thought will be altered
  So if you must falter be wise


  Your mind's in disturbia
  It's like the darkness is the light
  Disturbia
  Am I scaring you tonight?
  Your mind's in disturbia
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BCG_ID_11286_LF.txt[11/10/23, 10:58:26 AM]
  Ain't (distubria) used to what you like
  Disturbia
  Disturbia


  Bum-bum-be-dum-bum-bum-be-dum-bum (ba-da-da-da-dee-da)
  Bum-bum-be-dum-bum-bum-be-dum-bum (ba-da-da-da-dee-da)
  Bum-bum-be-dum-bum-bum-be-dum-bum
  Bum-bum-be-dum-bum-bum-be-dum-bum (ohh-ohh)

  WRITERS

  Brian Kennedy Seals, Christopher Maurice Brown, Andre Darrell Merritt, Robert L. Allen

  PUBLISHERS

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BCG_ID_11286_LF.txt[11/10/23, 10:58:26 AM]
  Lyrics
  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge
  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge


  I know you want it
  The thing that makes me
  What the guys go crazy for
  They lose their minds
  The way I wind
  I think it's time


  La la, la la, la
  Warm it up
  La la, la la, la
  The boys are waiting
  La la, la la, la
  Warm it up
  La la, la la, la
  The boys are waiting


  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge
  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge


  I can see you're on it
  You want me to teach the
  Techniques that freaks these boys
  It can't be bought
  Just know, thieves get caught
  Watch if you're smart


  La la, la la, la
  Warm it up
  La la, la la, la
  The boys are waiting
  La la, la la, la
  Warm it up
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BCG_ID_11290_LF.txt[11/10/23, 10:58:27 AM]
  La la, la la, la
  The boys are waiting


  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge
  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge


  Oh, once you get involved
  Everyone will look this way, so
  You must maintain your charm
  Same time maintain your halo
  Just get the perfect blend
  Plus what you have within
  Then next his eyes'll squint
  Then he's picked up your scent


  La la, la la, la
  Warm it up
  La la, la la, la
  The boys are waiting
  La la, la la, la
  Warm it up
  La la, la la, la
  The boys are waiting


  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge
  My milkshake brings all the boys to the yard
  And they're like, it's better than yours
  Damn right it's better than yours
  I can teach you, but I have to charge

  WRITERS

  Chad Hugo, Pharrell L. Williams

  PUBLISHERS

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  Chappell Music, Inc.



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BCG_ID_11290_LF.txt[11/10/23, 10:58:27 AM]
  Lyrics
  Saturday night I was downtown
  Working for the FBI
  Sitting in a nest of bad men
  Whiskey bottles piling high


  Bootlegging boozer on the west side
  Full of people who are doing wrong
  Just about to call up the D.A. man
  When I heard this woman singing a song


  A pair of forty fives made me open my eyes
  My temperature started to rise


  She was a long cool woman in a black dress
  Just a 5'9" beautiful 'n' tall
  Just one look I was a bad mess
  'Cause that long cool woman had it all


  I saw her heading to the table
  Well, a tall walking big black cat
  Charlie said, I hope that you're able, boy
  'Cause I'm telling you she knows where it's at


  Well, suddenly we hear the sirens
  And everybody started to run
  Jumping under doors and tables
  Well, I heard somebody shooting a gun


  Well, the D.A. was pumping my left hand
  She was holding my right
  Well, I told her, don't get scared
  'Cause you're gonna be spared
  I've gotta be forgiven if I wanna spend my living


  With a long cool woman in a black dress
  Just a 5'9" beautiful 'n' tall
  Well with just one look I was a bad mess
  'Cause that long cool woman had it all
  Had it all, had it all, had it all
  Had it all, had it all, had it all (she had it all)

  WRITERS

  Alan Clarke, Roger Frederick Cook, Roger John Reginald Greenaway

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BCG_ID_11293_LF.txt[11/10/23, 10:58:27 AM]
  PUBLISHERS

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                                                             Filed            Page 135 of 473 PageID #: 1595
BCG_ID_11293_LF.txt[11/10/23, 10:58:27 AM]
  Lyrics
  Yeah, yeah yeah
  Yeah, yeah yeah
  Yeah, yeah yeah yeah


  Ooh it's something about
  Just something about the way she move
  I can't figure it out
  It's something about her


  Say, ooh it's something about
  Kinda woman that want you but don't need you
  Hey, I can't figure it out
  It's something about her


  'Cause she walk like a boss
  Talk like a boss
  Manicure nails just sent the pedicure off
  She's fly effortlessly


  And she move like a boss
  Do what a boss
  Do, she got me thinking about getting involved
  That's the kinda girl I need, ooh


  She got her own thing
  That's why I love her
  Miss independent
  Won't you come and spend a little time
  She got her own thing
  That's why I love her
  Miss independent
  Ooh, the way she shine
  Miss independent


  Yeah, yeah yeah
  Yeah, yeah yeah
  Yeah, yeah yeah yeah, oh


  Ooh there's something about
  Kinda woman that can do for herself
  I look at her and it makes me proud
  There's something about her


  Something ooh so sexy about
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                                                             Filed            Page 136 of 473 PageID #: 1596
BCG_ID_11296_LF.txt[11/10/23, 10:58:27 AM]
  Kinda woman that don't even need my help
  She said, she got it, she got it no doubt
  There's something about her


  'Cause she work like a boss
  Play like a boss
  Car and the crib she 'bout to pay 'em both off
  And her bills are payed on time, yeah
  She made for a boss
  Only a boss
  Anything less she telling them to get lost
  That's the girl that's on my mind


  She got her own thing
  That's why I love her
  Miss independent
  Won't you come and spend a little time
  She got her own thing
  That's why I love her
  Miss independent
  Ooh, the way we shine
  Miss independent, yeah, mm


  Her favorite thing to say, don't worry I got it, mm
  And everything she got best believe she bought it, mm
  She goin' steal my heart ain't no doubt about it, girl
  You're everything I need
  Said you're everything I need


  Yeah, yeah yeah
  Yeah, yeah yeah
  Yeah yeah, yeah


  She got her own thing
  That's why I love her (that's why I love her)
  Miss independent (independent)
  Won't you come and spend a little time
  She got her own thing (she got, she got)
  That's why I love her (that's why I love that girl)
  Miss independent (oh)
  Ooh, the way you shine


  Miss independent
  That's why I love her

  WRITERS

  Mikkel Storleer Eriksen, Shaffer Smith, Tor Erik Hermansen
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BCG_ID_11296_LF.txt[11/10/23, 10:58:27 AM]
  PUBLISHERS

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BCG_ID_11296_LF.txt[11/10/23, 10:58:27 AM]
  Lyrics
  I'm comin' home, I'm comin' home
  Tell the world I'm comin' home
  Let the rain wash away
  All the pain of yesterday
  I know my kingdom awaits
  And they've forgiven my mistakes
  I'm comin' home, I'm comin' home
  Tell the world I'm comin'


  I'm back where I belong (uh, yeah)
  I never felt so strong, ayy (yeah, I'm back, baby)
  I'm feelin' like there's nothin' that I can't try (uh, nothin')
  And if you with me, put your hands high (yeah, put your hands high)
  If you ever lost a life before (high, hey)
  This one's for you (and if you with me put your hands high, high) (and you)
  Your dreams fulfilled, you rockin' with the best (hey) (and you, and you)
  I'll be home soon


  I hear the "Tears of a Clown"
  Uh, I hate that song
  I always feel like they're talking to me when it comes on (come on)
  Another day, another dawn
  Another Keisha, nice to meet ya, get the math, I'm gone
  What am I 'pposed to do when the club lights come on?
  It's easy to be Puff but it's harder to be Sean (come on)
  What if my twins ask me why I ain't marry their mom? (Why?)
  Damn, how do I respond?
  What if my son stares with a face like my own
  And says he wants to be like me when he's grown?
  Shit, but I ain't finished growing
  Another night, the inevitable prolongs
  Another day, another dawn (come on)
  Just tell Keisha and Teresa I'll be better in the morn' (I'll be better in the morn')
  Another lie that I carry on
  I need to get (yeah) back to the place where I belong (let's go)


  I'm comin' home, I'm comin' home (I'm comin' home)
  Tell the world I'm comin' home (yeah)
  Let the rain wash away
  All the pain of yesterday (ain't no more pain)
  I know my kingdom awaits
  And they've forgiven my mistakes (thank you)
  I'm comin' home (I'm comin' home), I'm comin' home (I'm comin' home)
  Tell the world I'm comin' (yeah, ayo, check this out)
  Home


  "A House Is Not a Home," I hate this song
  Is a house really a home when your loved ones is gone? (No)
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                                                              Filed               Page 139 of 473 PageID #: 1599
BCG_ID_11298_LF.txt[11/10/23, 10:58:28 AM]
  And niggas got the nerve to blame you for it (come on)
  And you know you woulda took the bullet if you saw it (that's right)
  But you felt it, and still feel it
  And money can't make up for it or conceal it (or conceal it)
  But you deal with it (deal with it), and you keep ballin' (that's right)
  Pour out some liquor, playboy, and we keep ballin' (ballin')
  Baby, we've been livin' in sin
  'Cause we been really in love, but we been livin' as friends (yeah)
  So you've been a guest in your own home (come on)
  It's time to make your house your home (yeah) pick up the phone (pick up the phone)


  I'm comin' home, I'm comin' home
  Tell the world that I'm comin' home (I'm comin' home)
  Let the rain wash away
  All the pain of yesterday
  I know my kingdom awaits
  And they've forgiven my mistakes (thank you)
  I'm comin' home (I'm comin' home) I'm comin' home (I'm comin' home)
  Tell the world that I'm comin' (I'm almost home, check this out) yeah, home


  "Ain't No Stopping Us Now," I love that song
  Whenever it comes on, it makes me feel strong
  I thought I told y'all that we won't stop (we won't stop)
  'Til we back cruising through Harlem, these old blocks (yeah)
  It's what made me, saved me, drove me crazy (oh, oh, yeah, yeah)
  Drove me away, then embraced me (come on, let's go)
  Forgave me for all of my shortcomings
  Welcome to my homecoming
  Yeah, it's been a long time comin'
  Lot of fights, lot of scars, lot of bottles, lot of cars
  Lot of ups, lot of downs, made it back, lost my dog (I miss you, Big)
  But here I stand (come on), a better man (don't stop)
  Thank you, Lord (thank you, Lord)
  Thank you all


  I'm comin' home, I'm comin' home (oh)
  Tell the world that I'm comin' home (I'm comin' home)
  Let the rain wash away (feel so good)
  All the pain of yesterday (feel so free)
  I know my kingdom awaits (ain't no place like home, baby)
  And they've forgiven my mistakes (ain't no place like home)
  I'm comin' home (I'm comin' home), I'm comin' home (I'm comin' home)
  Tell the world that I'm comin' (tell the world) I'm comin' home

  WRITERS

  Alexander Junior Grant, Shawn Corey Carter, Holly Brook Hafermann, Jermaine Lamarr Cole

  PUBLISHERS

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BCG_ID_11298_LF.txt[11/10/23, 10:58:28 AM]
             Case 3:23-cv-01092              Document 49-7      57411/16/23
                                                             Filed            Page 141 of 473 PageID #: 1601
BCG_ID_11298_LF.txt[11/10/23, 10:58:28 AM]
  Lyrics
  Mm, mm, yeah
  Do do do do do do do do, oh yeah


  Gotta change my answering machine, now that I'm alone
  'Cause right now it says that "We can't come to the phone"
  And I know it makes no sense, 'cause you walked out the door
  But it's the only way I hear your voice anymore


  (It's ridiculous)
  It's been months and for some reason I just
  (Can't get over us)
  And I'm stronger than this, yeah


  (Enough is enough)
  No more walking round with my head down (yeah)
  I'm so over being blue, crying over you


  And I'm so sick of love songs, so tired of tears
  So done with wishing you were still here
  Said I'm so sick of love songs, so sad and slow
  So why can't I turn off the radio?


  Gotta fix that calendar I have that's marked July 15th
  Because since there's no more you, there's no more anniversary
  I'm so fed up with my thoughts of you and your memory
  And now every song reminds me of what used to be


  That's the reason I'm
  So sick of love songs, so tired of tears
  So done with wishing you were still here
  Said I'm so sick of love songs, so sad and slow
  So why can't I turn off the radio? Oh-oh-oh


  (Leave me alone)
  Leave me alone
  (Stupid love songs)
  Hey, don't make me think about her smile
  Or having my first child
  I'm letting go
  Turning off the radio


  'Cause I'm so sick of love songs (hey), so tired of tears (so tired of tears)
  So done with wishing (oh) she was still here
  Said I'm so sick of love songs, so sad and slow (ooh-oh)
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                                                             Filed                Page 142 of 473 PageID #: 1602
BCG_ID_11301_LF.txt[11/10/23, 10:58:28 AM]
  So why can't I turn off the radio? (Why can't I turn off the radio?)


  Said I'm so sick of love songs, so tired of tears (so tired of tears, yeah)
  So done with wishing she was still here
  Said I'm so sick of love songs, so sad and slow (hey)
  Why can't I turn off the radio? (Why can't I turn off the radio?)


  And I'm so sick of love songs, so tired of tears (I'm so sick of love songs)
  So done with wishing you were still here (so done and I'm so sick of love songs)
  Said I'm so sick of love songs, so sad and slow (so done and I'm so sick of love songs)
  Why can't I turn off the radio? (hey)
  (Why can't I turn off the radio?)
  Why can't I turn off the radio?

  WRITERS

  Mikkel Eriksen, Shaffer Smith, Tor Erik Hermansen

  PUBLISHERS

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BCG_ID_11301_LF.txt[11/10/23, 10:58:28 AM]
  Lyrics
  "Everybody needs a little time away"
  I heard her say
  From each other
  Even lovers need a holiday
  Far away from each other


  Hold me now
  It's hard for me to say I'm sorry
  I just want you to stay


  After all that we've been through
  I will make it up to you
  I promise to
  And after all that's been said and done
  You're just a part of me I can't let go


  Couldn't stand to be kept away
  Just for the day
  From your body
  Wouldn't wanna be swept away
  Far away from the one that I love


  Hold me now
  It's hard for me to say I'm sorry
  I just want you to know
  Hold me now
  I really wanna tell you I'm sorry
  I could never let you go


  After all that we've been through
  I will make it up to you
  I promise to
  And after all that's been said and done
  You're just a part of me I can't let go


  After all that we've been through
  I will make it up to you
  I promise to


  You're gonna be the lucky one

  WRITERS

  Peter P. Cetera, David Walter Foster

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BCG_ID_11302_LF.txt[11/10/23, 10:58:28 AM]
  PUBLISHERS

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                                                             Filed            Page 145 of 473 PageID #: 1605
BCG_ID_11302_LF.txt[11/10/23, 10:58:28 AM]
  Lyrics
  Oh, how 'bout a round of applause?
  Yeah
  Standin' ovation
  Ooh
  Yeah, yeah, yeah, yeah, yeah


  You look so dumb right now
  Standin' outside my house
  Tryin' to apologize
  You're so ugly when you cry
  Please
  Just cut it out


  Don't tell me you're sorry 'cause you're not
  Baby when I know you're only sorry you got caught


  But you put on quite a show
  Really had me goin'
  But now it's time to go
  Curtain's finally closin'
  That was quite a show
  Very entertaining
  But it's over now
  (But it's over now)
  Go on and take a bow, oh


  Grab your clothes and get gone (get gone)
  You better hurry up
  Before the sprinklers come on (come on)
  Talkin' 'bout, "Girl, I love you, you're the one"
  This just looks like a re-run
  Please
  What else is on? Oh, oh


  And don't tell me you're sorry 'cause you're not
  Baby when I know you're only sorry you got caught


  But you put on quite a show
  You really had me goin'
  But now it's time to go
  Curtain's finally closin'
  That was quite a show
  Very entertaining
  But it's over now
  (But it's over now)
  Go on and take a bow
             Case 3:23-cv-01092              Document 49-7      57911/16/23
                                                             Filed            Page 146 of 473 PageID #: 1606
BCG_ID_11304_LF.txt[11/10/23, 10:58:29 AM]
  Oh, and the award for the best liar
  Goes to you (goes to you)
  For makin' me believe
  That you could be
  Faithful to me
  Let's hear your speech, ohh


  How 'bout a round of applause?
  A standin' ovation


  But you put on quite a show
  You really had me goin'
  Now it's time to go
  Curtain's finally closin'
  That was quite a show
  Very entertaining
  But it's over now
  (But it's over now)
  Go on and take a bow
  But it's over now

  WRITERS

  Mikkel Eriksen, Tor Erik Hermansen, Shaffer Smith

  PUBLISHERS

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                                                             Filed            Page 147 of 473 PageID #: 1607
BCG_ID_11304_LF.txt[11/10/23, 10:58:29 AM]
  Lyrics
  Tell me how I'm supposed to breathe with no air?


  If I should die before I wake
  It's 'cause you took my breath away
  Losing you is like living in a world with no air, oh


  I'm here alone, didn't wanna leave
  My heart won't move, it's incomplete
  Is there a way I could make you understand?


  But how
  Do you expect me, to live alone with just me?
  'Cause my world revolves around you
  It's so hard for me to breathe


  Tell me how I'm supposed to breathe with no air?
  Can't live, can't breathe with no air
  That's how I feel whenever you ain't there
  There's no air, no air
  Got me out here in the water so deep
  Tell me how you gon' be without me?
  If you ain't here I just can't breathe
  There's no air, no air
  No air air, No air air


  I walked, I ran, I jumped, I flew right off
  The ground and float to you
  There's no gravity to hold me down, for real


  But somehow I'm still alive inside
  You took my breath but I survived
  I don't know how but I don't even care


  So how do you expect me to live alone with just me?
  'Cause my world revolves around you
  It's so hard for me to breathe


  Tell me how I'm supposed to breathe with no air?
  Can't live, can't breathe with no air
  That's how I feel whenever you ain't there
  There's no air, no air
  Got me out here in the water so deep
  Tell me how you gon' be without me?
  If you ain't here I just can't breathe
             Case 3:23-cv-01092              Document 49-7      58111/16/23
                                                             Filed            Page 148 of 473 PageID #: 1608
BCG_ID_11305_LF.txt[11/10/23, 10:58:29 AM]
  There's no air, no air
  No air air, No air air


  Tell me how I'm supposed to breathe with no air?
  Can't live, can't breathe with no air
  That's how I feel whenever you ain't there
  There's no air, no air
  Got me out here in the water so deep
  Tell me how you gon' be without me?
  If you ain't here I just can't breathe
  There's no air, no air
  No air air, No air air


  Got me here out in the water so deep


  Tell me how you goin' be without me?


  If you ain't here I just can't breathe


  There's no air, no air
  No air air, no air air

  WRITERS

  Erik Roger Griggs, James Edward II Fauntleroy, Harvey Jay Mason, Steven L. Russell, Damon E. Thomas

  PUBLISHERS

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                                                             Filed            Page 149 of 473 PageID #: 1609
BCG_ID_11305_LF.txt[11/10/23, 10:58:29 AM]
  Lyrics
  Something about the way that you walked into my living room
  Casually and confident lookin' at the mess I am
  But still you, still you want me
  Stress lines and cigarettes, politics and deficits
  Late bills and overages, screamin' and hollerin'
  But still you, still you want me


  Oh, I always let you down
  You're shattered on the ground
  But still I find you there
  Next to me
  And oh, stupid things I do
  I'm far from good, it's true
  But still I find you
  Next to me (next to me)


  There's something about the way that you always see the pretty view
  Overlook the blooded mess, always lookin' effortless
  And still you, still you want me
  I got no innocence, faith ain't no privilege
  I am a deck of cards, vice or a game of hearts
  And still you, still you want me


  Oh, I always let you down
  You're shattered on the ground
  But still I find you there
  Next to me
  And oh, stupid things I do
  I'm far from good, it's true
  But still I find you
  Next to me


  So thank you for taking a chance on me
  I know it isn't easy
  But I hope to be worth it (oh)
  So thank you for taking a chance on me
  I know it isn't easy
  But I hope to be worth it (oh)


  Oh, I always let you down (I always let you down)
  You're shattered on the ground (shattered on the ground)
  But still I find you there
  Next to me
  And oh, stupid things I do (stupid things I do)
  I'm far from good, it's true
  But still I find you
  Next to me (next to me)
             Case 3:23-cv-01092              Document 49-7      58311/16/23
                                                             Filed            Page 150 of 473 PageID #: 1610
BCG_ID_11307_LF.txt[11/10/23, 10:58:29 AM]
  WRITERS

  Dan Reynolds, Wayne Sermon, Ben McKee, Daniel Platzman, Alexander Grant

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      58411/16/23
                                                             Filed            Page 151 of 473 PageID #: 1611
BCG_ID_11307_LF.txt[11/10/23, 10:58:29 AM]
  Lyrics
  Turn down the lights
  Turn down the bed
  Turn down these voices inside my head
  Lay down with me
  Tell me no lies
  Just hold me close, don't patronize
  Don't patronize me


  'Cause I can't make you love me if you don't
  You can't make your heart feel something it won't
  Here in the dark, in these final hours
  I will lay down my heart and I'll feel the power
  But you won't, no you won't
  'Cause I can't make you love me, if you don't


  I'll close my eyes, then I won't see
  The love you don't feel when you're holding me
  Morning will come and I'll do what's right
  Just give me till then to give up this fight
  And I will give up this fight


  'Cause I can't make you love me if you don't
  You can't make your heart feel something it won't
  Here in the dark, in these final hours
  I will lay down my heart and I'll feel the power
  But you won't, no you won't
  'Cause I can't make you love me, if you don't

  WRITERS

  Allen Shamblin, Michael Reid

  PUBLISHERS

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BCG_ID_11312_LF.txt[11/10/23, 10:58:29 AM]
  Lyrics
  Nothin' from nothin' leaves nothin'
  You gotta have somethin' if you wanna be with me
  Nothin' from nothin' leaves nothin'
  You gotta have somethin' if you wanna be with me


  I'm not tryna be your hero
  'Cause that zero is too cold for me, brrr
  I'm not tryin' to be your highness
  'Cause that minus is too low to see, yeah


  Nothin' from nothin' leaves nothin'
  And I'm not stuffin', believe you me
  Don't you remember I told ya
  I'm a soldier in the war on poverty, yeah, yes, I am


  Nothin' from nothin' leaves nothin'
  You gotta have somethin' if you wanna be with me, oh baby
  Nothin' from nothin' leaves nothin'
  You gotta have somethin' if you wanna be with me
  That's right, ha yeah


  Gotta have somethin' if you wanna be with me
  You gotta bring me somethin', girl, if you wanna be with me

  WRITERS

  Billy Preston, Bruce Carleton Fisher

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 153 of 473 PageID #: 1613
BCG_ID_11313_LF.txt[11/10/23, 10:58:30 AM]
  Lyrics
  Oh yeah
  Oh yeah
  So scared of breaking it
  That you won't let it bend
  And I wrote two hundred letters
  I will never send
  Sometimes these cuts are so much
  Deeper than they seem
  You'd rather cover up
  I'd rather let them bleed
  So let me be
  And I'll set you free (oh yeah)


  I am in misery
  There ain't nobody
  Who can comfort me, oh yeah
  Why won't you answer me?
  The silence is slowly killing me, oh yeah
  Girl, you really got me bad
  You really got me bad
  Now I'm gonna get you back
  I'm gonna get you back, yeah


  Your salty skin and how
  It mixes in with mine
  The way it feels to be
  Completely intertwined
  Not that I didn't care
  It's that I didn't know
  It's not what I didn't feel
  It's what I didn't show
  So let me be
  And I'll set you free


  I am in misery
  There ain't nobody
  Who can comfort me, oh yeah
  Why won't you answer me?
  The silence is slowly killing me, oh yeah
  Girl, you really got me bad
  You really got me bad
  And now I'm gonna get you back
  I'm gonna get you back, yeah


  You say your faith is shaken
  And you may be mistaken
  You keep me wide awake and
  Waiting for the sun
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BCG_ID_11315_LF.txt[11/10/23, 10:58:30 AM]
  I'm desperate and confused
  So far away from you
  And I'm getting there
  I don't care where I have to run


  Why do you do what you do to me? Yeah
  Why won't you answer me, answer me? Yeah
  Why do you do what you do to me? Yeah
  Why won't you answer me, answer me? Yeah


  I am in misery
  There ain't nobody
  Who can comfort me, oh yeah
  Why won't you answer me?
  Your silence is slowly killing me, oh yeah
  Girl, you really got me bad
  You really got me bad
  And now I'm gonna get you back
  I'm gonna get you back (come on)


  Girl, you really got me bad
  You really got me bad
  Now I'm gonna get you back
  I'm gonna get you back


  (Girl, you really got me bad)
  (You really got me bad)
  (Now I'm gonna get you back)
  (I'm gonna get you back)
  (Girl, you really got me bad)
  (You really got me bad)
  (Now I'm gonna get you back)
  (I'm gonna get you back)

  WRITERS

  Adam Levine, Jesse Royal Carmichael, Michael Allen Madden, James B. Valentine, Sam John Farrar

  PUBLISHERS

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BCG_ID_11315_LF.txt[11/10/23, 10:58:30 AM]
  Lyrics
  It's just one of those days where you don't want to wake up
  Everything is fucked, everybody sucks
  You don't really know why but you want to justify
  Rippin' someone's head off
  No human contact
  And if you interact, your life is on contract
  Your best bet is to stay away, motherfucker
  It's just one of those days


  It's all about the he says, she says bullshit
  I think you better quit, let the shit slip
  Or you'll be leaving with a fat lip
  It's all about the he says, she says bullshit
  I think you better quit, talking that shit


  It's just one of those days, feeling like a freight train
  First one to complain leaves with a bloodstain
  Damn right, I'm a maniac
  You better watch your back 'cause I'm fucking up your program
  And if you're stuck up, you just lucked up
  Next in line to get fucked up
  Your best bet is to stay away, motherfucker
  It's just one of those days


  It's all about the he says, she says bullshit
  I think you better quit, let the shit slip
  Or you'll be leaving with a fat lip
  It's all about the he says, she says bullshit
  I think you better quit, talking that shit punk
  So come and get it


  I feel like shit
  My suggestion, is to keep your distance
  'Cause right now I'm dangerous
  But we've all felt like shit
  And been treated like shit
  All those motherfuckers that want to step up


  I hope you know, I pack a chainsaw (chainsaw)
  I'll skin your ass raw (ass raw)
  And if my day keeps going this way, I just might
  Break something tonight
  I pack a chainsaw (chainsaw)
  I'll skin your ass raw (ass raw)
  And if my day keeps going this way, I just might
  Break something tonight
  I pack a chainsaw (chainsaw)
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BCG_ID_11316_LF.txt[11/10/23, 10:58:30 AM]
  I'll skin your ass raw (ass raw)
  And if my day keeps going this way, I just might
  Break your fucking face tonight


  Give me something to break
  Give me something to break
  Just give me something to break
  How 'bout your fucking face?


  I hope you know, I pack a chainsaw
  What?
  A chainsaw
  What?
  A motherfucking chainsaw
  What?
  So come and get it


  It's all about the he says, she says bullshit
  I think you better quit, let the shit slip
  Or you'll be leaving with a fat lip
  It's all about the he says, she says bullshit
  I think you better quit, talking that shit, punk
  So come and get it

  WRITERS

  Brendan O'Brien, John Everett Otto, Leor Dimant, Samuel Robert Rivers, Wesley Louden Borland, William Frederick
  Durst

  PUBLISHERS

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                                                             Filed            Page 157 of 473 PageID #: 1617
BCG_ID_11316_LF.txt[11/10/23, 10:58:30 AM]
  Lyrics
  Just one look and I fell so hard
  In love with you, oh oh, oh oh
  I found out how good it feels
  To have your love, oh oh, oh oh


  Say you will, will be mine
  Forever and always, oh oh, oh oh
  Just one look and I knew
  That you were my only one
  Oh oh oh oh!


  I thought I was dreamin'
  But I was wrong, yeah, yeah, yeah
  Oh, but-a, I'm gonna keep on schemin'
  Till I can a-make you, make you my own!


  So you see, I really care
  Without you I'm nothin', oh oh, oh oh
  Just one look and I know
  I'll get you someday, oh oh, oh oh


  Just one look, that's all it took
  Just one look, that's all it took
  Just one look, that's all it took

  WRITERS

  Doris Payne, Gregory Carroll

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 158 of 473 PageID #: 1618
BCG_ID_11318_LF.txt[11/10/23, 10:58:30 AM]
  Lyrics
  I was a fool to ever leave your side
  Me minus you is such a lonely ride
  The breakup we had has made me lonesome and sad
  I realize I love you 'cause I want you bad, hey, hey


  I spent the evening with the radio
  Regret the moment that I let you go
  Our quarrel was such a way of learnin' so much
  I know now that I love you 'cause I need your touch, hey, hey


  Reunited, and it feels so good
  Reunited 'cause we understood
  There's one perfect fit
  And, sugar, this one is it
  We both are so excited 'cause we're reunited, hey, hey


  I sat here starin' at the same old wall
  Came back to life just when I got your call
  I wished I could climb right through the telephone line
  And give you what you want so you will still be mine, hey, hey


  I can't go cheatin', honey, I can't play
  I found it very hard to stay away
  As we reminisce on precious moments like this
  I'm glad we're back together 'cause I missed your kiss, hey, hey


  Reunited, and it feels so good
  Reunited 'cause we understood
  There's one perfect fit
  And, sugar, this one is it
  We both are so excited 'cause we're reunited, hey, hey


  Yeah, yeah, yeah
  Baby


  Lover, lover, this is solid love
  And you're exactly what I'm dreamin' of
  All through the day
  And all through the night
  I'll give you all the love I have with all my might, hey, hey


  Reunited, and it feels so good
  Reunited 'cause we understood
  There's one perfect fit
             Case 3:23-cv-01092              Document 49-7      59211/16/23
                                                             Filed            Page 159 of 473 PageID #: 1619
BCG_ID_11319_LF.txt[11/10/23, 10:58:31 AM]
  And, sugar, this one is it
  We both are so excited 'cause we're reunited, hey, hey

  WRITERS

  Dino Fekaris, Frederick J. Perren

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 160 of 473 PageID #: 1620
BCG_ID_11319_LF.txt[11/10/23, 10:58:31 AM]
  Lyrics
  Well, my temperature's rising and my feet hit the floor
  Twenty people knocking 'cause they're wanting some more
  Let me in, baby, I don't know what you've got
  But you'd better take it easy, 'cause this place is hot


  So glad we made it, so glad we made it
  You got to gimme some lovin', gimme some lovin'
  Gimme some lovin' every day


  Well, I feel so good, everything is sounding hot
  Better take it easy, 'cause the place is on fire
  Been a hard day and I don't know what to do
  Wait a minute, baby, it could happen to you


  So glad we made it, so glad we made it
  You got to gimme some lovin', gimme some lovin'
  Gimme some lovin' every day


  Well, I feel so good, everybody's getting higher
  Better take it easy, 'cause the place is on fire
  Been a hard day, nothing went too good
  Now I'm gonna relax, honey, everybody should


  So glad we made it, so glad we made it
  You got to gimme some lovin', gimme some lovin'
  Gimme some lovin' every day

  WRITERS

  Muff Winwood, Spencer Davis, Steve Winwood

  PUBLISHERS

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                                                             Filed            Page 161 of 473 PageID #: 1621
BCG_ID_11321_LF.txt[11/10/23, 10:58:31 AM]
  Lyrics
  One, two, three, four
  Yeah
  Yeah
  This is dedicated


  I just want you close
  Where you can stay forever
  You can be sure
  That it will only get better


  You and me together
  Through the days and nights
  I don't worry 'cause
  Everything's gonna be alright
  People keep talking, they can say what they like
  But all I know is everything's gonna be alright


  And no one, no one, no one
  Can get in the way of what I'm feeling
  No one, no one, no one
  Can get in the way of what I feel for you, you, you
  Can get in the way of what I feel for you


  When the rain is pouring down
  And my heart is hurting
  You will always be around
  This I know for certain


  You and me together
  Through the days and nights
  I don't worry 'cause
  Everything's gonna be alright
  People keep talking, they can say what they like
  But all I know is everything's gonna be alright


  And no one, no one, no one
  Can get in the way of what I'm feeling
  No one, no one, no one
  Can get in the way of what I feel for you, you, you
  Can get in the way of what I feel


  I know some people search the world
  To find something like what we have
  I know people will try, try to divide something so real
  For 'til the end of time, I'm telling you there ain't no one
             Case 3:23-cv-01092              Document 49-7      59511/16/23
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BCG_ID_11322_LF.txt[11/10/23, 10:58:31 AM]
  No one, no one
  Can get in the way of what I'm feeling
  No one, no one, no one
  Can get in the way of what I feel, singing oh


  Oh, oh, oh, oh, oh
  Oh, oh, oh, oh, oh
  Oh, oh, oh, oh, oh, oh, oh, oh, oh
  Oh, oh, oh, oh, oh
  Oh, oh, oh, oh, oh
  Oh, oh, oh, oh, oh, oh, oh


  No one, no one
  Can get in the way, can get our way
  No one, no one
  Can get in the way, can get in the way of what I feel for you
  Mmm

  WRITERS

  George Michael Harry, Kerry D. Brothers Jr., Alicia J. Augello-Cook

  PUBLISHERS

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BCG_ID_11322_LF.txt[11/10/23, 10:58:31 AM]
  Lyrics
  One, two, three, four
  Hey, hey, forever
  Hey, hey, forever


  It's you and me
  Movin' at the speed of light into eternity, yeah
  Tonight is the night
  To join me in the middle of ecstasy
  Feel the melody and the rhythm of the music around you, around you (ohh)


  I'ma take you there, I'ma take you there (ayy)
  So don't be scared, I'm right here, baby
  We can go anywhere, go anywhere (yeah)
  But first, it's your chance, take my hand, come with me


  It's like I waited my whole life (oh)
  For this one night (oh)
  It's gon' be me, you and the dance floor
  'Cause we only got one night (oh)
  Double your pleasure (oh)
  Double your fun
  And dance forever, ever, ever (oh)
  Forever, ever, ever
  Forever, ever, ever
  (Forever)
  Forever, ever, ever
  Forever, ever, ever
  Forever, ever, ever (ayy)
  Forever on the dance floor


  Feels like we're on another level, oh
  Feels like our love's intertwined
  We can be two rebels
  Breaking the rules, me and you, you and I
  All you gotta do is watch me (watch me)
  Look what I can do with my feet (my feet)
  Baby, feel the beat inside (forever)
  I'm driving, you can take the front seat (front seat)
  Just need you to trust me (trust me)
  Oh (girl), ah (girl), ah (girl)
  It's like I've


  It's like I waited my whole life (oh)
  For this one night (oh) (one night)
  It's gon' be me, you and the dance floor (dance floor)
  'Cause we only got one night (oh) (one night)
  Double your pleasure (oh)
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BCG_ID_11328_LF.txt[11/10/23, 10:58:31 AM]
  Double your fun (yeah)
  And dance forever, ever, ever (oh)
  Forever, ever, ever (ever)
  Forever, ever, ever (ever)
  (Forever)
  Forever, ever, ever (ever)
  Forever, ever, ever (ever)
  Forever, ever, ever (ever)
  Forever on the dance floor


  It's a long way down
  We so high off the ground
  Sendin' for an angel to bring me your heart
  Girl, where did you come from?
  Got me so undone
  Gaze in your eyes, got me sayin'
  "What a beautiful lady"
  No if, ands or maybes
  I'm releasin' my heart
  And it's feelin' amazing
  There's no one else that matters
  You love me
  And I won't let you fall, girl (fall, girl)
  Let you fall girl, oh
  Oh, oh, yeah
  Yeah, I won't let you fall
  Let you fall
  Let you fall
  Oh, oh
  Yeah, yeah
  Yeah, yeah
  It's like


  It's like I waited my whole life (oh, a whole life) (oh)
  For this one night (one night)
  It's gon' be me, you and the dance floor (me, you and the dance floor)
  'Cause we only got one night (oh)
  Double your pleasure (oh)
  Double your fun
  And dance forever, ever, ever
  Forever, ever, ever
  Forever, ever, ever
  (Forever)
  Forever, ever, ever
  Forever, ever, ever
  Forever, ever, ever
  Forever on the dance floor


  Oh! Oh! Oh-oh-oh, oh, oh
  Oh, yeah
  Forever, ever, ever, ever
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BCG_ID_11328_LF.txt[11/10/23, 10:58:31 AM]
  Forever, ever, oh

  WRITERS

  Andre Darrell Merritt, Brian Kennedy Seals, Jamal Fincher Jones, Robert L. Allen, Christopher Maurice Brown

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      59911/16/23
                                                             Filed            Page 166 of 473 PageID #: 1626
BCG_ID_11328_LF.txt[11/10/23, 10:58:31 AM]
  Lyrics
  I set out on a narrow way many years ago
  Hoping I would find true love along the broken road
  But I got lost a time or two
  Wiped my brow and kept pushing through
  I couldn't see how every sign pointed straight to you


  That every long lost dream led me to where you are
  Others who broke my heart, they were like Northern stars
  Pointing me on my way into your loving arms
  This much I know is true
  That God blessed the broken road that led me straight to you
  Yes, He did


  I think about the years I spent just passin' through
  I'd like to have the time I lost and give it back to you
  But you just smile and take my hand
  You've been there, you understand
  It's all part of a grander plan that is coming true


  Every long lost dream led me to where you are
  Others who broke my heart, they were like Northern stars
  Pointing me on my way into your loving arms
  This much I know is true
  That God blessed the broken road that led me straight to you
  Yeah


  And now I'm just rollin' home
  Into my lover's arms
  This much I know is true
  That God blessed the broken road that led me straight to you


  That God blessed the broken road
  That led me straight to you
  Ooh, mmm

  WRITERS

  Bobby Boyd, Jeff Hanna, Marc Hummon

  PUBLISHERS

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                                                             Filed            Page 167 of 473 PageID #: 1627
BCG_ID_11329_LF.txt[11/10/23, 10:58:32 AM]
  Lyrics
  Goodbye, Norma Jeane
  Though I never knew you at all
  You had the grace to hold yourself
  While those around you crawled
  They crawled out of the woodwork
  And they whispered into your brain
  They set you on the treadmill
  And they made you change your name


  And it seems to me you lived your life
  Like a candle in the wind
  Never knowing who to cling to
  When the rain set in
  And I would've liked to know you
  But I was just a kid
  Your candle burned out long before
  Your legend ever did


  Loneliness was tough
  The toughest role you ever played
  Hollywood created a superstar
  And pain was the price you paid
  Even when you died
  Oh, the press still hounded you
  All the papers had to say
  Was that Marilyn was found in the nude


  And it seems to me you lived your life
  Like a candle in the wind
  Never knowing who to cling to
  When the rain set in
  And I would've liked to know you
  But I was just a kid
  Your candle burned out long before
  Your legend ever did


  Goodbye, Norma Jeane
  Though I never knew you at all
  You had the grace to hold yourself
  While those around you crawled
  Goodbye, Norma Jeane
  From the young man in the twenty second row
  Who sees you as something more than sexual
  More than just our Marilyn Monroe


  And it seems to me you lived your life
  Like a candle in the wind
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BCG_ID_11337_LF.txt[11/10/23, 10:58:32 AM]
  Never knowing who to cling to
  When the rain set in
  And I would've liked to know you
  But I was just a kid
  Your candle burned out long before
  Your legend ever did
  Your candle burned out long before
  Your legend ever did

  WRITERS

  Elton John, Bernie Taupin

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 169 of 473 PageID #: 1629
BCG_ID_11337_LF.txt[11/10/23, 10:58:32 AM]
  Lyrics
  He was working through college
  On my grandpa's farm
  I was thirsting for knowledge
  And he had a car
  Yeah, I was caught somewhere between a woman and a child
  One restless summer we found love growing wild
  On the banks of the river on a well beaten path
  It's funny how those memories they last
  Like strawberry wine and seventeen
  The hot July moon saw everything
  My first taste of love, oh bittersweet
  Green on the vine
  Like strawberry wine


  I still remember
  When thirty was old
  And my biggest fear was September
  when he had to go
  A few cards and letters and one long distance call
  We drifted away like the leaves in the fall
  But year after year I come back to this place
  Just to remember the taste
  Of strawberry wine and seventeen
  The hot July moon saw everything
  My first taste of love, whoa-oh, bittersweet
  Green on the vine
  Like strawberry wine


  The fields have grown over now
  Years since they've seen the plow
  There's nothing time hasn't touched
  Is it really him or the loss of my innocence?
  I've been missing so much


  Yeah


  Strawberry wine and seventeen
  The hot July moon saw everything
  My first taste of love, whoa-oh bittersweet
  And green on the vine
  Like strawberry wine and seventeen
  The hot July moon saw everything
  My first taste of love, oh, bittersweet
  And green on the vine
  Like strawberry wine


  Strawberry wine
             Case 3:23-cv-01092              Document 49-7      60311/16/23
                                                             Filed            Page 170 of 473 PageID #: 1630
BCG_ID_11348_LF.txt[11/10/23, 10:58:32 AM]
  Ooh
  Strawberry wine

  WRITERS

  Gary Harrison, Matraca Berg

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      60411/16/23
                                                             Filed            Page 171 of 473 PageID #: 1631
BCG_ID_11348_LF.txt[11/10/23, 10:58:32 AM]
  Lyrics
  Story of my life, searching for the right
  But it keeps avoiding me
  Sorrow in my soul 'cause it seems that wrong
  Really loves my company
  He's more than a man and this is more than love
  The reason that the sky is blue
  The clouds are rolling in because I'm gone again
  And to him, I just can't be true


  And I know that he knows I'm unfaithful
  And it kills him inside
  To know that I am happy with some other guy
  I can see him dying


  I don't wanna do this anymore
  I don't wanna be the reason why
  Every time I walk out the door
  I see him die a little more inside
  I don't wanna hurt him anymore
  I don't wanna take away his life
  I don't wanna be a murderer


  I feel it in the air as I'm doin' my hair
  Preparing for another date
  A kiss upon my cheek as he reluctantly
  Asks if I'm gonna be out late
  I say I won't be long, just hanging with the girls
  A lie I didn't have to tell
  Because we both know where I'm about to go
  And we know it very well


  'Cause I know that he knows I'm unfaithful
  And it kills him inside
  To know that I am happy with some other guy
  I can see him dying


  I don't wanna do this anymore
  I don't wanna be the reason why
  Every time I walk out the door
  I see him die a little more inside
  I don't wanna hurt him anymore
  I don't wanna take away his life
  I don't wanna be a murderer


  Our love, his trust
  I might as well take a gun and put it to his head
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BCG_ID_11362_LF.txt[11/10/23, 10:58:32 AM]
  Get it over with
  I don't wanna do this anymore
  Whoa, anymore


  And I don't wanna do this anymore
  I don't wanna be the reason why
  And every time I walk out the door
  I see him die a little more inside
  And I don't wanna hurt him anymore
  I don't wanna take away his life
  I don't wanna be a murderer


  A murderer
  No, no, no
  Yeah, yeah

  WRITERS

  Mikkel Eriksen, Tor Erik Hermansen, Shaffer Smith

  PUBLISHERS

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                                                             Filed            Page 173 of 473 PageID #: 1633
BCG_ID_11362_LF.txt[11/10/23, 10:58:32 AM]
  Lyrics
  Closer
  Closer
  Closer
  Closer


  Turn the lights off in this place
  And she shines just like a star
  And I swear I know her face
  I just don't know who you are
  Turn the music up in here
  I still hear her loud and clear
  Like she's right there in my ear
  Telling me
  That she wants to own me
  To control me
  Come closer
  Come closer


  Oh I just can't pull myself away
  Under her spell I can't break
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  And I just can't break myself no way
  But I don't want to escape
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop


  I can feel her on my skin
  I can taste her on my tongue
  She's the sweetest taste of sin
  The more I get the more I want
  She wants to own me
  Come closer
  She says "come closer"


  Oh I just can't pull myself away
  Under her spell I can't break
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  And I just can't break myself no way
  But I don't want to escape
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BCG_ID_11364_LF.txt[11/10/23, 10:58:33 AM]
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop


  (Come closer)


  (Come closer)


  (Come closer)


  (Come closer)


  (Come closer)


  (Come closer)


  (Come closer)


  I just can't stop no


  I just can't stop no


  I just can't stop no


  I just can't stop no


  Oh I just can't pull myself away
  Under her spell I can't break
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  And I just can't break myself no way
  But I don't want to escape
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop

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                                                             Filed            Page 175 of 473 PageID #: 1635
BCG_ID_11364_LF.txt[11/10/23, 10:58:33 AM]
  Oh I just can't pull myself away
  Under her spell I can't break
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  I just can't stop
  Come closer

  WRITERS

  Bernt Rune Stray, Magnus Torkehage Beite, Mikkel Storleer Eriksen, Shaffer Smith, Tor Erik Hermansen

  PUBLISHERS

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                                                             Filed            Page 176 of 473 PageID #: 1636
BCG_ID_11364_LF.txt[11/10/23, 10:58:33 AM]
  Lyrics
  You lift my heart up
  When the rest of me is down
  You, you enchant me, even when you're not around
  If there are boundaries, I will try to knock them down
  I'm latching on babe
  Now I know what I have found


  I feel we're close enough
  I wanna lock in your love
  I think we're close enough
  Could I lock in your love, baby?


  Now I got you in my space
  I won't let go of you
  Got you shackled in my embrace
  I'm latching on to you


  Now I got you in my space
  I won't let go of you
  Got you shackled in my embrace
  I'm latching on to you


  I'm so encaptured, got me wrapped up in your touch
  Feel so enamored, hold me tight within your clutch
  How do you do it, you got me losing every breath
  What did you give me to make my heart beat out my chest?


  I feel we're close enough
  I wanna lock in your love
  I think we're close enough
  Could I lock in your love, baby?
  I feel we're close enough
  I wanna lock in your love
  I think we're close enough
  Could I lock in your love, baby?


  Now I got you in my space
  I won't let go of you
  Got you shackled in my embrace
  I'm latching on to you


  Now I got you in my space
  I won't let go of you
  Got you shackled in my embrace
  I'm latching on to you
             Case 3:23-cv-01092              Document 49-7      61011/16/23
                                                             Filed            Page 177 of 473 PageID #: 1637
BCG_ID_11366_LF.txt[11/10/23, 10:58:33 AM]
  I'm latching on to you (I'm latching on to you)
  I won't let go of you (I won't let go)
  I'm latching on to you (I don't wanna let go)
  I won't let go of you (I won't let go, I won't let go)


  (I won't let go, I won't let go)

  WRITERS

  Guy William Lawrence, Howard John Lawrence, James John Napier, Sam Smith

  PUBLISHERS

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  LLC, Downtown Music Publishing




             Case 3:23-cv-01092              Document 49-7      61111/16/23
                                                             Filed            Page 178 of 473 PageID #: 1638
BCG_ID_11366_LF.txt[11/10/23, 10:58:33 AM]
  Lyrics
  Coming to you on a dusty road
  Good loving, I've got a truck load
  But when you get it, you got something
  Don't worry, 'cause I'm coming


  I'm a soul man
  I'm a soul man
  I'm a soul man
  I'm a soul man


  I got what I got, the hard way
  And I make it better, each and every day
  Oh honey, said don't you fret
  Because you ain't seen nothing yet


  I'm a soul man
  I'm a soul man
  I'm a soul man
  I'm a soul man


  Got what I got, the hard way
  And I got convicted, each and every day
  Oh honey, I said don't you fret
  Because you ain't seen, no, nothing yet


  I'm a soul man
  I'm a soul man
  I'm a soul man
  I'm a soul man


  Grab the rope, let me pull you in
  Give you hope and be your only boyfriend
  Yeah, yeah, yeah, yeah


  Talking about a soul man
  Talking about soul man


  Talking about a soul man
  Soul man
  (Soul man)
  Can I be
  (Soul man)
  Your
  (Soul man)
             Case 3:23-cv-01092              Document 49-7      61211/16/23
                                                             Filed            Page 179 of 473 PageID #: 1639
BCG_ID_11377_LF.txt[11/10/23, 10:58:33 AM]
  Would you let me
  (Soul man)
  Be your
  (Soul man)
  I don't mind being
  (Soul man)
  Your
  (Soul man)
  I'd like to be
  (Soul man)
  Your
  (Soul man)
  One and only
  (Soul man)
  I'd like to be

  WRITERS

  David Porter, Isaac Hayes

  PUBLISHERS

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  Publishing LLC, Royalty Network, Songtrust Ave, Peermusic Publishing, Kobalt Music Publishing Ltd., Warner
  Chappell Music, Inc.




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                                                             Filed            Page 180 of 473 PageID #: 1640
BCG_ID_11377_LF.txt[11/10/23, 10:58:33 AM]
  Lyrics
  You know our love was meant to be
  The kind of love to last forever
  And I want you here with me
  From tonight until the end of time


  You should know
  Everywhere I go
  Always on my mind
  In my heart, in my soul
  Baby


  You're the meaning in my life
  You're the inspiration
  You bring feeling to my life
  You're the inspiration
  Want to have you near me
  I want to have you hear me saying
  no one needs you more than I need you


  And I know (and I know)
  Yes I know that it's plain to see
  So in love when we're together
  now I know (now I know)
  That I need you here with me
  From tonight until the end of time


  You should know (yes, you need to know)
  Everywhere I go
  Always on my mind
  You're in my heart, in my soul


  You're the meaning in my life
  You're the inspiration
  You bring feeling to my life
  You're the inspiration
  Want to have you near me
  I want to have you hear me saying
  no one needs you more than I need you (no one needs you more than I)


  Want to have you near me
  I want to have you hear me saying
  no one needs you more than I need you (no one needs you more)


  You're the meaning in my life
  You're the inspiration
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                                                             Filed            Page 181 of 473 PageID #: 1641
BCG_ID_11380_LF.txt[11/10/23, 10:58:34 AM]
  You bring feeling to my life
  You're the inspiration


  When you love somebody
  'Til the end of time
  When you love somebody
  Always on my mind (no one needs you more than I)
  When you love somebody
  'Til the end of time
  When you love somebody
  Always on my mind (no on needs you more than I)
  When you love somebody
  'Til the end of time
  When you love somebody
  Always on my mind (no one needs you more than I)

  WRITERS

  Peter Cetera, David Foster

  PUBLISHERS

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                                                             Filed            Page 182 of 473 PageID #: 1642
BCG_ID_11380_LF.txt[11/10/23, 10:58:34 AM]
  Lyrics
  You see it all around you
  Good lovin' gone bad
  And usually it's too late when you, realize what you had
  And my mind goes back to a girl I left some years ago (Who told me)


  Just hold on loosely
  But don't let go
  If you cling to tightly
  You're gonna lose control


  Your baby needs someone to believe in
  And a whole lot of space to breathe in


  It's so damn easy, when your feelings are such
  To overprotect her, to love her too much
  And my mind goes back to a girl I left some years ago (Who told me)


  Just hold on loosely
  But don't let go
  If you cling too tight babe
  You're gonna loose control
  Your baby needs someone to believe in
  And a whole lot of space to breathe in
  Don't let her slip away


  Sentimental fool
  Don't let your heart get in her way
  Yeah, yeah, yeah


  You see it all around you
  Good lovin' gone bad
  And usually it's too late when you, realize what you had


  Just hold on loosely
  But don't let go
  If you cling to tightly
  You're gonna lose control
  Your baby needs someone to believe in
  And a whole lot of space to breathe in
  Just hold on loosely
  But don't let go
  If you cling too tight babe
  You're gonna lose it
  You're gonna, lose control

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BCG_ID_11384_LF.txt[11/10/23, 10:58:34 AM]
  Yeah, yeah, yeah
  Just hold on loosely
  But don't let go
  If you cling too tight babe
  You're gonna loose control
  Hold on loosely
  But don't let go
  If you cling too tight babe,
  You're gonna loose control
  Yeah, yeah, yeah

  WRITERS

  JAMES MICHAEL PETERIK, JEFFREY S. CARLISI, DON BARNES

  PUBLISHERS

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  Music, Inc.




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BCG_ID_11384_LF.txt[11/10/23, 10:58:34 AM]
  Lyrics
  Can you hear them?
  They talk about us
  Telling lies
  Well, that's no surprise


  Can you see them?
  See right through them
  They have no shield
  No secrets to reveal


  It doesn't matter what they say
  In the jealous games people play
  Our lips are sealed


  There's a weapon
  That we must use
  In our defense
  Silence reveals


  When you look at them
  Look right through them
  That's when they'll disappear
  That's when we'll be feared


  It doesn't matter what they say
  In the jealous games people play
  Our lips are sealed


  Pay no mind to what they say
  It doesn't matter anyway
  Our lips are sealed


  Hush, my darling
  Don't you cry
  Quiet, angel
  Forget their lies


  Can you hear them?
  They talk about us
  Telling lies
  Well, that's no surprise


  Can you see them?
             Case 3:23-cv-01092              Document 49-7      61811/16/23
                                                             Filed            Page 185 of 473 PageID #: 1645
BCG_ID_11389_LF.txt[11/10/23, 10:58:34 AM]
  See right through them
  They have no shield
  No secrets to reveal


  It doesn't matter what they say
  In the jealous games people play
  Our lips are sealed


  Pay no mind to what they say
  It doesn't matter anyway
  Our lips are sealed
  Our lips are sealed
  Our lips are sealed

  WRITERS

  Jane Wiedlin, Terry Hall

  PUBLISHERS

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  Inc.




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                                                             Filed            Page 186 of 473 PageID #: 1646
BCG_ID_11389_LF.txt[11/10/23, 10:58:34 AM]
  Lyrics
  He deals the cards as a meditation
  And those he plays never suspect
  He doesn't play for the money he wins
  He don't play for respect


  He deals the cards to find the answer
  The sacred geometry of chance
  The hidden law of a probable outcome
  The numbers lead a dance


  I know that the spades are the swords of a soldier
  I know that the clubs are weapons of war
  I know that diamonds mean money for this art
  But that's not the shape of my heart


  He may play the jack of diamonds
  He may lay the queen of spades
  He may conceal a king in his hand
  While the memory of it fades


  I know that the spades are the swords of a soldier
  I know that the clubs are weapons of war
  I know that diamonds mean money for this art
  But that's not the shape of my heart
  That's not the shape
  The shape of my heart


  If I told her that I loved you
  You'd maybe think there's something wrong
  I'm not a man of too many faces
  The mask I wear is one


  But those who speak know nothing
  And find out to their cost
  Like those who curse their luck in too many places
  And those who fear are lost


  I know that the spades are the swords of a soldier
  I know that the clubs are weapons of war
  I know that diamonds mean money for this art
  But that's not the shape of my heart
  That's not the shape of my heart
  That's not the shape
  The shape of my heart

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BCG_ID_11394_LF.txt[11/10/23, 10:58:34 AM]
  WRITERS

  Dominic James Miller, Gordon Matthew Sumner

  PUBLISHERS

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BCG_ID_11394_LF.txt[11/10/23, 10:58:34 AM]
  Lyrics
  They sent me away to find them a fortune
  A chest filled with diamonds and gold
  The house was awake, with shadows and monsters
  The hallways, they echoed and groaned


  I sat alone, in bed 'til the morning
  I'm crying, "They're coming for me"
  And I tried to hold these secrets inside me
  My mind's like a deadly disease


  I'm bigger than my body
  I'm colder than this home
  I'm meaner than my demons
  I'm bigger than these bones


  And all the kids cried out, "Please stop, you're scaring me"
  I can't help this awful energy
  Goddamn right, you should be scared of me
  Who is in control?


  I paced around for hours on empty
  I jumped at the slightest of sounds
  And I couldn't stand the person inside me
  I turned all the mirrors around


  I'm bigger than my body
  I'm colder than this home
  I'm meaner than my demons
  I'm bigger than these bones


  And all the kids cried out, "Please stop, you're scaring me"
  I can't help this awful energy
  Goddamn right, you should be scared of me
  Who is in control?


  I'm well acquainted with villains that live in my head
  They beg me to write them so they'll never die when I'm dead
  And I've grown familiar with villains that live in my head
  They beg me to write them so I'll never die when I'm dead


  I'm bigger than my body
  I'm colder than this home
  I'm meaner than my demons
  I'm bigger than these bones
             Case 3:23-cv-01092              Document 49-7      62211/16/23
                                                             Filed            Page 189 of 473 PageID #: 1649
BCG_ID_11401_LF.txt[11/10/23, 10:58:35 AM]
  And all the kids cried out, "Please stop, you're scaring me"
  I can't help this awful energy
  Goddamn right, you should be scared of me
  Who is in control?


  And all the kids cried out, "Please stop, you're scaring me"
  I can't help this awful energy
  Goddamn right, you should be scared of me
  Who is in control?

  WRITERS

  ASHLEY FRANGIPANE, TIMOTHY JOLIFFE BRAN, ROY EDWARD KERR

  PUBLISHERS

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                                                             Filed            Page 190 of 473 PageID #: 1650
BCG_ID_11401_LF.txt[11/10/23, 10:58:35 AM]
  Lyrics
  Yeah, yeah
  Hey
  That's how much I love you (yeah)
  That's how much I need you (yeah, yeah, yeah)


  And I can't stand you
  Must everything you do make me wanna smile
  Can I not like you for awhile? (No)
  But you won't let me
  You upset me, girl
  And then you kiss my lips
  All of a sudden I forget (that I was upset)
  Can't remember what you did
  But I hate it
  You know exactly what to do
  So that I can't stay mad at you
  For too long, that's wrong
  But I hate it
  You know exactly how to touch
  So that I don't wanna fuss and fight no more
  Said I despise that I adore you


  And I hate how much I love you, boy (yeah)
  I can't stand how much I need you (I need you)
  And I hate how much I love you, boy (oh whoa)
  But I just can't let you go
  And I hate that I love you so (oh)


  You completely know the power that you have (power that you have)
  The only one makes me laugh (makes me laugh)
  Sad and it's not fair
  How you take advantage of the fact
  That I
  Love you beyond the reason why
  And it just ain't right


  And I hate how much I love you, girl (oooh)
  I can't stand how much I need you (yeah)
  And I hate how much I love you, girl (yeah)
  But I just can't let you go (oooh)
  But I hate that I love you so


  One of these days, maybe your magic won't affect me (hmm)
  And your kiss won't make me weak
  But no one in this world knows me the way you know me
  So you'll probably always have a spell on me
  Yeah
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                                                             Filed            Page 191 of 473 PageID #: 1651
BCG_ID_11408_LF.txt[11/10/23, 10:58:35 AM]
  Oh, oh, oh
  Yeah, yeah, yeah, yeah, yeah, yeah


  That's how much I love you
  How much I need you
  How much I need you
  How much I love you
  That's how much I love you
  Oh, I need you
  That's how much I need you
  I need you
  And I hate that I love you so
  And I hate how much I love you, boy
  I can't stand how much I need you
  (I can't stand how much I need you)
  And I hate how much I love you, boy
  But I just can't let you go
  (But I just can't let you go no)
  And I hate that I love you so (Ohhh)
  And I hate that I love you so, so

  WRITERS

  Mikkel Eriksen, Tor Erik Hermansen, Shaffer Smith

  PUBLISHERS

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                                                             Filed            Page 192 of 473 PageID #: 1652
BCG_ID_11408_LF.txt[11/10/23, 10:58:35 AM]
  Lyrics
  I dream of rain
  I dream of gardens in the desert sand
  I wake in vain
  I dream of love as time runs through my hand


  I dream of fire
  Those dreams are tied to a horse that will never tire
  And in the flames
  Her shadows play in the shape of a man's desire


  This desert rose
  Each of her veils, a secret promise
  This desert flower
  No sweet perfume ever tortured me more than this


  And as she turns
  This way she moves in the logic of all my dreams
  This fire burns
  I realize that nothing's as it seems


  I dream of rain
  I dream of gardens in the desert sand
  I wake in vain
  I dream of love as time runs through my hand


  I dream of rain
  I lift my gaze to empty skies above
  I close my eyes
  The rare perfume is the sweet intoxication of her love


  Aman aman aman aman aman


  I dream of rain
  I dream of gardens in the desert sand
  I wake in vain
  I dream of love as time runs through my hand


  Sweet desert rose
  Each of her veils, a secret promise
  This desert flower
  This rare perfume, is the sweet intoxication of the fall


  Ya lili ah ya leel
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BCG_ID_11410_LF.txt[11/10/23, 10:58:35 AM]
  WRITERS

  Gordon Sumner, Mohammed Khelifati

  PUBLISHERS

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                                                             Filed            Page 194 of 473 PageID #: 1654
BCG_ID_11410_LF.txt[11/10/23, 10:58:35 AM]
  Lyrics
  I'm bleeding out
  Say if the last thing that I do
  Is bring you down
  I'll bleed out for you
  So I bear my skin
  And I count my sins
  And I close my eyes
  And I take it in
  I'm bleeding out
  I'm bleeding out for you (for you)


  When the day has come
  But I've lost my way around
  And the seasons stop and hide beneath the ground
  When the sky turns gray
  And everything is screaming
  I will reach inside
  Just to find my heart is beating


  You tell me to hold on
  Oh you tell me to hold on
  But innocence is gone
  And what was right is wrong


  'Cause I'm bleeding out
  Say if the last thing that I do
  Is to bring you down
  I'll bleed out for you
  So I bear my skin
  And I count my sins
  And I close my eyes
  And I take it in
  And I'm bleeding out
  I'm bleeding out for you (for you)


  When the hour is nigh
  And hopelessness is sinking in
  And the wolves all cry
  To feel they're not worth hollering
  When your eyes are red
  And emptiness is all you know
  With the darkness fed
  I will be your scarecrow


  You tell me to hold on
  Oh you tell me to hold on
  But innocence is gone
             Case 3:23-cv-01092              Document 49-7      62811/16/23
                                                             Filed            Page 195 of 473 PageID #: 1655
BCG_ID_11418_LF.txt[11/10/23, 10:58:36 AM]
  And what was right is wrong


  'Cause I'm bleeding out
  Say if the last thing that I do
  Is to bring you down
  I'll bleed out for you
  So I bear my skin
  And I count my sins
  And I close my eyes
  And I take it in
  And I'm bleeding out
  I'm bleeding out for you (for you)


  I'm bleeding out for you (for you)
  I'm bleeding out for you (for you)
  I'm bleeding out for you (for you)
  I'm bleeding out for you


  'Cause I'm bleeding out
  Say if the last thing that I do
  Is to bring you down
  I'll bleed out for you
  So I bear my skin
  And I count my sins
  And I close my eyes
  And I take it in
  And I'm bleeding out
  I'm bleeding out for you (for you)

  WRITERS

  Joshua Francis Mosser, Alexander Junior Grant, Benjamin Arthur McKee, Daniel Coulter Reynolds, Daniel Wayne
  Sermon

  PUBLISHERS

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                                                             Filed            Page 196 of 473 PageID #: 1656
BCG_ID_11418_LF.txt[11/10/23, 10:58:36 AM]
  Lyrics
  She's starin' at me
  I'm sittin', wonderin' what she's thinkin'
  Nobody's talkin'
  'Cause talkin' just turned into screamin'
  And now is I'm yellin' over her
  She's yellin' over me
  All that that means
  Is neither of us is listening
  (And what's even worse)
  That we don't even remember why were fighting


  So both of us are mad for


  Nothin'
  (Fighting for)
  Nothin'
  (Crying for)
  Nothin'
  (Whoa)
  But we won't let it go for
  Nothin'
  (No not for)
  Nothin'
  This should be nothin' to a love like what we got
  Oh, baby
  I know sometimes
  It's gonna rain
  But baby, can we make up now
  'Cause I can't sleep through the pain
  (Can't sleep through the pain)


  Girl, I don't wanna go to bed
  (Mad at you)
  And I don't want you to go to bed
  (Mad at me)
  No, I don't wanna go to bed
  (Mad at you)
  And I don't want you to go to bed
  (Mad at me)
  Oh, no, no, no


  And it gets me upset, girl
  When you're constantly accusing
  (Askin' questions like you've already known)
  We're fighting this war, baby
  When both of us are losing
  (This ain't the way that love is supposed to go)
  Whoa
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                                                             Filed            Page 197 of 473 PageID #: 1657
BCG_ID_11434_LF.txt[11/10/23, 10:58:36 AM]
  (What happened to workin' it out)
  We've falled into this place
  Where you ain't backin' down
  And I ain't backin' down


  So what the hell do we do now
  It's all for


  Nothin'
  (Fighting for)
  Nothin'
  (Crying for)
  Nothin'
  (Whoa)
  But we won't let it go for
  Nothin'
  (No not for)
  Nothin'
  This should be nothin' to a love like what we got
  Oh, baby
  I know sometimes
  It's gonna rain
  But baby, can we make up now
  'Cause I can't sleep through the pain
  (Can't sleep through the pain)


  Girl, I don't wanna go to bed
  (Mad at you)
  And I don't want you to go to bed
  (Mad at me)
  No, I don't wanna go to bed
  (Mad at you)
  And I don't want you to go to bed
  (Mad at me)
  Oh, no, no, no


  Oh baby this love ain't gonna be perfect
  (Perfect, perfect, oh oh)
  And just how good it's gonna be
  We can fuss and we can fight
  Long as everything alright between us
  Before we go to sleep


  Baby, we're gonna be happy


  I know sometimes
  It's gonna rain
  But baby, can we make up now
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                                                             Filed            Page 198 of 473 PageID #: 1658
BCG_ID_11434_LF.txt[11/10/23, 10:58:36 AM]
  'Cause I can't sleep through the pain
  (Can't sleep through the pain)


  Girl, I don't wanna go to bed
  (Mad at you)
  And I don't want you to go to bed
  (Mad at me)
  No, I don't wanna go to bed
  (Mad at you)
  And I don't want you to go to bed
  (Mad at me)
  Oh, no, no, no

  WRITERS

  Mikkel Storleer Eriksen, Shaffer Smith, Tor Erik Hermansen

  PUBLISHERS

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                                                             Filed            Page 199 of 473 PageID #: 1659
BCG_ID_11434_LF.txt[11/10/23, 10:58:36 AM]
  Lyrics
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast (yes indeed)
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast (yes indeed)


  Stand clear, Don man'll talk
  You can't stand where I stand, you can't walk where I walk
  Watch out, we run New York
  Policeman come, we bust him out the park
  I know this for a fact, you don't like how I act
  You claim I'm sellin' crack, but you be doin' that
  I'd rather say see ya, 'cause I would never be ya
  Be an officer? You wicked overseer
  You hotshot, wanna get props and be a savior
  First show a little respect, change your behavior
  Change your attitude, change your plan
  There could never really be justice on stolen land
  Are you really for peace and equality?
  Or when my car is hooked up, you know you wanna follow me
  Your laws are minimal
  'Cause you won't even think about lookin' at the real criminal
  This has got to cease
  'Cause we be gettin' hyped to the sound of da police


  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast


  Now here's a likkle truth, open up your eye
  While you're checkin' out the boom-bap, check the exercise
  Take the word overseer, like a sample
  Repeat it very quickly in a crew, for example
  Overseer, overseer, overseer, overseer
  Officer, officer, officer, officer
  Yeah, officer from overseer
  You need a little clarity? Check the similarity
  The overseer rode around the plantation
  The officer is off, patrollin' all the nation
  The overseer could stop you, "what you're doin'?"
  The officer will pull you over just when he's pursuin'
  The overseer had the right to get ill
  And if you fought back, the overseer had the right to kill
  The officer has the right to arrest
  And if you fight back they put a hole in your chest (woop)
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BCG_ID_11436_LF.txt[11/10/23, 10:58:36 AM]
  They both ride horses
  After 400 years, I've got no choices
  The police them have a likkle gun
  So when I'm on the streets, I walk around with a bigger one (woop-woop)
  I hear it all day
  Just so they can run the light and be upon their way


  Yes indeed
  Yes indeed
  Yes indeed
  Yes indeed


  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast


  Check out the message in a rough stylee
  The real criminal are the C-O-P
  You check for undercover and the one P.D
  But just a mere Black man, them wan' check me
  Them check out me car, for it shine like the sun
  But them jealous or them vexed, 'cause them can't afford one
  Black people still slaves up 'til today
  But the Black police officer nyah see it that way
  Him want a salary, him want it
  So he put on a badge and kill people for it
  My grandfather had to deal with the cops
  My great-grandfather dealt with the cops
  My great-grandfather had to deal with the cops
  And then my great, great, great, great, when it's gonna stop?


  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast


  Yes indeed
  Yes indeed
  Yes indeed
  Yes indeed


  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast
        Case 3:23-cv-01092 Document 49-7                    63411/16/23
                                                         Filed              Page 201 of 473 PageID #: 1661
BCG_ID_11436_LF.txt[11/10/23, 10:58:36 AM]
  Woop-woop, that's the sound of da police
  Woop-woop, that's the sound of da beast

  WRITERS

  Lawrence Krsone Parker, Rodney Lemay, Eric Victor Burdon, Bryan James Chandler, Alan Lomax

  PUBLISHERS

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                                                             Filed            Page 202 of 473 PageID #: 1662
BCG_ID_11436_LF.txt[11/10/23, 10:58:36 AM]
  Lyrics
  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la


  I just can't get you out of my head
  Boy, your lovin' is all I think about
  I just can't get you out of my head
  Boy, its more than I dare to think about


  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la


  I just can't get you out of my head
  Boy, your lovin' is all I think about
  I just can't get you out of my head
  Boy, its more than I dare to think about


  Every night
  Every day
  Just to be there in your arms
  Won't you stay
  Won't you lay
  Stay forever and ever, and ever, and ever


  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la


  I just can't get you out of my head
  Boy, your lovin' is all I think about
  I just can't get you out of my head
  Boy, its more than I dare to think about


  There's a dark secret in me
  Don't leave me left in your heart
  Set me free
  Feel the need in me
  Set me free
  Stay forever and ever, and ever, and ever


  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la
             Case 3:23-cv-01092              Document 49-7      63611/16/23
                                                             Filed            Page 203 of 473 PageID #: 1663
BCG_ID_11441_LF.txt[11/10/23, 10:58:37 AM]
  La-la-la-la-la-la-la-la
  La-la-la-la-la-la-la-la


  I just can't get you out of my head
  La-la-la-la-la-la-la-la
  I just can't get you out of my head
  La-la-la-la-la-la-la-la
  I just can't get you out of my head
  La-la-la-la-la-la-la-la

  WRITERS

  Robert Berkeley Davis, Cathy Dennis

  PUBLISHERS

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                                                             Filed            Page 204 of 473 PageID #: 1664
BCG_ID_11441_LF.txt[11/10/23, 10:58:37 AM]
  Lyrics
  Oh, how you sparkle
  And oh, how you shine
  That flush on your cheeks is more than the wine
  And he must do something that I didn't do
  Whatever he's doing
  It looks good on you


  You look so good in love
  You want him
  That's easy to see
  You look so good in love
  And I wish you still wanted me


  He must have stolen some stars from the sky
  And gave them to you to wear in your eyes
  I had my chances
  But I set you free
  And now I wonder why I couldn't see


  You look so good in love
  You want him
  That's easy to see
  You look so good in love
  And I wish you still wanted me


  Darling, I've wasted a lot of years not seeing the real you
  But tonight your beauty is shining through
  And I never took the time to let you know
  So before he takes you away
  Please let me say


  You look so good in love
  You want him
  That's easy to see
  You look so good in love
  And I wish you still wanted me


  You look so good in love

  WRITERS

  GLEN BALLARD, RORY M. BOURKE, KERRY CHATER

  PUBLISHERS

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BCG_ID_11445_LF.txt[11/10/23, 10:58:37 AM]
             Case 3:23-cv-01092              Document 49-7      63911/16/23
                                                             Filed            Page 206 of 473 PageID #: 1666
BCG_ID_11445_LF.txt[11/10/23, 10:58:37 AM]
  Lyrics
  Hola, Holana


  Telling me this
  And telling me that
  You said once you take me with you, I'll never go back
  Now I got a lesson that I want to teach ya
  Ima show you that where you from don't matter to me
  She said "Hola, ÀC—mo est‡s?, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  Then she said "Sak pase" and I said "N'ap boule"
  No matter where I go, you know I love 'em all
  She said "Hola, ÀComo est‡s, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  Then she said "Sak pase" and I said "N'ap boule"
  No matter where I go you know I love them all


  African American for sho
  I told her baby come and rock a rodeo
  Every time I come around man, I go for broke
  She gives me desktop till I overload
  Now baby you gon go where you 'posed to go
  'Cause I ain't got time for you every day
  She said she got a man keep it on the low
  I said he don't speak English, fuck he gon say (aye)


  Telling me this
  And telling me that
  You said once you take me with you, I'll never go back
  Now I got a lesson that I want to teach ya
  Ima show you that where you from don't matter to me
  She said "Hola, ÀC—mo est‡s?, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  Then she said "Sak pase" and I said "N'ap boule"
  No matter where I go, you know I love 'em all
  She said "Hola, ÀComo est‡s, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  Then she said "Sak pase" and I said "N'ap boule"
  No matter where I go you know I love them all


  She from Africa but she fucks me like she Haitian
  Ass black, but them eyes looking Asian
  I gave her the can in Kansas
  I got it on tape, she on candid camera
  OKC I forgot we met in Oklahoma
  I use to smoke Regina, she from Arizona
  Then I met a girl in Cali I never disowned her
  She got that high grade
  Her weave come with diplomas, I want her
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                                                             Filed            Page 207 of 473 PageID #: 1667
BCG_ID_11450_LF.txt[11/10/23, 10:58:37 AM]
  But she keep


  Telling me this
  And telling me that
  You said once you take me with you, I'll never go back
  Now I got a lesson that I want to teach ya
  Ima show you that where you from don't matter to me
  She said "Hola, ÀC—mo est‡s?, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  And she said "Sak pase" and I said "N'ap boule"
  No matter where I go, you know I love 'em all
  She said "Hola, ÀComo est‡s, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  And she said "Sak pase" and I said "N'ap boule"
  No matter where I go you know I love them all
  She said "Hola, ÀComo est‡s, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  And she said "Sak pase" and I said "N'ap boule"
  No matter where I go you know I love them all
  She said "Hola, ÀComo est‡s, she said "Konnichiwa"
  She said "Pardon my French", I said "Bonjour Madame"
  And she said "Sak pase" and I said "N'ap boule"
  No matter where I go you know I love them all

  WRITERS

  Andre Lyon, Barry White, Edwin Nicholas, Gerald Levert, Kent Jones, Khaled Khaled, Marcello Valenzano

  PUBLISHERS

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  Chappell Music, Inc.




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BCG_ID_11450_LF.txt[11/10/23, 10:58:37 AM]
  Lyrics
  Welcome to my Christmas song
  I'd like to thank you for the year
  So I'm sending you this Christmas card
  To say, "It's nice to have you here"


  I'd like to sing about all the things
  Your eyes and mind can see
  So hop aboard the turntable
  Oh, step into Christmas with me, yeah


  Step into Christmas, let's join together
  We can watch the snow fall forever and ever
  Eat, drink and be merry, come along with me
  Step into Christmas, the admission's free


  Take care in all you do next year
  And keep smiling through the days
  If we can help to entertain you
  Oh, we will find the ways


  So merry Christmas, one and all
  There's no place I'd rather be
  Than asking you if you'd oblige
  Stepping into Christmas with me


  Step into Christmas, let's join together
  We can watch the snow fall forever and ever
  Eat, drink and be merry, come along with me
  Step into Christmas, the admission's free, oh


  Welcome to my Christmas song
  I'd like to thank you for the year
  So I'm sending you this Christmas card
  To say, "It's nice to have you here"


  I'd like to sing about all the things
  Your eyes and mind can see
  So hop aboard the turntable
  Oh, step into Christmas with me, yeah


  Step into Christmas, let's join together
  We can watch the snow fall forever and ever
  Eat, drink and be merry, come along with me
  Step into Christmas, the admission's free
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                                                             Filed            Page 209 of 473 PageID #: 1669
BCG_ID_11452_LF.txt[11/10/23, 10:58:38 AM]
  Step into Christmas, let's join together
  We can watch the snow fall forever and ever
  Eat, drink and be merry, come along with me
  Step into Christmas, the admission's free


  Step into Christmas, let's join together
  We can watch the snow fall forever and ever
  Eat, drink and be merry, come along with me
  Step into Christmas, the admission's free, oh


  (Step, step into Christmas)
  (Ah, forever and ever)
  (Yeah, come along with me)
  (Ah) Oh
  (Step, step into Christmas)
  (Ah, forever and ever)
  (Yeah, come along with me)
  (Ah)

  WRITERS

  Elton John, Bernie Taupin

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 210 of 473 PageID #: 1670
BCG_ID_11452_LF.txt[11/10/23, 10:58:38 AM]
  Lyrics
  I turn the music up, I got my records on
  I shut the world outside until the lights come on
  Maybe the streets alight, maybe the trees are gone
  I feel my heart start beating to my favourite song


  And all the kids they dance, all the kids all night
  Until Monday morning feels another life
  I turn the music up
  I'm on a roll this time
  And heaven is in sight


  I turn the music up, I got my records on
  From underneath the rubble sing a rebel song
  Don't want to see another generation drop
  I'd rather be a comma than a full stop


  Maybe I'm in the black, maybe I'm on my knees
  Maybe I'm in the gap between the two trapezes
  But my heart is beating and my pulses start
  Cathedrals in my heart


  As we saw ohh, this light I swear you, emerge blinking into
  To tell me it's alright
  As we soar walls, every siren is a symphony
  And every tear's a waterfall
  Is a waterfall
  Oh
  Is a waterfall
  Oh-oh-oh
  Is a is a waterfall
  Every tear
  Is a waterfall
  Oh-oh-oh


  So you can hurt, hurt me bad
  But still I'll raise the flag


  Oh
  It was a wa-wa wa-wa wa-aterfall
  A wa-wa wa-wa wa-aterfall


  Every tear
  Every tear
  Every teardrop is a waterfall

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                                                             Filed            Page 211 of 473 PageID #: 1671
BCG_ID_11453_LF.txt[11/10/23, 10:58:38 AM]
  Every tear
  Every tear
  Every teardrop is a waterfall


  Every tear
  Every tear
  Every teardrop is a waterfall

  WRITERS

  Adrienne Anderson, Alex Christensen, Brian Eno, Chris Martin, Guy Berryman, Hayo Panarinfo, Helmut Hoinkis, Ingo
  Hauss, Jonny Buckland, Peter Allen, Will Champion

  PUBLISHERS

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                                                             Filed            Page 212 of 473 PageID #: 1672
BCG_ID_11453_LF.txt[11/10/23, 10:58:38 AM]
  Lyrics
  He was a famous trumpet man from out Chicago way
  He had a boogie style that no one else could play
  He was the top man at his craft
  But then his number came up and he was gone with the draft
  He's in the army now, a blowin' reveille
  He's the boogie woogie bugle boy of Company B


  They made him blow a bugle for his Uncle Sam
  It really brought him down because he couldn't jam
  The captain seemed to understand
  Because the next day the cap' went out and drafted a band
  And now the company jumps when he plays reveille
  He's the boogie woogie bugle boy of Company B


  A toot, a toot, a toot diddelyada toot
  He blows it eight to the bar, in boogie rhythm
  He can't blow a note unless the bass and guitar is playin' with 'I'm
  He makes the company jump when he plays reveille
  He's the boogie woogie bugle boy of Company B


  He was our boogie woogie bugle boy of Company B
  And when he plays boogie woogie bugle he was buzy as a bzzz bee
  And when he plays he makes the company jump eight to the bar
  He's the boogie woogie bugle boy of Company B


  Toot toot toot, toot diddelyada, toot diddelyada
  Toot, toot, he blows it eight to the bar
  He can't blow a note if the bass and guitar isn't with 'I'm
  A a a and the company jumps when he plays reveille
  He's the boogie woogie bugle boy of Company B


  He puts the boys asleep with boogie every night
  And wakes 'em up the same way in the early bright
  They clap their hands and stamp their feet
  Because they know how he plays when someone gives him a beat
  He really breaks it up when he plays reveille
  He's the boogie woogie bugle boy of Company B


  Da doo da da doo da da da
  Da doo da da doo da da da
  Da doo da da doo da da da
  Da doo da da doo da da
  A a a and the company jumps when he plays reveille
  He's the boogie woogie bugle boy of Company B

  WRITERS
             Case 3:23-cv-01092              Document 49-7      64611/16/23
                                                             Filed            Page 213 of 473 PageID #: 1673
BCG_ID_11468_LF.txt[11/10/23, 10:58:38 AM]
  DON RAYE, HUGHIE PRINCE

  PUBLISHERS

  Lyrics © THE SONGWRITERS GUILD OF AMERICA, Universal Music Publishing Group




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                                                             Filed            Page 214 of 473 PageID #: 1674
BCG_ID_11468_LF.txt[11/10/23, 10:58:38 AM]
  Lyrics
  (Uh uh uh uh ah
  Uh uh I can do the pretty girl rock rock rock
  Do the pretty girl rock rock rock
  Now what's your name)


  My name is Keri, I'm so very
  Fly, oh my, it's a lil' bit scary
  Boys wanna marry, looking at my derri-
  Ere, you can stare but if you touch it I'mma bury
  Pretty as a picture, sweeter than a swisher
  Mad 'cause I'm cuter than the girl that's witchya
  I don't gotta talk about it, baby you can see it
  But if you want, I'll be happy to repeat it


  My name is Keri, I'm so very
  Fly, oh my, it's a lil' bit scary
  Boys wanna marry, looking at my derri-
  Ere, you can stare but if you touch it I'ma bury
  Pretty as a picture, Sweeter than a swisher
  Mad 'cause I'm cuter than the girl that's witchya
  I can talk about it 'cause I know that I'm pretty
  And if you know it too, then ladies sing it with me


  All eyes on me when I walk in
  No question that this girl's a ten
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful


  My walk, my talk, the way I dress
  It's not my fault so please don't trip
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful


  (Hey!)
  Aye, now do the pretty girl rock rock rock rock rock
  Do the pretty girl rock rock rock rock rock
  Do the pretty girl rock rock rock
  All my ladies do the pretty girl rock rock rock
  Do the pretty girl rock rock rock
  Do the pretty girl rock rock rock
  Do the pretty girl rock
  (Now where you at)


  If you're looking for me you can catch me (pass by)
  Cameras flashing
  Bet he turn his head just as soon as I pass him
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                                                             Filed            Page 215 of 473 PageID #: 1675
BCG_ID_11473_LF.txt[11/10/23, 10:58:38 AM]
  Girls think I'm conceited 'cause I know I'm attractive
  Don't worry about what I think, why don't you ask him (oh)
  Get yourself together don't hate (never do it)
  Jealousy's the ugliest trait (don't ever do it)
  I can talk about it 'cause I know that I'm pretty
  And if you know it too, then ladies sing it with me


  All eyes on me when I walk in
  No question that this girl's a ten
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful
  My walk, my talk, the way I dress
  It's not my fault so please don't trip


  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful
  Doing the pretty girl rock rock rock
  Do the pretty girl rock rock rock
  Do the pretty girl rock rock rock
  Do the pretty girl rock rock


  All my ladies do the pretty girl rock rock
  Get low with your pretty girl rock rock
  Steal the show with your pretty girl rock rock
  All my ladies do the pretty girl rock rock


  Sing it with me now
  All eyes on me when I walk in,
  No question that this girl's a ten
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful
  My walk, my talk, the way I dress
  It's not my fault so please don't trip
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful


  All eyes on me when I walk in,
  No question that this girl's a ten
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful
  My walk, my talk, the way I dress
  It's not my fault so please don't trip
  Don't hate me 'cause I'm beautiful
  Don't hate me 'cause I'm beautiful

  WRITERS

  Shaffer Smith, Charles T. Harmon, Kanye Omari West, Ralph Macdonald, William Salter, Bill Withers
           Case 3:23-cv-01092 Document 49-7 Filed       64911/16/23 Page 216 of 473 PageID #: 1676
BCG_ID_11473_LF.txt[11/10/23, 10:58:38 AM]
  PUBLISHERS

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                                                             Filed            Page 217 of 473 PageID #: 1677
BCG_ID_11473_LF.txt[11/10/23, 10:58:38 AM]
  Lyrics
  There she was just a-walkin' down the street, singin' "Do wah diddy diddy dum diddy do"
  Snappin' her fingers and shufflin' her feet, singin' "Do wah diddy diddy dum diddy do"
  She looked good (looked good), she looked fine (looked fine)
  She looked good, she looked fine and I nearly lost my mind


  Before I knew it she was walkin' next to me, singin' "Do wah diddy diddy dum diddy do"
  Holdin' my hand just as natural as can be, singin' "Do wah diddy diddy dum diddy do"
  We walked on (walked on) to my door (my door)
  We walked on to my door, then we kissed a little more


  Whoa-oh, I knew we was falling in love
  Yes I did, and so I told her all the things I'd been dreamin' of


  Now we're together nearly every single day, singin' "Do wah diddy diddy dum diddy do"
  A-we're so happy and that's how we're gonna stay, singin' "Do wah diddy diddy dum diddy do"
  Well, I'm hers (I'm hers), she's mine (she's mine)
  I'm hers, she's mine, wedding bells are gonna chime


  Whoa-oh, I knew we was falling in love
  Yes I did, and so I told her all the things I'd been dreamin' of


  Now we're together nearly every single day, singin' "Do wah diddy diddy dum diddy do"
  A-we're so happy and that's how we're gonna stay, singin' "Do wah diddy diddy dum diddy do"
  Well, I'm hers (I'm hers), she's mine (she's mine)
  I'm hers, she's mine, wedding bells are gonna chime


  Whoa-oh-oh-oh, oh yeah
  Do wah diddy diddy dum diddy do, we'll sing it
  Do wah diddy diddy dum diddy do, oh yeah, oh, oh yeah
  Do wah diddy diddy dum diddy do

  WRITERS

  Ellie Greenwich, Jeff Barry

  PUBLISHERS

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                                                             Filed            Page 218 of 473 PageID #: 1678
BCG_ID_11478_LF.txt[11/10/23, 10:58:39 AM]
  Lyrics
  I promise that one day I'll be around
  I'll keep you safe, I'll keep you sound
  Right now it's pretty crazy
  And I don't know how to stop or slow it down


  Hey
  I know there are some things we need to talk about
  And I can't stay
  Just let me hold you for a little longer now


  Take a piece of my heart
  And make it all your own
  So when we are apart
  You'll never be alone
  You'll never be alone


  You'll never be alone
  When you miss me, close your eyes
  I may be far, but never gone
  When you fall asleep tonight
  Just remember that we lay under the same stars


  And hey
  I know there are some things we need to talk about
  And I can't stay
  Just let me hold you for a little longer now


  And take a piece of my heart
  And make it all your own
  So when we are apart
  You'll never be alone
  You'll never be alone


  You'll never be alone
  You'll never be alone
  You'll never be alone
  You'll never be alone


  And take a piece of my heart
  And make it all your own
  So when we are apart
  You'll never be alone
  You'll never be alone

  WRITERS
             Case 3:23-cv-01092              Document 49-7      65211/16/23
                                                             Filed            Page 219 of 473 PageID #: 1679
BCG_ID_11481_LF.txt[11/10/23, 10:58:39 AM]
  Shawn Mendes, Martin Terefe, Scott Harris Friedman, Glen Scott

  PUBLISHERS

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                                                             Filed            Page 220 of 473 PageID #: 1680
BCG_ID_11481_LF.txt[11/10/23, 10:58:39 AM]
  Lyrics
  Love, love is a verb
  Love is a doing word
  Fearless on my breath
  Gentle impulsion
  Shakes me, makes me lighter
  Fearless on my breath


  Teardrop on the fire
  Fearless on my breath


  Night, night of matter
  Black flowers blossom
  Fearless on my breath
  Black flowers blossom
  Fearless on my breath


  Teardrop on the fire
  Fearless on my


  Water is my eye
  Most faithful mirror
  Fearless on my breath
  Teardrop on the fire
  Of a confession
  Fearless on my breath
  Most faithful mirror
  Fearless on my breath


  Teardrop on the fire
  Fearless on my breath


  You're stumbling in the dark
  You're stumbling in the dark

  WRITERS

  Elizabeth Fraser, Robert Del Naja, Grantley Marshall, Andrew Vowles

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 221 of 473 PageID #: 1681
BCG_ID_11485_LF.txt[11/10/23, 10:58:39 AM]
  Lyrics
  So many nights I'd sit by my window
  Waiting for someone to sing me his song
  So many dreams I kept deep inside me
  Alone in the dark but now you've come along


  And you light up my life
  You give me hope to carry on
  You light up my days and fill my nights with song


  Rollin' at sea, adrift on the water
  Could it be finally I'm turnin' for home?
  Finally a chance to say, "Hey, I love you"
  Never again to be all alone


  'Cause you light up my life
  You give me hope to carry on
  You light up my days and fill my nights with song


  'Cause you, you light up my life
  You give me hope to carry on
  You light up my days and fill my nights with song


  It can't be wrong
  When it feels so right
  'Cause you
  You light up my life

  WRITERS

  Joe Brooks

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 222 of 473 PageID #: 1682
BCG_ID_11486_LF.txt[11/10/23, 10:58:40 AM]
  Lyrics
  I'm booking myself a one way flight
  I gotta see the color in your eyes
  And telling myself I'm gonna be alright
  Without you baby is a waste of time


  Yeah, our first date, girl, the seasons changed
  It got washed away in a summer rain
  You can't undo a fall like this
  'Cause love don't know what distance is
  Yeah, I know it's crazy


  But I don't want "good" and I don't want "good enough"
  I want "can't sleep, can't breathe without your love"
  Front porch and one more kiss, it doesn't make sense to anybody else
  Who cares if you're all I think about,
  I've searched the world and I know now,
  It ain't right if you ain't lost your mind
  Yeah, I don't want easy, I want crazy
  Are you with me baby? Let's be crazy


  Yeah


  I wanna be scared, don't wanna know why
  Wanna feel good, don't have to be right
  The world makes all kinds of rules for love
  I say you gotta let it do what it does


  I don't want just another hug and a kiss goodnight
  Catchin' up calls and a date sometimes
  I love that we're rebels, and we still believe
  We're the kind of crazy people wish that they could be, yeah


  Oh, and I know we're crazy, yeah


  But I don't want "good" and I don't want "good enough"
  I want "can't sleep, can't breathe without your love"
  Front porch and one more kiss, it doesn't make sense to anybody else
  Who cares if you're all I think about,
  I've searched the world and I know now,
  It ain't right if you ain't lost your mind
  Yeah, I don't want easy, I want crazy
  You with me baby? Let's be crazy


  Na, na, na, na, na, na, na, na
             Case 3:23-cv-01092              Document 49-7      65611/16/23
                                                             Filed            Page 223 of 473 PageID #: 1683
BCG_ID_11490_LF.txt[11/10/23, 10:58:40 AM]
  No, I don't want "good" and I don't want "good enough"
  I want "can't sleep, can't breathe without your love"
  Front porch and one more kiss, it doesn't make sense to anybody else
  Who cares if you're all I think about,
  I've searched the world and I know now,
  It ain't right if you ain't lost your mind
  Yeah, I don't want easy, I want crazy


  Yeah, look at us baby, tonight the midnight rules are breaking
  There's no such thing as wild enough,
  And maybe we just think too much
  Who needs to play it safe in love?
  Let's be crazy!


  Na na na na oh na na na na oh


  Who cares if we're crazy? We gotta be crazy
  I know that we're crazy, so let's be crazy
  Yeah...

  WRITERS

  HUNTER EASTON HAYES, LORI MCKENNA, TROY VERGES

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 224 of 473 PageID #: 1684
BCG_ID_11490_LF.txt[11/10/23, 10:58:40 AM]
  Lyrics
  Goddamn Lil Mama
  You know you thick as hell you know what I'm saying
  Matter fact
  After the club you know what I'm talking bout
  Me and my niggas gone be together u know what I'm saying
  I ain't goin' worry bout them really though
  I'm just looking at you
  Yea you know
  You got them big ass hips god damn!


  Got the body of a goddess
  Got eyes butter pecan brown I see you girl
  Dropping low
  She comin' down from the ceiling
  To the floor
  Yea she know what she doing
  Yea yea yea
  She doing that right thing
  Yea yea yea yea ea
  I Need to get her over to my crib and do that night thing
  Cause I'm n luv wit a stripper


  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper


  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper


  She's every man's dream she's
  God's gift earth women they luv em
  Too that's what you call a woman's worth
  See I love all the strippers cause they show me love they know I never
  Its free whenever I hit the club see I cant even lie these girls in here so
  Fly she slidin' up and down the pole
  Got me mesmerized Mike Jones don't never trick but goddamn she thick I cant lie
  I must admit shit


  She popping she rolling she rolling
  She climbing that pole and
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                                                             Filed            Page 225 of 473 PageID #: 1685
BCG_ID_11492_LF.txt[11/10/23, 10:58:40 AM]
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper


  Out of all the girls she be the hottest
  Like n the way she break it down I see you girl
  Spinning wide
  And She looking at me
  Right in my eyes
  Yea She got my attention
  Yea yea yea
  Did I forget to mention
  I Need to get her over to my crib and do that night thing
  Cause I'm n luv wit a stripper


  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper


  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper


  She can pop it she can lock it
  Teddy Penderass down I'm bout to see this sexy girl
  In my bed
  She don't know what she is doing
  To my head
  Yea She turning tricks on me
  Yea yea yea
  She don't even know me
  Yea yea yea ea
  I'd have got her over to my crib to do that night thing
  'Cause I'm n luv wit a stripper


  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper

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BCG_ID_11492_LF.txt[11/10/23, 10:58:40 AM]
  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper


  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper


  She popping she rolling she rolling
  She climbing that pole and
  I'm n luv with a stripper
  She tripping she playing she playing
  I'm not going nowhere girl I'm staying
  I'm n luv with a stripper

  WRITERS

  FAHEEM RASHEED NAJM, MIKE A. JONES

  PUBLISHERS

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                                                             Filed            Page 227 of 473 PageID #: 1687
BCG_ID_11492_LF.txt[11/10/23, 10:58:40 AM]
  Lyrics
  Uh, uh


  Take a breath, take it deep
  Calm yourself, he says to me
  If you play, you play for keeps
  Take the gun and count to three
  I'm sweating now, moving slow
  No time to think, my turn to go


  And you can see my heart beating
  You can see it through my chest
  Said I'm terrified but I'm not leaving
  I know that I must pass this test
  So just pull the trigger (trigger, trigger, trigger)


  Say a prayer, to yourself
  He says, close your eyes
  Sometimes it helps
  And then I get, a scary thought
  That he's here, means he's never lost


  And you can see my heart beating
  Oh, you can see it through my chest
  Said I'm terrified but I'm not leaving
  Know that I must pass this test
  So just pull the trigger


  As my life flashes before my eyes
  I'm wondering will I ever see another sunrise?
  So many won't get the chance to say goodbye
  But it's too late to think of the value of my life


  And you can see my heart beating
  Ohh-oh, you can see it through my chest
  Said I'm terrified but I'm not leaving, no
  Know that I must pass this test


  And you can see my heart beating
  Oh, you can see it through my chest
  I'm terrified but I'm not leaving, no
  Know that I must pass this test
  So just pull the trigger (trigger, trigger, trigger)

  WRITERS

             Case 3:23-cv-01092              Document 49-7      66111/16/23
                                                             Filed            Page 228 of 473 PageID #: 1688
BCG_ID_11494_LF.txt[11/10/23, 10:58:40 AM]
  Charles Harmon, Shaffer Smith

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-7      66211/16/23
                                                             Filed            Page 229 of 473 PageID #: 1689
BCG_ID_11494_LF.txt[11/10/23, 10:58:40 AM]
  Lyrics
  I've been here before a few times
  And I'm quite aware we're dying
  And your hands they shake with goodbyes
  And I'll take you back if you'd have me
  So here I am, I'm trying
  So here I am, are you ready?


  Come on let me hold you, touch you, feel you
  Always
  Kiss you, taste you, all night
  Always


  And I'll miss your laugh, your smile
  I'll admit I'm wrong if you'd tell me
  I'm so sick of fights, I hate them
  Let's start this again for real


  So here I am, I'm trying
  So here I am, are you ready?
  So here I am, I'm trying
  So here I am, are you ready?


  Come on let me hold you, touch you, feel you
  Always
  Kiss you, taste you, all night
  Always


  Come on let me hold you, touch you, feel you
  Always
  Kiss you, taste you, all night
  Always


  I've been here before a few times
  And I'm quite aware we're dying


  Come on let me hold you, touch you, feel you
  Always
  Kiss you, taste you, all night
  Always


  Come on let me hold you, touch you, feel you
  Always
  Kiss you, taste you, all night
  Always
             Case 3:23-cv-01092              Document 49-7      66311/16/23
                                                             Filed            Page 230 of 473 PageID #: 1690
BCG_ID_11495_LF.txt[11/10/23, 10:58:41 AM]
  Always
  Always

  WRITERS

  Mark Hoppus, Thomas DeLonge, Travis L. Barker

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-7      66411/16/23
                                                             Filed            Page 231 of 473 PageID #: 1691
BCG_ID_11495_LF.txt[11/10/23, 10:58:41 AM]
  Lyrics
  I came to win, to fight
  To conquer, to thrive
  I came to win (J.R.), to survive
  To prosper, to rise
  To fly
  To fly


  Uh, yo, yo
  I wish today it will rain all day
  Maybe that'd kinda make the pain go away
  Tryna forgive you for abandoning me
  Prayin', but I think I'm still an angel away
  Angel away, yeah, strange in a way
  Maybe that is why I chase strangers away
  They got they guns out aiming at me
  But I become Neo when they aiming at me
  Me, me, me against them
  Me against enemies, me against friends
  Somehow they both seem to become one
  A sea full of sharks and they all smell blood
  They start coming and I start rising
  Must be surprising, I'm just surmising
  I win, thrive, soar, higher
  Higher, higher, more fire


  I came to win, to fight
  To conquer, to thrive
  I came to win, to survive
  To prosper, to rise
  To fly
  To fly


  Uh, yo, yo
  Everybody wanna try to box me in
  Suffocatin' every time it locks me in
  Paintin' they own pictures, then they crop me in
  But I will remain where the top begins
  'Cause I am not a word, I am not a line
  I am not a girl that can ever be defined
  I am not fly, I am levitation
  I represent an entire generation
  I hear the criticism loud and clear
  That is how I know that the time is near
  See we become alive in a time of fear
  And I ain't got no motherfuckin' time to spare
  Cry my eyes out for days upon days
  Such a heavy burden placed upon me
  But when you go hard, your nays become yays
  Yankee Stadium with Jay's and Kanye's
             Case 3:23-cv-01092              Document 49-7      66511/16/23
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BCG_ID_11537_LF.txt[11/10/23, 10:58:41 AM]
  I came to win, to fight
  To conquer, to thrive
  I came to win, to survive
  To prosper, to rise
  To fly
  To fly


  Get ready for it
  Get ready for it
  Get ready for it
  I came to win
  Get ready for it
  Get ready for it
  Get ready for it


  I came to win, to fight
  To conquer, to thrive
  I came to win, to survive
  To prosper, to rise
  To fly
  To fly

  WRITERS

  Jonathan Rotem, Onika Maraj, Kevin Hissink, William Jordan, Clem Penton

  PUBLISHERS

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  Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-7      66611/16/23
                                                             Filed            Page 233 of 473 PageID #: 1693
BCG_ID_11537_LF.txt[11/10/23, 10:58:41 AM]
  Lyrics
  I never had no one that I could count on
  I've been let down so many times
  I was tired of hurtin' so tired of searchin'
  'Til you walked into my life
  It was a feelin' I'd never known
  And for the first time I didn't feel alone


  You're more than a lover
  There could never be another
  To make me feel the way you do
  And oh we just get closer
  I fall in love all over
  Every time I look at you
  I don't know where I'd be
  Without you here with me
  Life with you makes perfect sense
  You're my best friend
  You're my best friend, oh yeah


  You stand by me and you believe in me
  Like nobody ever has
  When my world goes crazy
  You're right there to save me
  You make me see how much I have
  And I still tremble when we touch
  And oh the look in your eyes
  When we make love


  You're more than a lover
  There could never be another
  To make me feel the way you do
  And oh we just get closer
  I fall in love all over
  Every time I look at you
  And I don't know where I'd be
  Without you here with me
  Life with you makes perfect sense
  You're my best friend, ooh oh
  You're my best friend, uh huh


  And you're more than a lover
  There could never be another
  Make me feel the way you do
  And oh we just get closer
  I fall in love all over
  Every time I look at you
  And I don't know where I'd be
  Without you here with me
             Case 3:23-cv-01092              Document 49-7      66711/16/23
                                                             Filed            Page 234 of 473 PageID #: 1694
BCG_ID_11554_LF.txt[11/10/23, 10:58:41 AM]
  Life with you makes perfect sense
  You're my best friend, oh, oh, oh
  You're my best friend (my best friend), oh yeah
  Ooh, you're my best friend (my best friend)
  Ooh, my best friend

  WRITERS

  Aimee Mayo, Bill Luther

  PUBLISHERS

  Lyrics © WORDS & MUSIC A DIV OF BIG DEAL MUSIC LLC, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      66811/16/23
                                                             Filed            Page 235 of 473 PageID #: 1695
BCG_ID_11554_LF.txt[11/10/23, 10:58:41 AM]
  Lyrics
  I'm alone, yeah, I don't know if I can face the night
  I'm in tears and the cryin' that I do is for you
  I want your love
  Let's break the walls between us
  Don't make it tough
  I'll put away my pride
  Enough's enough
  I've suffered and I've seen the light


  Baby, you're my angel
  Come and save me tonight
  You're my angel
  Come and make it alright


  Don't know what I'm gonna do 'bout this feeling inside
  Yes it's true, loneliness took me for a ride, yeah, yeah
  Without your love I'm nothing but a beggar
  Without your love a dog without a bone
  What can I do? I'm sleepin' in this bed alone


  Baby, you're my angel
  Come and save me tonight
  You're my angel
  Come and make it alright
  Come and save me tonight


  You're the reason I live
  You're the reason I die
  You're the reason I give
  When I break down and cry
  Don't need no reason why
  Baby, baby, baby


  You're my angel
  Come and save me tonight
  You're my angel
  Yeah, come and make it alright
  You're my angel
  Come and save me tonight
  You're my angel
  Come and take me alright
  Come and save me tonight
  Come and save me tonight
  Come and save me tonight
  Come and save me tonight
  Come and save me tonight

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                                                             Filed            Page 236 of 473 PageID #: 1696
BCG_ID_11557_LF.txt[11/10/23, 10:58:42 AM]
  WRITERS

  Desmond Child, Steven Tyler

  PUBLISHERS

  Lyrics © BMG Rights Management, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      67011/16/23
                                                             Filed            Page 237 of 473 PageID #: 1697
BCG_ID_11557_LF.txt[11/10/23, 10:58:42 AM]
  Lyrics
  I've got a song, I ain't got no melody
  I'ma gonna sing it to my friends
  I've got a song, I ain't got no melody
  I'ma gonna sing it to my friends


  Will it go round in circles?
  Will it fly high like a bird up in the sky?
  Will it go round in circles?
  Will it fly high like a bird up in the sky?


  I've got a story, ain't got no moral
  Let the bad guy win every once in a while
  I've got a story, ain't got no moral
  Let the bad guy win every once in a while


  Will it go round in circles?
  Will it fly high like a bird up in the sky?
  Will it go round in circles?
  Will it fly high like a bird up in the sky?


  I've got a dance, ain't got no steps, no
  I'm gonna let the music move me around
  I've got a dance, I ain't got no steps
  I'm gonna let the music move me around


  Will it go round in circles?
  Will it fly high like a bird up in the sky?
  Will it go round in circles?
  Will it fly high like a bird up in the sky?


  Well
  Well
  Well
  Well


  Will it go round in circles?
  Will it fly high like a bird up in the sky?
  Will it go round in circles?
  Will it fly high like a bird up in the sky?


  I've got a song, I ain't got no melody
  I'ma gonna sing it to my friends
  I've got a song, I ain't got no melody
  I'ma gonna sing it to my friends
             Case 3:23-cv-01092              Document 49-7      67111/16/23
                                                             Filed            Page 238 of 473 PageID #: 1698
BCG_ID_11560_LF.txt[11/10/23, 10:58:42 AM]
  Will it go round in circles?
  Will it fly high like a bird up in the sky?
  Will it go round in circles?
  Will it fly high like a bird up in the sky? Woo


  Ayy
  Will it fly high like a bird up in the sky?
  Will it go round in circles?
  Will it fly high like a bird up in the sky?


  Go round in circles
  Will it fly high like a bird up in the sky?
  Will it go round in circles?
  Will it fly high like a bird up in the sky? Ooh

  WRITERS

  Billy Preston, Bruce Carleton Fisher

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      67211/16/23
                                                             Filed            Page 239 of 473 PageID #: 1699
BCG_ID_11560_LF.txt[11/10/23, 10:58:42 AM]
  Lyrics
  Sugar man, won't you hurry?
  'Cause I'm tired of these scenes
  For a blue coin, won't you bring back
  All those colors to my dreams?


  Silver magic ships you carry
  Jumpers, coke, sweet Mary Jane


  Sugar man met a false friend
  On a lonely dusty road
  Lost my heart when I found it
  It had turned to dead black coal


  Silver magic ships you carry
  Jumpers, coke, sweet Mary Jane


  Sugar man, you're the answer
  That makes my questions disappear
  Sugar man, 'cause I'm weary
  Of those double games I hear


  Sugar man, sugar man, sugar man, sugar man
  Sugar man, sugar man, sugar man


  Sugar man, won't you hurry?
  'Cause I'm tired of these scenes
  For a blue coin, won't you bring back
  All those colors to my dreams?


  Silver magic ships you carry
  Jumpers, coke, sweet Mary Jane


  Sugar man met a false friend
  On a lonely dusty road
  Lost my heart when I found it
  It had turned to dead black coal


  Silver magic ships you carry
  Jumpers, coke, sweet Mary Jane


  Sugar man, you're the answer
  That makes my questions disappear
             Case 3:23-cv-01092              Document 49-7      67311/16/23
                                                             Filed            Page 240 of 473 PageID #: 1700
BCG_ID_11563_LF.txt[11/10/23, 10:58:42 AM]
  WRITERS

  Sixto Diaz Rodriguez

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      67411/16/23
                                                             Filed            Page 241 of 473 PageID #: 1701
BCG_ID_11563_LF.txt[11/10/23, 10:58:42 AM]
  Lyrics
  You know I'm not one to break promises
  I don't want to hurt you but I need to breathe
  At the end of it all you're still my best friend
  But there's something inside that I need to release
  Which way is right?
  Which way is wrong?
  How do I say that I need to move on?
  You know we're heading separate ways


  And it feels like I am just too close to love you
  There's nothing I can really say
  I can lie no more
  I can hide no more
  Got to be true to myself
  And it feels like I am just too close to love you
  So I'll be on my way


  You've given me more than I can return
  Yet there's oh so much that you deserve
  Nothing to say
  Nothing to do
  I've nothing to give
  I must live without you
  You know we're heading separate ways


  And it feels like I am just too close to love you
  There's nothing I can really say
  I can lie no more
  I can hide no more
  Got to be true to myself
  And it feels like I am just too close to love you
  So I'll be on my way
  So I'll be on my way


  And it feels like I am just too close to love you
  There's nothing I can really say
  I can lie no more
  I can hide no more
  Got to be true to myself
  And it feels like I am just too close to love you
  So I'll be on my way
  So I'll be on my way

  WRITERS

  Jim Duguid, Alex Claire

  PUBLISHERS
             Case 3:23-cv-01092              Document 49-7      67511/16/23
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BCG_ID_11574_LF.txt[11/10/23, 10:58:42 AM]
  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-7      67611/16/23
                                                             Filed            Page 243 of 473 PageID #: 1703
BCG_ID_11574_LF.txt[11/10/23, 10:58:42 AM]
  Lyrics
  Our day will come
  And we'll have everything
  We'll share the joy
  Falling in love can bring


  No one can tell me
  That I'm too young to know (young to know)
  I love you so (love you so)
  And you love me


  Our day will come
  If we just wait a while
  No tears for us
  Think love and wear a smile


  Our dreams have magic
  Because we'll always stay
  In love this way
  Our day will come
  (Our day will come; our day will come)


  Our dreams have magic
  Because we'll always stay
  In love this way
  Our day will come
  Our day will come

  WRITERS

  Mort Garson, Bob Hilliard

  PUBLISHERS

  Lyrics © Kanjian Music, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      67711/16/23
                                                             Filed            Page 244 of 473 PageID #: 1704
BCG_ID_11585_LF.txt[11/10/23, 10:58:43 AM]
  Lyrics
  You know parents are the same
  No matter time nor place
  They don't understand that us kids
  Are going to make some mistakes
  So to you, all the kids all across the land
  There's no need to argue
  Parents just don't understand
  "Parents" 24 lines, 734 characters.


  I remember one year
  My mom took me school shopping
  It was me, my brother, my mom, oh, my pop, and my little sister
  All hopped in the car
  We headed downtown to the Gallery Mall
  MY mom started bugging with the clothes she chose
  I didn't say nothing at first
  I just turned up my nose
  She said, "What's wrong? This shirt cost $20"
  I said, "Mom, this shirt is plaid with a butterfly collar!"
  The next half hour was the same old thing
  My mother buying me clothes from 1963
  And then she lost her mind and did the ultimate
  I asked her for Adidas and she bought me Zips!
  I said, "Mom, what are you doing, you're ruining my rep"
  She said, "You're only sixteen, you don't have a rep yet"
  I said, "Mom, let's put these clothes back, please"
  She said "no, you go to school to learn not for a fashion show"
  I said, "This isn't Sha Na Na, come on Mom, I'm not Bowzer
  Mom, please put back the bell-bottom Brady Bunch trousers
  But if you don't want to I can live with that but
  You gotta put back the double-knit reversible slacks"
  She wasn't moved - everything stayed the same
  Inevitably the first day of school came
  I thought I could get over, I tried to play sick
  But my mom said, "No, no way, uh-uh, forget it"
  There was nothing I could do, I tried to relax
  I got dressed up in those ancient artifacts
  And when I walked into school, it was just as I thought
  The kids were cracking up laughing at the clothes Mom bought
  And those who weren't laughing still had a ball
  Because they were pointing and whispering
  As I walked down the hall
  I got home and told my Mom how my day went
  She said, "If they were laughing you don't need the,
  "Cause they're not good friends"
  For the next six hours I tried to explain to my Mom
  That I was gonna have to go through this about 200 more times
  So to you all the kids all across the land
  There's no need to argue
  Parents just don't understand

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                                                             Filed            Page 245 of 473 PageID #: 1705
BCG_ID_11597_LF.txt[11/10/23, 10:58:43 AM]
  OK, here's the situation
  "parents" 68 lines, 2662 characters.
  My parents went away on a week's vacation and
  They left the keys to the brand new Porsche
  Would they mind?
  Umm, well, of course not
  I'll just take it for a little spin
  And maybe show it off to a couple of friends
  I'll just cruise it around the neighborhood
  Well, maybe I shouldn't
  Yeah, of course I should
  Pay attention, here's the thick of the plot
  I pulled up to the corner at the end of my block
  That's when I saw this beautiful girlie girl walking
  I picked up my car phone to perpetrate like I was talking
  You should've seen this girl's bodily dimensions
  I honked my horn just to get her attention
  She said, "Was that for me?"
  I said, "Yeah"
  She said, "Why?"
  I said, "Come on and take a ride with a helluva guy"
  She said, "How do I know you're not sick?
  You could be some deranged lunatic"
  I said, "see 'mon toots, my name is the Prince
  Beside, would a lunatic have a Porsche like this?"
  She agreed and we were on our way
  She was looking very good and so was I, I must say - word
  We hit McDonald's, pulled into the drive
  We ordered two Big Macs and two large fries with Cokes
  She kicked her shoes off onto the floor
  She said, "Drive fast, speed turns me on"
  She put her hand on my knee, I put my foot on the gas
  We almost got whiplash, I took off so fast
  The sun roof was open , the music was high
  And this girl's hand was steadily moving up my thigh
  She had opened up three buttons on her shirt so far
  I guess that's why I didn't notice that police car
  We're doing ninety in my Mom's new Porsche
  And to make this long story short - short
  When the cop pulled me over I was scared as hell
  I said, "I don't have a license but I drive very well, officer"
  I almost had a heart attack that day
  Come to find out the girl was a twelve-year-old runaway
  I was arrested, the car was impounded
  There was no way for me to avoid being grounded
  My parents had to come off from vacation to get me
  I'd rather be in jail than to have my father hit me
  My parents walked in
  I got my grip, I said, "Ah, Mom, Dad, how was your trip?"
  They didn't speak
  I said, "I want to plead my case"
  But my father just shoved me in the car by my face
  That was a hard ride home, I don't know how I survived
             Case 3:23-cv-01092              Document 49-7      67911/16/23
                                                             Filed            Page 246 of 473 PageID #: 1706
BCG_ID_11597_LF.txt[11/10/23, 10:58:43 AM]
  They took turns -
  One would beat me while the other one was driving
  I can't believe it, I just made a mistake
  Well parents are the same no matter time nor place
  So to you all the kids all across the land
  Take it form me
  Parents just don't understand

  WRITERS

  JEFFREY TOWNES, PETER BRIAN HARRIS, WILLARD C. SMITH

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_11597_LF.txt[11/10/23, 10:58:43 AM]
  Lyrics
  Someone's always comin' around here, trailin' some new kill
  Says, "I've seen your picture on a hundred dollar bill"
  What's a game of chance to you, to him is one of real skill
  So glad to meet you, Angeles


  Pickin' up the ticket shows there's money to be made
  Go on, lose the gamble, that's the history of the trade
  Did you add up all the cards left to play to zero
  And sign up with evil, Angeles?


  Don't start me tryin' now
  Uh-huh, uh-huh, uh-huh
  'Cause I'm all over it, Angeles


  I can make you satisfied in everything you do
  All your secret wishes could right now be coming true
  And be forever with my poison arms around you
  No one's gonna fool around with us
  No one's gonna fool around with us
  So glad to meet you, Angeles

  WRITERS

  Steven Paul Smith

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 248 of 473 PageID #: 1708
BCG_ID_11601_LF.txt[11/10/23, 10:58:43 AM]
  Lyrics
  I'll sing it one last time for you
  Then we really have to go
  You've been the only thing that's right
  In all I've done


  And I can barely look at you
  But every single time I do
  I know we'll make it anywhere
  Away from here


  Light up, light up
  As if you have a choice
  Even if you cannot hear my voice
  I'll be right beside you, dear
  Louder, louder
  And we'll run for our lives
  I can hardly speak I understand
  Why you can't raise your voice to say


  To think I might not see those eyes
  It makes it so hard not to cry
  And as we say our long goodbyes
  I nearly do


  Light up, light up
  As if you have a choice
  Even if you cannot hear my voice
  I'll be right beside you, dear
  Louder, louder
  And we'll run for our lives
  I can hardly speak I understand
  Why you can't raise your voice to say


  Slower, slower
  We don't have time for that
  All I want's to find an easier way
  To get out of our little heads


  Have heart my dear
  We're bound to be afraid
  Even if it's just for a few days
  Making up for all this mess


  Light up, light up
  As if you have a choice
             Case 3:23-cv-01092              Document 49-7      68211/16/23
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BCG_ID_11616_LF.txt[11/10/23, 10:58:44 AM]
  Even if you cannot hear my voice
  I'll be right beside you, dear

  WRITERS

  Nathan Connolly, Gary Lightbody, Mark McCelland, Jonathan Quinn, Ian Archer

  PUBLISHERS

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                                                             Filed            Page 250 of 473 PageID #: 1710
BCG_ID_11616_LF.txt[11/10/23, 10:58:44 AM]
  Lyrics
  Pennies in a stream
  Falling leaves of a sycamore
  Moonlight in Vermont


  Icey finger waves
  Ski trails on a mountain side
  Snowlight in Vermont


  Telegraph cables, they sing down the highway
  And travel each bend in the road
  People who meet, in this romantic setting
  Are so hypnotized by the lovely...


  Evening summer breeze
  Warbling of a meadowlark
  Moonlight in Vermont


  Telegraph cables, they sing down the highway
  And travel each bend in the road


  People who meet, in this romantic setting
  Are so hypnotized by the lovely


  Evening summer breeze
  Warbling of a meadowlark
  Moonlight in Vermont


  You and I and moonlight in Vermont


  Moonlight in Vermont

  WRITERS

  John M. Blackburn, Karl Suessdorf

  PUBLISHERS

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                                                             Filed            Page 251 of 473 PageID #: 1711
BCG_ID_11622_LF.txt[11/10/23, 10:58:44 AM]
  Lyrics
  It was no accident me finding you
  Someone had a hand in it
  Long before we ever knew
  Now I just can't believe you're in my life
  Heaven's smilin' down on me
  As I look at you tonight


  I tip my hat to the keeper of the stars
  He sure knew what he was doin'
  When he joined these two hearts
  I hold everything
  When I hold you in my arms
  I've got all I'll ever need
  Thanks to the keeper of the stars


  Soft moonlight on your face oh how you shine
  It takes my breath away
  Just to look into your eyes
  I know I don't deserve a treasure like you
  There really are no words
  To show my gratitude


  I tip my hat to the keeper of the stars
  He sure knew what he was doin'
  When he joined these two hearts
  I hold everything
  When I hold you in my arms
  I've got all I'll ever need
  Thanks to the keeper of the stars


  It was no accident me finding you
  Someone had a hand in it
  Long before we ever knew

  WRITERS

  Dickey Lee, Danny Mayo, Karen Staley

  PUBLISHERS

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BCG_ID_11639_LF.txt[11/10/23, 10:58:44 AM]
  Lyrics
  I am the son
  And the heir
  Of a shyness that is criminally vulgar
  I am the son and heir
  Of nothing in particular


  You shut your mouth
  How can you say
  I go about things the wrong way?
  I am human and I need to be loved
  Just like everybody else does


  I am the son
  And the heir
  Of a shyness that is criminally vulgar
  I am the son and heir
  Of nothing in particular


  You shut your mouth
  How can you say
  I go about things the wrong way?
  I am human and I need to be loved
  Just like everybody else does


  There's a club if you'd like to go
  You could meet somebody who really loves you
  So you go and you stand on your own
  And you leave on your own
  And you go home and you cry
  And you want to die


  When you say it's gonna happen now
  When exactly do you mean?
  See I've already waited too long
  And all my hope is gone


  You shut your mouth
  How can you say
  I go about things the wrong way?
  I am human and I need to be loved
  Just like everybody else does

  WRITERS

  Johnny Marr, Steven Patrick Morrissey

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                                                             Filed            Page 253 of 473 PageID #: 1713
BCG_ID_11641_LF.txt[11/10/23, 10:58:44 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC, Warner Chappell Music, Inc.




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BCG_ID_11641_LF.txt[11/10/23, 10:58:44 AM]
  Lyrics
  And now I know
  Spanish Harlem are not just pretty words to say
  I thought I knew
  But now I know that rose trees never grow
  In New York City


  Until you've seen this trash can dream come true
  You stand at the edge while people run you through
  And I thank the Lord
  There's people out there like you
  I thank the Lord there's people out there like you


  While Mona Lisas and Mad Hatters
  Sons of bankers, sons of lawyers
  Turn around and say good morning to the night
  For unless they see the sky
  But they can't and that is why
  They know not if it's dark outside or light


  This Broadway's got
  It's got a lot of songs to sing
  If I knew the tunes I might join in
  I'll go my way alone
  Grow my own, my own seeds shall be sown, in New York City


  Subway's no way for a good man to go down
  Rich man can ride and the hobo he can drown
  And I thank the Lord for the people I have found
  I thank the Lord for the people I have found


  While Mona Lisas and Mad Hatters
  Sons of bankers, sons of lawyers
  Turn around and say good morning to the night
  For unless they see the sky
  But they can't and that is why
  They know not if it's dark outside or light


  And now I know
  Spanish Harlem are not just pretty words to say
  I thought I knew
  But now I know that rose trees never grow
  In New York City


  Subway's no way for a good man to go down
  Rich man can ride and the hobo he can drown
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                                                             Filed            Page 255 of 473 PageID #: 1715
BCG_ID_11645_LF.txt[11/10/23, 10:58:45 AM]
  And I thank the Lord for the people I have found
  I thank the Lord for the people I have found


  While Mona Lisas and Mad Hatters
  Sons of bankers, sons of lawyers
  Turn around and say good morning to the night
  For unless they see the sky
  But they can't and that is why
  They know not if it's dark outside or light
  They know not if it's dark outside or light

  WRITERS

  Bernie Taupin, Elton John

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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BCG_ID_11645_LF.txt[11/10/23, 10:58:45 AM]
  Lyrics
  Right now
  I am an antichrist
  And I am an anarchist
  Don't know what I want
  But I know how to get it
  I want to destroy passerby


  'Cause I wanna be anarchy
  No dogsbody


  Anarchy for the U.K.
  It's coming sometime and maybe
  I give a wrong time, stop a traffic line
  Your future dream is a shopping scheme


  'Cause I, I wanna be anarchy
  In the city


  How many ways to get what you want
  I use the best, I use the rest
  I use the NME
  I use anarchy


  'Cause I wanna be anarchy
  It's the only way to be


  Is this the MPLA?
  Or is this the UDA?
  Or is this the IRA?
  I thought it was the UK
  Or just another country
  Another council tenancy


  I wanna be anarchy
  And I wanna be anarchy
  Know what I mean?
  And I want to be an anarchist
  I get pissed, destroy

  WRITERS

  Glen Matlock, John Lydon, Paul Thomas Cook, Stephen Philip Jones

  PUBLISHERS

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                                                             Filed            Page 257 of 473 PageID #: 1717
BCG_ID_11647_LF.txt[11/10/23, 10:58:45 AM]
  Lyrics © Wixen Music Publishing, BMG Rights Management, Universal Music Publishing Group, Sony/ATV Music
  Publishing LLC, Downtown Music Publishing, Warner Chappell Music, Inc.




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                                                             Filed            Page 258 of 473 PageID #: 1718
BCG_ID_11647_LF.txt[11/10/23, 10:58:45 AM]
  Lyrics
  Help, I have done it again
  I have been here many times before
  Hurt myself again today
  And, the worst part is there's no-one else to blame


  Be my friend, hold me
  Wrap me up, enfold me
  I am small and needy
  Warm me up and breathe me


  Ouch I have lost myself again
  Lost myself and I am nowhere to be found
  Yeah I think that I might break
  Lost myself again and I feel unsafe


  Be my friend, hold me
  Wrap me up, enfold me
  I am small and needy
  Warm me up and breathe me
  Be my friend, hold me
  Wrap me up, enfold me
  I am small and needy
  Warm me up and breathe me

  WRITERS

  Dan Carey, Sia Furler

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Sony/ATV Music Publishing LLC




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                                                             Filed            Page 259 of 473 PageID #: 1719
BCG_ID_11649_LF.txt[11/10/23, 10:58:45 AM]
  Lyrics
  Oh, they say people come
  Say people go
  This particular diamond was extra special
  And though you might be gone, and the world may not know
  Still I see you, celestial


  Like a lion, you ran
  A Goddess you rolled
  Like an eagle you circled, in perfect purple
  So how come things move on?
  How come cars don't slow?
  When it feels like the end of the world
  When I should but I can't let you go


  But when I'm cold, I'm cold
  When I'm cold, cold
  There's a light that you give me when I'm in shadow
  There's a feelin' within me, everglow


  Like brothers in blood or sisters who ride
  And we swore on that night we'd be friends 'til we die
  But the changin' of winds, and the way waters flow
  Life is short as the falling of snow
  I knew I'm gonna miss you, I know


  But when I'm cold, I'm cold
  In water rolled, salt
  And I know that you're with me and the way you will show
  And you're with me wherever I go
  But you give me this feelin', this everglow


  Oh, what I wouldn't give for just a moment to hold
  Yeah, I live for this feelin', this everglow


  So if you love someone, you should let them know
  Oh, the light that you left me will everglow

  WRITERS

  Chris Martin, Guy Berryman, Johnny Buckland, Mikkel Eriksen, Tor Hermansen, Will Champion

  PUBLISHERS

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                                                             Filed            Page 260 of 473 PageID #: 1720
BCG_ID_11657_LF.txt[11/10/23, 10:58:45 AM]
  Lyrics
  I'll make it alone
  When love is gone
  Still you made your mark
  Here in my heart


  One day I'll fly away
  Leave your love to yesterday
  What more can your love do for me?
  When will love be through with me?


  I follow the night
  Can't stand the light
  When will I begin
  My life again?


  One day I'll fly away
  Leave your love to yesterday
  What more can your love do for me?
  When will love be through with me?


  Why live life from dream to dream?
  And dread the day that dreaming ends?


  One day I'll fly away
  Leave your love to yesterday
  What more can your love do for me?
  When will love be through with me?


  Why live life from dream to dream?
  And dread the day that dreaming ends?


  One day I'll fly away
  Fly away


  One day I'll fly away
  Fly away


  Fly away

  WRITERS

  Will Jennings, Joseph Leslie Sample

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BCG_ID_11666_LF.txt[11/10/23, 10:58:46 AM]
  PUBLISHERS

  Lyrics © BMG Rights Management, Universal Music Publishing Group




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BCG_ID_11666_LF.txt[11/10/23, 10:58:46 AM]
  Lyrics
  Do do do
  Down dooby doo down down
  Comma, comma, down dooby doo down down
  Comma, comma, down dooby doo down down
  Breaking up is hard to do


  Don't take your love away from me
  Don't you leave my heart in misery
  If you go then I'll be blue
  'Cause breaking up is hard to do


  Remember when you held me tight
  And you kissed me all through the night
  Think of all that we've been through
  And breaking up is hard to do


  They say that breaking up is hard to do
  Now I know
  I know that it's true
  Don't say that this is the end
  Instead of breaking up I wish that we were making up again


  I beg of you don't say goodbye
  Can't we give our love another try?
  Come on, baby, let's start anew
  'Cause breaking up is hard to do


  (They say that breaking up is hard to do)
  Now I know
  I know that it's true
  (Don't say that this is the end)
  Instead of breaking up I wish that we were making up again


  I beg of you don't say goodbye
  Can't we give our love another try?
  Come on, baby, let's start anew
  'Cause breaking up is hard to do


  (Down dooby doo down down)
  Comma, comma, down dooby doo down down
  Comma, comma, down dooby doo down down
  Comma, comma, down dooby doo down down
  Comma, comma, down dooby doo down

  WRITERS
             Case 3:23-cv-01092              Document 49-7      69611/16/23
                                                             Filed            Page 263 of 473 PageID #: 1723
BCG_ID_11675_LF.txt[11/10/23, 10:58:46 AM]
  Howard Greenfield, Neil Sedaka

  PUBLISHERS

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  Chappell Music, Inc.




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                                                             Filed            Page 264 of 473 PageID #: 1724
BCG_ID_11675_LF.txt[11/10/23, 10:58:46 AM]
  Lyrics
  Love can be a many splendored thing
  Can't deny the joy it brings
  A dozen roses, diamond rings
  Dreams for sale and fairy tales
  It'll make you hear a symphony
  And you just want the world to see
  But like a drug that makes you blind
  It'll fool ya every time


  The trouble with love is
  It can tear you up inside
  Make your heart believe a lie
  It's stronger than your pride
  The trouble with love is
  It doesn't care how fast you fall
  And you can't refuse the call
  See you've got no say at all


  Now I was once a fool it's true
  I played the game by all the rules
  But now my world's a deeper blue
  I'm sadder but I'm wiser too
  I swore I'd never love again
  I swore my heart would never mend
  Said love wasn't worth the pain
  But then I hear it call my name


  The trouble with love is
  It can tear you up inside
  Make your heart believe a lie
  It's stronger than your pride
  The trouble with love is
  It doesn't care how fast you fall
  And you can't refuse the call
  See you've got no say at all


  Every time I turn around
  I think I've got it all figured out
  My heart keeps callin'
  And I keep on fallin'
  Over and over again
  The sad story always ends the same
  Me standin' in the pourin' rain
  It seems no matter what I do
  It tears my heart in two


  The trouble with love is
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BCG_ID_11684_LF.txt[11/10/23, 10:58:46 AM]
  It can tear you up inside
  Make your heart believe a lie
  It's stronger than your pride
  The trouble with love is
  It doesn't care how fast you fall
  And you can't refuse the call
  See you've got no say at all

  WRITERS

  EVAN A. ROGERS, CARL ALLEN STURKEN, KELLY BRIANNNE CLARKSON

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Kobalt Music Publishing Ltd.




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                                                             Filed            Page 266 of 473 PageID #: 1726
BCG_ID_11684_LF.txt[11/10/23, 10:58:46 AM]
  Lyrics
  I won't dance, don't ask me.
  I won't dance, don't ask me.
  I won't dance, madame, with you.
  My heart won't let me do things they should do.
  You know what? You're lovely.


  You know what, you're lovely. You know what, you're so lovely.
  And, oh what you do to me.
  I'm like an ocean wave that's bumped on the shore;
  I feel so absolutely stumped on the floor.


  When you dance, you're charming and you're gentle,
  'Specially when you do the Continental.


  But this feeling isn't purely mental,
  For heaven rest us, I'm not asbestos.
  And that's why I won't dance, why should I?
  I won't dance, how could I?
  I won't dance. Merci beaucoup.
  I know that music leads the way to romance,
  So if I hold you in my arms, I won't dance.


  I won't dance, don't ask me.
  I won't dance, don't ask me.
  I won't dance, madame, with you.
  My heart won't let my feet do things they want to do.


  You know what? You're lovely, ring-a-ding,ding, you're lovely.
  And, oh what you do to me.
  I'm like an ocean wave that's bumped on the shore;
  I feel so absolutely stumped on the floor.


  When you dance, you're charming and you're gentle,
  'Specially when you do the Continental.


  But this feeling isn't purely mental,
  For heaven rest us, I'm not asbestos.
  And that's why I won't dance.I won't dance.
  I won't dance. Merci beaucoup.
  I know that music leads the way to romance,
  So if I hold you in my arms,
  I won't dance!

  WRITERS

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BCG_ID_11688_LF.txt[11/10/23, 10:58:46 AM]
  Dorothy Fields, Jerome Kern, Jimmy Mc Hugh, Oscar Hammerstein Ii, Otto Harbach

  PUBLISHERS

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  RESERVOIR MEDIA MANAGEMENT INC




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                                                             Filed            Page 268 of 473 PageID #: 1728
BCG_ID_11688_LF.txt[11/10/23, 10:58:46 AM]
  Lyrics
  Up in the morning,
  Up in the evening,
  Picking down talks when the birds get back to me.
  Oh, to me.


  Up on the mountain,
  Down in the king's lair,
  Pushing these boxes in the heat of the afternoon.
  Oh, afternoon.


  We were never welcome here,
  We were never welcome here at all.
  No.


  It's who we are.
  Doesn't matter if we've gone too far.
  Doesn't matter if it's all okay.
  Doesn't matter if it's not our day.


  Save us,
  What we are,
  Don't look clear,
  It's all uphill from here.
  Ooh.


  Up in the attic,
  Down in the cellar,
  Lost in a static,
  Coming back for more.
  Oh, for more.


  Out with the reason,
  In with the season,
  Taking down names in my book of jealousy.
  Jealousy.


  We were never welcome here.
  We were never welcome here at all.
  No.


  It's who we are.
  Doesn't matter if we've gone too far.
  Doesn't matter if it's all okay.
  Doesn't matter if it's not our day.
             Case 3:23-cv-01092              Document 49-7      70211/16/23
                                                             Filed            Page 269 of 473 PageID #: 1729
BCG_ID_11696_LF.txt[11/10/23, 10:58:47 AM]
  Because it's who we are.
  Doesn't matter if we've gone too far.
  Doesn't matter if it's all okay.
  Doesn't matter if it's not our day.


  Save us,
  What we are,
  Don't look clear,
  It's all uphill from here.
  Ooh.


  They say we're crazy.
  They say we're crazy.
  They say we're crazy.
  They say we're crazy.
  They say we're crazy.
  They say we're crazy.
  They say we're crazy.
  They say we're, crazy.


  It's who we are.
  Doesn't matter if we've gone too far.
  Doesn't matter if it's all okay.
  Doesn't matter if it's not our day.
  Because it's who we are.
  Doesn't matter if we've gone too far.
  Doesn't matter if it's all okay.
  Doesn't matter if it's not our day.


  Why won't you save us,
  What we are,
  Don't look clear,
  It's all uphill from here.
  Ooh.

  WRITERS

  JOSHUA FRANCIS MOSSER, ALEXANDER JUNIOR GRANT, BENJAMIN ARTHUR MCKEE, DANIEL
  COULTER REYNOLDS, DANIEL WAYNE SERMON

  PUBLISHERS

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                                                             Filed            Page 270 of 473 PageID #: 1730
BCG_ID_11696_LF.txt[11/10/23, 10:58:47 AM]
  Lyrics
  I like the feel of your name on my lips
  And I like the sound of your sweet gentle kiss
  The way that your fingers run through my hair
  And how your scent lingers even when you're not there


  And I like the way your eyes dance when you laugh
  And how you enjoy your two hour bath
  And how you've convinced me to dance in the rain
  With everyone watching like we were insane


  [Chorus]
  I love the way you love me
  Strong and wild, slow and easy
  Heart and soul so completely
  I love the way you love me


  And I like to imitate ol' Jerry Lee
  And you roll your eyes when I'm slightly off key
  And I like the innocent way that you cry
  At sappy old movies you've seen hundreds of times


  [Chorus]


  And I could list a million things
  I love to like about you
  But they could all come down to one reason
  I could never live without you..


  [Chorus until fade]

  WRITERS

  CHUCK CANNON, VICTORIA LYNN N SHAW

  PUBLISHERS

  Lyrics © TASTE AUCTION MUSIC, Universal Music Publishing Group




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                                                             Filed            Page 271 of 473 PageID #: 1731
BCG_ID_11726_LF.txt[11/10/23, 10:58:47 AM]
  Lyrics
  Mai keha sadi asha jhinah sadian sukh sabelian
  Nu din raat nu aoondian hain, kimarh karke


  There's dancing
  Behind movie scenes, behind the movie scenes
  Sadi Rani
  She's the one that keeps the dream alive
  From the morning, past the evening
  To the end of the light


  Brimful of asha on the 45
  Well, it's a brimful of asha on the 45
  Brimful of asha on the 45
  Well, it's a brimful of asha on the 45


  And dancing
  Behind movie scenes, behind those movie screens
  Asha Bhosle
  She's the one that keeps the dream alive
  From the morning, past the evening
  To the end of the light


  Brimful of asha on the 45
  Well it's a brimful of asha on the 45
  Brimful of asha on the 45
  Well it's a brimful of asha on the 45


  And singing
  Illuminate the main streets
  And the cinema aisles
  We don't care bout no government warning
  About their promotion of the simple life
  And the dams they're building


  Brimful of asha on the 45
  Well it's a brimful of asha on the 45
  Brimful of asha on the 45
  Well it's a brimful of asha on the 45


  Everybody needs a bosom for a pillow
  Everybody needs a bosom
  Everybody needs a bosom for a pillow
  Everybody needs a bosom
  Everybody needs a bosom for a pillow
  Everybody needs a bosom, mine's on the 45
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BCG_ID_11749_LF.txt[11/10/23, 10:58:47 AM]
  Mohamed Rufhi 45
  Lata Mangeshkar 45
  Solid state radio 45
  Ferguson mono 45


  Bon public 45
  Jacques Dutronc and the Bolan Boogies
  The Heavy Hitters and the chi chi music


  All India radio 45
  Two in ones 45
  Argo records 45
  Trojan records 45


  Brimful of asha on the 45
  Well it's a brimful of asha on the 45
  Brimful of asha on the 45
  Well it's a brimful of asha on the 45


  Everybody needs a bosom for a pillow
  Everybody needs a bosom
  Everybody needs a bosom for a pillow
  Everybody needs a bosom
  Everybody needs a bosom for a pillow
  Everybody needs a bosom, mine's on the 45


  Seventy-seven thousand piece orchestra set
  Everybody needs a bosom for a pillow
  Mine's on the RPM


  Brimful of asha on the 45
  Well it's a brimful of asha on the 45
  Brimful of asha on the 45
  Well it's a brimful of asha on the 45


  Everybody needs a bosom for a pillow
  Everybody needs a bosom
  Everybody needs a bosom for a pillow
  Everybody needs a bosom
  Everybody needs a bosom for a pillow
  Everybody needs a bosom, mine's on the 45

  WRITERS

  Tjinder Singh
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BCG_ID_11749_LF.txt[11/10/23, 10:58:47 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 274 of 473 PageID #: 1734
BCG_ID_11749_LF.txt[11/10/23, 10:58:47 AM]
  Lyrics
  Oh yeah, oh yeah
  Well they tell me of a pie up in the sky
  Waiting for me when I die
  But between the day you're born and when you die
  They never seem to hear even your cry


  So as sure as the sun will shine
  I'm gonna get my share now, what's mine
  And then the harder they come
  The harder they'll fall, one and all
  Ooh, the harder they come
  The harder they'll fall, one and all


  Well, the oppressors are trying to keep me down
  Trying to drive me underground
  And they think that they have got the battle won
  I say forgive them Lord
  They know not what they've done


  'Cause as sure as the sun will shine
  I'm gonna get my share now, what's mine
  And then the harder they come
  The harder they'll fall, one and all
  Ooh, the harder they come
  Harder they'll fall, one and all, yeah


  Ooh, yeah, ooh yeah
  Whoa, yeah, oh yeah


  And I keep on fighting for the things I want
  Though I know that when you're dead you can't
  But I'd rather be a free man in my grave
  Than living as a puppet or a slave


  So as sure as the sun will shine
  I'm gonna get my share now, what's mine
  And then the harder they come
  The harder they'll fall, one and all
  Ooh, the harder they come
  Harder they'll fall, one and all


  Hey, the harder they come
  The harder they'll fall one and all
  What I say, now? what I say, now?
  All
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                                                             Filed            Page 275 of 473 PageID #: 1735
BCG_ID_11750_LF.txt[11/10/23, 10:58:48 AM]
  All
  What I say, now? what I say? one time
  the harder they come
  Harder they'll fall, one and all
  Ooh, the harder they come
  The harder they'll fall, one and all

  WRITERS

  Jimmy Cliff

  PUBLISHERS

  Lyrics © Universal Music Publishing Group, Royalty Network




             Case 3:23-cv-01092              Document 49-7      70911/16/23
                                                             Filed            Page 276 of 473 PageID #: 1736
BCG_ID_11750_LF.txt[11/10/23, 10:58:48 AM]
  Lyrics
  Watch the sunrise
  Say your goodbyes
  Off we go
  Some conversation
  No contemplation
  Hit the road


  Car overheats
  Jump out of my seat
  On the side of the highway, baby
  Our road is long
  Your hold is strong
  Please don't ever let it go, oh no


  I know I don't know you
  But I want you so bad
  Everyone has a secret
  Oh, can they keep it?
  Oh, no they can't


  I'm driving fast now
  Don't think I know how to go slow
  Oh where you at now?
  I feel around
  There you are


  Cool these engines
  Calm these jets
  I ask you, how hot can it get?
  And as you wipe off beads of sweat
  Slowly, you say, I'm not there yet


  I know I don't know you
  But I want you so bad
  Everyone has a secret
  Oh, can they keep it?
  Oh, no they can't


  I know I don't know you
  But I want you so bad
  Everyone has a secret
  Oh but can they keep it?
  Oh, no they can't (no, no, no, oh, oh, oh, yeah, yeah, yeah)

  WRITERS

             Case 3:23-cv-01092              Document 49-7      71011/16/23
                                                             Filed            Page 277 of 473 PageID #: 1737
BCG_ID_11759_LF.txt[11/10/23, 10:58:48 AM]
  Adam Levine, James Valentine, Jesse Royal Carmichael, Mickey Madden, Ryan Michael Dusick

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      71111/16/23
                                                             Filed            Page 278 of 473 PageID #: 1738
BCG_ID_11759_LF.txt[11/10/23, 10:58:48 AM]
  Lyrics
  Christmas night, another fight
  Tears, we cried a flood
  Got all kinds of poison in
  Of poison in my blood
  I took my feet
  To Oxford Street
  Tryna right a wrong
  Just walk away
  Those windows say
  But I can't believe she's gone


  When you're still waiting for the snow to fall
  Doesn't really feel like Christmas at all


  Up above candles on air flicker
  Oh, they flicker and they float
  And I'm up here holding on
  To all those chandeliers of hope
  Like some drunken Elvis singing
  I go singing out of tune
  Saying how I always loved you, darling
  And I always will


  Oh, when you're still waiting for the snow to fall
  It doesn't really feel like Christmas at all
  Still waiting for the snow to fall
  It doesn't really feel like Christmas at all


  Those Christmas lights
  Light up the street
  Down where the sea and city meet
  May all your troubles soon be gone
  Oh, Christmas lights, keep shining on


  Those Christmas lights
  Light up the street
  Maybe they'll bring her back to me
  Then all my troubles will be gone
  Oh, Christmas lights, keep shining on


  Oh-oh-oh-oh, oh-oh-oh


  Oh, Christmas lights
  Light up the street
  Light up the fireworks in me
             Case 3:23-cv-01092              Document 49-7      71211/16/23
                                                             Filed            Page 279 of 473 PageID #: 1739
BCG_ID_11762_LF.txt[11/10/23, 10:58:48 AM]
  May all your troubles soon be gone
  Those Christmas lights, keep shining on

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      71311/16/23
                                                             Filed            Page 280 of 473 PageID #: 1740
BCG_ID_11762_LF.txt[11/10/23, 10:58:48 AM]
  Lyrics
  Standing on the waters casting your bread
  While the eyes of the idol with the iron head are glowing
  Distant ships sailing into the mist,
  You were born with a snake in both of your fists while a hurricane was blowing
  Freedom just around the corner for you
  But with the truth so far off, what good will it do?


  Jokerman dance to the nightingale tune,
  Bird fly high by the light of the moon,
  Oh, oh, oh, Jokerman


  So swiftly the sun sets in the sky,
  You rise up and say goodbye to no one
  Fools rush in where angels fear to tread,
  Both of their futures, so full of dread, you don't show why
  Shedding off one more layer of skin,
  Keeping one step ahead of the persecutor within


  Jokerman dance to the nightingale tune,
  Bird fly high by the light of the moon,
  Oh, oh, oh, Jokerman


  You're a man of the mountains, you can walk on the clouds,
  Manipulator of crowds, you're a dream twister
  You're going to Sodom and Gomorrah
  But what do you care? Ain't nobody there would want to marry your sister
  Friend to the martyr, a friend to the woman of shame,
  You look into the fiery furnace, see the rich man without any name


  Jokerman dance to the nightingale tune,
  Bird fly high by the light of the moon,
  Oh, oh, oh, Jokerman


  Well, the Book of Leviticus and Deuteronomy,
  The law of the jungle and the sea are your only teachers
  In the smoke of the twilight on a milk-white steed,
  Michelangelo indeed could've carved out your features
  Resting in the fields, far from the turbulent space,
  Half asleep near the stars with a small dog licking your face


  Jokerman dance to the nightingale tune,
  Bird fly high by the light of the moon,
  Oh, oh, oh, Jokerman


             Case 3:23-cv-01092              Document 49-7      71411/16/23
                                                             Filed            Page 281 of 473 PageID #: 1741
BCG_ID_11771_LF.txt[11/10/23, 10:58:49 AM]
  Well, the rifleman's stalking the sick and the lame,
  Preacherman seeks the same, who'll get there first is uncertain
  Nightsticks and water cannons, tear gas, padlocks,
  Molotov cocktails and rocks behind every curtain,
  False-hearted judges dying in the webs that they spin,
  Only a matter of time 'til night comes steppin' in


  Jokerman dance to the nightingale tune,
  Bird fly high by the light of the moon,
  Oh, oh, oh, Jokerman


  It's a shadowy world, skies are slippery gray,
  A woman just gave birth to a prince today and dressed him in scarlet
  He'll put the priest in his pocket, put the blade to the heat,
  Take the motherless children off the street
  And place them at the feet of a harlot
  Oh, Jokerman, you know what he wants,
  Oh, Jokerman, you don't show any response


  Jokerman dance to the nightingale tune,
  Bird fly high by the light of the moon,
  Oh, oh, oh, Jokerman

  WRITERS

  BOB DYLAN

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      71511/16/23
                                                             Filed            Page 282 of 473 PageID #: 1742
BCG_ID_11771_LF.txt[11/10/23, 10:58:49 AM]
  Lyrics
  You hid your skeletons when I had shown you mine
  You woke the devil that I thought you'd left behind
  I saw the evidence, the crimson soaking through
  Ten thousand promises, ten thousand ways to lose


  And you held it all but you were careless to let it fall
  You held it all and I was by your side, powerless


  I watched you fall apart and chased you to the end
  I'm left with emptiness that words can not defend
  You'll never know what I became because of you
  Ten thousand promises, ten thousand ways to lose


  And you held it all but you were careless to let it fall
  You held it all and I was by your side, powerless


  And you held it all but you were careless to let it fall
  You held it all and I was by your side, powerless


  Powerless
  Powerless
  Powerless

  WRITERS

  CHESTER CHARLES BENNINGTON, ROBERT G. BOURDON, BRAD DELSON, MIKE SHINODA, DAVE
  FARRELL, JOSEPH HAHN

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      71611/16/23
                                                             Filed            Page 283 of 473 PageID #: 1743
BCG_ID_11780_LF.txt[11/10/23, 10:58:49 AM]
  Lyrics
  One hand reaches out
  And pulls a lost soul from harm
  While a thousand more go unspoken for
  And they say,
  "What good have you done by saving just this one"
  It's like whispering a prayer
  In the fury of a storm


  And I hear them saying,
  "You'll never change things
  And no matter what you do
  It's still the same thing"
  But it's not the world that I am changing
  I do this so, this world will know
  That it will not change me


  This heart still believes
  That love and mercy still exist
  While all the hatreds rage
  And so many say
  "That love is all but pointless,
  In madness such as this
  "It's like trying to stop a fire
  With the moisture from a kiss"


  And I hear them saying,
  "You'll never change things
  And no matter what you do
  It's still the same thing"
  But it's not the world that I am changing
  I do this so, this world will know
  That it will not change me


  As long long as one heart still holds on
  Then hope is never really gone


  And I hear them saying,
  "You'll never change things
  And no matter what you do
  It's still the same thing"
  But it's not the world that I am changing
  I do this so, this world we know
  Never changes me


  What I do is so, this world will know
  That it will not change me
             Case 3:23-cv-01092              Document 49-7      71711/16/23
                                                             Filed            Page 284 of 473 PageID #: 1744
BCG_ID_11801_LF.txt[11/10/23, 10:58:49 AM]
  WRITERS

  Anthony M. Arata, R. Wayne Tester

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      71811/16/23
                                                             Filed            Page 285 of 473 PageID #: 1745
BCG_ID_11801_LF.txt[11/10/23, 10:58:49 AM]
  Lyrics
  Seven o'clock in the morning
  And the rays from the sun wakes me
  I'm stretchin' and yawnin'
  In a bed that don't belong to me
  And a voice yells, "Good morning, darlin", from the bathroom
  Then she comes out and kisses me
  And to my surprise, she ain't you


  Now I've got this dumb look on my face
  Like, what have I done?
  How could I be so stupid to be have laid here 'til the morning sun?
  Must of lost the track of time
  Oh, what was on my mind?
  From the club, went to her home
  Didn't plan to stay that long


  Here I am, quickly tryin' to put on my clothes
  Searching for my car keys
  Tryin' to get on up out the door
  Then she streched her hands in front of it
  Said, "You can't go this way"
  Looked at her, like she was crazy
  Said, "Woman move out my way"
  Said, "I got a wife at home"
  She said, "Please don't go out there"
  "Lady, I've got to get home"
  She said, her husband was comin' up the stairs


  "Shh, shh, quiet
  Hurry up and get in the closet"
  She said, "Don't you make a sound
  Or some shit is going down"
  I said, "Why don't I just go out the window?"
  "Yes, except for one thing, we on the 5th floor"
  "Shit think, shit think, shit quick, put me in the closet"
  And now I'm in this darkest closet, tryin' to figure out
  Just how I'm gonna get my crazy ass up out this house


  Then he walks in and yells, "I'm home"
  She says, "Honey, I'm in the room"
  He walks in there with a smile on his face
  Sayin', "Honey, I've been missin' you"
  She hops all over him
  And says, "I've cooked and ran your bath water"
  I'm tellin' you now, this girl's so good that she deserves an Oscar


  Throws her in the bed
             Case 3:23-cv-01092              Document 49-7        71911/16/23
                                                               Filed            Page 286 of 473 PageID #: 1746
BCG_ID_11808_LF.txt[11/10/23, 10:58:50 AM]
  And start to snatchin' her clothes off
  I'm in the closet, like man, what the fuck is going on?
  You're not gonna believe it
  But things get deeper as the story goes on
  Next thing you know, a call comes through on my cell phone
  I tried my best to quickly put it on vibrate
  But from the way he act, I could tell it was too late
  He hopped up and said, "There's a mystery going on
  And I'm gonna solve it"
  And I'm like, "God please, don't let this man open this closet"


  He walks in the bathroom
  And looks behind the door
  She says, "Baby, come back to bed"
  He says, "Bitch, say no more"
  He pulls back the shower curtain
  While she's biting her nails
  Then he walks back to the room
  Right now, I'm sweating like hell
  Checks under the bed
  Then under the dresser
  He looks at the closet
  I pull out my Beretta
  He walks up to the closet
  Get close up to the closet
  Now he's at the closet
  Now he's opening the closet...

  WRITERS

  ROBERT S. KELLY

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      72011/16/23
                                                             Filed            Page 287 of 473 PageID #: 1747
BCG_ID_11808_LF.txt[11/10/23, 10:58:50 AM]
  Lyrics
  Girl, you're looking fine tonight
  And every guy has got you in his sight
  What you're doing with a clown like me
  Is surely one of life's little mysteries


  So tonight I'll ask the stars above
  "How did I ever win your love?"
  What did I do?
  What did I say
  To turn your angel eyes my way?


  Well, I'm the guy who never learned to dance
  Never even got one second glance
  Across a crowded room was close enough
  I could look but I could never touch


  So tonight I'll ask, the stars above
  "How did I ever win your love?"
  What did I do?
  What did I say
  To turn your angel eyes my way?


  Don't anyone wake me
  If it's just a dream
  'Cause she's the best thing
  Ever happened to me


  All you fellows
  You can look all you like
  But this girl you see
  She's leavin' here with me tonight


  There's just one more thing I need to know
  If this is love why does it scare me so?
  It must be somethin' only you can see
  'Cause girl I feel it when you look at me


  So tonight I'll ask the stars above
  "How did I ever win your love?"
  What did I do?
  What did I say
  To turn your angel eyes my way?


  Hey, hey, yeah, yeah, aw
             Case 3:23-cv-01092              Document 49-7      72111/16/23
                                                             Filed            Page 288 of 473 PageID #: 1748
BCG_ID_11811_LF.txt[11/10/23, 10:58:50 AM]
  WRITERS

  Frederick G. Koller, John Hiatt

  PUBLISHERS

  Lyrics © BMG Rights Management, Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      72211/16/23
                                                             Filed            Page 289 of 473 PageID #: 1749
BCG_ID_11811_LF.txt[11/10/23, 10:58:50 AM]
  Lyrics
  She's got you wrapped up in her satin and lace
  Tied around her little finger
  She's got you thinkin' you can never escape
  Don't you know your heart's in danger
  There's a devil in that angel face
  If you could only see the love that you're wastin'


  I can love you better than that
  I know how to make you forget her
  All I'm askin' is for one little chance
  'Cause baby I can love you, baby I can love you better


  I'm gonna break this spell she's got on you
  You're gonna wake up to find
  I'm your desire my intentions are true
  Hey babe I know it's time
  You're gonna see what you mean to me
  So open up your eyes 'cause seein' is believin'


  I can love you better than that
  I know how to make you forget her
  All I'm askin' is for one little chance
  'Cause baby I can love you, baby I can love you better


  I can love you better than that
  I know how to make you forget her
  All I'm askin' is for one little chance
  'Cause baby I can love you, baby I can love


  I can love you better than that
  I know how to make you forget her
  All I'm askin' is for one little chance
  'Cause baby I can love you, baby I can love better


  I can love you better than that
  I know how to make you forget her
  All I'm askin' is for one little chance
  'Cause baby I can love you, baby I can love


  I can love you better than that
  I can love you better
  I can love you better than that
  'Cause baby I can love you, baby I can love better

  WRITERS
             Case 3:23-cv-01092              Document 49-7      72311/16/23
                                                             Filed            Page 290 of 473 PageID #: 1750
BCG_ID_11827_LF.txt[11/10/23, 10:58:50 AM]
  Kostas Lazarides, Pamela Brown Hayes

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      72411/16/23
                                                             Filed            Page 291 of 473 PageID #: 1751
BCG_ID_11827_LF.txt[11/10/23, 10:58:50 AM]
  Lyrics
  Light reflects from your shadow
  It is more than I thought could exist
  You move through the room
  Like breathing was easy
  If someone believed me


  They would be
  As in love with you as I am
  They would be
  As in love with you as I am
  They would be
  As in love with you as I am
  They would be
  In love, love, love


  And everyday
  I am learning about you
  The things that no one else sees
  And the end comes too soon
  Like dreaming of angels


  And leaving without them


  And leaving without them


  Being
  As in love with you as I am
  Being
  As in love with you as I am
  Being
  As in love with you as I am
  Being
  As in love, love, love
  Love, love, love
  Love, love, love


  And with words unspoken
  A silent devotion
  I know you know what I mean
  And the end is unknown
  But I think I'm ready
  As long as you're with me


  Being
  As in love with you as I am
             Case 3:23-cv-01092              Document 49-7      72511/16/23
                                                             Filed            Page 292 of 473 PageID #: 1752
BCG_ID_11841_LF.txt[11/10/23, 10:58:51 AM]
  Being
  As in love with you as I am
  Being
  As in love with you as I am
  Being
  As in love, love, love

  WRITERS

  James Thomas Smith, Oliver Sim, Romy Anna Madley Croft

  PUBLISHERS

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  Music, Inc.




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                                                             Filed            Page 293 of 473 PageID #: 1753
BCG_ID_11841_LF.txt[11/10/23, 10:58:51 AM]
  Lyrics
  Honey you are a rock
  Upon which I stand
  And I come here to talk
  I hope you understand


  That green eyes
  Yeah the spotlight, shines upon you
  And how could anybody deny you


  I came here with a load
  And it feels so much lighter
  Now I met you
  And honey you should know
  That I could never go on without you
  Green eyes


  Honey you are the sea
  Upon which I float
  And I came here to talk
  I think you should know


  That green eyes
  You're the one that I wanted to find
  And anyone who tried to deny you
  Must be out of their mind


  Because I came here with a load
  And it feels so much lighter
  Since I met you
  And honey you should know
  That I could never go on without you


  Green eyes
  Green eyes
  Oh, oh, oh, oh
  Oh, oh, oh, oh
  Oh, oh, oh, oh


  Honey you are the rock
  Upon which I stand

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

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                                                             Filed            Page 294 of 473 PageID #: 1754
BCG_ID_11865_LF.txt[11/10/23, 10:58:51 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 295 of 473 PageID #: 1755
BCG_ID_11865_LF.txt[11/10/23, 10:58:51 AM]
  Lyrics
  I won't suffer, be broken, get tired, or wasted
  Surrender to nothing, I'll give up what I
  Started and stop this, from end to beginning
  A new day is calling, and I am finally free
  Fight!


  Run away, run away, I'll attack
  Run away, run away, go chase yourself
  Run away, run away, now I'll attack
  I'll attack, I'll a, whoa!


  I would have kept you, forever, what we had to sever
  It ended for both of us, faster than a
  Kill off this thinking; it's starting to sink in
  I'm losing control now, and without you I can finally see
  Fight!


  Run away, run away, I'll attack
  Run away, run away, go chase yourself
  Run away, run away, now I'll attack
  I'll attack, I'll a, whoa!


  Your promises, they look like lies
  Your honesty, like a back that hides a knife (knife)
  I promise you (promise you)
  I promise you (promise you)
  And I am finally free


  Run away, run away, I'll attack
  Run away, run away, go chase yourself
  Run away, run away, now I'll attack
  I'll attack, I'll attack, I will attack


  Run away, I'll attack, I will attack
  Run away, I'll attack, I will attack
  Run away, I'll attack, I will attack
  Run away, I'll attack, I'll attack, I'll a, whoa!


  Your promises
  (Promises, promises)
  I promise you
  (Promise you)
  I promise you
  (Promise you, promise you)

             Case 3:23-cv-01092              Document 49-7      72911/16/23
                                                             Filed            Page 296 of 473 PageID #: 1756
BCG_ID_11875_LF.txt[11/10/23, 10:58:51 AM]
  WRITERS

  SANDY LINZER, DENNY RANDELL

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      73011/16/23
                                                             Filed            Page 297 of 473 PageID #: 1757
BCG_ID_11875_LF.txt[11/10/23, 10:58:51 AM]
  Lyrics
  Bodhisattva, would you take me by the hand
  Bodhisattva, would you take me by the hand


  Can you show me the shine of your Japan
  The sparkle of your china, can you show me


  Bodhisattva, Bodhisattva
  I'm gonna sell my house in town
  Bodhisattva
  I'm gonna sell my house in town


  And I'll be there to shine in your Japan
  To sparkle in your China, yes I'll be there
  Bodhisattva, Bodhisattva


  Bodhisattva, would you take me by the hand
  Bodhisattva, would you take me by the hand
  Can you show me the shine of your Japan
  The sparkle of your china, can you show me


  Bodhisattva, Bodhisattva
  I'm gonna sell my house in town
  Bodhisattva
  I'm gonna sell my house in town


  And I'll be there to shine in your Japan
  To sparkle in your China, yes I'll be there
  Bodhisattva, Bodhisattva, Bodhisattva, Bodhisattva
  Bodhisattva, Bodhisattva, Bodhisattva, Bodhisattva, look out

  WRITERS

  DONALD JAY FAGEN, WALTER CARL BECKER

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 298 of 473 PageID #: 1758
BCG_ID_11878_LF.txt[11/10/23, 10:58:51 AM]
  Lyrics
  So I look in your direction
  But you pay me no attention, do you?
  I know you don't listen to me
  'Cause you say you see straight through me, don't you?


  But on and on, from the moment I wake
  To the moment I sleep
  I'll be there by your side
  Just you try and stop me
  I'll be waiting in line
  Just to see if you care


  Oh-oh
  Did you want me to change?
  Well I changed for good
  And I want you to know
  That you'll always get your way
  I wanted to say


  Don't you shiver
  Shiver
  Sing it loud and clear


  I'll always be waiting for you


  So you know how much I need you
  But you never even see me, do you?
  And is this my final chance of getting you?


  But on and on, from the moment I wake
  To the moment I sleep
  I'll be there by your side
  Just you try and stop me
  I'll be waiting in line
  Just to see if you care, if you care


  Oh-oh
  Did you want me to change?
  Well I changed for good
  And I want you to know
  That you'll always get your way
  I wanted to say


  Don't you shiver
             Case 3:23-cv-01092              Document 49-7      73211/16/23
                                                             Filed            Page 299 of 473 PageID #: 1759
BCG_ID_11879_LF.txt[11/10/23, 10:58:52 AM]
  Don't you shiver
  Sing it loud and clear


  I'll always be waiting for you


  Yeah, I'll always be waiting for you
  Yeah, I'll always be waiting for you
  Yeah, I'll always be waiting for you
  For you, I will always be waiting


  And it's you I see, but you don't see me
  And it's you I hear, so loud and so clear
  I sing it loud and clear
  And I'll always be waiting for you


  So I look in your direction
  But you pay me no attention
  And you know how much I need you
  But you never even see me

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS

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BCG_ID_11879_LF.txt[11/10/23, 10:58:52 AM]
  Lyrics
  Was a long and dark December
  From the rooftops I remember
  There was snow
  White snow


  Clearly I remember
  From the windows they were watching
  While we froze down below


  When the future's architectured
  By a carnival of idiots on show
  You'd better lie low


  If you love me
  Won't you let me know?


  Was a long and dark December
  When the banks became cathedrals
  And the fog
  Became God


  Priests clutched onto bibles
  Hollowed out to fit their rifles
  And the cross was held aloft


  Bury me in armor
  When I'm dead and hit the ground
  My nerves are poles that unfroze


  And if you love me
  Won't you let me know?


  I don't want to be a soldier
  Who the captain of some sinking ship
  Would stow
  Far below


  So if you love me
  Why'd you let me go?


  I took my love down to violet hill
  There we sat in snow
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BCG_ID_11884_LF.txt[11/10/23, 10:58:52 AM]
  All that time she was silent still


  So if you love me
  Won't you let me know?


  If you love me
  Won't you let me know?

  WRITERS

  Christopher Anthony John Martin, Guy Rupert Berryman, Jonathan Mark Buckland, William Champion

  PUBLISHERS

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BCG_ID_11884_LF.txt[11/10/23, 10:58:52 AM]
  Lyrics
  My Dearest son, it's almost June
  I hope this letter catches up with you
  And finds you well
  It's been dry
  But they're callin' for rain
  And everything's the same old same
  In Johnsonville
  Your stubborn old daddy
  Ain't said too much
  But I'm sure you know
  He sends his love


  And she goes on
  In a letter from home


  I hold it up and show my buddies
  Like we ain't scared
  And our boots ain't muddy
  And they all laugh
  Like there's something funny
  'Bout the way I talk
  When I say, "Mamma sends her best, y'all"


  I fold it up and put it in my shirt
  Pick up my gun and get back to work
  And it keeps me drivin' on
  Waitin' on letters from home


  My dearest love, it's almost dawn
  I've been lyin' here all night long
  Wonderin' where you might be
  I saw your mamma
  And I showed her the ring
  Man on the television
  Said something
  So I couldn't sleep
  But I'll be alright,
  I'm just missin' you
  And this is me kissin' you
  X's and O's in a letter from home


  I hold it up and show my buddies
  Like we ain't scared
  And our boots ain't muddy
  And they all laugh
  'Cause she calls me honey,
  But they take it hard
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                                                             Filed            Page 303 of 473 PageID #: 1763
BCG_ID_11894_LF.txt[11/10/23, 10:58:52 AM]
  'Cause I don't read the good parts


  I fold it up and put it in my shirt
  Pick up my gun and get back to work
  And it keeps me drivin' on
  Waitin' on letters from home


  Dear son, I know I ain't written
  I'm Sittin' here tonight alone in the kitchen
  It occurs to me
  I might not have said it
  So I'll say it now
  "Son, You make me proud"


  I hold it up and show my buddies
  Like we ain't scared
  And our boots ain't muddy
  But no one laughs
  'Cause there's ain't nothin' funny
  When a soldier cries
  And I just wipe my eyes


  I fold it up and put it in my shirt
  Pick up my gun and get back to work
  And it keeps me drivin' on
  Waitin' on letters from home

  WRITERS

  David Cory Lee, Tony Mac Lane

  PUBLISHERS

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  Publishing LLC, Royalty Network, Capitol CMG Publishing, Spirit Music Group, Downtown Music Publishing,
  Songtrust Ave, Exploration Group LLC, RESERVOIR MEDIA MANAGEMENT INC, Warner Chappell Music, Inc.




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BCG_ID_11894_LF.txt[11/10/23, 10:58:52 AM]
  Lyrics
  I opened my eyes last night
  And saw you in the low light
  Walking down by the bay
  On the shore, staring up at the planes
  That aren't there anymore
  I was feeling the night grow old
  And you were looking so cold
  So like an introvert
  I drew my over shirt
  Around my arms and began
  To shiver violently before
  You happened to look
  And see the tunnels all around me
  Running into the dark
  Underground
  All the subways around
  Create a great sound
  To my motion fatigue
  Farewell
  With your ear to a seashell
  You can hear the waves
  In underwater caves
  As if you actually were inside
  A saltwater room


  Time together isn't never quite enough
  When you and I are alone
  I've never felt so at home
  What will it take to make or break this hint of love?
  Only time, only time


  When we're apart what ever are you thinking of
  If this is what I call home why does it feel so alone
  So tell me darling do you wish we'd fall in love?
  All the time, all the time


  Can you believe that the crew has gone
  And wouldn't let me sign on?
  All my islands have sunk
  In the deep, so I can hardly relax
  Or even oversleep
  I feel as if I were home, some nights
  When we count all the ship lights
  I guess I'll never know
  Why sparrows love the snow
  We'll turn off all of the lights
  And set this ballroom aglow


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                                                             Filed            Page 305 of 473 PageID #: 1765
BCG_ID_11895_LF.txt[11/10/23, 10:58:53 AM]
  (So tell me darling do you wish we'd fall in love? All the time)


  Time together isn't never quite enough
  When you and I are alone
  I've never felt so at home
  What will it take to make or break this hint of love?
  We need time, only time
  When we're apart whatever are you thinking of?
  If this is what I call home why does it feel so alone?
  So tell me darling, do you wish we'd fall in love?
  All the time, all the time


  Time together is just never quite enough
  When we're apart whatever are you thinking of?
  What will it take to make or break this hint of love?
  So tell me darling do you wish we'd fall in love?
  All the time

  WRITERS

  ADAM R. YOUNG

  PUBLISHERS

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                                                             Filed            Page 306 of 473 PageID #: 1766
BCG_ID_11895_LF.txt[11/10/23, 10:58:53 AM]
  Lyrics
  A long, long time ago in a galaxy far away
  Naboo was under an attack
  And I thought me and Qui-Gon Jinn
  Could talk the Federation into
  Maybe cutting them a little slack
  But their response, it didn't thrill us
  They locked the doors and tried to kill us
  We escaped from that gas
  Then met Jar Jar and Boss Nass
  We took a bongo from the scene
  And we went to Theed to see the Queen
  We all wound up on Tatooine
  That's where we found this boy


  Oh my my, this here Anakin guy
  May be Vader someday later, now he's just a small fry
  And he left his home and kissed his mommy goodbye
  Sayin' "Soon I'm gonna be a Jedi"
  "Soon I'm gonna be a Jedi"


  Did you know this junkyard slave
  Isn't even old enough to shave?
  But he can use the Force they say
  Ah, do you see him hitting on the Queen
  Though he's just nine and she's fourteen
  Yeah, he's probably gonna marry her someday
  Well, I know he built C3PO
  And I've heard how fast his pod can go
  And we were broke, it's true
  So we made a wager or two
  He was a prepubescent flyin' ace
  And the minute Jabba started off that race
  Well, I know who would win first place
  Oh yes, it was our boy


  We started singin', my my, this here Anakin guy
  May be Vader someday later, now he's just a small fry
  And he left his home and kissed his mommy goodbye
  Sayin' "Soon I'm gonna be a Jedi"
  "Soon I'm gonna be a Jedi"


  Now we finally got to Coruscant
  The Jedi Council we knew would want
  To see how good the boy could be
  So we took him there and we told the tale
  How his midichlorians were off the scale
  And he might fulfill that prophecy

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                                                             Filed            Page 307 of 473 PageID #: 1767
BCG_ID_11896_LF.txt[11/10/23, 10:58:53 AM]
  Oh, the Council was impressed, of course
  Could he bring balance to the force?
  They interviewed the kid
  Oh, training they forbid
  Because Yoda sensed in him much fear
  And Qui-Gon said, "Now listen here
  Just stick it in your pointy ear
  I still will teach this boy"


  He was singin' my my, this here Anakin guy
  May be Vader someday later, now he's just a small fry
  And he left his home and kissed his mommy goodbye
  Sayin' "Soon I'm gonna be a Jedi"
  "Soon I'm gonna be a Jedi"


  We caught a ride back to Naboo
  'Cause Queen Amidala wanted to
  I frankly would've liked to stay
  We all fought in that epic war
  And it wasn't long at all before
  Little hotshot flew his plane and saved the day
  And in the end, some Gungans died
  Some ships blew up and some pilots fried
  A lot of folks were croakin'
  The battle droids were broken
  And the Jedi I admire most
  Met up with Darth Maul and now he's toast
  Well, I'm still here and he's a ghost
  I guess I'll train this boy


  And I was singin', my my, this here Anakin guy
  May be Vader someday later, now he's just a small fry
  And he left his home and kissed his mommy goodbye
  Sayin' "Soon I'm gonna be a Jedi"
  "Soon I'm gonna be a Jedi"


  We were singin', my my, this here Anakin guy
  May be Vader someday later, now he's just a small fry
  And he left his home and kissed his mommy goodbye
  Sayin' "Soon I'm gonna be a Jedi"

  WRITERS

  Don McLean

  PUBLISHERS

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BCG_ID_11896_LF.txt[11/10/23, 10:58:53 AM]
  Lyrics
  Ain't it just like the night to play tricks when you're tryin' to be so quiet?
  We sit here stranded, though we're all doin' our best to deny it
  And Louise holds a handful of rain, temptin' you to defy it
  Lights flicker from the opposite loft
  In this room the heat pipes just cough
  The country music station plays soft
  But there's nothing, really nothing to turn off
  Just Louise and her lover so entwined
  And these visions of Johanna that conquer my mind


  In the empty lot where the ladies play blindman's bluff with the key chain
  And the all-night girls they whisper of escapades out on the "D" train
  We can hear the night watchman click his flashlight
  Ask himself if it's him or them that's insane
  Louise, she's all right, she's just near
  She's delicate and seems like the mirror
  But she just makes it all too concise and too clear
  That Johanna's not here
  The ghost of 'lectricity howls in the bones of her face
  Where these visions of Johanna have now taken my place


  Now, little boy lost, he takes himself so seriously
  He brags of his misery, he likes to live dangerously
  And when bringing her name up
  He speaks of a farewell kiss to me
  He's sure got a lotta gall to be so useless and all
  Muttering small talk at the wall while I'm in the hall
  How can I explain?
  It's so hard to get on
  And these visions of Johanna, they kept me up past the dawn


  Inside the museums, infinity goes up on trial
  Voices echo this is what salvation must be like after a while
  But Mona Lisa musta had the highway blues
  You can tell by the way she smiles
  See the primitive wallflower freeze
  When the jelly-faced women all sneeze
  Hear the one with the mustache say, "Jeez, I can't find my knees"
  Oh, jewels and binoculars hang from the head of the mule
  But these visions of Johanna, they make it all seem so cruel


  The peddler now speaks to the countess who's pretending to care for him
  Sayin', "Name me someone that's not a parasite and I'll go out and say a prayer for him"
  But like Louise always says
  "Ya can't look at much, can ya man?"
  As she, herself, prepares for him
  And Madonna, she still has not showed
  We see this empty cage now corrode
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                                                              Filed                Page 309 of 473 PageID #: 1769
BCG_ID_11897_LF.txt[11/10/23, 10:58:53 AM]
  Where her cape of the stage once had flowed
  The fiddler, he now steps to the road
  He writes ev'rything's been returned which was owed
  On the back of the fish truck that loads
  While my conscience explodes
  The harmonicas play the skeleton keys and the rain
  And these visions of Johanna are now all that remain

  WRITERS

  BOB DYLAN

  PUBLISHERS

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BCG_ID_11897_LF.txt[11/10/23, 10:58:53 AM]
  Lyrics
  Welcome to the Grand illusion
  Come on in and see what's happening
  Pay the price, get your tickets for the show
  The stage is set, the band starts playing
  Suddenly your heart is pounding
  Wishing secretly you were a star


  But don't be fooled by the radio
  The TV or the magazines
  They show you photographs of how your life should be
  But they're just someone else's fantasy


  So if you think your life is complete confusion
  Because you never win the game
  Just remember that it's a grand illusion
  And deep inside we're all the same
  We're all the same


  So if you think your life is complete confusion
  Because your neighbors got it made
  Just remember that it's a grand illusion
  And deep inside we're all the same


  America spells competition, join us in our blind ambition
  Get yourself a brand new motor car
  Someday soon we'll stop to ponder what on earth's this spell we're under
  We made the grade and still we wonder who the hell we are

  WRITERS

  Dennis De Young

  PUBLISHERS

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                                                             Filed            Page 311 of 473 PageID #: 1771
BCG_ID_11901_LF.txt[11/10/23, 10:58:54 AM]
  Lyrics
  Oh I can't take another heartache
  Though you say you're my friend, I'm at my wit's end
  You say your love is bonafide, but that don't coincide
  With the things that you do
  And when I ask you to be nice, you say


  You've gotta be cruel to be kind, in the right measure
  Cruel to be kind, it's a very good sign
  Cruel to be kind, means that I love you, baby
  (You've gotta be cruel)
  You gotta be cruel to be kind


  Well I do my best to understand dear
  But you still mystify and I want to know why
  I pick myself up off the ground
  To have you knock me back down, again and again
  And when I ask you to explain, you say


  You've gotta be cruel to be kind, in the right measure
  Cruel to be kind, it's a very good sign
  Cruel to be kind, means that I love you, baby
  (You've gotta be cruel)
  You gotta be cruel to be kind


  Well I do my best to understand dear
  But you still mystify and I want to know why
  I pick myself up off the ground
  To have you knock me back down, again and again
  And when I ask you to explain, you say


  You've gotta be cruel to be kind, in the right measure
  Cruel to be kind, it's a very good sign
  Cruel to be kind, means that I love you baby
  (You've gotta be cruel)
  You gotta be cruel to be kind


  (Cruel to be kind), oh in the right measure
  (Cruel to be kind), it's a very very very good sign
  (Cruel to be kind), it means that I love you, baby
  (You've gotta be cruel)
  You gotta be cruel to be kind


  (Cruel to be kind), oh in the right measure
  (Cruel to be kind), yes it's a very very very good sign
  (Cruel to be kind), it means that I love you, baby
             Case 3:23-cv-01092              Document 49-7      74511/16/23
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BCG_ID_11913_LF.txt[11/10/23, 10:58:54 AM]
  (You've gotta be cruel)
  You gotta be cruel to be kind


  (Cruel to be kind), oh in the right measure
  (Cruel to be kind), yes it's a very very very good sign
  (Cruel to be kind), it means that I love you

  WRITERS

  Ian Robert Gomm, Nicholas Orain Lowe

  PUBLISHERS

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                                                             Filed            Page 313 of 473 PageID #: 1773
BCG_ID_11913_LF.txt[11/10/23, 10:58:54 AM]
  Lyrics
  In the darkness before the dawn
  In the swirling of this storm
  When I'm rolling with the punches and hope is gone
  Leave a light, a light on


  Millions of miles from home
  In the swirling swimming on
  When I'm rolling with the thunder but bleed from thorns
  Leave a light, a light on
  Leave a light, a light on


  Leave a light, a light on
  Leave a light, a light on


  In the darkness before the dawn
  In the darkness before the dawn
  Leave a light, a light on
  Leave a light, a light on

  WRITERS

  Jon Hopkins, Christopher Anthony Martin, William Champion, Guy Rupert Berryman, Jonathan Mark Buckland

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  Music Corp., Downtown Music Publishing, Songtrust Ave, Kobalt Music Publishing Ltd.




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                                                             Filed            Page 314 of 473 PageID #: 1774
BCG_ID_11937_LF.txt[11/10/23, 10:58:54 AM]
  Lyrics
  Eyes are feeling heavy
  But they never seem to close
  The fan blades on the ceiling spin
  But the air is never cold
  And even though you're next to me
  I still feel so alone
  I just can't give you anything
  For you to call your own


  And I can feel you breathing
  And it's keeping me awake
  Can you feel it beating?
  My heart sinking like a weight


  Something I've been keeping locked away
  Behind my lips
  I can feel it breaking free
  With each and every kiss
  I couldn't bear to hurt you
  But it's all so different now
  Things that I was sure of
  They have filled me up with doubt


  And I can feel you breathing
  And it's keeping me awake
  Can you feel it beating?
  My heart sinking like a weight


  I can feel you breathing
  It's keeping me awake
  Could you stop my heart?
  It's always beating
  Sinking like a weight


  How am I suppose to feel about the things I've done
  I don't know if I should stay or turn around and run
  I know that I hurt you
  Things will never be the same
  The only love I ever knew, I threw it all away


  And I can feel you breathing
  And it's keeping me awake
  Can you feel it beating?
  My heart sinking like a weight


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                                                             Filed            Page 315 of 473 PageID #: 1775
BCG_ID_11977_LF.txt[11/10/23, 10:58:54 AM]
  I can feel you breathing
  It's keeping me awake
  Could you stop my heart?
  It's always breathing
  Sinking like a weight

  WRITERS

  Benjamin Eric Harper, Longineu Warren Iii Parsons, Peter Michael Mosely, Sean Michael Wellman-Mackin, William
  Ryan Key

  PUBLISHERS

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                                                             Filed            Page 316 of 473 PageID #: 1776
BCG_ID_11977_LF.txt[11/10/23, 10:58:54 AM]
  Lyrics
  I come home in the morning light
  My mother says, "When you gonna live your life right?"
  Oh, mother dear we're not the fortunate ones
  And girls, they wanna have fun
  Oh, girls just want to have fun


  The phone rings in the middle of the night
  My father yells, "What you gonna do with your life?"
  Oh, daddy dear, you know you're still number one
  But girls, they wanna have fun
  Oh, girls just want to have


  That's all they really want
  Some fun
  When the working day is done
  Oh, girls, they wanna have fun
  Oh, girls just wanna have fun (girls, they wanna, wanna have fun, girls wanna have)


  Some boys take a beautiful girl
  And hide her away from the rest of the world
  I want to be the one to walk in the sun
  Oh, girls, they wanna have fun
  Oh, girls just wanna have


  That's all they really want
  Some fun
  When the working day is done
  Oh, girls, they wanna have fun
  Oh, girls just want to have fun (girls, they wanna, wanna have fun, girls wanna have)


  They just wanna, they just wanna (girls)
  They just wanna, they just wanna, oh girl (girls just wanna have fun)
  Girls just wanna have fun
  They just wanna, they just wanna
  They just wanna, they just wanna (girls)
  They just wanna, they just wanna, oh girl (girls just wanna have fun)
  Girls just want to have fun


  When the working
  When the working day is done
  Oh, when the working day is done, oh girls
  Girls just wanna have fun, everybody


  They just wanna, they just wanna (girls)
  They just wanna, they just wanna, oh girls (girls just wanna have fun)
             Case 3:23-cv-01092              Document 49-7      75011/16/23
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BCG_ID_11979_LF.txt[11/10/23, 10:58:55 AM]
  Girls just want to have fun


  (They just wanna, they just wanna) when the working
  When the working day is done (they just wanna, they just wanna)
  Oh, when the working day is done, oh girl (girls just wanna have fun)
  Girls just wanna have fun (they just wanna, they just wanna)

  WRITERS

  Robert Hazard

  PUBLISHERS

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BCG_ID_11979_LF.txt[11/10/23, 10:58:55 AM]
  Lyrics
  God save the queen
  The fascist regime
  They made you a moron
  A potential H bomb


  God save the queen
  She's not a human being
  and There's no future
  And England's dreaming


  Don't be told what you want
  Don't be told what you need
  There's no future
  No future
  No future for you


  God save the queen
  We mean it man
  We love our queen
  God saves


  God save the queen
  'Cause tourists are money
  And our figurehead
  Is not what she seems


  Oh God save history
  God save your mad parade
  Oh Lord God have mercy
  All crimes are paid


  Oh when there's no future
  How can there be sin
  We're the flowers
  In the dustbin
  We're the poison
  In your human machine
  We're the future
  Your future


  God save the queen
  We mean it man
  We love our queen
  God saves

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BCG_ID_11980_LF.txt[11/10/23, 10:58:55 AM]
  God save the queen
  We mean it man
  There's no future
  In England's dreaming God save the queen


  No future
  No future
  No future for you


  No future
  No future
  No future for me


  No future
  No future
  No future for you

  WRITERS

  Paul Thomas Cook, Stephen Philip Jones, John Lydon, Glen Matlock

  PUBLISHERS

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BCG_ID_11980_LF.txt[11/10/23, 10:58:55 AM]
  Lyrics
  Oh brother, I can't, I can't get through
  I've been trying hard to reach you 'cause I don' know what to do
  Oh brother, I can't believe it's true
  I'm so scared about the future, and I wanna talk to you
  Oh, I wanna talk to you


  You can take a picture of something you see
  In the future where will I be?
  You can climb a ladder up to the sun
  Or a write a song nobody has sung
  Or do something that's never been done


  Are you lost or incomplete?
  Do you feel like a puzzle, you can't find your missing piece?
  Tell me, how do you feel?
  Well, I feel like they're talking in a language I don't speak
  And they're talking it to me


  So you take a picture of something you see
  In the future where will I be?
  You can climb a ladder up to the sun
  Or write a song nobody has sung
  Or do something that's never been done
  Or do something that's never been done


  So you don't know where you're going and you wanna talk
  And you feel like you're going where you've been before
  You tell anyone who'll listen, but you feel ignored
  Nothing's really making any sense at all, let's talk
  Let's talk, let's talk, let's talk

  WRITERS

  Emil Schult, Ralf Huetter, Karl Bartos, Chris Martin, Guy Berryman, Jon Buckland, Will Champion

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BCG_ID_11983_LF.txt[11/10/23, 10:58:55 AM]
  Lyrics
  Man, it's been a long day
  Stuck thinking 'bout it driving on the freeway
  Wondering if I really tried everything I could
  Not knowing if I should try a little harder


  Ooh, but I'm scared to death
  That there may not be another one like this
  And I confess
  That I'm only holding on by a thin, thin thread
  I'm kicking the curb 'cause you never heard
  The words that you needed so bad
  And I'm kicking the dirt 'cause I never gave you
  The things that you needed to have
  I'm so sad, sad


  Man, it's been a long night
  Just sitting here trying not to look back
  Still looking at the road we never drove on
  And wondering if the one I chose was the right one


  Ooh, but I'm scared to death
  That there may not be another one like this
  And I confess
  That I'm only holding on by a thin, thin thread
  I'm kicking the curb 'cause you never heard
  The words that you needed so bad
  And I'm kicking the dirt 'cause I never gave you
  The things that you needed to have
  I'm so sad, sad


  So sad, so sad


  Ooh, but I'm scared to death
  That there may not be another one like this
  And I confess
  That I'm only holding on by a thin, thin thread
  I'm kicking the curb 'cause you never heard
  The words that you needed so bad
  And I'm kicking the dirt 'cause I never gave you
  The things that you needed to have


  And I'm kicking the curb 'cause you never heard
  The words that you needed so bad
  I'm so sad, so sad

  WRITERS
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BCG_ID_11992_LF.txt[11/10/23, 10:58:56 AM]
  Adam Levine, James Valentine

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 323 of 473 PageID #: 1783
BCG_ID_11992_LF.txt[11/10/23, 10:58:56 AM]
  Lyrics
  Can you lie next to her
  And give her your heart, your heart
  As well as your body
  And can you lie next to her
  And confess your love, your love
  As well as your folly
  And can you kneel before the king
  And say I'm clean, I'm clean


  Tell me now, where was my fault
  In loving you with my whole heart
  Oh tell me now, where was my fault
  In loving you with my whole heart


  A white blank page and a swelling rage, rage
  You did not think when you sent me to the brink, to the brink
  You desired my attention but denied my affections, my affections


  Tell me now, where was my fault
  In loving you with my whole heart
  Oh tell me now, where was my fault
  In loving you with my whole heart


  Lead me to the truth and I will follow you with my whole life
  Lead me to the truth and I will follow you with my whole life

  WRITERS

  BENJAMIN WALTER DAVID LOVETT, EDWARD JAMES MILTON DWANE, MARCUS OLIVER JOHNSTONE
  MUMFORD, WINSTON AUBREY ALADAR MARSHALL

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      75711/16/23
                                                             Filed            Page 324 of 473 PageID #: 1784
BCG_ID_12004_LF.txt[11/10/23, 10:58:56 AM]
  Lyrics
  Life goes on day after day
  Hearts torn in every way

  So ferry 'cross the Mersey
  'Cause this land's the place I love
  And here I'll stay

  People, they rush everywhere
  Each with their own secret care
  So ferry 'cross the Mersey
  And always take me there
  The place I love

  People around every corner
  Seem to smile and say
  We don't care what your name is, boy
  We'll never turn you away

  So I'll continue to say
  Here I always will stay

  So ferry 'cross the Mersey
  'Cause this land's the place I love
  And here I'll stay
  And here I'll stay
  Here I'll stay
  WRITERS
  Gerrard Marsden
  PUBLISHERS
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 325 of 473 PageID #: 1785
BCG_ID_12022_LF.txt[11/10/23, 10:58:56 AM]
  Lyrics
  I used the dead wood to make the fire rise
  The blood of innocence burning in the skies
  I filled my cup with the rising of the sea
  And poured it out in an ocean of debris


  Oh, I'm swimming in the smoke
  Of bridges I have burned
  So don't apologize
  I'm losing what I don't deserve
  What I don't deserve


  We held our breathe when the clouds began to form
  But you were lost in the beating of the storm
  And in the end, we were made to be apart
  In separate chambers of the human heart


  Oh, I'm swimming in the smoke
  Of bridges I have burned
  So don't apologize
  I'm losing what I don't deserve
  It's in the blackened bones
  Of bridges I have burned
  So don't apologize
  I'm losing what I don't deserve
  What I don't deserve


  I'm swimming in the smoke
  Of bridges I have burned
  So don't apologize
  I'm losing what I don't deserve
  The blame is mine alone
  For bridges I have burned
  So don't apologize
  I'm losing what I don't deserve
  What I don't deserve
  What I don't deserve, oh-whoa
  What I don't deserve


  I used the dead wood to make the fire rise
  The blood of innocence burning in the skies

  WRITERS

  Brad Delson, Chester Charles Bennington, Dave Farrell, Joseph Hahn, Mike Shinoda, Robert G. Bourdon

  PUBLISHERS

             Case 3:23-cv-01092              Document 49-7      75911/16/23
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BCG_ID_12031_LF.txt[11/10/23, 10:58:56 AM]
  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 327 of 473 PageID #: 1787
BCG_ID_12031_LF.txt[11/10/23, 10:58:56 AM]
  Lyrics
  When you were young
  You were the king of carrot flowers
  And how you built a tower tumbling through the trees
  In holy rattlesnakes that fell all around your feet


  And your mom would stick a fork right into daddy's shoulder
  And dad would throw the garbage all across the floor
  As we would lay and learn what each other's bodies were for


  And this is the room
  One afternoon I knew I could love you
  And from above you, how I sank into your soul
  Into that secret place where no one dares to go


  And your mom would drink until she was no longer speaking
  And dad would dream of all the different ways to die
  Each one a little more than he could dare to try

  WRITERS

  Jeff Mangum

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      76111/16/23
                                                             Filed            Page 328 of 473 PageID #: 1788
BCG_ID_12036_LF.txt[11/10/23, 10:58:57 AM]
  Lyrics
  She's got everything she needs, she's an artist
  She don't look back
  She's got everything she needs, she's an artist
  She don't look back
  She can take the dark out of the nighttime
  And paint the daytime black


  You will start out standing
  Proud to steal her anything she sees
  You will start out standing
  Proud to steal her anything she sees
  But you will wind up peeking through her keyhole
  Down upon your knees


  She never stumbles, she's got no place to fall
  She never stumbles, she's got no place to fall
  She's nobody's child, the law can't touch her at all


  She wears an Egyptian ring, it sparkles before she speaks
  She wears an Egyptian ring, it sparkles before she speaks
  She's a hypnotist collector, you are a walking antique


  Bow down to her on Sunday
  Salute her when her birthday comes
  Bow down to her on Sunday
  Salute her when her birthday comes
  For Halloween, buy her a trumpet
  And for Christmas, get her a drum

  WRITERS

  Bob Dylan

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




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                                                             Filed            Page 329 of 473 PageID #: 1789
BCG_ID_12040_LF.txt[11/10/23, 10:58:57 AM]
  Lyrics
  Walk in your rainbow paradise (paradise)
  Strawberry lipstick state of mind (state of mind)
  I get so lost inside your eyes
  Would you believe it?


  You don't have to say you love me
  You don't have to say nothing
  You don't have to say you're mine


  Honey (ah)
  I'd walk through fire for you
  Just let me adore you
  Oh, honey (ah)
  I'd walk through fire for you
  Just let me adore you
  Like it's the only thing I'll ever do
  Like it's the only thing I'll ever do


  You're wonder under summer skies (summer skies)
  Brown skin and lemon over ice
  Would you believe it?


  You don't have to say you love me
  I just wanna tell you somethin'
  Lately you've been on my mind


  Honey (ah)
  I'd walk through fire for you
  Just let me adore you
  Oh, honey (ah)
  I'd walk through fire for you
  Just let me adore you
  Like it's the only thing I'll ever do
  Like it's the only thing I'll ever do


  (It's the only thing I'll ever do)
  (It's the only thing I'll ever do)
  (It's the only thing I'll ever do)
  (It's the only thing I'll ever do)
  (It's the only thing I'll ever do)
  (It's the only thing I'll ever do)
  (It's the only thing I'll ever do)
  (It's the only thing I'll ever do)


  I'd walk through fire for you
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BCG_ID_12072_LF.txt[11/10/23, 10:58:57 AM]
  Just let me adore you
  Oh, honey (ah)
  I'd walk through fire for you
  Just let me adore you
  Like it's the only thing I'll ever do
  (Ah)
  I'd walk through fire for you
  Just let me adore you
  Oh, honey (ah)
  Oh, honey
  I'd walk through fire for you
  Just let me adore you


  (Oh) oh, honey
  (Oh)
  Just let me adore you
  Like it's the only thing I'll ever do

  WRITERS

  Amy Marie Allen, Harry Edward Styles, Thomas Edward Percy Hull, Tyler Sam Johnson

  PUBLISHERS

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                                                             Filed            Page 331 of 473 PageID #: 1791
BCG_ID_12072_LF.txt[11/10/23, 10:58:57 AM]
  Lyrics
  Tastes like strawberries on a summer evenin'
  And it sounds just like a song
  I want more berries and that summer feelin'
  It's so wonderful and warm


  Breathe me in, breathe me out
  I don't know if I could ever go without
  I'm just thinking out loud
  I don't know if I could ever go without


  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar


  Strawberries on a summer evenin'
  Baby, you're the end of June
  I want your belly and that summer feelin'
  Getting washed away in you


  Breathe me in, breathe me out
  I don't know if I could ever go without


  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high


  I just wanna taste it, I just wanna taste it
  Watermelon sugar high


  Tastes like strawberries on a summer evenin'
  And it sounds just like a song
  I want your belly and that summer feelin'
  I don't know if I could ever go without


  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar (sugar) high
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                                                             Filed            Page 332 of 473 PageID #: 1792
BCG_ID_12073_LF.txt[11/10/23, 10:58:57 AM]
  Watermelon sugar high (sugar)
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high
  Watermelon sugar high


  I just wanna taste it, I just wanna taste it
  Watermelon sugar high
  I just wanna taste it, I just wanna taste it
  Watermelon sugar high
  Watermelon sugar

  WRITERS

  Harry Edward Styles, Mitchell Kristopher Rowland, Thomas Edward Percy Hull, Tyler Sam Johnson

  PUBLISHERS

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                                                             Filed            Page 333 of 473 PageID #: 1793
BCG_ID_12073_LF.txt[11/10/23, 10:58:57 AM]
  Lyrics
  Hmm, hmm


  I don't wanna be alone tonight (alone tonight)
  It's pretty clear that I'm not over you (over you, over you)
  I'm still thinking 'bout the things you do (things you do)
  So I don't wanna be alone tonight, alone tonight, alone tonight
  Can you light the fire? (light the fire, light the fire)
  I need somebody who can take control (take control)
  I know exactly what I need to do
  'Cause I don't wanna be alone tonight, alone tonight, alone tonight


  Look what you made me do, I'm with somebody new
  Ooh, baby, baby, I'm dancing with a stranger
  Look what you made me do, I'm with somebody new
  Ooh, baby, baby, I'm dancing with a stranger
  Dancing with a stranger


  I wasn't even goin' out tonight (out tonight)
  But, boy, I need to get you off of my mind (off of my mind)
  I know exactly what I have to do
  I don't wanna be alone tonight, alone tonight, alone tonight


  Look what you made me do, I'm with somebody new
  Ooh, baby, baby, I'm dancing with a stranger
  Look what you made me do, I'm with somebody new
  Ooh, baby, baby, I'm dancing with a stranger
  Dancing with a stranger
  Dancing with a stranger
  Dancing, yeah, ooh


  Look what you made me do (ooh), I'm with somebody new
  Ooh, baby, baby, I'm dancing with a stranger
  Look what you made me do, I'm with somebody new
  Ooh, baby, baby, I'm dancing with a stranger
  I'm dancing, I'm dancing (ooh)
  I'm dancing, I'm dancing (dancing with a stranger)
  I'm dancing, I'm dancing (dancing with a stranger)
  I'm dancing, I'm dancing (dancing with a stranger)

  WRITERS

  James John Napier, Mikkel Storleer Eriksen, Normani Kordei Hamilton, Samuel Frederick Smith, Tor Erik Hermansen

  PUBLISHERS

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                                                             Filed            Page 334 of 473 PageID #: 1794
BCG_ID_12076_LF.txt[11/10/23, 10:58:58 AM]
  Lyrics
  This world can hurt you
  It cuts you deep and leaves a scar
  Things fall apart, but nothing breaks like a heart
  And nothing breaks like a heart


  I heard you on the phone last night
  We live and die by pretty lies
  You know it, oh, we both know it
  These silver bullet cigarettes
  This burning house, there's nothing left
  It's smoking, we both know it
  We got all night to fall in love
  But just like that we fall apart
  We're broken, we're broken


  Mmm, well, nothing, nothing, nothing gon' save us now


  Well, there's broken silence
  By thunder crashing in the dark (crash in the dark)
  And this broken record
  Spin endless circles in the bar (spin 'round in the bar)
  This world can hurt you
  It cuts you deep and leaves a scar
  Things fall apart, but nothing breaks like a heart
  Mmm, and nothing breaks like a heart


  We'll leave each other cold as ice
  And high and dry, the desert wind
  Is blowin', is blowin'
  Remember what you said to me?
  We were drunk in love in Tennessee
  And I hold it, we both know it


  Mmm, that nothing, nothing, nothing gon' save us now
  Nothing, nothing, nothing gon' save us now


  Well, there's broken silence
  By thunder crashing in the dark (crash in the dark)
  And this broken record
  Spin endless circles in the bar (spin 'round in the bar)
  This world can hurt you
  It cuts you deep and leaves a scar
  Things fall apart, but nothing breaks like a heart
  Mmm, and nothing breaks like a heart
  Nothing breaks like a heart
  Mmm, and nothing breaks like a heart
             Case 3:23-cv-01092              Document 49-7      76811/16/23
                                                             Filed            Page 335 of 473 PageID #: 1795
BCG_ID_12078_LF.txt[11/10/23, 10:58:58 AM]
  Nothing, nothing, nothing gon' save us now
  Nothing, nothing, nothing gon' save us now


  Well, there's broken silence
  By thunder crashing in the dark (crash in the dark)
  And this broken record
  Spin endless circles in the bar (spin 'round in the bar)
  This world can hurt you
  It cuts you deep and leaves a scar
  Things fall apart, but nothing breaks like a heart
  Mmm, but nothing breaks like a heart
  But nothing breaks like a heart
  Mmm, but nothing breaks like a heart

  WRITERS

  Clement Picard, Conor Syzmanski, Ilsey Juber, Mark Ronson, Maxime Picard, Miley Cyrus, Thomas Brenneck

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      76911/16/23
                                                             Filed            Page 336 of 473 PageID #: 1796
BCG_ID_12078_LF.txt[11/10/23, 10:58:58 AM]
  Lyrics
  She wants to get married, she wants it perfect
  She wants her grandaddy preaching the service
  Yeah, she wants magnolias out in the country
  Not too many people, save her daddy some money


  Ooh, she got it all planned out
  Yeah, I can see it all right now


  I'll wear my black suit, black tie, hide out in the back
  I'll do a strong shot of whiskey straight out the flask
  I'll try to make it through without crying so nobody sees
  Yeah, she wanna get married
  But she don't wanna marry me


  I remember the night when I almost kissed her
  Yeah, I kinda freaked out, we'd been friends for forever
  And I always wondered if she felt the same way
  When I got the invite, I knew it was too late


  And I know her daddy's been dreading this day
  Oh, but he don't know he ain't the only one giving her away


  I'll wear my black suit, black tie, hide out in the back
  I'll do a strong shot of whiskey straight out the flask
  I'll try to make it through without crying so nobody sees
  Yeah, she wanna get married
  But she don't wanna marry me


  Woah, oh-oh, oh


  Bet she got on her dress now, welcoming the guests now
  I could try to find her, get it off of my chest now
  But I ain't gonna mess it up, so I'll wish her the best now


  So I'm in my black suit, black tie, hiding out in the back
  Doing a strong shot of whiskey straight out the flask
  I'll try to make it through without crying so nobody sees
  Yeah, she wanna get married
  Yeah, she gonna get married
  But she ain't gonna marry me
  Woah, but she ain't gonna marry me, oh

  WRITERS

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                                                             Filed            Page 337 of 473 PageID #: 1797
BCG_ID_12088_LF.txt[11/10/23, 10:58:58 AM]
  Ashley Glenn Gorley, Jesse Frasure, Shane Mcanally, Thomas Rhett Akins

  PUBLISHERS

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                                                             Filed            Page 338 of 473 PageID #: 1798
BCG_ID_12088_LF.txt[11/10/23, 10:58:58 AM]
  Lyrics
  Not tryna be indie
  Not tryna be cool
  Just tryna be in this
  Tell me how you choose
  Can you feel where the wind is
  Can you feel it through
  All of the windows
  Inside this room


  'Cause I wanna touch you, baby
  And I wanna feel you, too
  I wanna see the sunrise and your sins
  Just me and you
  Light it up, on the run
  Let's make love, tonight
  Make it up, fall in love, try


  But you'll never be alone
  I'll be with you from dusk till dawn
  I'll be with you from dusk till dawn
  Baby, I'm right here
  I'll hold you when things go wrong
  I'll be with you from dusk till dawn
  I'll be with you from dusk till dawn
  Baby, I'm right here
  I'll be with you from dusk till dawn
  Baby, I'm right here


  We were shut like a jacket
  So do your zip
  We will roll down the rapids
  To find a wave that fits
  Can you feel where the wind is
  Can you feel it through
  All of the windows
  Inside this room


  'Cause I wanna touch you, baby
  I wanna feel you, too
  I wanna see the sunrise and your sins
  Just me and you
  Light it up, on the run
  Let's make love tonight
  Make it up, fall in love, try


  But you'll never be alone
  I'll be with you from dusk till dawn
             Case 3:23-cv-01092              Document 49-7      77211/16/23
                                                             Filed            Page 339 of 473 PageID #: 1799
BCG_ID_12090_LF.txt[11/10/23, 10:58:59 AM]
  I'll be with you from dusk till dawn
  Baby, I'm right here
  I'll hold you when things go wrong
  I'll be with you from dusk till dawn
  I'll be with you from dusk till dawn
  Baby, I'm right here
  I'll be with you from dusk till dawn
  Baby, I'm right here


  Go, give love to your body
  It's only you that can stop it
  Go, give love to your body
  It's only you that can stop it
  Go, give love to your body
  It's only you that can stop it
  Go, give love to your body
  Go, give love to your body


  But you'll never be alone
  I'll be with you from dusk till dawn
  I'll be with you from dusk till dawn
  Baby, I'm right here
  I'll hold you when things go wrong
  I'll be with you from dusk till dawn
  I'll be with you from dusk till dawn
  Baby, I'm right here
  I'll be with you from dusk till dawn
  Baby, I'm right here
  I'll be with you from dusk till dawn
  Baby, I'm right here

  WRITERS

  Alex Oriet, David Phelan, Greg Kurstin, Sia Furler, Zain Javadd Malik

  PUBLISHERS

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  Kobalt Music Publishing Ltd.




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                                                             Filed            Page 340 of 473 PageID #: 1800
BCG_ID_12090_LF.txt[11/10/23, 10:58:59 AM]
  Lyrics
  Baby, lay on back and relax
  Kick your pretty feet up on my dash
  No need to go nowhere fast
  Let's enjoy right here where we at
  Who knows where this road is supposed to lead
  We got nothing but time
  As long as you're right here next to me
  Everything's gonna be alright


  If it's meant to be, it'll be, it'll be
  Baby, just let it be
  If it's meant to be, it'll be, it'll be
  Baby, just let it be
  So, won't you ride with me, ride with me?
  See where this thing goes
  If it's meant to be, it'll be, it'll be
  Baby, if it's meant to be


  I don't mean to be so uptight
  But my heart's been hurt a couple times
  By a couple guys that didn't treat me right
  I ain't gonna lie, ain't gonna lie
  'Cause I'm tired of the fake love, show me what you're made of
  Boy, make me believe
  Whoa, hold up, girl, don't you know you're beautiful?
  And it's easy to see


  If it's meant to be, it'll be, it'll be
  Baby, just let it be
  If it's meant to be, it'll be, it'll be
  Baby, just let it be
  So, won't you ride with me, ride with me?
  See where this thing goes
  If it's meant to be, it'll be, it'll be
  Baby, if it's meant to be


  So, come on, ride with me, ride with me
  See where this thing goes
  So, come on, ride with me, ride with me
  Baby, if it's meant to be


  Maybe we do
  Maybe we don't
  Maybe we will
  Maybe we won't


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                                                             Filed            Page 341 of 473 PageID #: 1801
BCG_ID_12091_LF.txt[11/10/23, 10:58:59 AM]
  But if it's meant to be, it'll be, it'll be
  Baby, just let it be (sing it, Bebe)
  If it's meant to be, it'll be, it'll be (come on)
  Baby, just let it be (let's go)
  So, won't you ride with me, ride with me?
  See where this thing goes
  If it's meant to be, it'll be, it'll be
  Baby, if it's meant to be (yeah)


  If it's meant to be, it'll be, it'll be
  Baby, if it's meant to be
  If it's meant to be, it'll be, it'll be
  Baby, if it's meant to be (mm)

  WRITERS

  Bleta Bebe Rexha, Joshua O. Miller, David Arthur Garcia, Tyler Reed Hubbard

  PUBLISHERS

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                                                             Filed            Page 342 of 473 PageID #: 1802
BCG_ID_12091_LF.txt[11/10/23, 10:58:59 AM]
  Lyrics
  You know there's a light that glows by the front door
  Don't forget the keys under the mat
  Childhood stars shine, always stay humble and kind
  Go to church 'cause your momma says to
  Visit grandpa every chance that you can
  It won't be wasted of time
  Always stay humble and kind


  Hold the door, say please, say thank you
  Don't steal, don't cheat, and don't lie
  I know you got mountains to climb but
  Always stay humble and kind
  When the dreams you're dreamin' come to you
  When the work you put in is realized
  Let yourself feel the pride but
  Always stay humble and kind


  Don't expect a free ride from no one
  Don't hold a grudge or a chip and here's why
  Bitterness keeps you from flying
  Always stay humble and kind
  Know the difference between sleeping with someone
  And sleeping with someone you love
  I love you ain't no pick up line so
  Always stay humble and kind


  Hold the door, say please, say thank you
  Don't steal, don't cheat, and don't lie
  I know you got moutains to climb but
  Always stay humble and kind
  When those dreams you're dreamin' come to you
  When the work you put in is realized
  Let yourself feel the pride but
  Always stay humble and kind


  When it's hot, eat a root beer popsicle
  Shut off the AC and roll the windows down
  Let that summer sun shine
  Always stay humble and kind
  Don't take for granted the love this life gives you
  When you get where you're goin'
  Don't forget turn back around
  And help the next one in line
  Always stay humble and kind

  WRITERS

  Lori Mckenna
             Case 3:23-cv-01092              Document 49-7      77611/16/23
                                                             Filed            Page 343 of 473 PageID #: 1803
BCG_ID_12102_LF.txt[11/10/23, 10:58:59 AM]
  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      77711/16/23
                                                             Filed            Page 344 of 473 PageID #: 1804
BCG_ID_12102_LF.txt[11/10/23, 10:58:59 AM]
  Lyrics
  This hit, that ice cold
  Michelle Pfeiffer, that white gold
  This one for them hood girls
  Them good girls straight masterpieces
  Stylin', wilin', livin' it up in the city
  Got Chucks on with Saint Laurent
  Gotta kiss myself, I'm so pretty


  I'm too hot (hot damn)
  Call the police and the fireman
  I'm too hot (hot damn)
  Make a dragon wanna retire man
  I'm too hot (hot damn)
  Say my name you know who I am
  I'm too hot (hot damn)
  And my band 'bout that money, break it down


  Girls hit your hallelujah (whoo)
  Girls hit your hallelujah (whoo)
  Girls hit your hallelujah (whoo)
  'Cause uptown funk gon' give it to you
  'Cause uptown funk gon' give it to you
  'Cause uptown funk gon' give it to you
  Saturday night and we in the spot
  Don't believe me just watch (come on)


  Don't believe me just watch uh


  Don't believe me just watch
  Don't believe me just watch
  Don't believe me just watch
  Don't believe me just watch
  Hey, hey, hey, oh


  Stop, wait a minute
  Fill my cup, put some liquor in it
  Take a sip, sign a check
  Julio, get the stretch
  Ride to Harlem, Hollywood
  Jackson, Mississippi
  If we show up, we gon' show out
  Smoother than a fresh jar of Skippy


  I'm too hot (hot damn)
  Call the police and the fireman
  I'm too hot (hot damn)
             Case 3:23-cv-01092              Document 49-7      77811/16/23
                                                             Filed            Page 345 of 473 PageID #: 1805
BCG_ID_12108_LF.txt[11/10/23, 10:59:00 AM]
  Make a dragon wanna retire man
  I'm too hot (hot damn)
  Bitch say my name you know who I am
  I'm too hot (hot damn)
  And my band 'bout that money
  Break it down


  Girls hit your hallelujah (whoo)
  Girls hit your hallelujah (whoo)
  Girls hit your hallelujah (whoo)
  'Cause uptown funk gon' give it to you
  'Cause uptown funk gon' give it to you
  'Cause uptown funk gon' give it to you
  Saturday night and we in the spot
  Don't believe me just watch (come on)


  Don't believe me just watch uh


  Don't believe me just watch uh
  Don't believe me just watch uh
  Don't believe me just watch
  Don't believe me just watch
  Hey, hey, hey, oh


  Before we leave
  Lemme tell y'all a lil' something
  Uptown funk you up
  Uptown funk you up
  Uptown funk you up
  Uptown funk you up uh
  I said uptown funk you up
  Uptown funk you up
  Uptown funk you up
  Uptown funk you up


  Come on, dance, jump on it
  If you sexy then flaunt it
  If you freaky then own it
  Don't brag about it, come show me


  Come on, dance
  Jump on it
  If you sexy then flaunt it
  Well it's Saturday night and we in the spot
  Don't believe me just watch come on!


  Don't believe me just watch uh
           Case 3:23-cv-01092                Document 49-7      77911/16/23
                                                             Filed            Page 346 of 473 PageID #: 1806
BCG_ID_12108_LF.txt[11/10/23, 10:59:00 AM]
  Don't believe me just watch uh
  Don't believe me just watch uh
  Don't believe me just watch
  Don't believe me just watch
  Hey, hey, hey, oh


  Uptown (woo) funk you up (come on)
  Uptown funk you up (say what?)
  Uptown funk you up
  Uptown funk you up (come on)
  Uptown (woo) funk you up (come on)
  Uptown funk you up (say what?)
  Uptown funk you up
  Uptown funk you up (come on)
  Uptown (woo) funk you up (come on)
  Uptown funk you up (say what?)
  Uptown funk you up
  Uptown funk you up (come on)
  Uptown funk you up
  Uptown funk you up (say what?)
  Uptown funk you up

  WRITERS

  Charles Wilson, Devon Gallaspy, Jeffrey Bhasker, Lonnie Simmons, Mark Ronson, Nicholaus Williams, Peter
  Hernandez, Philip Lawrence, Robert Wilson, Ronnie Wilson, Rudy Taylor

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      78011/16/23
                                                             Filed            Page 347 of 473 PageID #: 1807
BCG_ID_12108_LF.txt[11/10/23, 10:59:00 AM]
  Lyrics
  Some legends are told
  Some turn to dust or to gold
  But you will remember me
  Remember me for centuries
  And just one mistake
  Is all it will take
  We'll go down in history
  Remember me for centuries
  (Hey yeah, oh hey, hey yeah)
  Remember me for centuries


  Mummified my teenage dreams
  No, it's nothing wrong with me
  The kids are all wrong
  The stories are off
  Heavy metal broke my heart


  Come on, come on and let me in
  The bruises on your thighs like my fingerprints
  And this is supposed to match
  The darkness that you felt
  I never meant for you to fix yourself


  Some legends are told
  Some turn to dust or to gold
  But you will remember me
  Remember me for centuries
  And just one mistake
  Is all it will take
  We'll go down in history
  Remember me for centuries
  (Hey yeah, oh hey, hey yeah)
  Remember me for centuries


  And I can't stop 'til the whole world knows my name
  'Cause I was only born inside my dreams
  Until you die for me, as long as there's a light
  My shadow's over you 'cause I-I am the opposite of amnesia
  And you're a cherry blossom
  You're about to bloom
  You look so pretty, but you're gone so soon


  Some legends are told
  Some turn to dust or to gold
  But you will remember me
  Remember me for centuries
  And just one mistake
             Case 3:23-cv-01092              Document 49-7      78111/16/23
                                                             Filed            Page 348 of 473 PageID #: 1808
BCG_ID_12110_LF.txt[11/10/23, 10:59:00 AM]
  Is all it will take
  We'll go down in history
  Remember me for centuries
  (Hey yeah, oh hey, hey yeah)
  Remember me for centuries


  We've been here forever
  And here's the frozen proof
  I could scream forever
  We are the poisoned youth


  Some legends are told
  Some turn to dust or to gold
  But you will remember me
  Remember me for centuries
  And just one mistake
  Is all it will take
  We'll go down in history
  Remember me for centuries
  (Hey yeah, oh hey)
  We'll go down in history (hey yeah)
  Remember me for centuries

  WRITERS

  Andy Hurley, Joe Trohman, Jonathan Rotem, Justin Tranter, Michael Fonseca, Patrick Stump, Raja Kumari, Suzanne
  Vega, Peter Wentz

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             Case 3:23-cv-01092              Document 49-7      78211/16/23
                                                             Filed            Page 349 of 473 PageID #: 1809
BCG_ID_12110_LF.txt[11/10/23, 10:59:00 AM]
  Lyrics
  I miss the taste of a sweeter life
  I miss the conversation
  I'm searching for a song tonight
  I'm changing all of the stations
  I like to think that we had it all
  We drew a map to a better place
  But on that road I took a fall
  Oh baby, why did you run away?


  I was there for you
  In your darkest times
  I was there for you
  In your darkest nights


  But I wonder, where were you?
  When I was at my worst
  Down on my knees
  And you said you had my back
  So I wonder, where were you?
  All the roads you took came back to me
  So I'm following the map that leads to you


  The map that leads to you
  Ain't nothing I can do
  The map that leads to you
  Following, following, following to you
  The map that leads to you
  Ain't nothing I can do
  The map that leads to you
  Following, following, following


  I hear your voice in my sleep at night
  Hard to resist temptation
  Because something strange has come over me
  Now I can't get over you
  No, I just can't get over you, ooh


  I was there for you
  In your darkest times
  I was there for you
  In your darkest nights


  But I wonder, where were you?
  When I was at my worst
  Down on my knees
  And you said you had my back
             Case 3:23-cv-01092              Document 49-7      78311/16/23
                                                             Filed            Page 350 of 473 PageID #: 1810
BCG_ID_12111_LF.txt[11/10/23, 10:59:00 AM]
  So I wonder, where were you?
  All the roads you took came back to me
  So I'm following the map that leads to you


  The map that leads to you
  Ain't nothing I can do
  The map that leads to you
  Following, following, following to you
  The map that leads to you
  Ain't nothing I can do
  The map that leads to you


  Oh, oh, oh, ah
  Oh, oh, oh, ah
  Yeah, yeah, yeah, ah
  Oh, oh, mmm, ah


  Oh, I was there for you
  Oh, in your darkest times
  Oh, I was there for you
  Oh, in your darkest nights


  Oh, I was there for you
  Oh, in your darkest times
  Oh, I was there for you
  Oh, in your darkest nights


  But I wonder, where were you?
  When I was at my worst
  Down on my knees
  And you said you had my back
  So I wonder, where were you?
  All the roads you took came back to me
  So I'm following the map that leads to you
  The map that leads to you
  Ain't nothing I can do
  The map that leads to you
  Following, following, following to you
  The map that leads to you
  Ain't nothing I can do
  The map that leads to you
  Following, following, following

  WRITERS

  Benjamin Levin, Adam Noah Levine, Ammar Malik, Ryan Benjamin Tedder, Noel Patrick Zancanella

  PUBLISHERS

             Case 3:23-cv-01092              Document 49-7      78411/16/23
                                                             Filed            Page 351 of 473 PageID #: 1811
BCG_ID_12111_LF.txt[11/10/23, 10:59:00 AM]
  Lyrics © Universal Music Publishing Group, CONCORD MUSIC PUBLISHING LLC, Downtown Music Publishing,
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             Case 3:23-cv-01092              Document 49-7      78511/16/23
                                                             Filed            Page 352 of 473 PageID #: 1812
BCG_ID_12111_LF.txt[11/10/23, 10:59:00 AM]
  Lyrics
  All I need's a little love in my life
  All I need's a little love in the dark
  A little but I'm hoping it might kick start
  Me and my broken heart
  I need a little loving tonight
  Hold me so I'm not falling apart
  A little but I'm hoping it might kick start
  Me and my broken heart


  Yeah


  Shotgun, aimed at my heart, you got one
  Tear me apart in this song
  How do we call this love
  I tried, to run away but your eyes (woah-oh-oh-oh)
  Tell me to stay, oh why
  Why do we call this love? (Woah-oh-oh-oh)


  It seems like we've been losing control
  Somebody tell me I'm not alone
  When I say


  All I need's a little love in my life
  All I need's a little love in the dark
  A little but I'm hoping it might kick start
  Me and my broken heart
  I need a little loving tonight
  Hold me so I'm not falling apart
  A little but I'm hoping it might kick start
  Me and my broken heart


  Uh, maybe some part of you just hates me
  You pick me up and play me
  How do we call this love? (Woah-oh-oh-oh)
  One time tell me you need me tonight
  To make it easy, you lie
  And say it's all for love (woah-oh-oh-oh)


  It seems like we've been losing control
  Somebody tell me I'm not alone
  When I say


  All I need's a little love in my life
  All I need's a little love in the dark
  A little but I'm hoping it might kick start
             Case 3:23-cv-01092              Document 49-7      78611/16/23
                                                             Filed            Page 353 of 473 PageID #: 1813
BCG_ID_12113_LF.txt[11/10/23, 10:59:01 AM]
  Me and my broken heart
  I need a little loving tonight
  Hold me so I'm not falling apart
  A little but I'm hoping it might kick start
  Me and my broken heart


  Me and my broken heart
  Me and my broken
  Yeah, yeah, yeah


  It's just me
  It's just me
  It's just me
  Me and my broken heart


  All I need's a little love in my life (baby)
  All I need's a little love in the dark
  A little but I'm hoping it might kick start
  Me and my broken heart
  I need a little loving tonight
  Hold me so I'm not falling apart
  A little but I'm hoping it might kick start
  Me and my broken heart

  WRITERS

  Robert Thomas, Wayne Hector, Benjamin Levin, Steve Mac, Ammar Malik

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      78711/16/23
                                                             Filed            Page 354 of 473 PageID #: 1814
BCG_ID_12113_LF.txt[11/10/23, 10:59:01 AM]
  Lyrics
  I used to bite my tongue and hold my breath
  Scared to rock the boat and make a mess
  So I sat quietly, agreed politely
  I guess that I forgot I had a choice
  I let you push me past the breaking point
  I stood for nothing, so I fell for everything


  You held me down, but I got up (hey)
  Already brushing off the dust
  You hear my voice, you hear that sound
  Like thunder, gonna shake the ground
  You held me down, but I got up (hey)
  Get ready 'cause I've had enough
  I see it all, I see it now


  I got the eye of the tiger, a fighter
  Dancing through the fire
  'Cause I am a champion, and you're gonna hear me roar
  Louder, louder than a lion
  'Cause I am a champion, and you're gonna hear me roar


  Oh-oh-oh-oh-oh
  Oh-oh-oh-oh-oh
  Oh-oh-oh-oh-oh
  You're gonna hear me roar


  Now I'm floatin' like a butterfly
  Stinging like a bee, I earned my stripes
  I went from zero, to my own hero


  You held me down, but I got up (hey)
  Already brushing off the dust
  You hear my voice, you hear that sound
  Like thunder, gonna shake the ground
  You held me down, but I got up (hey)
  Get ready 'cause I've had enough
  I see it all, I see it now


  I got the eye of the tiger, a fighter
  Dancing through the fire
  'Cause I am a champion, and you're gonna hear me roar
  Louder, louder than a lion
  'Cause I am a champion, and you're gonna hear me roar


  Oh-oh-oh-oh-oh
             Case 3:23-cv-01092              Document 49-7      78811/16/23
                                                             Filed            Page 355 of 473 PageID #: 1815
BCG_ID_12114_LF.txt[11/10/23, 10:59:01 AM]
  Oh-oh-oh-oh-oh
  Oh-oh-oh-oh-oh
  You're gonna hear me roar


  Oh-oh-oh-oh-oh
  Oh-oh-oh-oh-oh (you'll hear me roar)
  Oh-oh-oh-oh-oh
  You're gonna hear me roar


  Roar, roar, roar, roar, roar


  I got the eye of the tiger, a fighter
  Dancing through the fire
  'Cause I am a champion, and you're gonna hear me roar
  Louder, louder than a lion
  'Cause I am a champion, and you're gonna hear me roar


  Oh-oh-oh-oh-oh
  Oh-oh-oh-oh-oh (yeah)
  Oh-oh-oh-oh-oh
  You're gonna hear me roar


  Oh-oh-oh-oh-oh
  Oh-oh-oh-oh-oh (you'll hear me roar)
  Oh-oh-oh-oh-oh
  You're gonna hear me roar

  WRITERS

  Lukasz Gottwald, Max Martin, Bonnie Leigh McKee, Katy Perry, Henry Walter

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      78911/16/23
                                                             Filed            Page 356 of 473 PageID #: 1816
BCG_ID_12114_LF.txt[11/10/23, 10:59:01 AM]
  Lyrics
  I hear your heart beat to the beat of the drums
  Oh, what a shame that you came here with someone
  So while you're here in my arms
  Let's make the most of the night like we're gonna die young
  We're gonna die young
  We're gonna die young
  Let's make the most of the night like we're gonna die young


  Let's make the most of the night like we're gonna die young


  Young hearts, out our minds
  Runnin' till we outta time
  Wild childs, lookin' good
  Livin' hard just like we should
  Don't care whose watching when we tearing it up (you know)
  That magic that we got nobody can touch (for sure)


  Looking for some trouble tonight (yeah)
  Take my hand, I'll show you the wild side
  Like it's the last night of our lives (uh huh)
  We'll keep dancing till we die


  I hear your heart beat to the beat of the drums
  Oh, what a shame that you came here with someone
  So while you're here in my arms
  Let's make the most of the night like we're gonna die young
  We're gonna die young
  We're gonna die young
  Let's make the most of the night like we're gonna die young


  Let's make the most of the night like we're gonna die


  Young hunks, taking shots
  Stripping down to dirty socks
  Music up, gettin' hot
  Kiss me, give me all you've got
  It's pretty obvious that you've got a crush (you know)
  That magic in your pants, it's making me blush (for sure)


  Looking for some trouble tonight (yeah)
  Take my hand I'll show you the wild side
  Like it's the last night of our lives (uh huh)
  We'll keep dancing till we die (till we die)


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                                                             Filed            Page 357 of 473 PageID #: 1817
BCG_ID_12116_LF.txt[11/10/23, 10:59:02 AM]
  I hear your heart beat to the beat of the drums
  Oh, what a shame that you came here with someone
  So while you're here in my arms,
  Let's make the most of the night like we're gonna die young


  I hear your heart beat to the beat of the drums
  Oh, what a shame that you came here with someone
  So while you're here in my arms
  Let's make the most of the night like we're gonna die young
  We're gonna die young
  We're gonna die young
  Let's make the most of the night like we're gonna die young

  WRITERS

  Lukasz Gottwald, Benjamin Levin, Nathaniel Joseph Ruess, Kesha Sebert, Henry Russell Walter

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      79111/16/23
                                                             Filed            Page 358 of 473 PageID #: 1818
BCG_ID_12116_LF.txt[11/10/23, 10:59:02 AM]
  Lyrics
  Shine bright like a diamond
  Shine bright like a diamond


  Find light in the beautiful sea, I choose to be happy
  You and I, you and I, we're like diamonds in the sky
  You're a shooting star I see, a vision of ecstasy
  When you hold me, I'm alive
  We're like diamonds in the sky


  I knew that we'd become one right away
  Oh, right away
  At first sight I felt the energy of sun rays
  I saw the life inside your eyes


  So shine bright tonight
  You and I
  We're beautiful like diamonds in the sky
  Eye to eye
  So alive
  We're beautiful like diamonds in the sky


  Shine bright like a diamond
  Shine bright like a diamond
  Shining bright like a diamond
  We're beautiful like diamonds in the sky


  Shine bright like a diamond
  Shine bright like a diamond
  Shining bright like a diamond
  We're beautiful like diamonds in the sky


  Palms rise to the universe, as we moonshine and molly
  Feel the warmth, we'll never die
  We're like diamonds in the sky


  You're a shooting star I see, a vision of ecstasy
  When you hold me, I'm alive
  We're like diamonds in the sky
  At first sight I felt the energy of sun rays
  I saw the life inside your eyes


  So shine bright
  Tonight
  You and I
             Case 3:23-cv-01092              Document 49-7      79211/16/23
                                                             Filed            Page 359 of 473 PageID #: 1819
BCG_ID_12117_LF.txt[11/10/23, 10:59:02 AM]
  We're beautiful like diamonds in the sky
  Eye to eye
  So alive
  We're beautiful like diamonds in the sky


  Shine bright like a diamond
  Shine bright like a diamond
  Shining bright like a diamond
  We're beautiful like diamonds in the sky


  Shine bright like a diamond
  Shine bright like a diamond
  Shining bright like a diamond
  We're beautiful like diamonds in the sky


  Shine bright like a diamond
  Shine bright like a diamond
  Shine bright like a diamond


  So shine bright
  Tonight
  You and I
  We're beautiful like diamonds in the sky
  Eye to eye
  So alive
  We're beautiful like diamonds in the sky


  Shine bright like a diamond
  Shine bright like a diamond
  Shine bright like a diamond, oh yeah


  Shine bright like a diamond
  Shine bright like a diamond
  Shine bright like a diamond


  Shine bright like a diamond

  WRITERS

  Sia Furler, Mikkel Eriksen, Tor Hermansen, Benjamin Levine

  PUBLISHERS

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                                                             Filed            Page 360 of 473 PageID #: 1820
BCG_ID_12117_LF.txt[11/10/23, 10:59:02 AM]
  Lyrics
  I'm at a payphone trying to call home
  All of my change I spent on you
  Where have the times gone, baby it's all wrong
  Where are the plans we made for two


  Yeah, I, I know it's hard to remember
  The people we used to be
  It's even harder to picture
  That you're not here next to me


  You say it's too late to make it
  But is it too late to try
  And in our time that you wasted
  All of our bridges burned down


  I've wasted my nights
  You turned out the lights
  Now I'm paralyzed
  Still stuck in that time
  When we called it love
  But even the sun sets in paradise


  I'm at a payphone trying to call home
  All of my change I spent on you
  Where have the times gone, baby it's all wrong
  Where are the plans we made for two


  If Happy Ever Afters did exist
  I would still be holding you like this
  All those fairy tales are full of shit
  One more fucking love song, I'll be sick


  Oh, you turned your back on tomorrow
  'Cause you forgot yesterday
  I gave you my love to borrow
  But you just gave it away


  You can't expect me to be fine
  I don't expect you to care
  I know I've said it before
  But all of our bridges burned down


  I've wasted my nights
  You turned out the lights
             Case 3:23-cv-01092              Document 49-7      79411/16/23
                                                             Filed            Page 361 of 473 PageID #: 1821
BCG_ID_12118_LF.txt[11/10/23, 10:59:02 AM]
  Now I'm paralyzed
  Still stuck in that time
  When we called it love
  But even the sun sets in paradise


  I'm at a payphone trying to call home
  All of my change I spent on you
  Where have the times gone, baby it's all wrong
  Where are the plans we made for two?


  If Happy Ever Afters did exist
  I would still be holding you like this
  All those fairy tales are full of shit
  One more fucking love song, I'll be sick
  Now I'm at a payphone


  Man, fuck that shit
  I'll be out spending all this money
  While you're sitting round wondering
  Why it wasn't you who came up from nothing
  Made it from the bottom
  Now when you see me I'm stunting
  And all of my cars start with a push of a button


  Telling me the chances I blew up
  Or whatever you call it
  Switch the number to my phone
  So you never could call it
  Don't need my name on my show
  You can tell it I'm ballin'


  Swish, what a shame could have got picked
  Had a really good game but you missed your last shot
  So you talk about who you see at the top
  Or what you could have saw but sad to say it's over for
  Phantom pulled up valet open doors
  Wished I'd go away, got what you was looking for
  Now it's me who they want, so you can go and take
  That little piece of shit with you


  I'm at a payphone trying to call home
  All of my change I spent on you
  Where have the times gone, baby it's all wrong
  Where are the plans we made for two


  If Happy Ever Afters did exist
  I would still be holding you like this
           Case 3:23-cv-01092 Document 49-7                    79511/16/23
                                                            Filed            Page 362 of 473 PageID #: 1822
BCG_ID_12118_LF.txt[11/10/23, 10:59:02 AM]
  All those fairy tales are full of shit
  One more fucking love song, I'll be sick
  Now I'm at a payphone

  WRITERS

  Benjamin Levin, Adam Noah Levine, Ammar Malik, Daniel Omelio, Johan Karl Schuster, Cameron Jibril Thomaz

  PUBLISHERS

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BCG_ID_12118_LF.txt[11/10/23, 10:59:02 AM]
  Lyrics
  My heart's a stereo
  It beats for you, so listen close
  Hear my thoughts in every note
  Make me your radio (yeah)
  And turn me up when you feel low (turn it up a little bit)
  This melody was meant for you (yeah, right there)
  Just sing along to my stereo
  (Gym Class Heroes, baby)


  If I was just another dusty record on the shelf
  Would you blow me off and play me like everybody else?
  If I ask you to scratch my back, could you manage that?
  Like ye-yeah, chicka, Travie, I can handle that
  Furthermore, I apologize for any skipping tracks
  It's just the last girl that played me left a couple cracks
  I used to, used to, used to, used to, now I'm over that
  'Cause holding grudges over love is ancient artifacts


  If I could only find a note to make you understand
  I'd sing it softly in your ear and grab you by the hand
  Just keep me stuck inside your head like your favorite tune
  And know my heart's a stereo that only plays for you


  My heart's a stereo
  It beats for you, so listen close
  Hear my thoughts in every note (yeah, yeah, yeah, come on)
  Make me your radio (uh-huh)
  And turn me up when you feel low (turn it up)
  This melody was meant for you
  Just sing along to my stereo


  Oh, oh, oh, oh
  Oh, to my stereo
  Oh, oh, oh
  So sing along to my stereo
  Let's go


  If I was an old-school, fifty-pound boombox (remember them?)
  Would you hold me on your shoulder, wherever you walk?
  Would you turn my volume up in front of the cops? (Turn it up)
  And crank it higher every time they told you to stop
  And all I ask is that you don't get mad at me (mad at me)
  When you have to purchase mad D batteries (batteries)
  Appreciate every mixtape your friends make (friends make)
  You never know, we come and go like on the interstate (never know)


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BCG_ID_12120_LF.txt[11/10/23, 10:59:03 AM]
  I think finally found a note to make you understand
  If you can hit it, sing along and take me by the hand
  Just keep me stuck inside your head like your favorite tune
  And know my heart's a stereo that only plays for you


  My heart's a stereo (yeah)
  It beats for you, so listen close (listen)
  Hear my thoughts in every note (oh, oh)
  Make me your radio (come on)
  And turn me up when you feel low (turn it up)
  This melody was meant for you
  Just sing along to my stereo (just sing along, like)


  Oh, oh, oh, oh
  Oh, to my stereo
  Oh, oh, oh
  So sing along to my stereo (sing along, sing along)


  I only pray you'll never leave me behind (never leave me)
  Because good music can be so hard to find (so hard to find)
  I take your hand and pull it closer to mine (yeah)
  Thought love was dead, but now you're changing my mind (yeah, yeah, come on, woo)


  My heart's a stereo (yeah)
  It beats for you, so listen close
  Hear my thoughts in every note (oh, oh, oh)
  Make me your radio (uh-huh)
  And turn me up when you feel low (turn it up)
  This melody was meant for you
  Just sing along to my stereo


  Oh, oh, oh, oh
  Oh, to my stereo
  Oh, oh, oh (it's your boy, Travie)
  (Gym Class Heroes, baby)
  So sing along to my stereo (yeah)

  WRITERS

  Eric Roberts, Travis L. McCoy, Brandon Lowry, Ammar Malik, Adam Noah Levine, Benjamin Joseph Levin, Daniel
  Thomas Omelio, Disashi Lumumba-Kasongo, Matthew McGinley

  PUBLISHERS

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BCG_ID_12120_LF.txt[11/10/23, 10:59:03 AM]
  Lyrics
  Oh
  Oh


  Just shoot for the stars if it feels right
  And aim for my heart if you feel like it
  Take me away and make it okay
  I swear I'll behave


  You wanted control so we waited
  I put on a show now we're naked
  You say I'm a kid, my ego is big
  I don't give a shit
  And it goes like this


  Take me by the tongue and I'll know you
  Uh, kiss me 'til you're drunk and I'll show you
  All the moves like Jagger
  I've got the moves like Jagger
  I've got the moves like Jagger


  Uh, I don't need to try to control you
  Uh, look into my eyes and I'll own you
  With them moves like Jagger
  I've got the moves like Jagger
  I've got the moves like Jagger


  Baby it's hard when you feel like
  You're broken and scarred
  Nothing feels right, but when you're with me
  I make you believe that I've got the key


  Oh, so get in the car we can ride it
  Wherever you want get inside it
  And you want to steer, but I'm shifting gear
  I'll take it from here
  Oh yeah yeah, and it goes like this


  Take me by the tongue and I'll know you
  Uh, kiss me 'til you're drunk and I'll show you
  All the moves like Jagger
  I've got the moves like Jagger
  I've got the moves like Jagger (ooh)


  Uh, I don't need to try to control you (oh yeah)
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BCG_ID_12121_LF.txt[11/10/23, 10:59:03 AM]
  Uh, look into my eyes and I'll own you
  With them moves like Jagger
  I've got the moves like Jagger (yeah)
  I've got the moves like Jagger (yeah, yeah)


  Uh, you want to know how to make me smile
  Take control, own me just for the night
  But if I share my secret
  You're gonna have to keep it
  Nobody else can see this, ah


  So watch and learn
  I won't show you twice
  Head to toe, ooh baby, rub me right, yeah
  But if I share my secret
  You're gonna have to keep it
  Nobody else can see this, eh, yeah yeah yeah


  And it goes like this
  Uh, kiss me 'til you're drunk and I'll show you (take me by the tongue)
  Kiss me 'til you're drunk and I'll show you (eh, yeah)
  All the moves like Jagger
  I've got the moves like Jagger
  I've got the moves like Jagger (ah, yeah)


  Uh, I don't need to try to control you (yeah, ooh)
  Uh, look into my eyes and I'll own you (oh-oh)
  With them moves like Jagger
  I've got the moves like Jagger
  I've got the moves like Jagger

  WRITERS

  Benjamin Joseph Levin, Adam Levine, Ammar Malik, Johan Karl Schuster

  PUBLISHERS

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BCG_ID_12121_LF.txt[11/10/23, 10:59:03 AM]
  Lyrics
  It's been said and done
  Every beautiful thought's been already sung
  And I guess right now, here's another one
  So your melody will play on and on, with the best of 'em
  You are beautiful, like a dream come alive, incredible
  A centerfold miracle, lyrical
  You saved my life again
  And I want you to know, baby


  I, I love you like a love song, baby
  I, I love you like a love song, baby
  I, I love you like a love song, baby
  And I keep hitting repeat-peat-peat-peat-peat-peat (oh)
  I, I love you like a love song, baby (oh
  I, I love you like a love song, baby (oh)
  I, I love you like a love song, baby (oh)
  And I keep hitting repeat-peat-peat-peat-peat-peat


  Constantly, boy you played through my mind like a symphony
  There's no way to describe what you do to me
  You just do to me, what you do
  And it feels like I've been rescued
  I've been set free, I am hypnotized by your destiny
  You are magical, lyrical, beautiful
  You are, and I want you to know, baby


  I, I love you like a love song, baby
  I, I love you like a love song, baby
  I, I love you like a love song, baby
  And I keep hitting repeat-peat-peat-peat-peat-peat (oh)
  I, I love you like a love song, baby
  I, I love you like a love song, baby
  I, I love you like a love song, baby (I love you, I love you, like a love song)
  And I keep hitting repeat-peat-peat-peat-peat-peat


  No one compares
  You stand alone, to every record I own
  Music to my heart that's what you are
  A song that goes on and on


  I, I love you like a love song, baby
  I, I love you like a love song, baby (I love you, I love you)
  I, I love you like a love song, baby (like a love song, like a love song)
  And I keep hitting repeat-peat-peat-peat-peat-peat
  I, I love you like a love song, baby (I love you, love song, baby)
  I, I love you like a love song, baby (I love you, love song, baby)
  I, I love you like a love song, baby (I love you, I love you)
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                                                             Filed              Page 368 of 473 PageID #: 1828
BCG_ID_12122_LF.txt[11/10/23, 10:59:03 AM]
  Like a love song

  WRITERS

  Adam Schmalholz, Antonina Armato, Timothy James

  PUBLISHERS

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BCG_ID_12122_LF.txt[11/10/23, 10:59:03 AM]
  Lyrics
  Easy come, easy go, that's just how you live, oh
  Take, take, take it all, but you never give
  Shoulda known you was trouble from the first kiss
  Had your eyes wide open
  Why were they open? (Ooh-ooh)


  Gave you all I had and you tossed it in the trash (ooh-ooh)
  You tossed it in the trash, you did (ooh-ooh)
  To give me all your love is all I ever ask
  'Cause what you don't understand is


  I'd catch a grenade for ya (yeah, yeah, yeah)
  Throw my hand on a blade for ya (yeah, yeah, yeah)
  I'd jump in front of a train for ya (yeah, yeah, yeah)
  You know I'd do anything for ya (yeah, yeah, yeah)


  Oh, oh, I would go through all this pain
  Take a bullet straight through my brain
  Yes, I would die for ya, baby
  But you won't do the same


  No, no, no, no-oh
  Uh


  Black, black, black and blue
  Beat me 'til I'm numb
  Tell the devil I said "Hey" when you get back to where you're from
  Mad woman, bad woman
  That's just what you are
  Yeah, you'll smile in my face then rip the brakes out my car (ooh-ooh)


  Gave you all I had and you tossed it in the trash (ooh-ooh)
  You tossed it in the trash, yes, you did (ooh-ooh)
  To give me all your love is all I ever ask
  'Cause what you don't understand is


  I'd catch a grenade for ya (yeah, yeah, yeah)
  Throw my hand on a blade for ya (yeah, yeah, yeah)
  I'd jump in front of a train for ya (yeah, yeah, yeah)
  You know I'd do anything for ya (yeah, yeah, yeah)


  Oh oh, I would go through all this pain
  Take a bullet straight through my brain
  Yes, I would die for ya, baby
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BCG_ID_12124_LF.txt[11/10/23, 10:59:04 AM]
  But you won't do the same


  (No) if my body was on fire
  (No) ooh, you'd watch me burn down in flames
  (No) you said you loved me, you're a liar
  'Cause you never, ever, ever did, baby


  But darling, I'd still catch a grenade for ya (yeah, yeah, yeah)
  Throw my hand on a blade for ya (yeah, yeah, yeah)
  I'd jump in front of a train for ya (yeah, yeah, yeah)
  You know I'd do anything for ya (yeah, yeah, yeah)


  Ooh-ooh, I would go through all this pain
  Take a bullet straight through my brain
  Yes, I would die for ya, baby
  But you won't do the same
  No, you won't do the same
  You wouldn't do the same
  Ooh, you'd never do the same
  No, no, no, no-oh

  WRITERS

  Andrew Wyatt, Ari Levine, Brody Brown, Claude Kelly, Peter Gene Hernandez, Phillip Martin Lawrence

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BCG_ID_12124_LF.txt[11/10/23, 10:59:04 AM]
  Lyrics
  There's a stranger in my bed
  There's a pounding in my head
  Glitter all over the room
  Pink flamingos in the pool
  I smell like a minibar
  DJ's passed out in the yard
  Barbies on the barbecue
  This a hickey or a bruise?


  Pictures of last night
  Ended up online
  I'm screwed
  Oh well
  It's a blacked out blur
  But I'm pretty sure it ruled
  Damn


  Last Friday night
  Yeah, we danced on tabletops
  And we took too many shots
  Think we kissed, but I forgot


  Last Friday night
  Yeah, we maxed our credit cards
  And got kicked out of the bar
  So we hit the boulevard


  Last Friday night
  We went streaking in the park
  Skinny dipping in the dark
  Then had a mŽnage ˆ trois
  Last Friday night
  Yeah, I think we broke the law
  Always say we're gonna stop-op
  Oh whoa


  This Friday night
  Do it all again
  This Friday night
  Do it all again


  Trying to connect the dots
  Don't know what to tell my boss
  Think the city towed my car
  Chandelier is on the floor
  Ripped my favorite party dress
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                                                             Filed            Page 372 of 473 PageID #: 1832
BCG_ID_12125_LF.txt[11/10/23, 10:59:04 AM]
  Warrant's out for my arrest
  Think I need a ginger ale
  That was such an epic fail


  Pictures of last night
  Ended up online
  I'm screwed
  Oh well
  It's a blacked out blur
  But I'm pretty sure it ruled
  Damn


  Last Friday night
  Yeah, we danced on table tops
  And we took too many shots
  Think we kissed, but I forgot


  Last Friday night
  Yeah, we maxed our credits card
  And got kicked out of the bar
  So we hit the boulevards


  Last Friday night
  We went streaking in the park
  Skinny dipping in the dark
  Then had a mŽnage ˆ trois
  Last Friday night
  Yeah, I think we broke the law
  Always say we're gonna stop-op
  Oh whoa


  This Friday night
  Do it all again (do it all again)
  This Friday night
  Do it all again (do it all again)
  This Friday night


  T.G.I.F.
  T.G.I.F.
  T.G.I.F.
  T.G.I.F.
  T.G.I.F.
  T.G.I.F.


  Last Friday night
  Yeah, we danced on table tops
  And we took too many shots
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BCG_ID_12125_LF.txt[11/10/23, 10:59:04 AM]
  Think we kissed but I forgot


  Last Friday night
  Yeah, we maxed our credit cards
  And got kicked out of the bar
  So we hit the boulevard


  Last Friday night
  We went streaking in the park
  Skinny dipping in the dark
  Then had a mŽnage ˆ trois


  Last Friday night
  Yeah, I think we broke the law
  Always say we're gonna stop-op
  Oh whoa
  This Friday night
  Do it all again

  WRITERS

  Bonnie Leigh McKee, Katy Perry, Lukasz Gottwald, Max Martin

  PUBLISHERS

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BCG_ID_12125_LF.txt[11/10/23, 10:59:04 AM]
  Lyrics
  Greetings loved ones
  Let's take a journey


  I know a place
  Where the grass is really greener
  Warm, wet n' wild
  There must be something in the water
  Sippin' gin and juice
  Laying underneath the palm trees
  (Undone)
  The boys
  Break their necks
  Try'na to creep a little sneak peek
  (At us)


  You could travel the world
  But nothing comes close
  To the golden coast
  Once you party with us
  You'll be falling in love
  Ooh oh ooh oh oh ooh


  California girls
  We're unforgettable
  Daisy dukes
  Bikinis on top
  Sun-kissed skin
  So hot
  We'll melt your popsicle
  Ooh oh ooh
  Ooh oh ooh


  California girls
  We're undeniable
  Fine, fresh, fierce
  We got it on lock
  West coast represent
  Now put your hands up
  Ooh oh ooh
  Ooh oh ooh


  Sex on the beach
  We don't mind sand in our stilettos
  We freak
  In my jeep
  Snoop doggy-dog on the stereo oh oh

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                                                             Filed            Page 375 of 473 PageID #: 1835
BCG_ID_12126_LF.txt[11/10/23, 10:59:05 AM]
  You could travel the world
  But nothing comes close
  To the golden coast
  Once you party with us
  You'll be falling in love
  Ooh oh ooh ooh oh ooh


  California girls
  We're unforgettable
  Daisy dukes
  Bikinis on top
  Sun-kissed skin
  So hot
  We'll melt your popsicle
  Ooh oh ooh
  Ooh oh ooh


  California girls
  We're undeniable
  Fine, fresh, fierce
  We got it on lock
  West coast represent
  Now put your hands up
  Ooh oh ooh
  Ooh oh ooh


  Toned, tan
  Fit and ready
  Turn it up 'cause its gettin' heavy
  Wild, wild west coast
  These are the girls I love the most
  I mean the ones
  I mean like she's the one
  Kiss her, touch her
  Squeeze her buns
  The girl's a freak
  She drive a jeep
  And live on the beach
  I'm okay
  I won't play
  I love the bay
  Just like I love L.A.
  Venice Beach
  And Palm Springs
  Summertime is everything
  Home boys
  Bangin' out
  All that ass
  Hanging out
  Bikinis, zucchinis, martinis
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BCG_ID_12126_LF.txt[11/10/23, 10:59:05 AM]
  No weenies
  Just a king
  And a queenie
  Katy my lady
  (Yeah)
  And looky here baby
  (Uh huh)
  I'm all up on ya
  'Cause you representing California (oh yeah)


  California girls
  We're unforgettable
  Daisy dukes
  Bikinis on top
  Sun-kissed skin
  So hot
  We'll melt your popsicle
  Ooh oh ooh
  Ooh oh ooh


  California girls
  We're undeniable
  Fine, fresh, fierce
  We got it on lock
  West coast represent (west coast, west coast)
  Now put your hands up
  Ooh oh ooh
  Ooh oh ooh


  (California, California)
  California girls man
  (California)
  (California girls)

  WRITERS

  Lukasz Gottwald, Calvin Broadus, Mike E. Love, Brian Douglas Wilson, Max Martin, Katy Perry, Benjamin Levin,
  Bonnie McKee

  PUBLISHERS

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                                                             Filed            Page 377 of 473 PageID #: 1837
BCG_ID_12126_LF.txt[11/10/23, 10:59:05 AM]
  Lyrics
  Wake up in the mornin' feelin' like P Diddy (hey, what up girl?)
  Grab my glasses, I'm out the door, I'm gonna hit this city (let's go)
  Before I leave, brush my teeth with a bottle of Jack
  'Cause when I leave for the night, I ain't comin' back


  I'm talkin' pedicure on our toes, toes
  Tryin' on all our clothes, clothes
  Boys blowin' up our phones, phones
  Drop-toppin', playin' our favorite CDs
  Pullin' up to the parties
  Tryna get a little bit tipsy


  Don't stop, make it pop
  DJ, blow my speakers up
  Tonight, I'ma fight
  'Til we see the sunlight
  Tick-tock on the clock
  But the party don't stop, no
  Oh, whoa, whoa-oh
  Oh, whoa, whoa-oh
  Don't stop, make it pop
  DJ, blow my speakers up
  Tonight, I'ma fight
  'Til we see the sunlight
  Tick-tock on the clock
  But the party don't stop, no
  Oh, whoa, whoa-oh
  Oh, whoa, whoa-oh


  Ain't got a care in the world, but got plenty of beer
  Ain't got no money in my pocket, but I'm already here
  And now the dudes are linin' up 'cause they hear we got swagger
  But we kick 'em to the curb unless they look like Mick Jagger


  I'm talkin' 'bout everybody gettin' crunk, crunk
  Boys try to touch my junk, junk
  Gonna smack him if he gettin' too drunk, drunk
  Now, now, we go until they kick us out, out
  Or the police shut us down, down
  Police shut us down, down
  Po-po shut us down


  Don't stop, make it pop
  DJ, blow my speakers up
  Tonight, I'ma fight
  'Til we see the sunlight
  Tick-tock on the clock
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BCG_ID_12127_LF.txt[11/10/23, 10:59:05 AM]
  But the party don't stop, no
  Oh, whoa, whoa-oh
  Oh, whoa, whoa-oh
  Don't stop, make it pop
  DJ, blow my speakers up
  Tonight, I'ma fight
  'Til we see the sunlight
  Tick-tock on the clock
  But the party don't stop, no
  Oh, whoa, whoa-oh
  Oh, whoa, whoa-oh


  DJ, you build me up
  You break me down
  My heart, it pounds
  Yeah, you got me
  With my hands up
  You got me now
  You got that sound
  Yeah, you got me
  DJ, you build me up
  You break me down
  My heart, it pounds
  Yeah, you got me
  With my hands up
  Put your hands up
  Put your hands up


  Now, the party don't start 'til I walk in


  Don't stop, make it pop
  DJ, blow my speakers up
  Tonight, I'ma fight
  'Til we see the sunlight
  Tick-tock on the clock
  But the party don't stop, no
  Oh, whoa, whoa-oh
  Oh, whoa, whoa-oh
  Don't stop, make it pop
  DJ, blow my speakers up
  Tonight, I'ma fight
  'Til we see the sunlight
  Tick-tock on the clock
  But the party don't stop, no
  Oh, whoa, whoa-oh
  Oh, whoa, whoa-oh

  WRITERS

  Benjamin Joseph Levin, Lukasz Gottwald, Kesha Rose Sebert

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BCG_ID_12127_LF.txt[11/10/23, 10:59:05 AM]
  PUBLISHERS

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BCG_ID_12127_LF.txt[11/10/23, 10:59:05 AM]
  Lyrics
  Black dress with the tights underneath,
  I got the breath of the last cigarette on my teeth,
  And she's an actress (actress)
  But she ain't got no need


  She's got money from her parents in a trust fund back east
  T-t-t-tongues always pressed to your cheeks
  While my tongue is on the inside of some other girls teeth
  T-tell your boyfriend if he says he's got beef
  That I'm a vegetarian and I ain't fucking scared of him


  She wants to touch me (whoa)
  She wants to love me (whoa)
  She'll never leave me (whoa, whoa, oh, oh)


  Don't trust a ho
  Never trust a ho
  'Cause a hoe won't trust me


  She wants to touch me (whoa)
  She wants to love me (whoa)
  She'll never leave me (whoa, whoa, oh, oh)


  Don't trust a ho
  Never trust a ho
  'Cause a hoe won't trust me


  X's on the back of your hands
  Wash them in the bathroom to drink like the bands
  And your set list (set list)
  You stole off the stage


  Had red and purple lipstick all over the page
  Be-be-be-bruises cover your arms
  Shaking in the fingers with the bottle in your palm
  And the best is (best is)
  No one knows who you are
  Just another girl alone at the bar


  She wants to touch me (whoa)
  She wants to love me (whoa)
  She'll never leave me (whoa, whoa, oh, oh)


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BCG_ID_12128_LF.txt[11/10/23, 10:59:06 AM]
  Don't trust a ho
  Never trust a ho
  Cause a hoe won't trust me


  She wants to touch me (whoa)
  She wants to love me (whoa)
  She'll never leave me (whoa, whoa, oh, oh)


  Don't trust a ho
  Never trust a ho
  'Cause a hoe won't trust me


  Shush girl shut your lips
  Do the Helen Keller and talk with your hips
  I said, Shush girl shut your lips
  Do the Helen Keller and talk with your hips
  I said, Shush girl shut your lips
  Do the Helen Keller and talk with your hips


  Whoa, whoa, whoa


  She wants to touch me (whoa)
  She wants to love me (whoa)
  She'll never leave me (whoa, whoa, oh, oh)


  Don't trust a ho
  Never trust a ho
  'Cause a hoe won't trust me


  She wants to touch me (whoa)
  She wants to love me (whoa)
  She'll never leave me (whoa, whoa, oh, oh)


  Don't trust a ho
  Never trust a ho
  'Cause a hoe won't trust me

  WRITERS

  BENNY BLANCO, SEAN FOREMAN, NATHANIEL MOTTE

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      81511/16/23
                                                             Filed            Page 382 of 473 PageID #: 1842
BCG_ID_12128_LF.txt[11/10/23, 10:59:06 AM]
  Lyrics
  Ladies up in here tonight
  No fighting
  We got the refugees up in here (no fighting)
  No fighting
  Shakira, Shakira


  I never really knew that she could dance like this (hey)
  She make a man wants to speak Spanish
  ÀC—mo se llama? (S’), bonita (s’)
  Mi casa, su casa (Shakira, Shakira)


  Oh, baby, when you talk like that
  You make a woman go mad
  So be wise (s’) and keep on (s’)
  Reading the signs of my body (uno, dos, tres, cuatro)


  I'm on tonight
  You know my hips don't lie (no fighting)
  And I'm starting to feel it's right
  All the attraction, the tension
  Don't you see, baby, this is perfection?


  Hey, girl, I can see your body moving
  And it's driving me crazy
  And I didn't have the slightest idea
  Until I saw you dancing (yeah)
  And when you walk up on the dance floor
  Nobody cannot ignore the way you move your body, girl (just move)
  And everything so unexpected, the way you right and left it
  So you can keep on shaking it (let's go)


  I never really knew that she could dance like this
  She make a man wants to speak Spanish
  ÀC—mo se llama? (S’), bonita (s’)
  Mi casa, su casa (Shakira, Shakira)


  Oh, baby, when you talk like that
  You make a woman go mad
  So be wise (s’) and keep on (s’)
  Reading the signs of my body (no fighting)


  I'm on tonight
  You know my hips don't lie (no fighting)
  And I am starting to feel you, boy
  Come on, let's go, real slow
             Case 3:23-cv-01092              Document 49-7      81611/16/23
                                                             Filed            Page 383 of 473 PageID #: 1843
BCG_ID_12129_LF.txt[11/10/23, 10:59:06 AM]
  Don't you see, baby, as’ es perfecto?
  They know I am on tonight, my hips don't lie
  And I'm starting to feel it's right
  All the attraction, the tension
  Don't you see, baby, this is perfection? (Shakira, Shakira)


  Oh, boy, I can see your body moving
  Half animal, half man
  I don't, don't really know what I'm doing
  But you seem to have a plan
  My will and self-restraint
  Have come to fail now, fail now
  See, I am doing what I can, but I can't so you know
  That's a bit too hard to explain (uno, dos, tres, cuatro)


  Baila en la calle de noche (yeah)
  Baila en la calle de d’a (let's go)
  Baila en la calle de noche
  Baila en la calle de d’a


  I never really knew that she could dance like this
  She make a man wants to speak Spanish
  ÀC—mo se llama? (S’), bonita (s’)
  Mi casa, su casa (Shakira, Shakira)


  Oh, baby, when you talk like that
  You know you got me hypnotized
  So be wise (s’) and keep on (s’)
  Reading the signs of my body


  Se–orita, feel the conga
  Let me see you move like you come from Colombia


  (Yeah, oh)
  Yeah (ladies s’) (yeah yeah)
  (Hey, yeah)


  ÁMira en Barranquilla se baila as’, say it! (yeah)
  En Barranquilla se baila as’ (yeah)


  Hey, brra


  Yeah, she's so sexy, every man's fantasy
  A refugee like me back with the Fugees from a third world country
  I go back like when 'Pac carried crates for Humpty Humpty
           Case 3:23-cv-01092 Document 49-7 Filed          81711/16/23   Page 384 of 473 PageID #: 1844
BCG_ID_12129_LF.txt[11/10/23, 10:59:06 AM]
  We leave the whole club dizzy
  Why the CIA wanna watch us?
  Colombians and Haitians
  I ain't guilty, it's a musical transaction
  Bo bop so bop, no more do we snatch ropes
  Refugees run the seas 'cause we own our own boats (no fighting)


  I'm on tonight, my hips don't lie
  And I'm starting to feel you, boy
  Come on, let's go, real slow
  Baby, like this is perfecto (no fighting)


  Oh, you know I'm on tonight, my hips don't lie
  And I am starting to feel it's right
  The attraction, the tension
  Baby, like this is perfection


  No fighting
  No fighting

  WRITERS

  Shakira Mebarak, Wyclef Jean, Jerry Duplessis, Luis Diaz, Omar Alfanno, Latavia Parker

  PUBLISHERS

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                                                             Filed            Page 385 of 473 PageID #: 1845
BCG_ID_12129_LF.txt[11/10/23, 10:59:06 AM]
  Lyrics
  I see trees of green
  Red roses too
  I see them bloom
  For me and you
  And I think to myself
  What a wonderful world


  I see skies of blue
  And clouds of white
  The bright blessed day
  The dark sacred night
  And I think to myself
  What a wonderful world


  The colors of the rainbow
  So pretty in the sky
  Are also on the faces
  Of people going by
  I see friends shaking hands
  Saying, "How do you do?"
  They're really saying
  I love you


  I hear babies cry
  I watch them grow
  They'll learn much more
  Than I'll ever know
  And I think to myself
  What a wonderful world
  Yes, I think to myself
  What a wonderful world
  Ooh, yes

  WRITERS

  George David Weiss, Robert Thiele

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      81911/16/23
                                                             Filed            Page 386 of 473 PageID #: 1846
BCG_ID_12130_LF.txt[11/10/23, 10:59:07 AM]
  Lyrics
  Lying in my bed I hear the clock tick
  And think of you
  Caught up in circles
  Confusion is nothing new
  Flashback, warm nights
  Almost left behind
  Suitcases of memories
  Time after


  Sometimes you picture me
  I'm walking too far ahead
  You're calling to me, I can't hear
  What you've said
  Then you say, go slow
  I fall behind
  The second hand unwinds


  If you're lost you can look and you will find me
  Time after time
  If you fall I will catch you, I'll be waiting
  Time after time


  If you're lost you can look and you will find me
  Time after time
  If you fall I will catch you, I will be waiting
  Time after time


  After my picture fades and darkness has
  Turned to gray
  Watching through windows
  You're wondering if I'm okay
  Secrets stolen from deep inside
  The drum beats out of time


  If you're lost you can look and you will find me
  Time after time
  If you fall I will catch you, I'll be waiting
  Time after time


  You said go slow
  I fall behind
  The second hand unwinds


  If you're lost you can look and you will find me
  Time after time
             Case 3:23-cv-01092              Document 49-7      82011/16/23
                                                             Filed            Page 387 of 473 PageID #: 1847
BCG_ID_12132_LF.txt[11/10/23, 10:59:07 AM]
  If you fall I will catch you, I'll be waiting
  Time after time


  If you're lost you can look and you will find me
  Time after time
  If you fall I will catch you, I will be waiting


  Time after time
  Time after time
  Time after time
  Time after time
  Time after time
  Time after time
  Time after time
  Time after
  Time

  WRITERS

  Robert Hyman, Cyndi Lauper

  PUBLISHERS

  Lyrics © CONCORD MUSIC PUBLISHING LLC, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-7      82111/16/23
                                                             Filed            Page 388 of 473 PageID #: 1848
BCG_ID_12132_LF.txt[11/10/23, 10:59:07 AM]
  Lyrics
  Another Saturday night that I ain't got nobody
  I got some money 'cause I just got paid
  Now, how I wish I had someone to talk to
  I'm in an awful way, dig this


  I got in town a month ago
  I seen a lotta girls since then
  If I could meet 'em, I could get 'em
  But as yet I haven't met 'em
  That's why I'm in the shape I'm in


  Another Saturday night that I ain't got nobody
  I got some money 'cause I just got paid
  Now, how I wish I had someone to talk to
  I'm in an awful way


  Now, another fella told me
  He had a sister who looked just fine
  Instead of being my deliverance
  She had a strange resemblance
  To a cat named Frankenstein


  Here, another Saturday night that I ain't got nobody
  I got some money 'cause I just got paid
  Now, how I wish I had some chick to talk to
  I'm in an awful way, yeah


  Here it is, another weekend
  I ain't got nobody
  Man if I was back home, I'd be swingin'
  Two chicks on my arm, aww yeah
  Listen to me, huh


  It's hard on a fella
  When he don't know his way around
  If I don't find me a honey
  To help me spend my money
  I'm gonna have to blow this town


  Here it's another Saturday night and I ain't got nobody
  I got some money 'cause I just got paid
  Now, how I wish I had some chick to talk to
  I'm in an awful, everybody sing


             Case 3:23-cv-01092              Document 49-7      82211/16/23
                                                             Filed            Page 389 of 473 PageID #: 1849
BCG_ID_12140_LF.txt[11/10/23, 10:59:07 AM]
  Another Saturday night and I ain't got nobody
  I got some money 'cause I just got paid
  Now, how I wish I had someone to talk to
  I'm in an awful, one more time


  Another Saturday night and I ain't got nobody
  I got some money 'cause I just got paid
  Now, how I wish I had some chick to talk to
  I'm in an awful, sounding mighty good
  Another Saturday night

  WRITERS

  Sam Cooke

  PUBLISHERS

  Lyrics © Kanjian Music, Royalty Network, Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      82311/16/23
                                                             Filed            Page 390 of 473 PageID #: 1850
BCG_ID_12140_LF.txt[11/10/23, 10:59:07 AM]
  Lyrics
  If you ever change your mind
  About leaving, leaving me behind
  (Oh) baby, bring it to me
  Bring your sweet loving
  Bring it on home to me
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)


  I know I laughed when you left
  But now I know I only hurt myself
  (Oh) baby, bring it to me
  Bring your sweet loving
  Bring it on home to me
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)


  I'll give you jewelry and money too
  That ain't all, that ain't all I'll do for you
  (Oh) baby, if you bring it to me
  Bring your sweet loving
  Bring it on home to me
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)


  You know I'll always be your slave
  'Til I'm buried, buried in my grave
  Oh, honey bring it to me
  Bring your sweet loving
  Bring it on home to me
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)


  One more thing
  I tried to treat you right
  But you stayed out, stayed out at night
  But I forgive you, bring it to me
  Bring your sweet loving
  Bring it on home to me
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)
             Case 3:23-cv-01092              Document 49-7      82411/16/23
                                                             Filed            Page 391 of 473 PageID #: 1851
BCG_ID_12144_LF.txt[11/10/23, 10:59:07 AM]
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)
  Yeah (yeah)

  WRITERS

  Sam Cooke

  PUBLISHERS

  Lyrics © Kanjian Music, Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      82511/16/23
                                                             Filed            Page 392 of 473 PageID #: 1852
BCG_ID_12144_LF.txt[11/10/23, 10:59:07 AM]
  Lyrics
  Gold Coast slave ship bound for cotton fields
  Sold in the market down in New Orleans
  Skydog slaver knows he's doin' all right
  Hear him whip the women just around midnight


  Brown sugar, how come you taste so good?
  Brown sugar, just like a young girl should


  Drums beatin' cold, English blood runs hot
  Lady of the house wonderin' when it's gonna stop
  House boy knows that he's doin' all right
  You should have heard him just around midnight


  Brown sugar, how come you taste so good, now?
  Brown sugar, just like a young girl should (yeah)


  Brown sugar, how come you dance so good, babe?
  Brown sugar, just like a black girl should, yeah


  And I bet your mama was a tent show queen
  And all her boyfriends were sweet sixteen
  I'm no school boy but I know what I like
  You should have heard them just around midnight


  Brown sugar, how come you taste so good, baby?
  Brown sugar, just like a young girl should, yeah


  I said, yeah, yeah, yeah, woo
  How come you, how come you dance so good?
  Yeah, yeah, yeah, woo
  Just like a, just like a black girl should
  Yeah, yeah, yeah, woo

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      82611/16/23
                                                             Filed            Page 393 of 473 PageID #: 1853
BCG_ID_12145_LF.txt[11/10/23, 10:59:08 AM]
  Lyrics
  Cupid draw back your bow
  And let your arrow go
  Straight to my lover's heart for me, for me


  Cupid please hear my cry
  And let your arrow fly
  Straight to my lover's heart for me


  Now I don't mean to bother you but I'm in distress
  There's danger of me losing all of my happiness
  For I love a girl who doesn't know I exist
  And this you can fix, so


  Cupid draw back your bow
  And let your arrow go
  Straight to my lover's heart for me
  Nobody but me


  Cupid please hear my cry
  And let your arrow fly
  Straight to my lover's heart for me


  Now, Cupid if your arrow make a love storm for me
  I promise I will love her until eternity
  I know between the two of us her heart we can steal
  Help me if you will, so


  Cupid draw back your bow
  And let your arrow go
  Straight to my lover's heart for me
  Nobody but me


  Cupid please hear my cry
  And let your arrow fly
  Straight to my lover's heart for me


  Now, Cupid, don't you hear me
  Calling you? I need ya
  Cupid help me, I need ya

  WRITERS

  Sam Cooke

             Case 3:23-cv-01092              Document 49-7      82711/16/23
                                                             Filed            Page 394 of 473 PageID #: 1854
BCG_ID_12151_LF.txt[11/10/23, 10:59:08 AM]
  PUBLISHERS

  Lyrics © Kanjian Music, Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      82811/16/23
                                                             Filed            Page 395 of 473 PageID #: 1855
BCG_ID_12151_LF.txt[11/10/23, 10:59:08 AM]
  Lyrics
  Ooh, a storm is threatening
  My very life today
  If I don't get some shelter
  Ooh yeah, I'm gonna fade away


  War, children, it's just a shot away
  It's just a shot away
  War, children, it's just a shot away
  It's just a shot away


  Ooh, see the fire is sweepin'
  Our very street today
  Burns like a red coal carpet
  Mad bull lost your way


  War, children, it's just a shot away
  It's just a shot away
  War, children, it's just a shot away
  It's just a shot away


  Rape, murder
  It's just a shot away
  It's just a shot away


  Rape, murder, yeah
  It's just a shot away
  It's just a shot away


  Rape, murder
  It's just a shot away
  It's just a shot away, yeah


  The floods is threatening
  My very life today
  Gimme, gimme shelter
  Or I'm gonna fade away


  War, children, it's just a shot away
  It's just a shot away
  It's just a shot away
  It's just a shot away
  It's just a shot away
  I tell you love, sister, it's just a kiss away
  It's just a kiss away
             Case 3:23-cv-01092              Document 49-7      82911/16/23
                                                             Filed            Page 396 of 473 PageID #: 1856
BCG_ID_12159_LF.txt[11/10/23, 10:59:08 AM]
  It's just a kiss away
  It's just a kiss away
  It's just a kiss away
  Kiss away, kiss away

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      83011/16/23
                                                             Filed            Page 397 of 473 PageID #: 1857
BCG_ID_12159_LF.txt[11/10/23, 10:59:08 AM]
  Lyrics
  I met a gin-soaked, bar-room queen in Memphis
  She tried to take me upstairs for a ride
  She had to heave me right across her shoulder
  'Cause I just can't seem to drink you off my mind


  It's the honky tonk women
  Gimme, gimme, gimme the honky tonk blues


  I laid a divorcŽe in New York City
  I had to put up some kind of a fight
  The lady then she covered me with roses
  She blew my nose and then she blew my mind


  It's the honky tonk women
  Gimme, gimme, gimme the honky tonk blues
  It's the honky tonk women
  Gimme, gimme, gimme the honky tonk blues


  It's the honky tonk women
  Gimme, gimme, gimme the honky tonk blues

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      83111/16/23
                                                             Filed            Page 398 of 473 PageID #: 1858
BCG_ID_12163_LF.txt[11/10/23, 10:59:09 AM]
  Lyrics
  Well, baby used to stay out all night long
  She made me cry, she done me wrong
  She hurt my eyes open, that's no lie
  Tables turn and now her turn to cry


  Because I used to love her, but it's all over now
  Because I used to love her, but it's all over now


  Well, she used to run around with every man in town
  She spent all my money, playing her high class game
  She put me out, it was a pity how I cried
  Tables turn and now her turn to cry


  Because I used to love her, but it's all over now
  Because I used to love her, but it's all over now


  Well, I used to wake in the morning, get my breakfast in bed
  When I'd gotten worried she'd ease my aching head
  But now she's here and there, with every man in town
  Still trying to take me for that same old clown


  Because I used to love her, but it's all over now
  Because I used to love her, but it's all over now


  Because I used to love her, but it's all over now

  WRITERS

  Bobby Womack, Shirley Womack

  PUBLISHERS

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  Inc.




             Case 3:23-cv-01092              Document 49-7      83211/16/23
                                                             Filed            Page 399 of 473 PageID #: 1859
BCG_ID_12167_LF.txt[11/10/23, 10:59:09 AM]
  Lyrics
  I was born in a cross-fire hurricane
  And I howled at the morning driving rain
  But it's all right now, in fact, it's a gas
  But it's all right, I'm Jumpin' Jack Flash
  It's a gas, gas, gas


  I was raised by a toothless, bearded hag
  I was schooled with a strap right across my back
  But it's all right now, in fact, it's a gas
  But it's all right, I'm Jumpin' Jack Flash
  It's a gas, gas, gas (ooh)


  I was drowned, I was washed up and left for dead
  I fell down to my feet and I saw they bled, yeah, yeah
  I frowned at the crumbs of a crust of bread
  Yeah, yeah, yeah


  I was crowned with a spike right through my head, my, my, yeah
  But it's all right now, in fact, it's a gas
  But it's all right, I'm Jumpin' Jack Flash
  It's a gas, gas, gas


  Jumping Jack Flash, it's a gas
  Jumping Jack Flash, it's a gas
  Jumping Jack Flash, it's a gas
  Jumping Jack Flash, it's a gas
  Jumping Jack Flash, it's a gas
  Jumping Jack Flash, it's a gas

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      83311/16/23
                                                             Filed            Page 400 of 473 PageID #: 1860
BCG_ID_12172_LF.txt[11/10/23, 10:59:09 AM]
  Lyrics
  When the wind blows and the rain feels cold
  With a head full of snow
  With a head full of snow
  In the window there's a face you know
  Don't the nights pass slow
  Don't the nights pass slow


  The sound of strangers sending nothing to my mind
  Just another mad mad day on the road
  I am just living to be lying by your side
  But I'm just about a moonlight mile on down the road


  Made a rag pile of my shiny clothes
  Gonna warm my bones
  Gonna warm my bones
  I got silence on my radio
  Let the air waves flow
  Let the air waves flow


  Oh I'm sleeping under strange strange skies
  Just another mad mad day on the road
  My dreams is fading down the railway line
  I'm just about a moonlight mile down the road


  I'm hiding sister and I'm dreaming
  I'm riding down your moonlight mile
  I'm hiding baby and I'm dreaming
  I'm riding down your moonlight mile
  I'm riding down you moonlight mile


  Let it go now, come on up babe
  Yeah, let it go now
  Yeah, flow now baby
  Yeah move on now yeah


  Yeah, I'm coming home
  'Cause, I'm just about a moonlight mile on down the road
  Down the road, down the road

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Abkco Music Inc.
             Case 3:23-cv-01092              Document 49-7      83411/16/23
                                                             Filed            Page 401 of 473 PageID #: 1861
BCG_ID_12182_LF.txt[11/10/23, 10:59:09 AM]
             Case 3:23-cv-01092              Document 49-7      83511/16/23
                                                             Filed            Page 402 of 473 PageID #: 1862
BCG_ID_12182_LF.txt[11/10/23, 10:59:09 AM]
  Lyrics
  Let's drink to the hard working people
  Let's drink to the lowly of birth
  Raise your glass to the good and the evil
  Let's drink to the salt of the earth


  Say a prayer for the common foot soldier
  Spare a thought for his back breaking work
  Say a prayer for his wife and his children
  Who burn the fires and who still till the earth


  And when I search a faceless crowd
  A swirling mass of gray and
  Black and white
  They don't look real to me
  In fact, they look so strange


  Raise your glass to the hard working people
  Let's drink to the uncounted heads
  Let's think of the wavering millions
  Who need leaders but get gamblers instead


  Spare a thought for the stay-at-home voter
  His empty eyes gaze at strange beauty shows
  And a parade of the gray suited grafters
  A choice of cancer or polio


  And when I look in the faceless crowd
  A swirling mass of grays and
  Black and white
  They don't look real to me
  Or don't they look so strange


  Let's drink to the hard working people
  Let's think of the lowly of birth
  Spare a thought for the rag taggy people
  Let's drink to the salt of the earth


  Let's drink to the hard working people
  Let's drink to the salt of the earth
  Let's drink to the two thousand million
  Let's think of the humble of birth

  WRITERS

  Keith Richards, Mick Jagger
             Case 3:23-cv-01092              Document 49-7      83611/16/23
                                                             Filed            Page 403 of 473 PageID #: 1863
BCG_ID_12191_LF.txt[11/10/23, 10:59:10 AM]
  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      83711/16/23
                                                             Filed            Page 404 of 473 PageID #: 1864
BCG_ID_12191_LF.txt[11/10/23, 10:59:10 AM]
  Lyrics
  Saw you stretched out in Room ten oh nine
  With a smile on your face and a tear right in your eye
  Whoa, come see to get a line on you, my sweet honey love
  Berber jewelry jangling down the street
  Making bloodshot eyes at every woman that you meet
  Could not seem to get high on you, my sweet honey love


  May the good Lord shine a light on you
  Make every song (you sing) your favorite tune
  May the good Lord shine a light on you
  Warm like the evening sun


  When you're drunk in the elevator, with your clothes all torn
  When your late night friends leave you in the cold gray dawn
  Just seen too many flies on you, I just can't brush them off


  Angels beating all their wings in time
  With smiles on their faces and a gleam right in their eyes
  Whoa, thought I heard one sigh for you
  Come on up, come on up, now, come on up now


  May the good Lord shine a light on you, yeah
  Make every song you sing your favorite tune
  May the good Lord shine a light on you, yeah
  Warm like the evening sun


  Come on up now, come on up now, come on up now, come on up, come on


  May the good Lord shine a light on you
  Make every song you sing your favorite tune
  May the good Lord shine a light on you
  Warm like the evening sun, yeah, yeah

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      83811/16/23
                                                             Filed            Page 405 of 473 PageID #: 1865
BCG_ID_12194_LF.txt[11/10/23, 10:59:10 AM]
  Lyrics
  Everywhere I hear the sound
  Of marching, charging feet, boy
  'Cause summer's here and the time is right
  For fighting in the street, boy


  Well, now what can a poor boy do
  Except to sing for a rock and roll band?
  'Cause in sleepy London Town
  There's just no place for street fighting man, no


  Hey, think the time is right
  For a palace revolution
  'Cause where I live the game to play
  Is compromise solution


  Well, now what can a poor boy do
  Except to sing for a rock and roll band?
  'Cause in sleepy London Town
  There's just no place for street fighting man, no


  Get down


  Hey, said my name is called Disturbance
  I'll shout and scream, I'll kill the king
  I'll rail at all his servants


  Well, now what can a poor boy do
  Except to sing for a rock and roll band?
  'Cause in sleepy London Town
  There's just no place for street fighting man, no


  Get down

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Songtrust Ave, Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      83911/16/23
                                                             Filed            Page 406 of 473 PageID #: 1866
BCG_ID_12201_LF.txt[11/10/23, 10:59:10 AM]
  Lyrics
  Yow, yow
  Yow
  Mm-huh
  Mm-uh


  Please allow me to introduce myself
  I'm a man of wealth and taste
  I've been around for a long, long year
  Stole many a man's soul and faith
  And I was 'round when Jesus Christ
  Had his moment of doubt and pain
  Made damn sure that Pilate
  Washed his hands and sealed his fate


  Pleased to meet you
  Hope you guess my name
  But what's puzzling you
  Is the nature of my game


  Stuck around St. Petersburg
  When I saw it was a time for a change
  Killed the Czar and his ministers
  Anastasia screamed in vain
  I rode a tank, held a general's rank
  When the Blitzkrieg raged and the bodies stank


  Pleased to meet you
  Hope you guess my name
  Oh, yeah
  Ah, what's puzzling you
  Is the nature of my game
  Oh, yeah


  I watched with glee while your kings and queens
  Fought for ten decades for the gods they made
  I shouted out, "Who killed the Kennedys?"
  Well, after all, it was you and me
  Let me please introduce myself
  I'm a man of wealth and taste
  And I laid traps for troubadours
  Who get killed before they reach Bombay


  Pleased to meet you
  Hope you guess my name
  Oh, yeah
  But what's puzzling you
             Case 3:23-cv-01092              Document 49-7      84011/16/23
                                                             Filed            Page 407 of 473 PageID #: 1867
BCG_ID_12204_LF.txt[11/10/23, 10:59:11 AM]
  Is the nature of my game
  Oh, yeah
  A-get down, baby


  Pleased to meet you
  Hope you guess my name
  Oh, yeah
  But what's confusing you
  Is just the nature of my game
  Mm, yeah


  Just as every cop is a criminal
  And all the sinners saints
  As heads is tails, just call me Lucifer
  'Cause I'm in need of some restraint
  So if you meet me, have some courtesy
  Have some sympathy and some taste
  Use all your well-learned politesse
  Or I'll lay your soul to waste, mm, yeah


  Pleased to meet you
  Hope you guess my name
  Mm, yeah
  But what's puzzling you
  Is the nature of my game
  Mean it
  Get down


  Woo-hoo
  Ah, yeah
  Get on down
  Oh, yeah
  Mm
  Bum, ba-bum, bum, bum, ba-bum
  Ba-bum, bum, bum, ba-bum
  Bum, ba-bum, bum, bum, ba-bum
  Bum, dum, bum, bum, ba-dum, da
  Yeah
  Ah, yeah


  Tell me, baby, what's my name?
  Tell me, honey, can you guess my name?
  Tell me, baby, what's my name?
  I'll tell you one time, you're to blame
  Ooh-hoo, ooh-hoo
  Ooh-hoo, alright
  Ooh-hoo-hoo, ooh-hoo-hoo
  Ooh-hoo-hoo, ah, yeah
  Ooh-hoo-hoo, ooh-hoo-hoo
              Case 3:23-cv-01092 Document 49-7      84111/16/23
                                                 Filed            Page 408 of 473 PageID #: 1868
BCG_ID_12204_LF.txt[11/10/23, 10:59:11 AM]
  Ah yes, what's my name?
  Tell me, baby, what's my name?
  Tell me, sweetie, what's my name?


  Ooh-hoo-hoo, ooh-hoo-hoo
  Ooh-hoo-hoo, ooh-hoo-hoo
  Ooh-hoo-hoo, ooh-hoo-hoo
  Ooh-hoo-hoo, ah, yeah

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Kanjian Music, Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      84211/16/23
                                                             Filed            Page 409 of 473 PageID #: 1869
BCG_ID_12204_LF.txt[11/10/23, 10:59:11 AM]
  Lyrics
  Ooh, ooh
  Oh, oh, ooh
  Oh, oh, sweet love, yeah


  I didn't mean it when I said I didn't love you so
  I shoulda held on tight, I never shoulda let you go
  I didn't know nothing, I was stupid, I was foolish
  I was lying to myself
  I could not fathom that I would ever be without your love
  Never imagined I'd be sitting here beside myself
  'Cause I didn't know you, 'cause I didn't know me
  But I thought I knew everything
  I never felt


  The feeling that I'm feeling
  Now that I don't hear your voice
  Or have your touch and kiss your lips
  'Cause I don't have a choice
  Oh, what I wouldn't give to have you lying by my side
  Right here, 'cause, baby (we belong together)


  When you left I lost a part of me (together)
  It's still so hard to believe (come back, come back)
  Come back, baby, please (come back, come back)
  'Cause we belong together


  Who else am I gon' lean on when times get rough?
  Who's gonna talk to me on the phone 'til the sun comes up?
  Who's gonna take your place? There ain't nobody better
  Oh, baby, baby, we belong together


  I can't sleep at night
  When you are on my mind
  Bobby Womack's on the radio
  Singin' to me "If you think you're lonely now"
  Wait a minute, this is too deep (too deep)
  I gotta change the station
  So I turn the dial, trying to catch a break
  And then I hear Babyface
  I only think of you
  And it's breaking my heart
  I'm trying to keep it together
  But I'm falling apart
  I'm feeling all out of my element
  I'm throwing things, cryin'
  Tryin' to figure out where the hell I went wrong
  The pain reflected in this song
             Case 3:23-cv-01092              Document 49-7      84311/16/23
                                                             Filed            Page 410 of 473 PageID #: 1870
BCG_ID_12212_LF.txt[11/10/23, 10:59:11 AM]
  Ain't even half of what I'm feeling inside
  I need you, need you back in my life
  Baby (my life, my life)


  When you left I lost a part of me (together)
  It's still so hard to believe (come back, come back)
  Come back, baby, please (come back, come back)
  'Cause we belong together


  Who else am I gon' lean on when times get rough?
  Who's gonna talk to me on the phone 'til the sun comes up?
  Who's gonna take your place? There ain't nobody better
  Oh, baby, baby, we belong together


  Baby
  When you left I lost a part of me (together)
  It's still so hard to believe (come back, come back)
  Come back, baby, please (come back, come back)
  'Cause we belong together


  Who am I gon' lean on when times get rough?
  Who's gon' talk to me 'til the sun comes up?
  Who's gon' take your place? There ain't nobody better
  Oh, baby, baby, we belong together


  (Who will?)
  (Who will?)
  (Who will?)
  We belong together

  WRITERS

  Bobby Womack, Darnell Bristol, Jermaine Mauldin, Johnta Austin, Kenneth Edmonds, Manuel Seal, Mariah Carey,
  Patrick Moten, Sandra Sully, Sidney Johnson

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      84411/16/23
                                                             Filed            Page 411 of 473 PageID #: 1871
BCG_ID_12212_LF.txt[11/10/23, 10:59:11 AM]
  Lyrics
  Childhood living
  Is easy to do
  The things you wanted
  I bought them for you


  Graceless lady
  You know who I am
  You know I can't let you
  Slide through my hands


  Wild horses
  Couldn't drag me away
  Wild, wild horses
  Couldn't drag me away


  I watched you suffer
  A dull aching pain
  Now you've decided
  To show me the same


  No sweeping exit
  Or offstage lines
  Could make me feel bitter
  Or treat you unkind


  Wild horses
  Couldn't drag me away
  Wild, wild horses
  Couldn't drag me away


  I know I've dreamed you
  A sin and a lie
  I have my freedom
  But I don't have much time


  Faith has been broken
  Tears must be cried
  Let's do some living
  After we die


  Wild horses
  Couldn't drag me away
  Wild, wild horses
  We'll ride them some day
             Case 3:23-cv-01092              Document 49-7      84511/16/23
                                                             Filed            Page 412 of 473 PageID #: 1872
BCG_ID_12213_LF.txt[11/10/23, 10:59:11 AM]
  Wild horses
  Couldn't drag me away
  Wild, wild horses
  We'll ride them some day

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

  Lyrics © Abkco Music Inc.




             Case 3:23-cv-01092              Document 49-7      84611/16/23
                                                             Filed            Page 413 of 473 PageID #: 1873
BCG_ID_12213_LF.txt[11/10/23, 10:59:11 AM]
  Lyrics
  I saw her today at the reception
  A glass of wine in her hand
  I knew she would meet her connection
  At her feet was her footloose man


  No, you can't always get what you want
  You can't always get what you want
  You can't always get what you want
  But if you try sometime you'll find
  You get what you need


  I saw her today at the reception
  A glass of wine in her hand
  I knew she was gonna meet her connection
  At her feet was her footloose man


  You can't always get what you want
  You can't always get what you want
  You can't always get what you want
  But if you try sometimes, well, you might find
  You get what you need
  Ah, yeah
  Oh


  And I went down to the demonstration
  To get my fair share of abuse
  Singing, "We're gonna vent our frustration
  If we don't we're gonna blow a fifty-amp fuse"
  Sing it to me, honey


  You can't always get what you want
  You can't always get what you want
  You can't always get what you want
  But if you try sometimes, well, you just might find
  You get what you need
  Ah baby, yeah
  Ah


  I went down to the Chelsea drugstore
  To get your prescription filled
  I was standing in line with Mr. Jimmy
  And, man, did he look pretty ill
  We decided that we would have a soda
  My favorite flavor, cherry red
  I sung my song to Mr. Jimmy
  Yeah, and he said one word to me, and that was "dead"
             Case 3:23-cv-01092              Document 49-7      84711/16/23
                                                             Filed            Page 414 of 473 PageID #: 1874
BCG_ID_12216_LF.txt[11/10/23, 10:59:12 AM]
  I said to him


  You can't always get what you want, well no
  You can't always get what you want. I tell you, baby
  You can't always get what you want, no
  But if you try sometimes you just might find, uh, mm
  You get what you need, oh yeah, woo!


  Ah, woo!


  You get what you need, yeah, oh baby
  Ah yeah


  I saw her today at the reception
  In her glass was a bleeding man
  She was practiced at the art of deception
  Well, I could tell by her blood-stained hands, sing it


  You can't always get what you want, yeah
  You can't always get what you want, ooh yeah, child
  You can't always get what you want
  But if you try sometimes you just might find
  You just might find
  You get what you need, ah yeah
  Ah baby, woo!


  Ah, you can't always get what you want, no, no, baby
  You can't always get what you want, you can't now, now
  You can't always get what you want
  But if you try sometimes you just might find
  You just might find that you
  You get what you need, oh yeah
  Ah yeah, do that

  WRITERS

  Keith Richards, Mick Jagger

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      84811/16/23
                                                             Filed            Page 415 of 473 PageID #: 1875
BCG_ID_12216_LF.txt[11/10/23, 10:59:12 AM]
  Lyrics
  Baby, baby
  I'm taken with the notion
  To love you with the sweetest of devotion


  Baby, baby
  My tender love will flow from
  The bluest sky to the deepest ocean


  Stop for a minute
  Baby, I'm so glad you're mine, yeah
  You're mine


  Baby, baby
  The stars are shining for you
  And just like me, I'm sure that they adore you


  Baby, baby
  Go walking through the forest
  The birds above are singing you a chorus


  Stop for a minute
  Baby, they're so glad you're mine, oh yeah
  And ever since the day you put my heart in motion
  Baby, I realize that there's just no getting over you


  Baby, baby
  In any kind of weather
  I'm here for you, always and forever


  Baby, baby
  No muscle man could sever
  My love for you is true and it will never


  Stop for a minute
  Baby, I'm so glad you're mine
  And ever since the day you put my heart in motion
  Baby, I realize there's just no getting over you


  And ever since the day you put my heart in motion
  Baby, I realize that there's just no getting over you
  Over you


             Case 3:23-cv-01092              Document 49-7      84911/16/23
                                                             Filed            Page 416 of 473 PageID #: 1876
BCG_ID_12323_LF.txt[11/10/23, 10:59:12 AM]
  Baby, baby
  Always and forever
  Baby, I'm so glad that
  Here for you, baby
  So glad you're mine
  Baby, I'm so glad that
  When I think about you, it makes me smile
  Baby, baby, be mine
  Baby, I'm so glad that
  Don't stop giving love
  Don't stop, no
  Baby, I'm so glad that you're mine
  Baby, I'm so glad
  Baby, I'm so glad that
  When I think about you, it makes me smile

  WRITERS

  Amy Grant, Brian Thomas

  PUBLISHERS

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                                                             Filed            Page 417 of 473 PageID #: 1877
BCG_ID_12323_LF.txt[11/10/23, 10:59:12 AM]
  Lyrics
  The splendor of a King, clothed in majesty
  Let all the Earth rejoice
  All the Earth rejoice


  He wraps himself in light
  And darkness tries to hide
  And trembles at His voice
  Trembles at His voice


  How great is our God, sing with me
  How great is our God, and all will see
  How great, how great is our God


  Age to age He stands
  And time is in His hands
  Beginning and the end
  Beginning and the end


  The Godhead Three in One
  Father Spirit Son
  The Lion and the Lamb
  The Lion and the Lamb


  How great is our God, sing with me
  How great is our God, and all will see
  How great, how great is our God


  Name above all names (how great is our God, sing with me)
  Worthy of our praise (how great is our God, and all will see)
  My heart will sing
  How great is our God


  You're the name above all names (how great is our God, sing with me)
  You are worthy of our praise (how great is our God, and all will see)
  And my heart will sing
  How great is our God


  How great is our God, sing with me
  How great is our God, and all will see
  How great, how great is our God


  How great is our God, sing with me
  How great is our God, and all will see
             Case 3:23-cv-01092              Document 49-7      85111/16/23
                                                             Filed            Page 418 of 473 PageID #: 1878
BCG_ID_12324_LF.txt[11/10/23, 10:59:12 AM]
  How great, how great is our God


  How great is our God, sing with me
  How great is our God, and all will see
  How great, how great is our God

  WRITERS

  Chris Tomlin, Ed Cash, Jesse Reeves

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      85211/16/23
                                                             Filed            Page 419 of 473 PageID #: 1879
BCG_ID_12324_LF.txt[11/10/23, 10:59:12 AM]
  Lyrics
  There's a peace I've come to know
  Though my heart and flesh may fail
  There's an anchor for my soul
  I can say "It is well"


  Jesus has overcome
  And the grave is overwhelmed
  The victory is won
  He is risen from the dead


  And I will rise when He calls my name
  No more sorrow, no more pain
  I will rise on eagles' wings
  Before my God fall on my knees
  And rise
  I will rise


  There's a day that's drawing near
  When this darkness breaks to light
  And the shadows disappear
  And my faith shall be my eyes


  Jesus has overcome
  And the grave is overwhelmed
  The victory is won
  He is risen from the dead


  And I will rise when He calls my name
  No more sorrow, no more pain
  I will rise on eagles' wings
  Before my God fall on my knees
  And rise
  I will rise


  And I hear the voice of many angels sing,
  "Worthy is the Lamb"
  And I hear the cry of every longing heart,
  "Worthy is the Lamb"


  And I hear the voice of many angels sing,
  "Worthy is the Lamb"
  And I hear the cry of every longing heart,
  "Worthy is the Lamb"


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                                                             Filed            Page 420 of 473 PageID #: 1880
BCG_ID_12325_LF.txt[11/10/23, 10:59:13 AM]
  And I will rise when He calls my name
  No more sorrow, no more pain
  I will rise on eagles' wings
  Before my God fall on my knees
  And rise
  I will rise

  WRITERS

  CHRIS TOMLIN, JESSE REEVES, LOUIE GIGLIO, MATT MAHER

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      85411/16/23
                                                             Filed            Page 421 of 473 PageID #: 1881
BCG_ID_12325_LF.txt[11/10/23, 10:59:13 AM]
  Lyrics
  I love You, Lord
  Oh, Your mercy never fails me
  All my days, I've been held in Your hands
  From the moment that I wake up
  Until I lay my head
  Oh, I will sing of the goodness of God


  And all my life You have been faithful
  And all my life You have been so, so good
  With every breath that I am able
  Oh, I will sing of the goodness of God


  I love Your voice
  You have led me through the fire
  And in darkest night You are close like no other
  I've known You as a Father
  I've known You as a Friend
  And I have lived in the goodness of God, yeah


  And all my life You have been faithful, oh
  And all my life You have been so, so good
  With every breath that I am able
  Oh, I will sing of the goodness of God, yeah


  'Cause Your goodness is running after, it's running after me
  Your goodness is running after, it's running after me
  With my life laid down, I'm surrendered now
  I give You everything
  'Cause Your goodness is running after, it's running after me, oh-oh
  'Cause Your goodness is running after, it's running after me
  Your goodness is running after, it's running after me
  With my life laid down, I'm surrendered now
  I give You everything
  'Cause Your goodness is running after, it keeps running after me


  And all my life You have been faithful
  And all my life You have been so, so good
  With every breath that I am able
  Oh, I'm gonna sing of the goodness of God
  I'm gonna sing, I'm gonna sing
  Oh, 'cause
  'Cause all my life You have been faithful
  And all my life You have been so, so good
  With every breath that I am able
  Oh, I'm gonna sing of the goodness of God
  Oh, I'm gonna sing of the goodness of God

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                                                             Filed            Page 422 of 473 PageID #: 1882
BCG_ID_12327_LF.txt[11/10/23, 10:59:13 AM]
  We love You for that
  One for all my days

  WRITERS

  Ben Fielding, Brian Johnson, Edward Martin Cash, Jason Ingram, Jenn Johnson

  PUBLISHERS

  Lyrics © Capitol CMG Publishing




             Case 3:23-cv-01092              Document 49-7      85611/16/23
                                                             Filed            Page 423 of 473 PageID #: 1883
BCG_ID_12327_LF.txt[11/10/23, 10:59:13 AM]
  Lyrics
  Worthy of every song we could ever sing
  Worthy of all the praise we could ever bring
  Worthy of every breath we could ever breathe
  We live for You
  Oh, we live for You


  Jesus, the Name above every other name
  Jesus, the only One who could ever save
  Worthy of every breath we could ever breathe
  We live for You
  We live for You


  Holy, there is no one like You, there is none beside You
  Open up my eyes in wonder and
  Show me who You are and fill me with Your heart
  And lead me in Your love to those around me


  Jesus, the name above every other name
  Jesus, the only One who could ever save
  You're worthy of every breath we could ever breathe
  We live for You
  Oh we live for You


  Holy, there is no one like You, there is none beside You
  Open up my eyes in wonder and
  Show me who You are and fill me with Your heart
  And lead me in Your love to those around me


  And I will build my life upon Your love, it is a firm foundation
  And I will put my trust in You alone and I will not be shaken
  And I will build my life upon Your love, it is a firm foundation
  And I will put my trust in You alone and I will not be shaken


  Holy, there is no one like You, there is none beside You
  Open up my eyes in wonder and
  Show me who You are and fill me with Your heart
  And lead me in Your love to those around me


  I will build my life upon
  In You alone

  WRITERS

  Brett Younker, Karl Andrew Martin, Kirby Kaple, Matt Redman, Pat Barrett

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                                                             Filed            Page 424 of 473 PageID #: 1884
BCG_ID_12328_LF.txt[11/10/23, 10:59:14 AM]
  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      85811/16/23
                                                             Filed            Page 425 of 473 PageID #: 1885
BCG_ID_12328_LF.txt[11/10/23, 10:59:14 AM]
  Lyrics
  Bless the Lord oh my soul
  Oh my soul
  Worship His Holy name
  Sing like never before
  Oh my soul
  I'll worship Your Holy name


  The sun comes up
  It's a new day dawning
  It's time to sing Your song again
  Whatever may pass
  And whatever lies before me
  Let me be singing
  When the evening comes


  Bless the Lord oh my soul
  Oh my soul
  Worship His Holy name
  Sing like never before
  Oh my soul
  I'll worship Your Holy name


  You're rich in love
  And You're slow to anger
  Your name is great
  And Your heart is kind
  For all Your goodness
  I will keep on singing
  Ten thousand reasons
  For my heart to find


  Bless the Lord oh my soul
  Oh my soul
  Worship His Holy name
  Sing like never before
  Oh my soul
  I'll worship Your Holy name
  Bless You Lord


  And on that day
  When my strength is failing
  The end draws near
  And my time has come
  Still my soul will
  Sing Your praise unending
  Ten thousand years
  And then forevermore
             Case 3:23-cv-01092              Document 49-7      85911/16/23
                                                             Filed            Page 426 of 473 PageID #: 1886
BCG_ID_12457_LF.txt[11/10/23, 10:59:14 AM]
  Forevermore


  Bless the Lord oh my soul
  Oh my soul
  Worship His Holy name
  Sing like never before
  Oh my soul
  I'll worship Your Holy name


  Bless the Lord oh my soul
  Oh my soul
  Worship His Holy name
  Sing like never before
  Oh my soul
  I'll worship Your Holy name
  Yes I'll worship Your Holy name
  I'll worship Your Holy name


  Sing like never before
  Oh my soul
  I'll worship Your Holy name
  Jesus I will worship Your Holy name
  Worship Your Holy name

  WRITERS

  Jonas Myrin, Matt Redman

  PUBLISHERS

  Lyrics © CAPITOL CHRISTIAN MUSIC GROUP




             Case 3:23-cv-01092              Document 49-7      86011/16/23
                                                             Filed            Page 427 of 473 PageID #: 1887
BCG_ID_12457_LF.txt[11/10/23, 10:59:14 AM]
  Lyrics
  Think of me when you're out, when you're out there
  I'll beg you nice from my knees
  And when the world treats you way too fairly
  Well, it's a shame I'm a dream


  All I wanted was you
  All I wanted was you


  I think I'll pace my apartment a few times
  And fall asleep on the couch
  And wake up early to black-and-white reruns
  That escaped from my mouth (oh, oh)


  All I wanted was you
  All I wanted was you
  All I wanted was you
  All I wanted was you


  I could follow you to the beginning
  Just to relive the start
  And maybe then we'd remember to slow down
  At all of our favorite parts


  All I wanted was you
  All I wanted was you
  All I wanted was you
  All I wanted was you
  All I wanted was you

  WRITERS

  Hayley Williams, Taylor York

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      86111/16/23
                                                             Filed            Page 428 of 473 PageID #: 1888
BCG_ID_12462_LF.txt[11/10/23, 10:59:14 AM]
  Lyrics
  My foes are many, they rise against me
  But I will hold my ground
  I will not fear the war, I will not fear the storm
  My help is on the way, my help is on the way


  Oh, my God, He will not delay
  My refuge and strength always
  I will not fear, His promise is true
  My God will come through always, always


  Troubles surround me, chaos abounding
  My soul will rest in You
  I will not fear the war, I will not fear the storm
  My help is on the way, my help is on the way


  Oh, my God, He will not delay
  My refuge and strength always
  I will not fear, His promise is true
  My God will come through always, always


  I lift my eyes up, my help comes from the Lord
  I lift my eyes up, my help comes from the Lord
  I lift my eyes up, my help comes from the Lord
  I lift my eyes up, my help comes from the Lord
  From You Lord, from You Lord


  Oh, my God, He will not delay
  My refuge and strength always
  I will not fear, His promise is true
  My God will come through always, always


  Oh, my God, He will not delay
  My refuge and strength always, always

  WRITERS

  Jon Bon Jovi

  PUBLISHERS

  Lyrics © Universal Music Publishing Group




             Case 3:23-cv-01092              Document 49-7      86211/16/23
                                                             Filed            Page 429 of 473 PageID #: 1889
BCG_ID_12464_LF.txt[11/10/23, 10:59:15 AM]
  Lyrics
  As the deer panteth for the water
  So my soul longeth after Thee
  You alone are my heart's desire
  And I long to worship Thee


  You alone are my strength, my shield
  To You alone may my spirit yield
  You alone are my heart's desire
  And I long to worship Thee


  As the deer panteth for the water
  So my soul longeth after Thee
  You alone are my heart's desire
  And I long to worship Thee


  You alone are my strength, my shield
  To You alone may my spirit yield
  You alone are my heart's desire
  And I long to worship Thee


  You're my friend
  And You are my brother
  Even though You are a King
  I love You more than any other
  So much more than anything


  You alone are my strength, my shield
  To You alone may my spirit yield
  You alone are my heart's desire
  And I long to worship Thee

  WRITERS

  Martin J. Nystrom

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      86311/16/23
                                                             Filed            Page 430 of 473 PageID #: 1890
BCG_ID_12467_LF.txt[11/10/23, 10:59:15 AM]
  Lyrics
  There's a place
  Where mercy reigns
  And never dies


  There's a place
  Where streams of grace
  Flow deep and wide


  Where all the love
  I've ever found
  Comes like a flood
  Comes flowing down


  At the cross, at the cross
  I surrender my life
  I'm in awe of You
  I'm in awe of You
  Where Your love ran red
  And my sin washed white
  I owe all to You
  I owe all to You Jesus


  There's a place
  Where sin and shame
  Are powerless
  Where my heart
  Has peace with God
  And forgiveness
  Where all the love
  I've ever found
  Comes like a flood
  Comes flowing down


  At the cross, at the cross
  I surrender my life
  I'm in awe of You
  I'm in awe of You
  Where Your love ran red
  And my sin washed white
  I owe all to You
  I owe all to You


  Here my hope is found
  Here on holy ground
  Here I bow down
  Here I bow down
             Case 3:23-cv-01092              Document 49-7      86411/16/23
                                                             Filed            Page 431 of 473 PageID #: 1891
BCG_ID_12468_LF.txt[11/10/23, 10:59:15 AM]
  Here arms open wide
  Here You save my life
  Here I bow down
  Here I bow down


  At the cross, at the cross
  I surrender my life
  I'm in awe of You
  I'm in awe of You
  Where Your love ran red
  And my sin washed white
  I owe all to You
  I owe all to You


  I owe all to You
  I owe all to You
  Jesus (oh)


  (Savior of the world)
  (Jesus) (Savior of the world)


  Where Your love ran red
  Your love ran red

  WRITERS

  Matt Armstrong, Ed Cash, Chris Tomlin, Matt Redman, Jonas Myrin

  PUBLISHERS

  Lyrics © Capitol CMG Publishing




             Case 3:23-cv-01092              Document 49-7      86511/16/23
                                                             Filed            Page 432 of 473 PageID #: 1892
BCG_ID_12468_LF.txt[11/10/23, 10:59:15 AM]
  Lyrics
  All this pain
  I wonder if I'll ever find my way
  I wonder if my life could really change, at all
  All this earth
  Could all that is lost ever be found?
  Could a garden come out from this ground, at all?


  You make beautiful things
  You make beautiful things out of the dust
  You make beautiful things
  You make beautiful things out of us


  All around,
  Hope is springing up from this old ground
  Out of chaos life is being found, in you


  You make beautiful things
  You make beautiful things out of the dust
  You make beautiful things
  You make beautiful things out of us
  Oh, you make beautiful things
  You make beautiful things out of the dust
  You make beautiful things
  You make beautiful things out of us


  You make me new,
  You are making me new
  You make me new,
  You are making me new
  (Making me new)


  You make beautiful things
  You make beautiful things out of the dust
  You make beautiful things
  You make beautiful things out of us
  Oh, you make beautiful things
  You make beautiful things out of the dust
  You make beautiful things
  You make beautiful things out of us


  You make me new,
  You are making me new
  You make me new,
  You are making me new

  WRITERS
             Case 3:23-cv-01092              Document 49-7      86611/16/23
                                                             Filed            Page 433 of 473 PageID #: 1893
BCG_ID_12471_LF.txt[11/10/23, 10:59:15 AM]
  LISA GUNGOR, MICHAEL GUNGOR

  PUBLISHERS

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  Capitol CMG Publishing




             Case 3:23-cv-01092              Document 49-7      86711/16/23
                                                             Filed            Page 434 of 473 PageID #: 1894
BCG_ID_12471_LF.txt[11/10/23, 10:59:15 AM]
  Lyrics
  Come out of sadness
  From wherever you've been
  Come broken hearted
  Let rescue begin
  Come find your mercy
  Oh sinner come kneel
  Earth has no sorrow
  That heaven can't heal
  Earth has no sorrow
  That heaven can't heal


  So lay down your burdens
  Lay down your shame
  All who are broken
  Lift up your face
  Oh wanderer come home
  You're not too far
  So lay down your hurt
  Lay down your heart
  Come as you are


  There's hope for the hopeless
  And all those who've strayed
  Come sit at the table
  Come taste the grace
  There's rest for the weary
  Rest that endures
  Earth has no sorrow
  That heaven can't cure


  So lay down your burdens
  Lay down your shame
  All who are broken
  Lift up your face
  Oh wanderer come home
  You're not too far
  Lay down your hurt lay down your heart
  Come as you are
  Come as you are
  Fall in his arms
  Come as you are
  There's joy for the morning
  Oh sinner be still
  Earth has no sorrow
  That heaven can't heal
  Earth has no sorrow
  That heaven can't heal


             Case 3:23-cv-01092              Document 49-7      86811/16/23
                                                             Filed            Page 435 of 473 PageID #: 1895
BCG_ID_12486_LF.txt[11/10/23, 10:59:16 AM]
  So lay down your burdens
  Lay down your shame
  All who are broken
  Lift up your face
  Oh wanderer come home
  You're not too far
  So lay down your hurt
  Lay down your heart
  Come as you are
  Come as you are
  Come as you are
  Come as you are

  WRITERS

  David Crowder, Ben Glover, Matt Maher

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      86911/16/23
                                                             Filed            Page 436 of 473 PageID #: 1896
BCG_ID_12486_LF.txt[11/10/23, 10:59:16 AM]
  Lyrics
  Welcome to the planet
  Welcome to existence
  Everyone's here
  Everyone's here
  Everybody's watching you now
  Everybody waits for you now
  What happens next?
  What happens next?


  I dare you to move
  I dare you to move
  I dare you to lift yourself up off the floor
  I dare you to move
  I dare you to move
  Like today never happened
  Today never happened before


  Welcome to the fallout
  Welcome to resistance
  The tension is here
  The tension is here
  Between who you are and who you could be
  Between how it is and how it should be
  Yeah


  I dare you to move
  I dare you to move
  I dare you to lift yourself up off the floor
  I dare you to move
  I dare you to move
  Like today never happened
  Today never happened before


  Maybe redemption has stories to tell
  Maybe forgiveness is right where you fell
  Where can you run to escape from yourself?
  Where you gonna go?
  Where you gonna go?
  Salvation is here


  I dare you to move
  I dare you to move
  I dare you to lift yourself
  To lift yourself up off the floor
  I dare you to move
  I dare you to move
  Like today never happened
             Case 3:23-cv-01092              Document 49-7      87011/16/23
                                                             Filed            Page 437 of 473 PageID #: 1897
BCG_ID_12490_LF.txt[11/10/23, 10:59:16 AM]
  Today never happened
  Today never happened
  Today never happened before

  WRITERS

  Jonathan Foreman

  PUBLISHERS

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  Publishing, RESERVOIR MEDIA MANAGEMENT INC, Warner Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-7      87111/16/23
                                                             Filed            Page 438 of 473 PageID #: 1898
BCG_ID_12490_LF.txt[11/10/23, 10:59:16 AM]
  Lyrics
  Packing up the dreams God planted
  In the fertile soil of you
  Can't believe the hopes He's granted
  Means a chapter in your life is through
  But we'll keep you close as always
  It won't even seem you've gone
  'Cause our hearts in big and small ways
  Will keep the love that keeps us strong


  And friends are friends forever
  If the Lord's the Lord of them
  And a friend will not say never
  'Cause the welcome will not end
  Though it's hard to let you go
  In the Father's hands we know
  That a lifetime's not too long
  To live as friends


  With the faith and love God's given
  Springing from the hope we know
  We will pray the joy you'll live in
  Is the strength that now you show
  But we'll keep you close as always
  It won't even seem you've gone
  'Cause our hearts in big and small ways
  Will keep the love that keeps us strong


  And friends are friends forever
  If the Lord's the Lord of them
  And a friend will not say never
  'Cause the welcome will not end
  Though it's hard to let you go
  In the Father's hands we know
  That a lifetime's not too long
  To live as friends


  And friends are friends forever
  If the Lord's the Lord of them
  And a friend will not say never
  'Cause the welcome will not end
  Though it's hard to let you go
  In the Father's hands we know
  That a lifetime's not too long
  To live as friends
  No, a lifetime's not too long
  To live as friends

  WRITERS
             Case 3:23-cv-01092              Document 49-7      87211/16/23
                                                             Filed            Page 439 of 473 PageID #: 1899
BCG_ID_12502_LF.txt[11/10/23, 10:59:16 AM]
  Deborah D. Smith, Michael Whitaker Smith

  PUBLISHERS

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  Chappell Music, Inc.




             Case 3:23-cv-01092              Document 49-7      87311/16/23
                                                             Filed            Page 440 of 473 PageID #: 1900
BCG_ID_12502_LF.txt[11/10/23, 10:59:16 AM]
  Lyrics
  Lord of all creation
  Of water, earth, and sky
  The heavens are Your tabernacle
  Glory to the Lord on High


  God of wonders, beyond out galaxy
  You are holy, holy
  The universe declares Your majesty
  You are holy, holy


  Lord of heaven and earth
  Lord of heaven and earth
  Early in the morning
  I will celebrate the light
  And as I stumble through the darkness
  I will call Your name by night


  God of wonders, beyond out galaxy
  You are holy, holy
  The universe declares Your majesty
  You are holy, holy


  Lord of heaven and earth
  Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  God of wonders, beyond out galaxy
  You are holy, holy
  Precious Lord, reveal Your heart to me
  Father holy, holy
  The universe declares Your majesty
  You are holy, holy, holy, holy


  Hallelujah to the Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  Hallelujah to the Lord of heaven and earth
  Lord of heaven and earth
  Lord of heaven and earth


  Early in the morning
  I will celebrate the light
  And as I stumble through the darkness
             Case 3:23-cv-01092              Document 49-7      87411/16/23
                                                             Filed            Page 441 of 473 PageID #: 1901
BCG_ID_12506_LF.txt[11/10/23, 10:59:17 AM]
  I will call your name by night


  God of wonders beyond our galaxy
  You are holy, holy
  The universe declares your majesty
  You are holy, holy


  Lord of heaven and earth
  Lord of heaven and earth


  Hallelujahs to the Lord of heaven and earth
  Hallelujahs to the Lord of heaven and earth


  God of wonders beyond our galaxy
  You are holy, holy
  Precious Lord reveal your heart to me
  Father holy, holy


  The universe declares your majesty
  You are holy, holy, holy, holy


  Hallelujahs to the Lord of heaven and earth
  Hallelujahs to the Lord of heaven and earth
  Hallelujahs to the Lord of heaven and earth
  Hallelujahs to the Lord of heaven and earth
  Halleluia

  WRITERS

  Marc Byrd, Steve Hindalong

  PUBLISHERS

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  Inc.




             Case 3:23-cv-01092              Document 49-7      87511/16/23
                                                             Filed            Page 442 of 473 PageID #: 1902
BCG_ID_12506_LF.txt[11/10/23, 10:59:17 AM]
  Lyrics
  I've heard a thousand stories of what they think you're like
  But I've heard the tender whispers of love in the dead of night
  And you tell me that you're pleased
  And that I'm never alone


  You're a good good father
  It's who you are, it's who you are, it's who you are
  And I'm loved by you
  It's who I am, it's who I am, it's who I am


  I've seen many searching for answers far and wide
  But I know we're all searching
  For answers only you provide
  'Cause you know just what we need
  Before we say a word


  You're a good good father
  It's who you are, it's who you are, it's who you are
  And I'm loved by you
  It's who I am, it's who I am, it's who I am


  Because you are perfect in all of your ways
  You are perfect in all of your ways
  You are perfect in all of your ways to us


  You are perfect in all of your ways
  You are perfect in all of your ways
  You are perfect in all of your ways to us


  Oh, it's love so undeniable
  I, I can hardly speak
  Peace so unexplainable
  I, I can hardly think
  As you call me deeper still
  As you call me deeper still
  As you call me deeper still
  Into love, love, love


  You're a good good father
  It's who you are, it's who you are, it's who you are
  And I'm loved by you
  It's who I am, it's who I am, it's who I am


  You're a good good father
             Case 3:23-cv-01092              Document 49-7      87611/16/23
                                                             Filed            Page 443 of 473 PageID #: 1903
BCG_ID_12509_LF.txt[11/10/23, 10:59:17 AM]
  It's who you are, it's who you are, it's who you are
  And I'm loved by you
  It's who I am, it's who I am, it's who I am
  You're a good good father


  It's who you are, it's who you are, it's who you are
  And I'm loved by you
  It's who I am, it's who I am, it's who I am
  You're a good good father


  You are perfect in all of your ways
  It's who you are, it's who you are, it's who you are
  And I'm loved by you
  You are perfect in all of your ways
  It's who I am, it's who I am, it's who I am

  WRITERS

  Anthony Brown, Pat Barrett

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      87711/16/23
                                                             Filed            Page 444 of 473 PageID #: 1904
BCG_ID_12509_LF.txt[11/10/23, 10:59:17 AM]
  Lyrics
  Great is the Lord
  He is holy and just
  By His power we trust
  In His love
  Great is the Lord
  He is faithful and true
  By His mercy He proves
  He is love


  Great is the Lord
  And worthy of glory
  Great is the Lord
  And worthy of praise
  Great is the Lord
  Now lift up your voice
  Now lift up your voice
  Great is the Lord
  Great is the Lord


  Great is the Lord,
  He is holy and just
  By His power we trust
  In His love
  Great is the Lord
  He is faithful, and true
  By His mercy He proves
  He is love


  Great is the Lord
  And worthy of glory
  Great is the Lord
  And worthy of praise
  Great is the Lord
  Now lift up your voice
  Now lift up your voice
  Great is the Lord
  Great is the Lord


  Great are you Lord
  And worthy of glory
  Great are you Lord
  And worthy of praise
  Great are you Lord
  I lift up my voice
  I lift up my voice
  Great are you Lord
  Great are you Lord

             Case 3:23-cv-01092              Document 49-7      87811/16/23
                                                             Filed            Page 445 of 473 PageID #: 1905
BCG_ID_12512_LF.txt[11/10/23, 10:59:18 AM]
  WRITERS

  Y, ASAPH ALEXANDER WARD

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      87911/16/23
                                                             Filed            Page 446 of 473 PageID #: 1906
BCG_ID_12512_LF.txt[11/10/23, 10:59:18 AM]
  Lyrics
  He is exalted the King is exalted on High
  I will praise You
  He is exalted forever exalted
  And I will praise His name
  (chours)1x


  He is exalted the King is exalted on High
  I will praise Him
  He is exalted forever exalted
  And I will praise His name


  chorus:
  He is the Lord
  Forever His truth shall reign
  Heaven and Earth
  Rejoice in His holy name
  He is exalted the King is exalted on high


  He is exalted the King is exalted on high

  WRITERS

  TWILA PARIS

  PUBLISHERS

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  Inc.




             Case 3:23-cv-01092              Document 49-7      88011/16/23
                                                             Filed            Page 447 of 473 PageID #: 1907
BCG_ID_12518_LF.txt[11/10/23, 10:59:18 AM]
  Lyrics
  It's the song of the redeemed
  Rising from the African plain
  It's the song of the forgiven
  Drowning out the Amazon rain


  The song of Asian believers
  Filled with God's holy fire
  It's every tribe, every tongue, every nation
  A love song born of a grateful choir


  It's all God's children singing
  Glory, glory, hallelujah
  He reigns, He reigns
  It's all God's children singing
  Glory, glory, hallelujah
  He reigns, He reigns


  Let it rise above the four winds
  Caught up in the heavenly sound
  Let praises echo from the towers of cathedrals
  To the faithful gathered underground


  Of all the songs sung from the dawn of creation
  Some were meant to persist
  Of all the bells rung from a thousand steeples
  None rings truer than this


  It's all God's children singing
  Glory, glory, hallelujah
  He reigns, He reigns
  It's all God's children singing
  Glory, glory, hallelujah
  He reigns, He reigns


  It's all God's children singing
  Glory, glory, hallelujah
  He reigns, He reigns (He reigns)
  It's all God's children singing
  Glory, glory, hallelujah
  He reigns, He reigns (He reigns)


  And all the powers of darkness
  Tremble at what they've just heard
  'Cause all the powers of darkness
  Can't drown out a single word
             Case 3:23-cv-01092              Document 49-7      88111/16/23
                                                             Filed            Page 448 of 473 PageID #: 1908
BCG_ID_12519_LF.txt[11/10/23, 10:59:18 AM]
  When all God's children sing out
  Glory, glory, hallelujah
  He reigns, He reigns (He reigns)
  All God's children sing out
  Glory, glory, hallelujah
  He reigns, He reigns (He reigns)


  All God's people singing
  Glory, glory, hallelujah (every child)
  He reigns, He reigns (hallelujah, hallelujah)
  It's all God's people singing
  Glory, glory, hallelujah (every child)
  He reigns, He reigns, yeah (hallelujah, hallelujah)


  All singing
  Glory, glory, hallelujah (every child)
  Glory, glory, yeah (hallelujah, he reigns, hallelujah)
  All singing
  Glory, glory, hallelujah (every child)
  He reigns (hallelujah, he reigns, hallelujah)


  All God's people singing (you're my glory)
  Glory, glory, hallelujah (you're my glory, you're my glory)
  He reigns (hallelujah, he reigns, hallelujah)
  All God's people singing
  Glory, glory, hallelujah (you're my glory)
  He reigns (hallelujah, he reigns, hallelujah)


  All God's people singing
  Glory, glory, hallelujah
  He reigns, He reigns
  All God's children singing
  Glory, glory, hallelujah
  He reigns

  WRITERS

  Peter Furler, Steve Taylor

  PUBLISHERS

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             Case 3:23-cv-01092              Document 49-7      88211/16/23
                                                             Filed            Page 449 of 473 PageID #: 1909
BCG_ID_12519_LF.txt[11/10/23, 10:59:18 AM]
  Lyrics
  Here's my heart Lord
  Here's my heart Lord
  Here's my heart Lord
  Speak what is true


  Here's my heart Lord
  Here's my heart Lord
  Here's my heart Lord
  Speak what is true


  'Cause I am found, I am Yours
  I am loved, I'm made pure
  I have life, I can breathe
  I am healed, I am free


  Here's my heart Lord
  Here's my heart Lord
  Here's my heart Lord
  Speak what is true


  'Cause I am found, I am Yours
  I am loved, I'm made pure
  I have life, I can breathe
  I am healed, I am free


  'Cause You are strong, You are sure
  You are life, You endure
  You are good, always true
  You are light breaking through


  Here's my heart Lord
  Here's my heart Lord
  Here's my heart Lord
  Speak what is true


  Here's my life Lord
  Here's my life Lord
  Here's my life Lord
  Speak what is true
  Speak what is true
  Speak what is true


  I am found, I am Yours
  I am loved, I'm made pure
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BCG_ID_12523_LF.txt[11/10/23, 10:59:19 AM]
  I have life, I can breathe
  I am healed, I am free


  'Cause You are strong, You are sure
  You are life, You endure
  You are good, always true
  You are light breaking through


  You are more than enough
  You are here, You are love
  You are hope, You are grace
  You're all I have, You're everything


  Here's my heart Lord
  Here's my heart Lord
  Here's my heart Lord
  Speak what is true


  Here's my life Lord
  Here's my life Lord
  Here's my life Lord
  Speak what is true
  Speak what is true
  Speak what is true
  Speak what is true

  WRITERS

  JASON INGRAM, CHRIS TOMLIN, LOUIE GIGLIO

  PUBLISHERS

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  Warner Chappell Music, Inc.




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BCG_ID_12523_LF.txt[11/10/23, 10:59:19 AM]
  Lyrics
  When I walk through deep waters
  I know that You will be with me
  When I'm standing in the fire
  I will not be overcome
  Through the valley of the shadow
  I will not fear


  I am not alone
  I am not alone
  You will go before me
  You will never leave me


  I am not alone
  I am not alone
  You will go before me
  You will never leave me


  In the midst of deep sorrow
  I see Your light is breaking through
  The dark of night will not overtake me
  I am pressing into You


  Lord, You fight my every battle
  Oh, and I will not fear


  I am not alone
  I am not alone
  You will go before me
  You will never leave me


  I am not alone
  I am not alone
  You will go before me
  You will never leave me


  You amaze me
  Redeem me
  You call me as Your own
  You amaze me
  Redeem me
  You call me as Your own


  You're my strength
  You're my defender
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BCG_ID_12532_LF.txt[11/10/23, 10:59:19 AM]
  You're my refuge in the storm
  Through these trials
  You've always been faithful
  You bring healing to my soul


  I am not alone
  I am not alone
  You will go before me
  You will never leave me


  I am not alone (no)
  I am not alone
  You will go before me
  You will never leave me


  I am not alone
  I am not alone
  You will go before me
  You will never leave me

  WRITERS

  AUSTIN DAVIS, BEN DAVIS, DUSTIN SAUDER, GRANT PITTMAN, KARI JOBE, MARTY SAMPSON, MIA
  FIELDES

  PUBLISHERS

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BCG_ID_12532_LF.txt[11/10/23, 10:59:19 AM]
  Lyrics
  I don't need a lot of things
  I can get by with nothing
  With all the blessings life can bring
  I've always needed something
  But I've got all I want
  When it comes to loving you
  You're my only reason
  You're my only truth


  I need you like water
  Like breath, like rain
  I need you like mercy
  From heaven's gate
  There's a freedom in your arms
  That carries me through
  I need you (dada, dada, da), ooh
  Ooh


  You're the hope that moves me
  To courage again, oh yeah
  You're the love that rescues me
  When the cold winds rage
  And it's so amazing
  'Cause that's just how you are
  And I can't turn back now
  'Cause you've brought me too far


  I need you like water
  Like breath, like rain
  I need you like mercy
  From Heaven's gate
  There's a freedom in your arms
  That carries me through
  I need you
  Ooh, yes I do, oh


  I need you like water
  Like breath, like rain
  I need you like mercy
  From Heaven's gate
  There's a freedom in your arms
  That carries me through
  I need you (dada, dada, da)
  Oh, yes I do (dada, dada, da)
  I need you (dada, dada, da)
  Oh, ooh-ooh (dada, dada, da)
  Ooh-ooh (dada, dada, da)
  I need you, oh (dada, dada, da)
             Case 3:23-cv-01092              Document 49-7      88711/16/23
                                                             Filed            Page 454 of 473 PageID #: 1914
BCG_ID_12537_LF.txt[11/10/23, 10:59:19 AM]
  (Dada, dada, da)
  I need you (dada, dada, da)

  WRITERS

  Ty Kelly Lacy, Dennis Joseph Matkosky

  PUBLISHERS

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  Capitol CMG Publishing, Warner Chappell Music, Inc.




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BCG_ID_12537_LF.txt[11/10/23, 10:59:19 AM]
  Lyrics
  Tomorrow morning if you wake up,
  And the sun does not appear
  I, I will be here


  If in the dark we lose sight of love,
  Hold my hand, and have no fear
  Cause I, I will be here


  I will be here when you feel like being quiet
  When you need to speak your mind,
  I will listen and
  I will be here when the laughter turns to cryin'
  Through the winning, losing and tryin'
  We'll be together 'cause I will be here


  Tomorrow morning if you wake up,
  And the future is unclear
  I I will be here
  As sure as seasons are made for change,
  Our lifetime's are made for years
  So, I I will be here


  I will be here and you can cry on my shoulder,
  When the mirror tells us we're older,
  I will hold you and
  I will be here to watch you grow in beauty
  And tell you all the things you are to me
  I will be here


  I will be true to the promise I have made
  To you and to the One who gave you to me


  I I will be here


  And just as sure as seasons are made for change
  Our lifetime's are made for years
  So, I I will be here we'll be together


  I will be here

  WRITERS

  Steven Curtis Chapman

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BCG_ID_12539_LF.txt[11/10/23, 10:59:20 AM]
  PUBLISHERS

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BCG_ID_12539_LF.txt[11/10/23, 10:59:20 AM]
  Lyrics
  From the highest of heights to the depths of the sea
  Creations revealing Your majesty
  From the colors of fall to the fragrance of spring
  Every creature unique in the song that it sings
  All exclaiming


  Indescribable, uncontainable,
  You placed the stars in the sky and You know them by name.
  You are amazing God
  All powerful, untameable,
  Awestruck we fall to our knees as we humbly proclaim
  You are amazing God


  Who has told every lightning bolt where it should go
  Or seen heavenly storehouses laden with snow
  Who imagined the sun and gives source to its light
  Yet conceals it to bring us the coolness of night
  None can fathom


  Indescribable, uncontainable,
  You placed the stars in the sky and You know them by name
  You are amazing God
  All powerful, untameable,
  Awestruck we fall to our knees as we humbly proclaim
  You are amazing God
  You are amazing God


  Indescribable, uncontainable,
  You placed the stars in the sky and You know them by name.
  You are amazing God
  All powerful, untameable,
  Awestruck we fall to our knees as we humbly proclaim
  You are amazing God
  Indescribable, uncontainable,
  You placed the stars in the sky and You know them by name.
  You are amazing God
  Incomparable, unchangeable
  You see the depths of my heart and You love me the same


  You are amazing God
  You are amazing God

  WRITERS

  Laura Story, Jesse Reeves

  PUBLISHERS
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                                                             Filed            Page 458 of 473 PageID #: 1918
BCG_ID_12547_LF.txt[11/10/23, 10:59:20 AM]
  Lyrics © CAPITOL CHRISTIAN MUSIC GROUP, Capitol CMG Publishing




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                                                             Filed            Page 459 of 473 PageID #: 1919
BCG_ID_12547_LF.txt[11/10/23, 10:59:20 AM]
  Lyrics
  He became sin, who knew no sin
  That we might become His righteousness
  He humbled himself and carried the cross
  Love so amazing, love so amazing


  Jesus Messiah, name above all names
  Blessed redeemer, Emmanuel
  The rescue for sinners, the ransom from Heaven
  Jesus Messiah, Lord of all


  His body the bread, his blood the wine
  Broken and poured out all for love
  The whole earth trembled, and the veil was torn
  Love so amazing, love so amazing, yeah


  Jesus Messiah, name above all names
  Blessed redeemer, Emmanuel
  The rescue for sinners, the ransom from Heaven
  Jesus Messiah, Lord of all


  All our hope is in You, all our hope is in You
  All the glory to You, God, the light of the world


  Jesus Messiah, name above all names
  Blessed redeemer, Emmanuel
  The rescue for sinners, the ransom from Heaven
  Jesus Messiah, Lord of all


  Jesus Messiah, Lord of all
  You're the Lord of all
  The Lord of all

  WRITERS

  Chris Tomlin, Daniel Carson, Ed Cash, Jesse Reeves

  PUBLISHERS

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BCG_ID_12553_LF.txt[11/10/23, 10:59:20 AM]
  Lyrics
  Your only Son, no sin to hide
  But You have sent Him from Your side
  To walk upon this guilty sod
  And to become the Lamb of God


  Your gift of love, they crucified
  They laughed and scorned Him as He died
  The humble King, they named a fraud
  And sacrificed the Lamb of God


  Oh, Lamb of God, sweet Lamb of God
  I love the holy Lamb of God
  Oh, wash me in His precious blood
  My Jesus Christ, the Lamb of God


  I was so lost, I should have died
  But You have brought me to Your side
  To be led by Your staff and rod
  And to be called a lamb of God


  Oh, Lamb of God, sweet Lamb of God
  I love the holy Lamb of God
  Oh, wash me in His precious blood
  My Jesus Christ, the Lamb of God


  Oh, wash me in His precious blood
  My Jesus Christ, the Lamb of God



  WRITERS

  DAVID MULLEN, DAVID A. MULLEN, NICOLE C. MULLEN, NICOLE COLEMAN MULLEN

  PUBLISHERS

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BCG_ID_12558_LF.txt[11/10/23, 10:59:21 AM]
  Lyrics
  It's like we're on the edge right now
  I wish that I could say I'm proud
  I'm sorry that I let you down
  Let you down
  All these voices in my head get loud
  I wish that I could shut them out
  I'm sorry that I let you down
  L-l-let you down


  Yeah, I guess I'm a disappointment
  Doing everything I can, I don't wanna make you disappointed
  It's annoying
  I just wanna make you feel like everything I ever did wasn't ever tryna make an issue for you
  But, I guess the more you
  Thought about everything, you were never even wrong in the first place, right?
  Yeah, I'ma just ignore you
  Walking towards you, with my head down, lookin' at the ground, I'm embarrassed for you
  Paranoia, what did I do wrong this time? That's parents for you
  Very loyal?
  Shoulda had my back, but you put a knife in it, my hands are full
  What else should I carry for you?
  I cared for you, but


  It's like we're on the edge right now
  I wish that I could say I'm proud
  I'm sorry that I let you down
  L-l-let you down
  All these voices in my head get loud
  I wish that I could shut them out
  I'm sorry that I let you down
  L-l-let you down


  Yeah, you don't wanna make this work
  You just wanna make this worse
  Want me to listen to you
  But you don't ever hear my words
  You don't wanna know my hurt, yet
  Let me guess you want an apology, probably
  How can we keep going at a rate like this?
  We can't, so I guess I'ma have to leave
  Please don't come after me
  I just wanna be alone right now, I don't really wanna think at all
  Go ahead, just drink it off
  Both know you're gonna call tomorrow like nothing's wrong
  Ain't that what you always do?
  I feel like every time I talk to you, you're in an awful mood
  What else can I offer you?
  There's nothing left right now, I gave it all to you

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BCG_ID_12565_LF.txt[11/10/23, 10:59:21 AM]
  It's like we're on the edge right now
  I wish that I could say I'm proud
  I'm sorry that I let you down
  L-l-let you down
  All these voices in my head get loud
  I wish that I could shut them out
  I'm sorry that I let you down
  L-l-let you down


  Yeah, don't talk down to me
  That's not gonna work now
  Packed all my clothes and I moved out
  I don't even wanna go to your house
  Everytime I sit on that couch
  I feel like you lecture me
  Eventually, I bet that we
  Could have made this work and probably woulda figured things out
  But I guess that I'm a letdown
  But it's cool, I checked out
  Oh, you wanna be friends now?
  Okay, let's put my fake face on and pretend now
  Sit around and talk about the good times
  That didn't even happen
  I mean, why are you laughing?
  Must have missed that joke
  Let me see if I can find a reaction
  No, but at least you're happy


  Feels like we're on the edge right now
  I wish that I could say I'm proud
  I'm sorry that I let you down
  Oh, I let you down
  All these voices in my head get loud
  And I wish that I could shut them out
  I'm sorry that I let you down
  Oh, let you down


  I'm sorry
  I'm so sorry now
  I'm sorry
  That I let you down

  WRITERS

  Tommee Profitt, Nate Feuerstein

  PUBLISHERS

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BCG_ID_12565_LF.txt[11/10/23, 10:59:21 AM]
  Lyrics
  Lord, I come, I confess
  Bowing here I find my rest
  Without You I fall apart
  You're the One that guides my heart


  Lord, I need You, oh, I need You
  Every hour I need You
  My one defense, my righteousness
  Oh God, how I need You


  Where sin runs deep Your grace is more
  Where grace is found is where You are
  Where You are, Lord, I am free
  Holiness is Christ in me


  Lord, I need You, oh, I need You
  Every hour I need You
  My one defense, my righteousness
  Oh God, how I need You


  So teach my song to rise to You
  When temptation comes my way
  When I cannot stand I'll fall on You
  Jesus, You're my hope and stay


  Lord, I need You, oh, I need You
  Every hour I need You
  My one defense, my righteousness
  Oh God, how I need You


  You're my one defense, my righteousness
  Oh God, how I need You
  My one defense, my righteousness
  Oh God, how I need You

  WRITERS

  Christy Nockels, Daniel Carson, Jesse Reeves, Kristian Stanfill, Matt Maher

  PUBLISHERS

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BCG_ID_12571_LF.txt[11/10/23, 10:59:21 AM]
  Lyrics
  Fumbling his confidence
  And wondering why the world has passed him by
  Hoping that he's bent for more than arguments,
  And failed attempts to fly, fly


  We were meant to live for so much more
  Have we lost ourselves?
  Somewhere we live inside
  Somewhere we live inside
  We were meant to live for so much more
  Have we lost ourselves?
  Somewhere we live inside


  Dreaming about Providence
  And whether mice or men have second tries
  Maybe we've been livin' with our eyes half open
  Maybe we're bent and broken, broken


  We were meant to live for so much more
  Have we lost ourselves?
  Somewhere we live inside
  Somewhere we live inside
  We were meant to live for so much more
  Have we lost ourselves?
  Somewhere we live inside


  We want more than this world's got to offer
  We want more than this world's got to offer
  We want more than the wars of our fathers
  And everything inside screams for second life


  We were meant to live for so much more
  Have we lost ourselves?
  We were meant to live for so much more
  Have we lost ourselves?
  We were meant to live for so much more
  Have we lost ourselves?
  We were meant to live
  We were meant to live

  WRITERS

  Jonathan Foreman, Tim Foreman

  PUBLISHERS

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BCG_ID_12574_LF.txt[11/10/23, 10:59:21 AM]
  Publishing, RESERVOIR MEDIA MANAGEMENT INC




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BCG_ID_12574_LF.txt[11/10/23, 10:59:21 AM]
  Lyrics
  There's a song that's inside of my soul
  It's the one that I've tried to write over and over again
  I'm awake in the infinite cold
  But you sing to me over and over again


  So I lay my head back down
  And I lift my hands and pray
  To be only yours
  I pray to be only yours
  I know now your my only hope


  Sing to me the song of the stars
  Of your galaxy dancing and laughing and laughing again
  When it feels like my dreams are so far
  Sing to me of the plans that you have for me over again


  And I lay my head back down
  And I lift my hands and pray
  To be only yours
  I pray to be only yours
  I know now your my only hope


  I give you my destiny
  I'm giving you all of me
  I want your symphony
  Singing in all that I am
  At the top of my lungs
  I'm giving it back


  So I lay my head back down
  And I lift my hands and pray
  To be only yours
  I pray to be only yours
  I pray to be only yours
  I know now your my only hope

  PUBLISHERS

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  MANAGEMENT INC




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BCG_ID_12592_LF.txt[11/10/23, 10:59:22 AM]
  Lyrics
  Water You turned into wine
  Opened the eyes of the blind
  There's no one like You
  None like You
  Into the darkness You shine
  Out of the ashes we rise
  There's no one like You
  None like You


  Our God is greater, our God is stronger
  God, You are higher than any other
  Our God is healer, awesome in power
  Our God, our God


  Into the darkness you shine
  Out of the ashes we rise
  There's no one like You
  None like You


  Our God is greater, our God is stronger
  God, You are higher than any other
  Our God is healer, awesome in power
  Our God, our God
  Our God is greater, our God is stronger
  God, You are higher than any other
  Our God is healer, awesome in power
  Our God, our God


  And if our God is for us, then who could ever stop us?
  And if our God is with us, then what can stand against?
  And if Our God is for us, then who could ever stop us
  And if our God is with us, then what can stand against?
  Then what could stand against?


  Our God is greater, our God is stronger
  God, You are higher than any other
  Our God is healer, awesome in power
  Our God, our God
  Our God is greater, our God is stronger
  God, You are higher than any other
  Our God is healer, awesome in power
  Our God, our God


  And if our God is for us, then who could ever stop us?
  And if our God is with us, then what can stand against?
  And if Our God is for us, then who could ever stop us
             Case 3:23-cv-01092              Document 49-7      90111/16/23
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BCG_ID_12595_LF.txt[11/10/23, 10:59:22 AM]
  And if our God is with us, then what can stand against?
  What could stand against?
  What can stand against? (what could stand)

  WRITERS

  Chris Tomlin, Jesse Reeves, Jonas Myrin, Matt Redman

  PUBLISHERS

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BCG_ID_12595_LF.txt[11/10/23, 10:59:22 AM]
  Lyrics
  Everyday they pass me by
  I can see it in their eyes
  Empty people filled with care
  Headed who knows where


  On they go through private pain
  Living fear to fear
  Laughter hides their silent cries
  Only Jesus hears


  People need the Lord, people need the Lord
  At the end of broken dreams, He's the open door
  People need the Lord, people need the Lord
  When will we realize people need the Lord?


  We are called to take His light
  To a world where wrong seems right
  What could be too great a cost
  For sharing life with one who's lost?


  Through His love our hearts can feel
  All the grief they bear
  They must hear the words of life
  Only we can share


  People need the Lord, people need the Lord
  At the end of broken dreams, He's the open door
  People need the Lord, people need the Lord
  When will we realize that we must give our lives?
  For people need the Lord, people need the Lord



  WRITERS

  GREG NELSON, PHILL MCHUGH

  PUBLISHERS

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BCG_ID_12603_LF.txt[11/10/23, 10:59:22 AM]
  Lyrics
  You hear me when I call
  You are my morning song
  Though darkness fills the night
  It cannot hide the light


  Whom shall I fear


  You crush the enemy
  Underneath my feet
  You are my sword and shield
  Though troubles linger still


  Whom shall I fear


  I know who goes before me
  I know who stands behind


  The God of angel armies
  Is always by my side


  The one who reigns forever
  He is a friend of mine


  The God of angel armies
  Is always by my side


  My strength is in your name
  For you alone can save
  You will deliver me
  Yours is the victory


  Whom shall I fear
  Whom shall I fear


  I know who goes before me
  I know who stands behind


  The God of angel armies
  Is always by my side


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BCG_ID_12642_LF.txt[11/10/23, 10:59:23 AM]
  The one who reigns forever
  He is a friend of mine


  The God of angel armies
  Is always by my side


  And nothing formed against me shall stand
  You hold the whole world in your hands
  I'm holding on to your promises


  You are faithful
  You are faithful


  Nothing formed against me shall stand
  You hold the whole world in your hands
  I'm holding on to your promises


  You are faithful
  You are faithful
  You are faithful


  I know who goes before me
  I know who stands behind


  The God of angel armies
  Is always by my side


  The one who reigns forever
  He is a friend of mine


  The God of angel armies
  Is always by my side


  I know who goes before me
  I know who stands behind


  The God of angel armies
  Is always by my side


  The one who reigns forever
  He is a friend of mine

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BCG_ID_12642_LF.txt[11/10/23, 10:59:23 AM]
  The God of angel armies
  Is always by my side


  The God of angel armies
  Is always by my side

  WRITERS

  Chris Tomlin, Ed Cash, Scott Cash

  PUBLISHERS

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